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                        EXHIBIT 1
           Financing Agreement - Rocket
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                                                              EXECUTION VERSION




                              FINANCING AGREEMENT

                              Dated as of September 6, 2017


                                     by and among


                           SOLOMON ACQUISITION CORP.,
                                   as Parent,

                            SIZMEK TECHNOLOGIES, INC.,
                                    as Borrower,

                PARENT AND EACH OTHER SUBSIDIARY OF PARENT
           LISTED AS A GUARANTOR ON THE SIGNATURE PAGES HERETO,
                                as Guarantors,


                   THE LENDERS FROM TIME TO TIME PARTY HERETO,
                                    as Lenders,


                         CERBERUS BUSINESS FINANCE, LLC,
                               as Administrative Agent

                                          and

                                    Collateral Agent




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                                 FINANCING AGREEMENT

                Financing Agreement, dated as of September 6, 2017, by and among Solomon
Acquisition Corp. a Delaware corporation (the "Parent"), Sizmek Technologies, Inc., a Delaware
corporation (the "Borrower"), each subsidiary of the Parent listed as a "Guarantor" on the
signature pages hereto (together with the Parent and each other Person that executes a joinder
agreement and becomes a "Guarantor" hereunder or otherwise guaranties all or any part of the
Obligations (as hereinafter defined), each a "Guarantor" and, collectively, the "Guarantors"), the
lenders from time to time party hereto (each a "Lender" and, collectively, the "Lenders"),
Cerberus Business Finance, LLC, a Delaware limited liability company ("Cerberus"), as
collateral agent for the Lenders (in such capacity, together with its successors and assigns in such
capacity, the "Collateral Agent"), and Cerberus, as administrative agent for the Lenders (in such
capacity, together with its successors and assigns in such capacity, the "Administrative Agent"
and together with the Collateral Agent, each an "Agent" and, collectively, the "Agents").

                                           RECITALS

               Pursuant to that Agreement and Plan of Merger, dated as of July 17, 2017 (as
amended, restated, amended and restated supplement or otherwise modified from time to time,
the "Acquisition Agreement"), by and among Sizmek, Inc., Fuel Acquisition Co., a Delaware
corporation and wholly owned subsidiary of Sizmek, Inc. ("Merger Sub"), and Rocket Fuel Inc.,
a Delaware corporation ("Rocket Fuel"), Parent shall obtain all of the outstanding equity interests
of Rocket Fuel pursuant to a tender offer and, immediately upon the consummation of such
tender offer, Merger Sub shall merge with and into Rocket Fuel, with Rocket Fuel being the
surviving entity (the "Rocket Fuel Acquisition").

                The Borrower has asked the Lenders to extend credit to the Borrower consisting
of (a) a Term Loan (as hereinafter defined) in the aggregate principal amount of $135,000,000
and (b) a revolving credit facility in an aggregate principal amount not to exceed $25,000,000 at
any time outstanding. The proceeds of the Term Loan and the Revolving Loans made on the
Effective Date shall be used (i) to finance a portion of the Rocket Fuel Acquisition, (ii) to repay
certain existing indebtedness of the Borrower, the Target and their respective subsidiaries, (iii)
for working capital and general corporate purposes of the Loan Parties and (iv) to pay fees and
expenses related to this Agreement and the Rocket Fuel Acquisition. The proceeds of any
Revolving Loans made under the revolving credit facility after the Effective Date shall be used
for working capital and general corporate purposes of the Loan Parties. The Lenders are
severally, and not jointly, willing to extend such credit to the Borrower subject to the terms and
conditions hereinafter set forth.




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                In consideration of the premises and the covenants and agreements contained
herein, the parties hereto agree as follows:

                                                ARTICLE I

                                 DEFINITIONS; CERTAIN TERMS

                  Section 1.01   Definitions.

               As used in this Agreement, the following terms shall have the respective
meanings indicated below, such meanings to be applicable equally to both the singular and plural
forms of such terms:

               "Account Debtor" means, with respect to any Person, each debtor, customer or
obligor in any way obligated on or in connection with any Account Receivable of such Person.

                "Account Receivable" means, with respect to any Person, any and all rights of
such Person to payment for goods sold or leased and/or services rendered, including accounts,
general intangibles and any and all such rights evidenced by chattel paper, instruments or
documents, whether due or to become due and whether or not earned by performance, and
whether now or hereafter acquired or arising in the future, and any proceeds arising therefrom or
relating thereto.

                "Acquisition" means the acquisition (whether by means of a merger,
consolidation or otherwise) of all of the Equity Interests of any Person or all or substantially all
of the assets of (or any division or business line of) any Person.

                  "Acquisition Agreement" has the meaning specified therefor in the Recitals.

               "Acquisition Assets" means, with respect to any Acquisition, all of the property
and assets (tangible and intangible and including any Equity Interests) purported to be purchased
by Parent or any of its Subsidiaries pursuant to the applicable acquisition agreement or other
documentation evidencing or otherwise relating to such Acquisition.

                "Acquisition Collateral Assignment" means the Collateral Assignment of
Acquisition Documents, dated as of the date hereof, and in form and substance reasonably
satisfactory to the Collateral Agent, made by Sizmek Inc., a Delaware corporation in favor of the
Collateral Agent.

              "Acquisition Documents" means the Acquisition Agreement and all other
agreements, instruments and other documents related thereto or executed in connection
therewith.

                  "Action" has the meaning specified therefor in Section 12.12.

                  "Additional Amount" has the meaning specified therefor in Section 2.09(a).

                  "Administrative Agent" has the meaning specified therefor in the preamble hereto.

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              "Administrative Agent's Account" means an account at a bank designated by the
Administrative Agent from time to time as the account into which the Loan Parties shall make all
payments to the Administrative Agent for the benefit of the Agents and the Lenders under this
Agreement and the other Loan Documents.

               "Affiliate" means, with respect to any Person, any other Person that directly or
indirectly through one or more intermediaries, controls, is controlled by, or is under common
control with, such Person. For purposes of this definition, "control" of a Person means the
power, directly or indirectly, either to (a) vote 10% or more of the Equity Interests having
ordinary voting power for the election of members of the Board of Directors of such Person or
(b) direct or cause the direction of the management and policies of such Person whether by
contract or otherwise. Notwithstanding anything herein to the contrary, in no event shall any
Agent or any Lender be considered an "Affiliate" of any Loan Party.

                "Affiliated Investment Fund" means an Affiliate of Sponsor (other than Parent,
the Borrower or any of its respective Subsidiaries) that is a bona fide debt fund that is primarily
engaged in, or advises funds or other investment vehicles that are engaged in, making,
purchasing, holding or otherwise investing in commercial loans, bonds and similar extensions of
credit or securities in the ordinary course of its business.

              "Affiliated Lender" means, at any time, any Lender (not a natural person) that is
the Sponsor or an Affiliate thereof (including Affiliated Investment Funds) other than the Parent,
the Borrower or any of its respective Subsidiaries.

               "Affiliated     Lender     Amendment"      has   the    meaning    set   forth      in
Section 12.07(iv)(B).

              "Agent" and "Agents" have the respective meanings specified therefor in the
preamble hereto.

                  "Agent Advances" has the meaning specified therefor in Section 10.08(a).

               "Agreement" means this Financing Agreement, including all amendments,
restatements, amendments and restatements, modifications and supplements and any exhibits or
schedules to any of the foregoing, and shall refer to the Agreement as the same may be in effect
at the time such reference becomes operative.

               "Amended and Restated Sizmek Israel Note" means that certain Amended and
Restated Promissory Note, effective as of October 27, 2016, by Sizmek Israel in favor of Sizmek
in the original principal amount of $61,367,996 (as the same may be amended, restated,
supplemented, increased, or otherwise modified from time to time, to the extent permitted under
this Agreement), which Amended and Restated Sizmek Israel Note, which shall be pledged to
the Collateral Agent for the benefit of the Lenders pursuant to the Security Agreement.

                  "Anti-Corruption Laws" has the meaning specified therefor in Section 6.01(aa).

            "Anti-Terrorism Laws" means any Requirement of Law relating to terrorism,
economic sanctions or money laundering, including, without limitation, (a) the Money
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Laundering Control Act of 1986 (i.e., 18 U.S.C. §§ 1956 and 1957), (b) the Bank Secrecy Act of
1970 (31 U.S.C. §§ 5311-5330 and 12 U.S.C. §§ 1818(s), 1820(b) and 1951-1959), and the
implementing regulations promulgated thereunder, (c) the USA PATRIOT Act and the
implementing regulations promulgated thereunder, (d) the laws, regulations and Executive
Orders administered by the United States Department of the Treasury's Office of Foreign Assets
Control ("OFAC"), (e) any law prohibiting or directed against terrorist activities or the financing
or support of terrorist activities (e.g., 18 U.S.C. §§ 2339A and 2339B), and (f) any similar laws
enacted in the United States or any other jurisdictions in which the parties to this Agreement
operate, as any of the foregoing laws have been, or shall hereafter be, amended, renewed,
extended, or replaced and all other present and future legal requirements of any Governmental
Authority governing, addressing, relating to, or attempting to eliminate, terrorist acts and acts of
war and any regulations promulgated pursuant thereto.

                "Applicable Margin" means, as of any date of determination, with respect to the
interest rate of (a) any Reference Rate Loan or any portion thereof, 6.25% and (b) any LIBOR
Rate Loan or any portion thereof, 7.25%.

                  "Applicable Premium Trigger Event" means:

                  (a)     any permanent reduction of the Total Revolving Credit Commitment
  (i) pursuant to Section 2.05 (other than any permanent reduction of the Total Revolving Credit
  Commitment made pursuant to Section 2.05(c)(i), Section 2.05(c)(iv) and Section 2.05(c)(v))
  whether before or after the occurrence of an Event of Default or (ii) as a result of the
  acceleration of the Obligations (for any reason), including, without limitation, the acceleration of
  the Obligations as a result of the commencement of any Insolvency Proceeding; and

                  (b)    the prepayment of all or any portion of the principal balance of the Term
  Loan for any reason prior to the Final Maturity Date (including, without limitation, any
  optional prepayment or mandatory prepayment, but excluding any repayment of the Term Loan
  made pursuant to Section 2.03(b) and mandatory prepayments made pursuant to Section
  2.05(c)(i), Section 2.05(c)(iv) and Section 2.05(c)(v)) whether before or after (i) the occurrence
  of an Event of Default, or (ii) the commencement of any Insolvency Proceeding, and
  notwithstanding any acceleration (for any reason) of the Obligations.

                  "Applicable Prepayment Premium" means,

                (a)       as of the date of the occurrence of an Applicable Premium Trigger Event
specified in clause (a) of the definition thereof:

                     (i)     during the period of time from and after the Effective Date up to
and including the date that is the twelve month anniversary of the Effective Date (the "First
Period"), an amount equal to 3.00% times the amount of the permanent reduction of the Total
Revolving Credit Commitment on such date;

                       (ii)    during the period of time from and after the First Period up to and
including the date that is the twenty-four month anniversary of the Effective Date (the "Second
Period"), an amount equal to 2.00% times the amount of the permanent reduction of the Total
Revolving Credit Commitment on such date;
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                      (iii)   during the period of time from and after the Second Period up to
and including the date that is the thirty-six month anniversary of the Effective Date (the "Third
Period"), an amount equal to 1.00% times the amount of the permanent reduction of the Total
Revolving Credit Commitment on such date; and

                         (iv)    thereafter, zero; and

                (b)     as of the date of the occurrence of an Applicable Premium Trigger Event
specified in clause (b) of the definition thereof:

                      (i)    during the First Period, an amount equal to 3.00% times the
principal amount of the Term Loan Obligations (other than the Applicable Prepayment Premium)
being paid on such date;

                      (ii)   during the Second Period, an amount equal to 2.00% times the
principal amount of the Term Loan Obligations (other than the Applicable Prepayment Premium)
being paid on such date;

                      (iii)  during the Third Period, an amount equal to 1.00% times the
principal amount of the Term Loan Obligations (other than the Applicable Prepayment Premium)
being paid on such date; and

                         (iv)    thereafter, zero.

              "Approved Bank" means any commercial bank that is organized under the laws of
the United States, any state thereof, the District of Columbia or any member nation of the
Organization for Economic Cooperation and Development or any other jurisdiction in which a
Loan Party conducts business, in each case, which is reputable and financially sound.

                  "Assignee" has the meaning specified therefor in Section 12.07(a)(i).

                "Assignment and Acceptance" means an assignment and acceptance entered into
by an assigning Lender and an assignee (with the consent of any Person required by
Section 12.07), and accepted by the Collateral Agent (and the Administrative Agent, if
applicable), in accordance with Section 12.07 hereof and substantially in the form of Exhibit B
hereto or such other form reasonably acceptable to the Collateral Agent.

               "Authorized Officer" means, with respect to any Person, the chief executive
officer, chief operating officer, chief financial officer, treasurer, controller or other financial
officer performing similar functions, president or executive vice president of such Person.

              "Availability" means, as of the date of determination, an amount equal to (a) the
Total Revolving Credit Commitment minus (b) the aggregate outstanding principal amount of all
Revolving Loans.

               "Available Amount Basket" means (a) the sum of (without any duplication):
(i) 50% of the Retained Excess Cash Flow Amount of the Loan Parties, plus (ii) the Net Cash
Proceeds of new public or private Equity Issuances (other than Disqualified Equity Interests) to

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the extent such cash proceeds are not used for any other purpose (including any Cure Rights),
plus (iii) capital contributions to the Borrower made in cash or Cash Equivalents (other than
capital contributions made in connection with the issuance of Disqualified Equity Interests or in
connection with the exercise of a Cure Right), plus (iv) the lesser of (A) the Net Cash Proceeds
received from the sale of any Investment made using the Available Amount Basket and (B) the
cash consideration paid by the Loan Parties for such Investment (in each case to the extent such
Net Cash Proceeds are not required to be used to pay the Loans pursuant to Section 2.05(c)), plus
(v) any prepayment amount declined by a Declining Lender, minus (b) the aggregate amount of
the Available Amount Basket previously utilized; provided that the Available Amount Basket
shall only be available so long as immediately after giving effect to the application of the
Available Amount Basket, (A) no Event of Default then exists or would result therefrom and
(B) the Parent and its Subsidiaries shall otherwise be in pro forma compliance with the financial
covenants set forth in Section 7.03.

               "Bankruptcy Code" means Title 11 of the United States Code, as amended from
time to time and any successor statute or any similar federal or state law for the relief of debtors.

               "Basel III" means: (a) the agreements on capital requirements, a leverage ratio and
liquidity standards contained in "Basel III: A global regulatory framework for more resilient
banks and banking systems", "Basel III: International framework for liquidity risk measurement,
standards and monitoring" and "Guidance for national authorities operating the countercyclical
capital buffer" published by the Basel Committee on Banking Supervision in December 2010,
each as amended, supplemented or restated, (b) the rules for global systemically important banks
contained in "Global systemically important banks: assessment methodology and the additional
loss absorbency requirement – Rules text" published by the Basel Committee on Banking
Supervision in November 2011, as amended, supplemented or restated, and (c) any further
guidance or standards published by the Basel Committee on Banking Supervision relating to
"Basel III".

                  "Blocked Person" means any Person:

               (a)    that (i) is identified on the list of "Specially Designated Nationals and
Blocked Persons" published by OFAC; (ii) resides, is organized or chartered, or has a place of
business in a country or territory that is the subject of an OFAC Sanctions Program; or (iii) a
United States Person is prohibited from dealing or engaging in a transaction with under any of
the Anti-Terrorism Laws;

               (b)     that is owned or controlled by, or that owns or controls, or that is acting
for or on behalf of, any Person described in clause (a) above; or

                  (c)   that is affiliated or associated with a Person described in clauses (a)
and (b) above.

               "Board" means the Board of Governors of the Federal Reserve System of the
United States (or any successor).

               "Board of Directors" means with respect to (a) any corporation, the board of
directors of the corporation or any committee thereof duly authorized to act on behalf of such
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board, (b) a partnership, the board of directors of the general partner of the partnership, (c) a
limited liability company, the managing member or members or any controlling committee or
board of managers or equivalent governing body of such company or the sole member or the
managing member thereof, and (d) any other Person, the board or committee of such Person
serving a similar function.

                  "Borrower" has the meaning specified therefor in the introductory paragraph
hereto.

               "Business Day" means (a) for all purposes other than as described in clause (b)
below, any day other than a Saturday, Sunday or other day on which commercial banks are
authorized or required to be closed for business in New York City, and (b) with respect to the
borrowing, payment or continuation of, or determination of interest rate on, LIBOR Rate Loans,
any day that is a Business Day described in clause (a) above and on which dealings in Dollars
may be carried on in the interbank eurodollar markets in New York City and London.

               "Capital Expenditures" means, with respect to any Person for any period, the
aggregate of all expenditures by such Person and its Subsidiaries during such period that in
accordance with GAAP are capital expenditures, whether such expenditures are paid in cash or
financed, including all Capitalized Lease Obligations that are paid or due and payable during
such period; provided that the term "Capital Expenditures" shall not include any such
expenditures which constitute (i) expenditures by a Loan Party made in connection with the
replacement, substitution or restoration of such Loan Party's assets pursuant to Section
2.05(c)(vi) from the Net Cash Proceeds of Dispositions and Casualty Events, (ii) expenditures
financed with the proceeds received from the sale or issuance of Equity Interests to a Permitted
Holder or any other Person permitted under this Agreement so long as (A) the Borrower is not
required to make a prepayment of the Loans with such proceeds pursuant to Section 2.05(c)(v)
and (B) such proceeds are used exclusively to fund such expenditures, (iii) a Permitted
Acquisition, (iv) expenditures that are accounted for as capital expenditures of such Person and
that actually are paid for or reimbursed by a third party (excluding any Loan Party) and for
which no Loan Party has provided or is required to provide or incur, directly or indirectly, any
consideration or obligation to such third party or any other person (whether before, during or
after such period), (v) property, plant and equipment taken in settlement of Accounts Receivable
in the ordinary course of business and (vi) the purchase price of equipment that is purchased
substantially contemporaneously with the trade in of existing equipment to the extent that the
gross amount of such purchase price is reduced by the credit granted by the seller of such
equipment for the equipment being traded in at such time.

               "Capitalized Lease" means, with respect to any Person, any lease of (or other
arrangement conveying the right to use) real or personal property by such Person as lessee which
is required under GAAP to be capitalized on the balance sheet of such Person; provided that any
change in GAAP after the Effective Date that recharacterizes the treatment of operating leases as
Capitalized Leases shall be ignored for all purposes of this Agreement.

              "Capitalized Lease Obligations" means, with respect to any Person, obligations of
such Person and its Subsidiaries under Capitalized Leases, and, for purposes hereof, the amount


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of any such obligation shall be the capitalized amount thereof determined in accordance with
GAAP.

                 "Cash Equivalents" means (a) marketable direct obligations issued or
unconditionally guaranteed by the United States Government or issued by any agency thereof
and backed by the full faith and credit of the United States, in each case, maturing within one
year from the date of acquisition thereof; (b) commercial paper, maturing not more than one year
after the date of acquisition thereof rated P-1 by Moody's or A-1 by Standard & Poor's;
(c) certificates of deposit, bankers' acceptances, overnight deposits and time deposits maturing
not more than one year after the date of issue, issued by commercial banking institutions and
money market or demand deposit accounts maintained at commercial banking institutions, each
of which is a member of the Federal Reserve System and has a combined capital and surplus and
undivided profits of not less than $500,000,000; (d) repurchase agreements having maturities of
not more than 90 days from the date of acquisition which are entered into with major money
center banks included in the commercial banking institutions described in clause (c) above and
which are secured by readily marketable direct obligations of the United States Government or
any agency thereof; (e) deposit accounts maintained with (i) any commercial banking institution
that satisfies the criteria described in clause (c) above, or (ii) any commercial banking institution
organized under the laws of the United States or any state thereof so long as the full amount
maintained with any such commercial banking institution is insured by the Federal Deposit
Insurance Corporation; (f) debt securities with maturities of one year or less from the date of
acquisition backed by letters of credit issued by any commercial banking institution described in
clause (c) above; (g) money market accounts maintained with mutual funds having assets in
excess of $2,500,000,000, which assets are primarily comprised of Cash Equivalents described in
another clause of this definition; and (h) marketable tax exempt securities rated A or higher by
Moody's or A+ or higher by Standard & Poor's, in each case, maturing within one year from the
date of acquisition thereof.

              "Cash Management Accounts" means the bank accounts of each Loan Party
maintained at one or more Cash Management Banks listed on Schedule 8.01 (other than
Excluded Accounts).

                  "Cash Management Bank" has the meaning specified therefor in Section 8.01(a).

                "Casualty Event" means any involuntary loss of title, any involuntary loss of,
damage to or any destruction of, or any condemnation or other taking (including by any
Governmental Authority) of, any property of the Parent or any of its Subsidiaries. "Casualty
Event" shall include, without limitation, any taking of all or any part of any real property of the
Parent or any of its Subsidiaries by condemnation or other eminent domain proceedings pursuant
to any Requirement of Law, or by reason of the temporary requisition of the use or occupancy of
all or any part of any real property of the Parent or any of its Subsidiaries by any Governmental
Authority, civil or military, or any settlement in lieu thereof.

                  "Certain Funds Provision" has the meaning specified therefor in Section 5.01.

                  "CFTC" means the Commodity Futures Trading Commission.


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                "Change in Law" means the occurrence, after the date of this Agreement, of any
of the following: (a) the adoption or taking effect of any law, rule, regulation, judicial ruling,
judgment or treaty, (b) any change in any law, rule, regulation or treaty or in the administration,
interpretation, implementation or application thereof by any Governmental Authority, or (c) the
making or issuance of any request, rule, guideline or directive (whether or not having the force of
law) by any Governmental Authority, provided that, notwithstanding anything herein to the
contrary, the following shall, in each case, be deemed to be a "Change in Law", regardless of the
date enacted, adopted or issued: (i) the Dodd-Frank Wall Street Reform and Consumer
Protection Act and all requests, rules, guidelines or directives thereunder or issued in connection
therewith and (ii) subject to Section 2.11(c)(iii) and (d), all requests, rules, guidelines or
directives concerning capital adequacy promulgated by the Bank for International Settlements,
the Basel Committee on Banking Supervision (or any successor or similar authority) or the
United States or foreign regulatory authorities, including, inter alia, Basel III and any law or
regulation that implements or applies Basel III.

                  "Change of Control" means each occurrence of any of the following:

               (a)     at any time prior to an Initial Public Offering, the Permitted Holders cease
beneficially and of record to own and control, directly or indirectly, at least 50.1% on a fully
diluted basis of the aggregate outstanding voting and economic power of the Equity Interests of
the Parent;

                (b)    at any time after an Initial Public Offering, the acquisition, directly or
indirectly, by any person or group (within the meaning of Section 13(d)(3) of the Exchange Act)
other than a Permitted Holder of beneficial ownership of more than 35% of the aggregate
outstanding voting or economic power of the Equity Interests of the Parent;

                (c)     the Parent shall cease to have beneficial ownership (as defined in
Rule 13d-3 under the Exchange Act), directly or indirectly, of 100% of the aggregate voting or
economic power of the Equity Interests of each other Loan Party and each of its Subsidiaries
(other than in connection with any transaction permitted pursuant to Section 7.02(c)(i)), free and
clear of all Liens (other than Permitted Specified Liens); or

               (d)     a "Change of Control" (or any comparable term or provision) under or
with respect to any of the Equity Interests of the Parent or any of its Subsidiaries which results in
any Restricted Payment by the Parent (other than any Permitted Restricted Payment) in excess of
$25,000,000.

               "Closing      Equity   Investment"       has   the   meaning   specified   therefor   in
Section 5.01(i).

                  "Closing Fee" has the meaning specified therefor in Section 2.06(a).

               "Collateral" means all of the property and assets and all interests therein and
proceeds thereof now owned or hereafter acquired by any Loan Party upon which a Lien is
granted or purported to be granted by such Person as security for all or any part of the
Obligations pursuant to the terms of any Loan Document; provided that, notwithstanding
anything in this Agreement to the contrary, "Collateral" shall not include any Excluded Property.
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                  "Collateral Agent" has the meaning specified therefor in the preamble hereto.

              "Collections" means all cash, checks, notes, instruments, and other items of
payment (including insurance proceeds, proceeds of cash sales, rental proceeds, and tax refunds).

                "Comerica Credit Agreement" means the Second Amended and Restated
Revolving Credit and Term Loan Agreement, dated as of December 31, 2014, by and among
Rocket Fuel Inc., the lenders party thereto and Comerica Bank as administrative agent, as
amended, restated, amended and restated, supplemented or otherwise modified from time to time
prior to the date hereof.

             "Commitments" means, with respect to each Lender, such Lender's Revolving
Credit Commitment and Term Loan Commitment.

                 "Commodity Exchange Act" means the Commodity Exchange Act (7 U.S.C.
§ 1 et seq.), as amended from time to time, and any successor statute.

               "Competitor" means (a) any Person that is an operating company directly and
primarily engaged in substantially similar business operations as the Borrower and (b) any of
such Person's Subsidiaries that competes in similar markets in a material manner.

               "Compliance Certificate" has the meaning assigned to such term in
Section 7.01(a)(iv).

                "Consolidated Adjusted EBITDA" means, with respect to any Person for any
period: (a) Consolidated EBITDA of such Person for such period, minus (b) the add-back under
clause (b)(vii) of the definition of Consolidated EBITDA of such Person for such period, minus
(c) the add-back under clause (b)(viii) of the definition of Consolidated EBITDA of such Person
for such period.

                  "Consolidated EBITDA" means, with respect to any Person for any period:

                  (a)    the Consolidated Net Income of such Person for such period,

                  plus

                (b)    without duplication, the sum of the following amounts for such period to
the extent included in the calculation of Consolidated Net Income for such period:

                       (i)     Consolidated Net Interest Expense, any provision for United States
federal income taxes or other taxes (including but not limited to foreign, state, and franchise
taxes and taxes in respect of repatriated funds and any future taxes or other levies which replace
or are intended to be in lieu of such taxes and any penalties and interest related to such taxes or
arising from tax examinations) measured by net income and depreciation and amortization
expense,

                      (ii)    any impairment non-cash charge or asset write-off or write-down
and the amortization of intangibles,

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                       (iii) other non-cash charges, expenses and losses; provided that, if any
such non-cash charge represents an accrual or reserve for potential cash items in any future
period, (A) the Borrower may determine not to add back such non-cash charge in the current
period and (B) to the extent the Borrower decides to add back such non-cash charge in the
current period, the cash payment in respect thereof in such future period shall be subtracted from
Consolidated EBITDA,

                      (iv)    any losses from extraordinary, unusual or non-recurring items
(including, without limitation, costs of and payments of legal settlements, fines, judgments or
orders),

                      (v)      losses on Dispositions of assets outside the ordinary course of
business (including, without limitation, asset retirement costs),

                      (vi)    the amount of any one-time restructuring charge or reserve
including, without limitation, in connection with (A) Acquisitions consummated after the
Effective Date and (B) the consolidation or closing of facilities;

                       (vii) (A) expenses and expected cost savings, operating improvements
and expense reductions and synergies in each case set forth on Schedule 1.01(D) attached hereto
consistent with the quality of earnings report dated July 11, 2017 (net of the amount of actual
amounts realized) that are reasonably identifiable and factually supportable (in the good faith
determination of the Borrowers) related to improvements, restructurings, cost saving initiatives
and certain other similar initiatives and other transactions permitted hereunder; provided that,
with respect this clause (A), such cost savings, operating improvements and expense reductions
or synergies are reasonably expected to be realized within 24 months of the Effective Date, and
(B) expected cost savings, operating improvements and expense reductions and synergies (net of
the amount of actual amounts realized) that are reasonably identifiable and factually supportable
(in the good faith determination of the Borrower) related to Permitted Dispositions, mergers or
other business combinations permitted hereunder, Permitted Acquisitions, Permitted
Investments, operating improvements, restructurings, cost saving initiatives and certain other
similar initiatives and other transactions permitted hereunder; provided that, with respect this
clause (B), such cost savings, operating improvements and expense reductions or synergies
(I) are reasonably expected to be realized within 18 months after giving rise thereto and (II) to
the extent related to Permitted Dispositions, mergers or other business combinations permitted
hereunder, Permitted Acquisitions or Permitted Investments, in each case, involving an amount
in excess of $10,000,000 for any single transaction or series or related transactions, are
recommended by a third party due diligence financial review conducted by financial advisors
retained by the Borrower;

                        (viii) costs, charges, accruals, reserves or expenses attributable to the
undertaking and/or implementation of cost savings initiatives, operating expense reductions,
integration, transition, facilities opening and pre-opening, business optimization and other
restructuring costs, charges, accruals, reserves and expenses (including, without limitation, costs
related to the closure or consolidation of facilities (without duplication of amounts in clause (vii)
above) and curtailments, one-time costs related to entry into new markets, investments in new
producers, consulting and other professional fees, signing costs, relocation expenses, severance

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payments, modifications to or losses on settlement of pension and post-retirement employee
benefit plans, new systems design and implementation costs and project startup costs (including
net incremental stand-alone costs);

                       (ix)   (A) the amount of any permitted management, transaction or
advisory fees and related expenses paid to the Permitted Holders during such period and (B) the
amount of any permitted out-of-pocket fees or expenses paid to the Permitted Holders as
reimbursement for such fees or expenses incurred by the Permitted Holders in connection with
management, monitoring, consulting, transaction or advisory activities, in each case, to the
extent permitted to be paid under this Agreement,

                       (x)     transaction fees, costs and expenses incurred by the Loan Parties
and their respective Subsidiaries, in each case, (A) in connection with the consummation of any
transaction (or any transaction proposed and not consummated) permitted under this Agreement
(including, without limitation, Equity Issuances, Permitted Investments, Permitted Acquisitions,
Permitted Dispositions, recapitalizations, mergers and option buyouts permitted hereunder or the
incurrence or repayment of Permitted Indebtedness or similar transactions permitted hereunder),
(B) in connection with any permitted Initial Public Offering (whether or not consummated) or
(C) to the extent reimbursable by third parties pursuant to indemnification provisions or similar
agreements or insurance; provided, in respect of any fees, costs and expenses incurred pursuant
to this clause (C), the Loan Parties or such Subsidiary in good faith expect to receive
reimbursement for such fees, costs and expenses within the next 4 fiscal quarters (it being
understood that to the extent such reimbursement amounts are not received within such 4 fiscal
quarter period, such reimbursement amounts shall be deducted from Consolidated EBITDA for
such 4 fiscal quarter period);

                       (xi)   earn-out and other contingent consideration obligations in
connection with any Permitted Acquisition or other Permitted Investments that are paid or
accrued during the applicable period and on similar acquisitions completed prior to the Effective
Date to the extent such earn-out is deducted from Consolidated Net Income,

                       (xii) to the extent not otherwise included in Consolidated Net Income,
business interruption insurance proceeds in an amount representing the earnings for the
applicable period that such proceeds are intended to replace (whether or not yet received so long
as the Loan Parties in good faith expect to receive the same within the next 4 fiscal quarters (it
being understood that to the extent such proceeds are not actually received within such 4 fiscal
quarter period, such proceeds shall be deducted from Consolidated EBITDA for such 4 fiscal
quarter period)), and

                       (xiii) unrealized net losses resulting from changes in the fair market
value of any Hedging Agreements and losses, charges and expenses attributable to the early
extinguishment or conversion of Indebtedness, Hedging Agreements or other derivative
instruments (including deferred financing expenses written off and premiums paid) to the extent
the foregoing transactions are permitted under this Agreement, minus




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                (c)    without duplication, the sum of the following amounts for such period to
the extent included in the calculation of such Consolidated Net Income for such period:

                    (i)    any credit for United States federal income taxes or other taxes
measured by net income (including, but not limited to, foreign and state income and franchise
taxes),

                       (ii)    gains on Dispositions of assets outside the ordinary course of
business,

                       (iii)   any gains from extraordinary, unusual or non-recurring items, and

                    (iv)   unrealized net gains resulting from changes in the fair market value
of any Hedging Agreements or other arrangements described in clause (b)(xiii);

in each case, determined on a consolidated basis in accordance with GAAP.

Notwithstanding anything to the contrary herein, in no event shall the aggregate amount of all
add backs to Consolidated EBITDA under clause (vii)(B) and clause (viii) above for any period
exceed 25% of Consolidated Adjusted EBITDA of the Parent and its Subsidiaries for such period
(calculated after giving effect to such adjustments) or such greater percentage as the
Administrative Agent may agree; provided, that the foregoing cap shall not apply to (x) any
expenses funded with Excluded Equity Proceeds, (y) permitted addback amounts attributable to
actions recommended by financial or restructuring advisors retained by the Borrower so long as
the retention of such advisors has been approved by the Administrative Agent in its reasonable
discretion and (z) other addbacks approved by the Administrative Agent in its sole discretion.

Notwithstanding anything to the contrary herein, but subject to any adjustment set forth in the
definition of "Pro Forma Basis" and clause (b)(vii) above, it is agreed, that for the purpose of
calculating the Leverage Ratio for any period that includes the fiscal quarter ended September
30, 2016, December 31, 2016, March 31, 2017 and June 30, 2017, Consolidated EBITDA for the
Fiscal Quarter ended September 30, 2016, December 31, 2016, March 31, 2017 and June 30,
2017, shall be deemed to be $29,263,560.61, $39,442,903.33, $15,559,766.33 and
$15,636,335.07, respectively.

                "Consolidated Net Income" means, with respect to any Person, for any period, the
consolidated net income (or loss) of such Person and its Subsidiaries for such period; provided,
however, that the following shall be excluded: (a) the net income of any other Person in which
such Person or one of its Subsidiaries has a joint interest with a third-party (which interest does
not cause the net income of such other Person to be consolidated into the net income of such
Person), except to the extent of the amount of dividends or distributions paid to such Person or
Subsidiary and (b) the net income of any Subsidiary of such Person that is, on the last day of
such period, subject to any restriction or limitation on the payment of dividends or the making of
other distributions, to the extent of such restriction or limitation.

                "Consolidated Net Interest Expense" means, with respect to any Person for any
period, (a) gross interest expense of such Person and its Subsidiaries for such period determined
on a consolidated basis and in accordance with GAAP (including, without limitation, (i) interest
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expense paid to Affiliates of such Person, (ii) fees and expenses paid to the Administrative Agent
and the Collateral Agent in connection with its services hereunder and to the administrative agent
under any agreement evidencing any Permitted Indebtedness, (iii) other bank, administrative
agency (or trustee) and financing fees (including rating agency fees) and expenses, (iv) costs of
surety bonds in connection with financing activities, (v) commissions, discounts and other fees
and charges owed with respect to letters of credit, bank guarantees, bankers' acceptance or any
similar facilities or financing and hedging agreements and (vi) amortization of debt discounts or
premiums), less (b) the sum of (i) interest income for such period and (ii) gains for such period
on Hedging Agreements (to the extent not included in interest income above and to the extent not
deducted in the calculation of gross interest expense), plus (c) the sum of (i) losses for such
period on Hedging Agreements (to the extent not included in gross interest expense) and (ii) the
upfront costs or fees for such period associated with Hedging Agreements (to the extent not
included in gross interest expense), in each case, determined on a consolidated basis and in
accordance with GAAP.

               "Contingent Indemnity Obligations" means any Obligation constituting a
contingent, unliquidated indemnification obligation of any Loan Party, in each case, to the extent
(a) such obligation has not accrued and is not yet due and payable and (b) no claim has been
made or is reasonably anticipated to be made with respect thereto.

                 "Contingent Obligation" means, with respect to any Person, any obligation of
such Person guaranteeing or intending to guarantee any Indebtedness, leases, dividends or other
obligations ("primary obligations") of any other Person (the "primary obligor") in any manner,
whether directly or indirectly, including, without limitation, (a) the direct or indirect guaranty,
endorsement (other than for collection or deposit in the ordinary course of business), co-making,
discounting with recourse or sale with recourse by such Person of the obligation of a primary
obligor, (b) the obligation to make take-or-pay or similar payments, if required, regardless of
nonperformance by any other party or parties to an agreement, (c) any obligation of such Person,
whether or not contingent, (i) to purchase any such primary obligation or any property
constituting direct or indirect security therefor, (ii) to advance or supply funds (A) for the
purchase or payment of any such primary obligation or (B) to maintain working capital or equity
capital of the primary obligor or otherwise to maintain the net worth or solvency of the primary
obligor, (iii) to purchase property, assets, securities or services primarily for the purpose of
assuring the owner of any such primary obligation of the ability of the primary obligor to make
payment of such primary obligation or (iv) otherwise to assure or hold harmless the holder of
such primary obligation against loss in respect thereof; provided, however, that the term
"Contingent Obligation" shall not include any product warranties extended or endorsements of
instruments for deposit or collection made in the ordinary course of business. The amount of any
Contingent Obligation shall be deemed to be an amount equal to the stated or determinable
amount of the primary obligation with respect to which such Contingent Obligation is made (or,
if less, the maximum amount of such primary obligation for which such Person may be liable
pursuant to the terms of the instrument evidencing such Contingent Obligation) or, if not stated
or determinable, the maximum reasonably anticipated liability with respect thereto (assuming
such Person is required to perform thereunder), as determined by such Person in good faith.




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               "Contractual Obligation" means, as to any Person, any provision of any security
issued by such Person or of any agreement, instrument or other undertaking to which such
Person is a party or by which it or any of its property is bound.

                "Control Agreement" means, with respect to any deposit account, any securities
account, commodity account, securities entitlement or commodity contract, an agreement, in
form and substance reasonably satisfactory to the Collateral Agent, among the Collateral Agent,
the financial institution or other Person at which such account is maintained or with which such
entitlement or contract is carried and the Loan Party maintaining such account, effective to grant
"control" (as defined under the applicable UCC) over such account to the Collateral Agent.

                 "Controlled Investment Affiliate" means, as to any Person, any other Person that
(a) directly or indirectly, is in control of, is controlled by, or is under common control with, such
Person and (b) is organized by such Person primarily for the purpose of making equity or debt
investments in one or more companies. For purposes of this definition, "control" of a Person
means the power, directly or indirectly, to direct or cause the direction of the management and
policies of such Person whether by contract or otherwise.

                  "Cure Deadline" has the meaning specified therefor in Section 9.02.

                  "Cure Right" has the meaning specified therefor in Section 9.02.

                  "Current Value" has the meaning specified therefor in Section 7.01(m).

                  "Daily LIBOR Rate" means, for any day, the Published Rate.

                "Debtor Relief Law" means the Bankruptcy Code and any other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, administration or similar debtor relief law of the United
States or other applicable jurisdiction from time to time in effect.

              "Default" means an event which, with the giving of notice or the lapse of time or
both, would constitute an Event of Default.

                "Defaulting Lender" means any Lender that (a) has failed to (i) fund all or any
portion of its Loans within 2 Business Days of the date such Loans were required to be funded
hereunder unless such Lender notifies the Administrative Agent and the Borrower in writing that
such failure is the result of such Lender's good faith determination that one or more conditions
precedent to funding (each of which conditions precedent, together with any applicable default,
shall be specifically identified in such writing) has not been satisfied, or (ii) pay to the
Administrative Agent or any other Lender any other amount required to be paid by it hereunder
within 2 Business Days of the date when due, (b) has notified the Borrower or the Administrative
Agent in writing that it does not intend to comply with its funding obligations hereunder, or has
made a public statement to that effect (unless such writing or public statement relates to such
Lender's obligation to fund a Loan hereunder and states that such position is based on such
Lender's determination that a condition precedent to funding (which condition precedent,
together with any applicable default, shall be specifically identified in such writing or public
statement) cannot be satisfied), (c) has failed, within 3 Business Days after written request by the
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Administrative Agent or the Borrower, to confirm in writing to the Administrative Agent and the
Borrower that it will comply with its prospective funding obligations hereunder (provided that
such Lender shall cease to be a Defaulting Lender pursuant to this clause (c) upon receipt of
written confirmation by the Administrative Agent and the Borrower), or (d) has, or has a direct
or indirect parent company that has, (i) become the subject of a proceeding under any Debtor
Relief Law, or (ii) had appointed for it a receiver, custodian, conservator, trustee, administrator,
assignee for the benefit of creditors or similar Person charged with reorganization or liquidation
of its business or assets, including the Federal Deposit Insurance Corporation or any other state
or federal regulatory authority acting in such a capacity. Notwithstanding anything to the
contrary herein, a Lender shall not be a Defaulting Lender solely by virtue of the ownership or
acquisition of any Equity Interest in that Lender or any direct or indirect parent company thereof
by a Governmental Authority so long as such ownership interest does not result in or provide
such Lender with immunity from the jurisdiction of courts within the United States or from the
enforcement of judgments or writs of attachment on its assets or permits such Lender (or such
Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or agreements
made with such Lender. Any determination by the Administrative Agent that a Lender is a
Defaulting Lender under clauses (a) through (d) above shall be conclusive and binding absent
manifest error, and such Lender shall be deemed to be a Defaulting Lender as of the date
established therefor by the Administrative Agent in a written notice of such determination, which
shall be delivered by the Administrative Agent to the Borrower and each Lender promptly
following such determination.

               "Deferred Transaction Expense" has the meaning specified therefor in
Section 7.01(l)(i).

               "Disbursement Letter" means a disbursement letter, in form and substance
reasonably satisfactory to the Collateral Agent, by and among the Loan Parties, the Agents, the
Lenders and the other Persons party thereto, and the related funds flow memorandum describing
the sources and uses of all cash payments in connection with the transactions contemplated to
occur on the Effective Date.

                "Disposition" means any transaction, or series of related transactions, pursuant to
which any Person or any of its Subsidiaries sells, assigns, transfers, leases, licenses (as licensor)
or otherwise disposes of any property or assets (whether now owned or hereafter acquired) to
any other Person, in each case, whether or not the consideration therefor consists of cash,
securities or other assets owned by the acquiring Person. For purposes of clarification,
"Disposition" shall include (a) the sale or other disposition for value of any contracts or merchant
accounts (or any rights thereto (including, without limitation, any rights to any residual payment
stream with respect thereto), or (b) the early termination or modification of any contract resulting
in the receipt by any Loan Party of a cash payment or other consideration in exchange for any
such events during any calendar year (other than payments in the ordinary course for accrued and
unpaid amounts due through the date of termination or modification) in an aggregate amount
exceeding $500,000 for all such contracts terminated and/or modified during such calendar year.

               "Disqualified Equity Interests" means any Equity Interest that, by its terms (or by
the terms of any security or other Equity Interest into which it is convertible or for which it is
exchangeable), or upon the happening of any event or condition, (a) matures or is mandatorily

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redeemable, pursuant to a sinking fund obligation or otherwise (except as a result of a change of
control or asset sale so long as any rights of the holders thereof upon the occurrence of a change
of control or asset sale event shall be subject to the prior repayment in full of the Loans and all
other Obligations and the termination of the Commitments), (b) is redeemable at the option of
the holder thereof, in whole or in part, (c) provides for the scheduled payments of dividends or
distributions in cash, or (d) is convertible into or exchangeable for (i) Indebtedness or (ii) any
other Equity Interests that would constitute Disqualified Equity Interests, in each case of clauses
(a) through (d), prior to the date that is six months after the Final Maturity Date.

                "Disqualified Institution" means (a) Competitors of any Loan Party, (b) any
Person identified on a disqualified institution list delivered to the Administrative Agent by the
Borrower prior to the Effective Date, as such list may be modified by the Borrower, with the
consent of the Administrative Agent, after the Effective Date from time to time, and
(c) Affiliates of any of the foregoing, so long as, in each case, the Administrative Agent (i) has
been notified by the Borrower in writing that such Person is a Person described in clause (a) or
(b) above, or (ii) has actual knowledge that such Person is a Competitor of the Parent or its
Subsidiaries; provided that no Agent shall have any responsibility to monitor or maintain or
update the list of Disqualified Lenders, other than with respect to those Disqualified Lenders
identified by the Borrower.

              "Dollar," "Dollars" and the symbol "$" each means lawful money of the United
States of America.

               "Domestic Subsidiary" means any Subsidiary that is organized and existing under
the laws of the United States or any state or commonwealth thereof or under the laws of the
District of Columbia.

                  "ECF Due Date" shall have the meaning specified therefor in Section 2.05(c)(i).

                  "Effective Date" has the meaning specified therefor in Section 5.01.

               "Eligibility Date" means, with respect to each Loan Party and each Swap, the date
on which this Agreement or any other Loan Document becomes effective with respect to such
Swap (for the avoidance of doubt, the Eligibility Date shall be the effective date of such Swap if
this Agreement or any other Loan Document is then in effect with respect to such Loan Party,
and otherwise it shall be the Effective Date of this Agreement or such other Loan Document to
which such Loan Party is a party).

               "Eligible Assignee" means (a) any Lender, any Affiliate of a Lender and any
Related Fund (any two or more Related Funds with respect to a particular Lender being treated
as a single Eligible Assignee for all purposes hereof), and (b) any commercial bank, insurance
company, financial institution, investment or mutual fund or other entity that is an "accredited
investor" (as defined in Regulation D under the Securities Act); provided that "Eligible
Assignee" shall (x) include Affiliated Investment Funds and Affiliated Lenders, subject to the
limitations set forth in the provisions of Section 12.07(a)(iv) and (y) exclude (i) any natural
person, or the Sponsor, the Borrower, or any of Sponsor's or the Borrower's Affiliates (in each


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case except as set forth in clause (x) above) and (ii) so long as no Event of Default exists, any
Disqualified Institution.

             "Eligible Contract Participant" means an "eligible contract participant" as defined
in the Commodity Exchange Act and regulations thereunder.

              "Employee Plan" means an employee benefit plan (other than a Multiemployer
Plan) covered by Title IV of ERISA and maintained by any Loan Party or with respect to which
a Loan Party has any liability, including on account of any of its ERISA Affiliates, other than a
Multiemployer Plan.

                "Environmental Actions" means any complaint, summons, citation, notice,
directive, order, claim, litigation, investigation, judicial or administrative proceeding, judgment,
letter or other communication from any Person or Governmental Authority involving violations
of Environmental Laws or Releases of Hazardous Materials (a) from any assets, properties or
businesses owned or operated by any Loan Party or any of its Subsidiaries or any predecessor in
interest; (b) from adjoining properties or businesses; or (c) onto any facilities which received
Hazardous Materials generated by any Loan Party or any of its Subsidiaries or any predecessor
in interest.

                "Environmental Laws" means the Comprehensive Environmental Response,
Compensation and Liability Act (42 U.S.C. § 9601, et seq.), the Hazardous Materials
Transportation Act (49 U.S.C. § 1801, et seq.), the Resource Conservation and Recovery Act
(42 U.S.C. § 6901, et seq.), the Federal Clean Water Act (33 U.S.C. § 1251 et seq.), the Clean
Air Act (42 U.S.C. § 7401 et seq.), the Toxic Substances Control Act (15 U.S.C. § 2601 et seq.)
and the Occupational Safety and Health Act (29 U.S.C. § 651 et seq.), as such laws may be
amended or otherwise modified from time to time, and any other Requirement of Law, permit,
license or other binding determination of any Governmental Authority imposing liability or
establishing standards of conduct for protection of the environment or other government
restrictions relating to the protection of the environment or the Release, deposit or migration of
any Hazardous Materials into the environment.

               "Environmental Liabilities and Costs" means all liabilities, monetary obligations,
Remedial Actions, losses, damages, punitive damages, consequential damages, treble damages,
costs and expenses (including all reasonable fees, disbursements and expenses of counsel,
experts and consultants and costs of investigations and feasibility studies), fines, penalties,
sanctions and interest incurred as a result of any claim or demand by any Governmental
Authority or any third party, and which relate to any environmental condition or a Release of
Hazardous Materials from or onto (a) any property presently or formerly owned by any Loan
Party or any of its Subsidiaries or (b) any facility which received Hazardous Materials generated
by any Loan Party or any of its Subsidiaries.

             "Environmental Lien" means any Lien in favor of any Governmental Authority
for Environmental Liabilities and Costs.

            "Equity Interests" means (a) all shares of capital stock (whether denominated as
common stock or preferred stock), equity interests, beneficial, partnership or membership

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interests, joint venture interests, participations or other ownership or profit interests in or
equivalents (regardless of how designated) of or in a Person (other than an individual), whether
voting or non-voting and (b) all securities convertible into or exchangeable for any of the
foregoing and all warrants, options or other rights to purchase, subscribe for or otherwise acquire
any of the foregoing, whether or not presently convertible, exchangeable or exercisable.

                "Equity Issuance" means either (a) the sale or issuance by any Loan Party or any
of its Subsidiaries of any shares of its Equity Interests or (b) the receipt by the Parent of any cash
capital contributions.

                "Equity Investors" means the Sponsor and any other Person reasonably acceptable
to the Collateral Agent.

              "ERISA" means the Employee Retirement Income Security Act of 1974, as
amended, and regulations thereunder.

              "ERISA Affiliate" means, with respect to any Person, any corporation or trade or
business (whether or not incorporated) which, together with such Person, would be treated as a
single employer under Section 414 of the Internal Revenue Code.

                  "Event of Default" has the meaning specified therefor in Section 9.01.

                  "Excess Cash Flow" means, for any Fiscal Year, an amount (if positive) equal to:

                  (a)    the sum, without duplication, of the amounts for such period of the
following:

                         (i)    Consolidated EBITDA for such period, plus

                        (ii)   decreases in consolidated Working Capital for such period (other
than any such decreases (A) arising from Permitted Acquisitions or Permitted Dispositions of all
or substantially all of the Equity Interests of any Subsidiary of the Parent or any business line,
unit or division of any such Subsidiary, in each case by the Parent or any of its Subsidiaries
completed during such period, (B) the application of acquisition and/or purchase recapitalization
accounting, (C) the effect of reclassification during such period between current assets and long-
term assets and current liabilities and long-term liabilities (with a corresponding restatement to
the prior period to give effect to such reclassification) and (D) the effect of any fluctuations in
the amount of accrued and contingent obligations under any Hedging Agreement), minus

                  (b)    the sum, without duplication, of the amounts for such period of the
following:

                      (i)     interest paid in cash and all other fees and expenses related to debt
agreements paid in cash in respect of such period, plus

                       (ii)     Federal, state and other income taxes actually paid in cash in
respect of such period, plus


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                      (iii)   permitted management, board member, monitoring, consulting,
transaction or advisory fees, expenses and indemnities paid in cash during such period to the
extent added back to Consolidated Net Income when calculating Consolidated EBITDA for such
period, plus

                      (iv)     Capital Expenditures, capitalized software expenses, and fees,
costs and expenses in connection therewith, paid (or committed to be paid and actually paid
within three (3) months after the end of the applicable Fiscal Year) in cash during such period, to
the extent not financed with Indebtedness (other than Revolving Loans), equity contributions or
the Available Amount Basket, plus

                      (v)     fees, costs and expenses paid (or committed to be paid and actually
paid within six (6) months after the end of the applicable Fiscal Year) in cash in connection with
Permitted Acquisitions and other Permitted Investments during such period, to the extent not
financed with Indebtedness (other than Revolving Credit Loans), equity contributions or the
Available Amount Basket, plus

                       (vi)    scheduled amortization payments of the Term Loans and scheduled
amortization payments of other Permitted Indebtedness paid in cash during such period
(including the specified deferred payments to the extent funded with internally generated cash of
the Parent and its Subsidiaries), plus

                     (vii) Permitted Restricted Payments and permitted prepayments of
junior Indebtedness made in cash during such period, to the extent not financed with
Indebtedness (other than Revolving Loans), equity contributions or the Available Amount
Basket, plus

                     (viii) other non-cash charges, expenses and losses added back to
Consolidated Net Income when calculating Consolidated EBITDA for such period, plus

                     (ix)  any other cash items or charges added back to Consolidated Net
Income when calculating Consolidated EBITDA for such period, plus

                      (x)     Permitted Investments made in cash during such period and the
cash portion of the consideration for Permitted Acquisitions made in such period (or committed
to be made and actually made within six (6) months after the end of the applicable Fiscal Year),
in each case to the extent not financed with Indebtedness (other than Revolving Loans), equity
contributions or the Available Amount Basket, plus

                       (xi)   increases in consolidated Working Capital for such period, plus

                      (xii) the aggregate amount of Working Capital adjustments and all
permitted earn-out obligations actually paid in cash during such period (or earned during such
period and required to be paid during the following period) pursuant to the Acquisition
Agreement or pursuant to definitive acquisition documents executed in connection with a
Permitted Acquisition or other Acquisition that is an investment not prohibited under the Loan
Documents, in each case, to the extent not financed with Indebtedness (other than Revolving
Loans), equity contributions or the Available Amount Basket, plus
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                      (xiii) any expenses or charges paid in cash during such period on
account of an item for which a non-cash charge was taken, and added back to Consolidated Net
Income when calculating Consolidated EBITDA, in the same or in a prior period, in each case,
without duplication.

               For the purpose of clarification, to the extent Excess Cash Flow is reduced for any
applicable period on account of Capital Expenditures, expenses, Permitted Acquisitions or other
investments committed to be made, or earn-out obligations earned, or fees related thereto that are
accrued, as applicable, in such period but not actually paid in such period, such amounts shall not
be deducted from Excess Cash Flow for the period in which actually paid.

                  "Exchange Act" means the Securities Exchange Act of 1934, as amended.

               "Excluded Account" means (a) any deposit account specifically and exclusively
used for payroll, payroll taxes and other employee wage and benefit payments to or for the
benefit of any Loan Party's employees, (b) any Petty Cash Account and (c) any accounts
specifically and exclusively used to post cash collateral to secure Permitted Indebtedness
described in clauses (h) and (s) of the definition thereof.

              "Excluded Equity Proceeds" means the Net Cash Proceeds of any issuance of
Qualified Equity Interests by the Parent to any Person so long as no Change of Control results
therefrom and such Net Cash Proceeds are not included in the calculation of the Available
Amount Basket.

               "Excluded Foreign Subsidiary" means (a) any Subsidiary of the Parent that (i) is a
“controlled foreign corporation” under Section 957 of the Internal Revenue Code and (ii) has not
guaranteed or pledged any of its assets or suffered a pledge of more than 65% of its voting
Equity Interests, to secure, directly or indirectly, any Indebtedness of any Borrower or any
Guarantor that is a “United States Person” within the meaning of Section 7701(a)(30) of the
Internal Revenue Code, (b) any Subsidiary of a Subsidiary described in clause (a) above, (c)
Sizmek Israel and (d) any Subsidiary of the Parent substantially all of the assets of which consist
of the Equity Interests (and other securities) of Subsidiaries described in clause (a) above.

               "Excluded Hedge Liability or Liabilities" means, with respect to each Guarantor,
each Swap Obligation if, and to the extent that, all or any portion of this Agreement or any other
Loan Document that relates to such Swap Obligation is or becomes illegal or unlawful under the
Commodities Exchange Act, or any rule, regulation or order of the Commodity Futures Trading
Commission, solely by virtue of such Guarantor's failure to qualify as an Eligible Contract
Participant on the Eligibility Date for such Swap. Notwithstanding anything to the contrary
contained in the foregoing or in any other provision of this Agreement or any other Loan
Document, the foregoing is subject to the following provisos: (a) if a Swap Obligation arises
under a master agreement governing more than one Swap, only the portion of such Swap
Obligation that is attributable to Swaps for which such guaranty or security interest is or
becomes illegal or unlawful under the Commodities Exchange Act, or any rule, regulations or
order of the Commodity Futures Trading Commission, solely as a result of the failure by such
Guarantor for any reason to qualify as an Eligible Contract Participant on the Eligibility Date for
such Swap shall be an Excluded Hedge Liability; (b) if a guarantee of a Swap Obligation would

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cause such obligation to be an Excluded Hedge Liability but the grant of a security interest
would not cause such obligation to be an Excluded Hedge Liability, such Swap Obligation shall
constitute an Excluded Hedge Liability for purposes of the guaranty but not for purposes of the
grant of the security interest; and (c) if there is more than one Guarantor executing this
Agreement or the other Loan Documents and a Swap Obligation would be an Excluded Hedge
Liability with respect to one or more of such Persons, but not all of them, the definition of
Excluded Hedge Liability or Liabilities with respect to each such Person shall only be deemed
applicable to (i) the particular Swap Obligations that constitute Excluded Hedge Liabilities with
respect to such Person, and (ii) the particular Person with respect to which such Swap
Obligations constitute Excluded Hedge Liabilities.

                  "Excluded Property" has the meaning set forth in the Security Agreement.

                 "Excluded Subsidiaries" means (a) any Excluded Foreign Subsidiary,
(b) Immaterial Subsidiaries, (c) any Subsidiary that is prohibited by any Requirement of Law (to
the extent such Requirement of Law is effective under applicable anti-assignment provisions of
the UCC) or by any unaffiliated third party material Contractual Obligation from guaranteeing
the Obligations or which would require the consent, approval, license or authorization from any
Governmental Authority to provide such guarantee, in each case, as reasonably determined by
the Agents and the Borrower unless (A) the Loan Parties shall have failed to use commercially
reasonable efforts to obtain such consent, approval, license or authorization or (B) such consent,
approval, license or authorization has been received, (d) Subsidiaries set forth on
Schedule 1.01(E) as such Schedule may be updated from time to time with the prior written
consent of the Collateral Agent, such consent not to be unreasonably withheld, conditioned or
delayed, (e) Subsidiaries excluded by the Collateral Agent in its sole discretion, (f) Subsidiaries
in circumstances where the Borrower and the Collateral Agent reasonably agree that the cost or
adverse tax consequence of providing such guarantee is excessive in relation to the value
afforded thereby, and (g) any Person that becomes a Subsidiary (that is not a wholly-owned
Subsidiary and whose Governing Documents prohibit such Subsidiary from becoming a
Guarantor without the consent of the minority equity owners thereof) pursuant to clauses (n), (p),
(s) and (t) of the definition of Permitted Investments.

                "Excluded Swap Obligation" means, with respect to any Guarantor, any Swap
Obligation if, and to the extent that, all or a portion of the guarantee of such Guarantor of, or the
grant by such Guarantor of a security interest to secure, such Swap Obligation (or any guarantee
thereof) is or would otherwise become illegal or unlawful under the Commodity Exchange Act
or any rule, regulation or order of the Commodity Futures Trading Commission (or the
application or official interpretation of any thereof) by virtue of such Guarantor's failure for any
reason not to constitute an "eligible contract participant" as defined in the Commodity Exchange
Act at the time the guarantee of such Guarantor would otherwise have become effective with
respect to such related Swap Obligation but for such Guarantor's failure to constitute an "eligible
contract participant" at such time.

               "Executive Order No. 13224" means the Executive Order No. 13224 on Terrorist
Financing, effective September 24, 2001, as the same has been, or shall hereafter be, renewed,
extended, amended or replaced.


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             "Existing Credit Facilities" means the Wells Fargo Credit Agreement, the PEP
Credit Agreement and the Comerica Credit Agreement.

                "Existing Lenders" means (i) the lenders party to the Wells Fargo Credit
Agreement as of the date hereof, (ii) the lenders party to the PEP Credit Agreement as of the date
hereof and (iii) the lenders party to the Comerica Credit Agreement as of the date hereof.

                "Facility" means the real property identified on Schedule 1.01(B) and any New
Facility hereafter acquired by the Parent or any of its Subsidiaries, including, without limitation,
the land on which each such facility is located, all buildings and other improvements thereon,
and all fixtures located thereat or used in connection therewith.

              "FASB ASC" means the Accounting Standards Codification of the Financial
Accounting Standards Board.

               "FATCA" means Sections 1471 through 1474 of the Internal Revenue Code, as of
the date of this Agreement (or any amended or successor version that is substantively
comparable and not materially more onerous to comply with) and any current or future
regulations or official interpretations thereof and any agreements entered into pursuant to
Section 1471(b)(1) of the Internal Revenue Code, and any intergovernmental agreement entered
into in connection with the foregoing.

                  "FCPA" has the meaning specified therefor in Section 6.01(aa).

                "Federal Funds Open Rate" means, for any day, the rate per annum (based on a
year of 360 days and actual days elapsed) which is the daily federal funds open rate as quoted by
ICAP North America, Inc. (or any successor) as set forth on the Bloomberg Screen BTMM for
that day opposite the caption "OPEN" (or on such other substitute Bloomberg Screen that
displays such rate), or as set forth on such other recognized electronic source used for the
purpose of displaying such rate as selected by the Administrative Agent (an "Alternate Source")
(or if such rate for such day does not appear on the Bloomberg Screen BTMM (or any substitute
screen) or on any Alternate Source, or if there shall at any time, for any reason, no longer exist a
Bloomberg Screen BTMM (or any substitute screen) or any Alternate Source, a comparable
replacement rate determined by the Administrative Agent at such time (which determination
shall be conclusive absent manifest error); provided, however, that if such day is not a Business
Day, the Federal Funds Open Rate for such day shall be the "open" rate on the immediately
preceding Business Day. If and when the Federal Funds Open Rate changes, the rate of interest
hereunder will change automatically without notice to the Borrowing Agent, effective on the date
of any such change.

               "Federal Funds Rate" means, for any day, the rate per annum (based on a year of
360 days and actual days elapsed and rounded upward to the nearest 1/100 of 1%) announced by
the Federal Reserve Bank of New York (or any successor) on such day as being the weighted
average of the rates on overnight federal funds transactions arranged by federal funds brokers on
the previous trading day, as computed and announced by such Federal Reserve Bank (or any
successor) in substantially the same manner as such Federal Reserve Bank computes and
announces the weighted average it refers to as the "Federal Funds Effective Rate" as of the date

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of this Agreement; provided that if such Federal Reserve Bank (or its successor) does not
announce such rate on any day, the "Federal Funds Effective Rate" for such day shall be the
Federal Funds Effective Rate for the last day on which such rate was announced.

               "Final Maturity Date" means the earlier of (a) the date which is September 6,
2022 and (b) the payment in full of all Obligations and the termination of all Commitments.

                "Financial Statements" means the quarterly and annual financial statements of the
Parent and its Subsidiaries delivered to the Agents pursuant to Section 7.01(a).

             "Fiscal Year" means the fiscal year of the Parent and its Subsidiaries ending on
December 31st of each year.

              "Flood Laws" shall mean all Requirements of Law relating to policies and
procedures that address requirements placed on federally regulated lenders under the National
Flood Insurance Reform Act of 1994 and other Requirements of Law related thereto.

                  "Foreign Official" has the meaning specified therefor in Section 6.01(aa).

             "Foreign Sovereign Immunities Act" means the US Foreign Sovereign
Immunities Act of 1976 (28 U.S.C. Sections 1602-1611), as amended.

                  "Foreign Subsidiary" means any Subsidiary of the Parent that is not a Domestic
Subsidiary.

                  "Funding Losses" has the meaning specified therefor in Section 2.07(e).

                "GAAP" means generally accepted accounting principles in effect from time to
time in the United States, applied on a consistent basis, provided that, for the purpose of
calculating any financial covenant in any Loan Document, "GAAP" shall mean generally
accepted accounting principles in effect on the date hereof, provided further that, if there occurs
after the date of this Agreement any change in GAAP that affects in any respect the calculation
of any financial covenant or test contained in any Loan Document, then, upon the request of the
Collateral Agent or the Borrower, the Collateral Agent and the Borrower shall negotiate in good
faith amendments to the provisions of this Agreement that relate to the calculation of such
covenant with the intent of having the respective positions of the Lenders and the Borrower after
such change in GAAP conform as nearly as possible to their respective positions as of the date of
this Agreement and, until any such requested amendments have been agreed upon, such financial
covenant or test shall be calculated as if no such change in GAAP has occurred.

                "Governing Documents" means, (a) with respect to any corporation or exempted
company, the certificate or articles of incorporation and the bylaws or the memorandum and
articles of association (or equivalent or comparable constitutive documents with respect to any
non-U.S. jurisdiction); (b) with respect to any limited liability company, the certificate or articles
of formation or organization, and the operating agreement (or equivalent or comparable
constitutive documents with respect to any Foreign Subsidiary); (c) with respect to any
partnership, joint venture, trust or other form of business entity, the partnership, joint venture,
declaration or other applicable agreement or documentation evidencing or otherwise relating to
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its incorporation, formation or organization, governance and capitalization (or equivalent or
comparable constitutive documents with respect to any Foreign Subsidiary); and (d) with respect
to any of the entities described above, any other agreement, instrument, filing or notice with
respect thereto filed in connection with its incorporation, formation or organization with the
applicable Governmental Authority in the jurisdiction of its incorporation, formation or
organization.

               "Governmental Authority" means any nation or government, any Federal, state,
city, town, municipality, county, local or other political subdivision thereof or thereto and any
department, commission, board, bureau, instrumentality, agency or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or
pertaining to government (including any supra-national bodies such as the European Union or
the European Central Bank).

                  "Guaranteed Obligations" has the meaning specified therefor in Section 11.01.

                "Guarantor" means (a) the Parent and each Subsidiary of the Parent listed as a
"Guarantor" on the signature pages hereto, (b) any other Subsidiary of the Parent (other than an
Excluded Subsidiary) and (c) each other Person which guarantees, pursuant to Section 7.01(b) or
otherwise, all or any part of the Obligations.

                "Guaranty" means (a) the guaranty of each Guarantor party hereto contained in
Article XI hereof and (b) each other guaranty, in form and substance reasonably satisfactory to
the Collateral Agent, made by any other Guarantor in favor of the Collateral Agent for the
benefit of the Agents and the Lenders guaranteeing all or part of the Obligations.

                "Hazardous Material" means (a) any element, compound or chemical that is
defined, listed or otherwise classified as a contaminant, pollutant, toxic pollutant, toxic or
hazardous substance, extremely hazardous substance or chemical, hazardous waste, special
waste, or solid waste under Environmental Laws or that is likely to cause immediately, or at
some future time, harm to or have an adverse effect on, the environment or risk to human health
or safety, including, without limitation, any pollutant, contaminant, waste, hazardous waste, toxic
substance or dangerous good which is defined or identified in any Environmental Law and which
is present in the environment in such quantity or state that it contravenes any Environmental
Law; (b) petroleum and its refined products; (c) polychlorinated biphenyls; (d) any substance
exhibiting a hazardous waste characteristic, including, without limitation, corrosivity,
ignitability, toxicity or reactivity as well as any radioactive or explosive materials; and (e) any
raw materials, building components (including, without limitation, asbestos-containing
materials) and manufactured products containing hazardous substances listed or classified as
such under Environmental Laws.

              "Hedge Liabilities" means the liabilities of the Borrower under any Hedging
Agreement as calculated on a marked-to-market basis in accordance with GAAP.

               "Hedging Agreement" means any interest rate, foreign currency, commodity or
equity swap, collar, cap, floor or forward rate agreement, or other agreement or arrangement
designed to protect against fluctuations in interest rates or currency, commodity or equity values

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(including, without limitation, any option with respect to any of the foregoing and any
combination of the foregoing agreements or arrangements), and any confirmation executed in
connection with any such agreement or arrangement, in each case, entered into for the bona fide
purpose of hedging the interest rate, commodity, or foreign currency risks associated with the
Loan Parties' operations and not for speculative purposes.

               "Highest Lawful Rate" means, with respect to any Agent or any Lender, the
maximum non-usurious interest rate, if any, that at any time or from time to time may be
contracted for, taken, reserved, charged or received on the Obligations under laws applicable to
such Agent or such Lender which are currently in effect or, to the extent allowed by law, under
such applicable laws which may hereafter be in effect and which allow a higher maximum non-
usurious interest rate than applicable laws now allow.

                  "Holdcos" means the Parent and/or any other holding company that is a Loan
Party.

                  "Holdout Lender" has the meaning specified therefor in Section 12.02(b).

                "Immaterial Subsidiary" means, at any time, any Subsidiary that (a) contributed
3.75% or less of the Consolidated EBITDA of the Parent and its Subsidiaries for the most
recently ended period for which financial statements have been delivered, (b) contributed 3.75%
or less of the revenues of the Parent and its Subsidiaries for the most recently ended period for
which financial statements have been delivered or were required to be delivered hereunder, and
(c) had assets representing 3.75% or less of the total consolidated assets of the Parent and its
Subsidiaries on the last day of the most recently ended period for which financial statements
have been delivered; provided, if at any time and from time to time after the Effective Date,
Immaterial Subsidiaries comprise in the aggregate more than 7.5% of the Consolidated EBITDA
of the Parent and its Subsidiaries for the most recently ended period for which financial
statements have been delivered, or more than 7.5% of the revenues of the Parent and its
Subsidiaries for the most recently ended period for which financial statements have been
delivered or more than 7.5% of the consolidated Total Assets as of the end of the most recently
ended period for which financial statements have been delivered, then the Borrower shall, not
later than thirty days after the date by which financial statements for such period are required to
be delivered (or such longer period as the Collateral Agent may agree in its reasonable
discretion), designate in writing to the Collateral Agent that one or more of such Subsidiaries is
no longer an Immaterial Subsidiary for purposes of this Agreement to the extent required such
that the foregoing condition ceases to be true. As of the Effective Date, the Immaterial
Subsidiaries are listed on Schedule 1.01(E).

               "Indebtedness" means, with respect to any Person, without duplication, (a) all
indebtedness of such Person for borrowed money; (b) all obligations of such Person for the
deferred purchase price of property or services (other than (x) trade payables or other accounts
payable incurred in the ordinary course of such Person's business and not outstanding for more
than 90 days after the date such payable was created, except for which adequate reserves or other
appropriate provisions are maintained on the books of such Person in accordance with GAAP
and (y) any earn-out, purchase price adjustment or similar obligation until such obligation
appears in the liabilities section of the balance sheet of such Person); (c) all obligations of such

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Person evidenced by bonds, debentures, notes or other similar instruments or upon which interest
payments are customarily made; (d) all reimbursement, payment or other obligations and
liabilities of such Person created or arising under any conditional sales or other title retention
agreement with respect to property used and/or acquired by such Person, even though the rights
and remedies of the lessor, seller and/or lender thereunder may be limited to repossession or sale
of such property; (e) that portion of Capitalized Lease Obligations of such Person that is properly
classified as a liability on the balance sheet in conformity with GAAP; (f) all obligations and
liabilities, contingent or otherwise, of such Person, in respect of letters of credit, acceptances and
similar facilities; (g) all obligations and liabilities of such Person under Hedging Agreements; (h)
all monetary obligations under any receivables factoring, receivable sales or similar transactions
and all monetary obligations under any synthetic lease, tax ownership/operating lease, off-
balance sheet financing or similar financing; (i) all Contingent Obligations (other than
Contingent Obligations incurred in the ordinary course of business); (j) all Disqualified Equity
Interests; and (k) all obligations referred to in clauses (a) through (j) of this definition of another
Person secured by (or for which the holder of such Indebtedness has an existing right, contingent
or otherwise, to be secured by) a Lien upon property owned by such Person, even though such
Person has not assumed or become liable for the payment of such Indebtedness. The
Indebtedness of any Person shall include the Indebtedness of any partnership or joint venture in
which such Person is a general partner or a joint venturer. The amount of any Indebtedness that
is only recourse to specific assets of such Person shall be deemed to be equal to the lesser of the
principal amount of such Indebtedness and the fair market value of the assets of such Person to
which such Indebtedness has recourse. Notwithstanding anything to the contrary in this
Agreement or the other Loan Documents, “Indebtedness” shall exclude (A) accrued expenses,
deferred management fees, deferred rent, deferred revenue, deferred taxes and deferred
compensation and customary obligations under employment arrangements, (B) customary
payables with respect to money orders or wire transfers, (C) operating leases, (D) collections or
deposits in the ordinary course of business, (E) any product warranties and (F) the Deferred
Transaction Expense.

                  "Indemnified Matters" has the meaning specified therefor in Section 12.15(a).

                  "Indemnified Taxes" has the meaning specified therefor in Section 2.09(a).

                  "Indemnitees" has the meaning specified therefor in Section 12.15(a).

               "Initial Public Offering" means, with respect to any Person, an underwritten initial
public offering and related secondary offering of the Equity Interests of such Person; provided
that such initial public offering is pursuant to an effective registration statement under the
Securities Act of 1933.

              "Insolvency Proceeding" means any proceeding commenced by or against any
Person under any provision of any Debtor Relief Law.

                  "Intellectual Property" has the meaning specified therefor in the Security
Documents.



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               "Intellectual Property Contracts" means all agreements concerning Intellectual
Property, including without limitation license agreements, technology consulting agreements,
confidentiality agreements, co-existence agreements, consent agreements and non-assertion
agreements.

               "Intercompany Subordination Agreement" means an Intercompany Subordination
Agreement made by the Parent and its Subsidiaries in favor of the Collateral Agent for the
benefit of the Agents and the Lenders, in form and substance reasonably satisfactory to the
Collateral Agent.

                "Interest Period" means, with respect to each LIBOR Rate Loan, a period
commencing on the date of the making of such LIBOR Rate Loan (or the continuation of a
LIBOR Rate Loan or the conversion of a Reference Rate Loan to a LIBOR Rate Loan) and
ending 1, 2 or 3 months thereafter; provided, however, that (a) if any Interest Period would end
on a day that is not a Business Day, such Interest Period shall be extended (subject to
clauses (c)-(e) below) to the next succeeding Business Day, (b) interest shall accrue at the
applicable rate based upon the LIBOR Rate from and including the first day of each Interest
Period to, but excluding, the day on which any Interest Period expires, (c) any Interest Period
that would end on a day that is not a Business Day shall be extended to the next succeeding
Business Day unless such Business Day falls in another calendar month, in which case such
Interest Period shall end on the next preceding Business Day, (d) with respect to an Interest
Period that begins on the last Business Day of a calendar month (or on a day for which there is
no numerically corresponding day in the calendar month at the end of such Interest Period), the
Interest Period shall end on the last Business Day of the calendar month that is 1, 2 or 3 months
after the date on which the Interest Period began, as applicable, and (e) the Borrower may not
elect an Interest Period which will end after the Final Maturity Date.

               "Internal Revenue Code" means the Internal Revenue Code of 1986, as amended
(or any successor statute thereto) and the regulations thereunder.

               "Inventory" means, with respect to any Person, all goods and merchandise of such
Person leased or held for sale or lease by such Person, including, without limitation, all raw
materials, work-in-process and finished goods, and all packaging, supplies and materials of every
nature used or usable in connection with the shipping, storing, advertising or sale of such goods
and merchandise, whether now owned or hereafter acquired, and all such other property the sale
or other disposition of which would give rise to an Account Receivable or cash.

               "Investment" means, with respect to any Person, (a) any investment by such
Person in any other Person (including Affiliates) in the form of loans, guarantees, advances or
other extensions of credit (excluding Account Receivables arising in the ordinary course of
business), capital contributions or acquisitions of Indebtedness (including, any bonds, notes,
debentures or other debt securities), Equity Interests, or all or substantially all of the assets of
such other Person (or of any division or business line of such other Person), (b) the purchase or
ownership of any futures contract or liability for the purchase or sale of currency or other
commodities at a future date in the nature of a futures contract, or (c) any investment in any other
items that are or would be classified as investments on a balance sheet of such Person prepared
in accordance with GAAP. For purposes of covenant compliance, the amount of any Investment

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shall be an amount actually invested, without adjustment for subsequent increases or decreases in
the value of such Investment, but adjusted based on the amount of any principal and interest
payments, return representing a return of capital, redemption or sale with respect to such
Investment (up to the original amount of such Investment).

               "Joinder Agreement" means a Joinder Agreement, substantially in the form of
Exhibit A, duly executed by a Subsidiary of a Loan Party made a party hereto pursuant to
Section 7.01(b).

             "LCA Election" shall have the meaning specified therefor in the definition of
"Limited Condition Acquisition."

             "LCA Test Date" shall have the meaning specified therefor in the definition of
"Limited Condition Acquisition."

                "Lease" means any lease of real property to which any Loan Party or any of its
Subsidiaries is a party as lessor or lessee.

                  "Legal Opinion" means any legal opinion delivered to the Agent(s) under this
Agreement.

                "Lender" has the meaning specified therefor in the preamble hereto, and any other
Person that is a party hereto pursuant to an Assignment and Acceptance.

                "Leverage Ratio" means, with respect to the Parent and its Subsidiaries for any
period, the ratio of (a)(i) the sum of all Indebtedness for borrowed money (including, without
limitation, any Subordinated Indebtedness, but excluding any seller note, earn out, purchase price
adjustment or similar obligation), all obligations and liabilities, contingent or otherwise, in
respect of letters of credit, acceptances and similar facilities, all obligations evidenced by bonds,
debentures, notes or other similar instruments, purchase money Indebtedness and Capitalized
Lease Obligations of the Parent and its Subsidiaries as of the end of such period, minus
(ii) (A) solely for the purpose of determining compliance with the financial tests set forth in
Section 7.03, any cash and Cash Equivalents on the applicable determination date and (B) solely
for the purpose of determining compliance with the negative covenants set forth in Section 7.02,
the aggregate amount of Qualified Cash on the applicable determination date not in excess of
$20,000,000 to (b) Consolidated EBITDA of the Parent and its Subsidiaries for such period for
which financial statements have been delivered.

                "LIBOR" means for any LIBOR Rate Loan for the then current Interest Period
relating thereto, the interest rate per annum determined by the Administrative Agent as the rate
which appears on the Bloomberg Page BBAM1 (or on such other substitute Bloomberg page that
displays rates at which U.S. dollar deposits are offered by leading banks in the London interbank
deposit market), or the rate which is quoted by another source selected by the Administrative
Agent as an authorized information vendor for the purpose of displaying rates at which U.S.
dollar deposits are offered by leading banks in the London interbank deposit market (a "LIBOR
Alternate Source"), at approximately 11:00 a.m., London time, two (2) Business Days prior to
the commencement of such Interest Period as the London interbank offered rate for U.S. Dollars
for an amount comparable to such LIBOR Rate Loan and having a borrowing date and a maturity
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comparable to such Interest Period (or if there shall at any time, for any reason, no longer exist a
Bloomberg Page BBAM1 (or any substitute page) or any LIBOR Alternate Source, a comparable
replacement rate determined by the Administrative Agent at such time (which determination
shall be conclusive absent manifest error)); provided, however, that if the LIBOR Rate
determined as provided above would be less than zero, such rate shall be deemed to be zero for
purposes of this Agreement. The Administrative Agent shall give reasonably prompt notice to
the Borrower of LIBOR as determined or adjusted in accordance herewith, which determination
shall be conclusive absent manifest error.

                  "LIBOR Option" has the meaning specified therefor in Section 2.07(a).

                "LIBOR Rate" means, for each Interest Period for each LIBOR Rate Loan, the
greater of (a) the rate per annum determined by the Administrative Agent (rounded upwards if
necessary, to the next 1/100% of 1%) by dividing (i) LIBOR for such Interest Period by
(ii) 100% minus the Reserve Percentage and (b) 1.0% per annum. If applicable, the LIBOR Rate
shall be adjusted on and as of the effective day of any change in the Reserve Percentage;
provided, however, that if the LIBOR Rate determined as provided above would be less than
zero, such rate shall be deemed to be zero for purposes of this Agreement.

              "LIBOR Rate Loan" means each portion of a Loan that bears interest at a rate
determined by reference to the LIBOR Rate.

               "Lien" means any mortgage, deed of trust, pledge, lien (statutory or otherwise),
security interest, charge or other encumbrance or security or preferential arrangement of any
nature, including, without limitation, any conditional sale or title retention arrangement, any
Capitalized Lease and any assignment, deposit arrangement or financing lease intended as, or
having the effect of, security.

               "Limited Condition Acquisition" means, for purposes of (a) determining
compliance with any provision of this Agreement that requires the calculation of any ratio,
(b) determining compliance with representations and warranties or the occurrence of a Default or
an Event of Default hereunder or (c) testing the Liquidity of the Loan Parties (including baskets
measured as a percentage of Total Assets of the Loan Parties), in each case, in connection with a
Permitted Acquisition by one or more of the Loan Parties the consummation of which is not
conditioned on the availability of, or on obtaining third party financing, at the option of the
Borrower and so long as such Limited Condition Acquisition is actually consummated within 60
days of the date on which the definitive agreements for such Limited Condition Acquisition are
entered into (the Borrower's election to exercise such option in connection with any Limited
Condition Acquisition, an "LCA Election"), the date of determination of whether any such action
is permitted hereunder shall be deemed to be the date the definitive agreements for such Limited
Condition Acquisition are entered into (the "LCA Test Date"), and if after giving pro forma
effect to the Limited Condition Acquisition and the other transactions to be entered into in
connection therewith as if they had occurred at the beginning of the most recent test period
ending prior to the LCA Test Date, the Borrower could have taken such action on the relevant
LCA Test Date in compliance with such ratio or basket, such ratio or basket shall be deemed to
have been complied with. If the Borrower has made an LCA Election, then in connection with
any subsequent calculation of any ratio or basket on or following the relevant LCA Test Date and

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prior to the earlier of (i) the date on which such Limited Condition Acquisition is consummated
and (ii) the date the definitive agreement for such Limited Condition Acquisition expires or is
terminated without consummation of such Limited Condition Acquisition, any such ratio or
basket shall be calculated on pro forma basis assuming such Limited Condition Acquisition and
other transactions in connection therewith (including any incurrence of debt and the use of
proceeds thereof) have been consummated until such time as the applicable Limited Condition
Acquisition has actually closed or the definitive agreement with respect thereto has expired or
been terminated.

              "Liquidity" means, as of any date of determination, (a) the Availability plus
(b) Qualified Cash of the Loan Parties and their respective Subsidiaries as of such date.

             "Loan" means the Term Loans or any portion thereof or any Revolving Loan
made by an Agent or a Lender to the Borrower pursuant to Article II hereof.

               "Loan Account" means an account maintained hereunder by the Administrative
Agent on its books of account at the Payment Office, and with respect to the Borrower, in which
the Borrower will be charged with all Loans made to, and all other Obligations incurred by, the
Borrower.

               "Loan Document" means this Agreement, the Acquisition Collateral Assignment,
any Control Agreement, the Disbursement Letter, any Guaranty, the Intercompany Subordination
Agreement, any Joinder Agreement, any Mortgage, any Security Agreement, any other Security
Document, any landlord waiver, any collateral access agreement, any Perfection Certificate and
any other agreement, instrument, certificate, report and other document executed and delivered
pursuant hereto or thereto or otherwise evidencing or securing any Loan or any other Obligation.

                  "Loan Party" means the Borrower and any Guarantor.

              "Loan        Party   Insolvency"    has   the    meaning    specified   therefor   in
Section 12.07(b)(H).

              "Loan Party Plan of Reorganization" has the meaning specified therefor in
Section 12.07(b)(H).

                  "Loan Servicing Fee" has the meaning specified therefor in Section 2.06(c).

               "Management Agreement" means that certain Management Services Agreement
dated September 27, 2016, as amended, restated, supplemented or otherwise modified from time
to time to the extent not prohibited hereunder, by and between Sizmek, Inc., Solomon Holdings
(Cayman), L.P. and Vector Capital Management, L.P.

               "Material Adverse Effect" means (a) on the Effective Date, a Rocket Fuel
Material Adverse Effect and (b) immediately following the Rocket Fuel Acquisition, a material
adverse effect on any of (i) the results of operations, assets, financial condition of the Loan
Parties taken as a whole, (ii) the ability of the Loan Parties taken as a whole to perform any of
their payment or other material obligations under any Loan Document, (iii) the legality, validity
or enforceability of this Agreement or any other Loan Document, (iv) the material rights and
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remedies of any Agent or any Lender under any Loan Document, or (v) a material impairment of
the enforceability or priority of the Collateral Agent's Liens with regard to all or material portion
of the Collateral (except to the extent resulting from a Permitted Disposition or any actions or
inactions on the part of the Collateral Agent due to the Collateral Agent's negligence, bad faith,
or willful misconduct).

               "Material Contract" means, with respect to any Person, (a) the Acquisition
Agreement and the other material Acquisition Documents, and (b) all other contracts or
agreements as to which the breach, nonperformance, cancellation or failure to renew by any
party thereto could reasonably be expected to have a Material Adverse Effect.

                  "Maximum Revolving Credit Amount" means $25,000,000.

                  "Moody's" means Moody's Investors Service, Inc. and any successor thereto.

               "Mortgage" means a mortgage, deed of trust or deed to secure debt, in form and
substance reasonably satisfactory to the Collateral Agent, in each case executed and delivered by
a Loan Party in favor of the Collateral Agent for the benefit of the Agents and the Lenders with
respect to any Facility owned by any Loan Party, securing the Obligations and delivered to the
Collateral Agent.

               "Multiemployer Plan" means a "multiemployer plan" as defined in
Section 4001(a)(3) of ERISA to which any Loan Party contributes or has any liability, including
on account of any of its ERISA Affiliates.

                 "Net Cash Proceeds" means, with respect to, any issuance or incurrence of any
Indebtedness, any Equity Issuance, any Disposition or any Casualty Event by any Person or any
of its Subsidiaries, the aggregate amount of cash received (directly or indirectly) from time to
time (whether as initial consideration or through the payment or disposition of deferred
consideration) by or on behalf of such Person or such Subsidiary, in connection therewith after
deducting therefrom only (a) in the case of any Disposition or Casualty Event, the amount of any
Indebtedness secured by any Permitted Lien on any asset (other than Indebtedness assumed by
the purchaser of such asset) which is required to be, and is, repaid in connection therewith (other
than Indebtedness under this Agreement), (b) reasonable fees, commissions and expenses related
thereto incurred by such Person or such Subsidiary in connection therewith, (c) transfer and sales
taxes paid to any taxing authorities by such Person or such Subsidiary in connection therewith,
(d) all amounts set aside as a reserve in accordance with GAAP for (i) adjustments in respect of
the purchase price of such assets, (ii) any liabilities to unaffiliated third parties incurred in
connection with such Disposition or Casualty Event, and (iii) the payment of unassumed
liabilities to unaffiliated third parties relating to the assets sold or otherwise Disposed of at the
time of, or within 30 days after, the date of such Disposition to the extent that the funds
described in this clause (d) are (A) deposited into escrow with a third-party escrow agent or set
aside in a separate deposit account that is subject to a Control Agreement and (B) paid to the
Collateral Agent in accordance with Section 2.05(c)(ii) at such time when such amounts are no
longer required to be set aside as a reserve and (e) net income taxes to be paid in connection
therewith (after taking into account any tax credits or deductions and any tax sharing
arrangements), in each case, to the extent, but only to the extent, that the amounts so deducted

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are (i) actually paid to a Person that, except in the case of reasonable, documented out-of-pocket
expenses, is not an Affiliate of such Person or any of its Subsidiaries and (ii) properly
attributable to such transaction or to the asset that is the subject thereof.

                  "New Facility" has the meaning specified therefor in Section 7.01(m).

                  "New Lending Office" has the meaning specified therefor in Section 2.09(d).

               "Non-Qualifying Party" means any Loan Party that on the Eligibility Date fails
for any reason to qualify as an Eligible Contract Participant.

              "Non-Restricted        Persons"    has    the   meaning     specified      therefor   in
Section 12.07(a)(iv)(H).

                  "Non-U.S. Secured Party" has the meaning specified therefor in Section 2.09(d).

               "Note" means a promissory note of the Borrower, substantially in the form of
(a) in the case of the Term Loans, Exhibit E and (b) in the case of the Revolving Loans,
Exhibit F, evidencing the Indebtedness resulting from the making of the Loans and delivered to
any Lender that requests such Note pursuant to Section 2.03(f) hereof, as such promissory note
may be modified or extended from time to time, and any promissory note or notes issued in
exchange or replacement therefor.

                  "Notice of Borrowing" has the meaning specified therefor in Section 2.02(a).

                 "Obligations" means all present and future indebtedness, obligations, and
liabilities of each Loan Party to the Agents and the Lenders arising under or in connection with
this Agreement or any other Loan Document, whether or not the right of payment in respect of
such claim is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, disputed,
undisputed, legal, equitable, secured, unsecured, and whether or not such claim is discharged,
stayed or otherwise affected by any proceeding referred to in Section 9.01. Without limiting the
generality of the foregoing, the Obligations of each Loan Party under the Loan Documents
include (a) the obligation (irrespective of whether a claim therefor is allowed in an Insolvency
Proceeding) to pay principal, interest, charges, expenses, fees, premiums (including the
Applicable Prepayment Premium), attorneys' fees and disbursements, indemnities and other
amounts payable by such Person under the Loan Documents and (b) the obligation of such
Person to reimburse any amount in respect of any of the foregoing that any Agent or any Lender
(in its sole discretion) may elect to pay or advance on behalf of such Person. Notwithstanding
any of the foregoing, Obligations shall not include any Excluded Hedge Liability.

                "OFAC Sanctions Programs" means (a) the Requirements of Law and Executive
Orders administered by OFAC, including, without limitation, Executive Order No. 13224, and
(b) the list of Specially Designated Nationals and Blocked Persons administered by OFAC, in
each case, as renewed, extended, amended, or replaced.

                  "Other Taxes" has the meaning specified therefor in Section 2.09(b).

                  "Parent" has the meaning specified therefor in the preamble hereto.

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                  "Participant Register" has the meaning specified therefor in Section 12.07(i).

              "Payment Office" means the Administrative Agent's office located at 875 Third
Avenue, New York, New York 10022, or at such other office or offices of the Administrative
Agent as may be designated in writing from time to time by the Administrative Agent to the
Collateral Agent and the Borrower.

                  "PBGC" means the Pension Benefit Guaranty Corporation or any successor
thereto.

              “PEP Credit Agreement” means the Credit Agreement, dated as of September 27,
2016, by and among Sizmek, Parent, Sizmek, Inc., the lenders party thereto and Petrus Agent,
LLC, as administrative agent, as amended, restated, amended and restated, supplemented or
otherwise modified from time to time prior to the date hereof.

                "Perfection Certificate" means a certificate in form and substance reasonably
satisfactory to the Collateral Agent providing information with respect to the property of each
Loan Party.

                "Permitted Acquisition" means any Acquisition by a Loan Party or any wholly-
owned Subsidiary of a Loan Party that either (x) the Collateral Agent has provided its prior
written consent thereto or (y) to the extent that each of the following conditions shall have been
satisfied (subject, in the case of a Limited Condition Acquisition, to the terms and conditions set
forth in the definition thereof):

               (a)    no Default or Event of Default shall have occurred and be continuing or
would result from the consummation of the proposed Acquisition;

              (b)    to the extent the Acquisition will be financed in whole or in part with the
proceeds of any Loan, the conditions set forth in Section 5.02 shall have been satisfied;

               (c)     the Borrower shall have furnished to the Agents at least 5 Business Days
(or such later date approved by Administrative Agent in its sole discretion) prior to the
consummation of such Acquisition (i) an executed term sheet and/or commitment letter (setting
forth in reasonable detail the terms and conditions of such Acquisition) and, at the request of any
Agent, such other information and documents that any Agent may reasonably request, including,
without limitation, executed counterparts of the respective agreements, instruments or other
documents pursuant to which such Acquisition is to be consummated (including, without
limitation, any related management, non-compete, employment, option or other material
agreements), any schedules to such agreements, instruments or other documents and all other
material ancillary agreements, instruments or other documents to be executed or delivered in
connection therewith, (ii) pro forma financial statements of the Parent and its Subsidiaries after
the consummation of such Acquisition, and (iii) a certificate of the chief financial officer of the
Parent, demonstrating on a pro forma basis compliance with clauses (g) and (l) below after the
consummation of such Acquisition, provided that if the Purchase Price for such Acquisition is
equal to or less than $20,000,000, the Loan Parties shall not be required to deliver any of the
documents described in this clause (c), but shall, instead promptly deliver a certificate of the
chief financial officer of the Parent demonstrating, on a pro forma basis, compliance with the
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Leverage Ratio required under clause (l) below to the extent meeting a Leverage Ratio is
required by clause (l);

               (d)     the agreements, instruments and other documents referred to in
paragraph (c)(i) above shall provide that (i) neither the Loan Parties nor any of their Subsidiaries
shall, in connection with such Acquisition, assume or remain liable in respect of any
Indebtedness of the Seller or Sellers, or other obligation of the Seller or Sellers (except for
obligations incurred in the ordinary course of business in operating the property so acquired and
necessary or desirable to the continued operation of such property and except for Permitted
Indebtedness), and (ii) all property to be so acquired in connection with such Acquisition shall be
free and clear of any and all Liens, except for Permitted Liens (and if any such property is
subject to any Lien not permitted by this clause (ii) then substantially concurrently with such
Acquisition such Lien shall be released);

               (e)     such Acquisition shall be effected in such a manner so that the acquired
assets or Equity Interests are owned either by a Loan Party or a wholly-owned Subsidiary of a
Loan Party and, if effected by merger or consolidation involving a Loan Party, such Loan Party
shall be the continuing or surviving Person or the continuing or surviving Person shall become a
Loan Party;

             (f)    Liquidity of the Loan Parties shall be in an amount equal to or greater than
$5,000,000 immediately after giving effect to the consummation of the proposed Acquisition;

               (g)     the assets being acquired or the Person whose Equity Interests are being
acquired did not have negative Consolidated EBITDA during the 12 consecutive month period
most recently concluded prior to the date of the proposed Acquisition as determined on a pro
forma basis after giving effect to such Acquisition (including, without limitation, any pro forma
cost savings adjustments);

                (h)    the assets being acquired (other than a de minimis amount of assets in
relation to the Loan Parties' and their Subsidiaries' Total Assets), or the Person whose Equity
Interests are being acquired, are useful in or engaged in, as applicable, the business of the Loan
Parties and their Subsidiaries or a business reasonably related or ancillary thereto;

                (i)    either (i) any such newly acquired subsidiary or assets shall, as applicable,
become a Loan Party or become part of the “Collateral”, and, in each case, comply with or be
subject to, as applicable, the requirements of Section 7.01(b), or (ii) if such subsidiary does not
become a Loan Party or such assets do not become Collateral, then the total consideration paid in
connection with such purchase or acquisition (together with all other purchases or acquisition
described in this clause (ii) shall not exceed $10,000,000;

                (j)     such Acquisition shall be consensual and shall have been approved by the
board of directors or similar governing body of the Person whose Equity Interests or assets are
proposed to be acquired (or such Acquisition shall be court-approved in the case of a sale
pursuant to Section 363 of the Bankruptcy Code) and shall not have been preceded by an
unsolicited tender offer for such Equity Interests by, or proxy contest initiated by, Parent or any
of its Subsidiaries or an Affiliate thereof;

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              (k)    any such Subsidiary (and its equityholders) shall execute and deliver the
agreements, instruments and other documents required by Section 7.01(b) within the time period
provided in Section 7.01(b) (or such later date approved by Administrative Agent in its sole
discretion);

               (l)     the aggregate Purchase Price for all such Acquisitions (including the
proposed Acquisition) shall not exceed the sum of $25,000,000 plus all voluntary prepayments
of the Term Loan (without any duplication of any prior voluntary prepayments); provided,
however, this clause (l) shall not be applicable (i) if the Leverage Ratio of the Parent and its
Subsidiaries after giving pro forma effect to such Acquisition is 2.25:1.00 or less, (ii) if such
Acquisition is financed without the incurrence of term Indebtedness or (iii) if (A) the Leverage
Ratio of the Parent and its Subsidiaries after giving pro forma effect to such Acquisition is
greater than 2.25:1.00 and (B) such Acquisition is financed by Retained Excess Cash Flow
Amount and/or cash equity and/or capital contributions or proceeds of equity issuances (other
than Disqualified Equity Interests) (for the avoidance of doubt, no portion of such Acquisition
that is financed by any Retained Excess Cash Flow Amount and/or cash equity and/or capital
contributions or proceeds of equity issuances (other than Disqualified Equity Interests) shall be
included for purposes of determining compliance with this clause (l).

                  "Permitted Cure Equity" means Qualified Equity Interests of the Parent.

                  "Permitted Disposition" means:

               (a)    the use or transfer of money or Cash Equivalents in a manner that is not
prohibited by the terms of this Agreement or the other Loan Documents and the conversion of
Cash Equivalents into cash or other Cash Equivalents;

                  (b)    the granting of Permitted Liens;

                  (c)    sale of Inventory in the ordinary course of business;

              (d)     licensing, on a non-exclusive basis, Intellectual Property rights in the
ordinary course of business;

               (e)       leasing or subleasing assets (including Real Property) in the ordinary
course of business;

                (f)    (i) the lapse of Registered Intellectual Property of the Parent and its
Subsidiaries to the extent not economically desirable in the conduct of their business or (ii) the
abandonment of Intellectual Property rights in the ordinary course of business, so long as (in
each case under clauses (i) and (ii)), (A) with respect to copyrights, such copyrights are not
material revenue generating copyrights, and (B) such lapse is not materially adverse to the
interests of the Secured Parties;

                  (g)    any involuntary loss, damage or destruction of property;

              (h)    any involuntary condemnation, seizure or taking, by exercise of the power
of eminent domain or otherwise, or confiscation or requisition of use of property;

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              (i)    the sale or discount, in each case without recourse, of Accounts
Receivable arising in the ordinary course of business, but only in connection with the
compromise or collection thereof;

                  (j)   Permitted Intercompany Dispositions;

                  (k)   Disposition of obsolete or worn-out equipment in the ordinary course of
business;

               (l)     the issuance and sale by the Parent of its Qualified Equity Interests after
the date hereof, provided that no Change of Control or other Event of Default results therefrom;

               (m)   the termination by any Loan Party of contracts (including, without
limitation, Hedging Agreements) in the ordinary course of business;

               (n)    any Disposition described in clause (b) of the definition of Disposition to
the extent such Disposition could not reasonably be expected to have a Material Adverse Effect;

                  (o)   Investments permitted by Section 7.02(e);

                (p)     Dispositions of assets acquired by the Parent and its Subsidiaries pursuant
to any Permitted Acquisition consummated within 12 months of the date of the proposed
Disposition so long as (i) the consideration received for the assets to be so disposed is at least
equal to the fair market value of such assets, (ii) the assets to be so disposed are not necessary or
economically desirable in connection with the business of the Parent and its Subsidiaries taken as
a whole, (iii) the assets to be so disposed are readily identifiable as assets acquired pursuant to
such Permitted Acquisition, and (iv) the aggregate fair market value of all assets so sold by the
Loan Parties and their Subsidiaries shall not exceed 5% of the value of all assets acquired
pursuant to such Permitted Acquisition; and

                (q)     Dispositions not otherwise permitted hereunder which are made for fair
market value; provided that (i) at the time of any such Disposition, no Event of Default shall
exist or shall result from such Disposition, (ii) not less than 75% of the aggregate sales price
from such disposition shall be paid in cash, (iii) the aggregate fair market value of all assets so
sold by the Loan Parties and their Subsidiaries shall not exceed $12,500,000 in any Fiscal Year,
and (iv) after giving effect to such Disposition, the Loan Parties are in compliance on a pro
forma basis with the covenants set forth in Section 7.03, recomputed for the most recent fiscal
quarter for which financial statements have been delivered

; provided that the Net Cash Proceeds of such Dispositions are paid to the Administrative Agent
for the benefit of the Agents and the Lenders pursuant to (and to the extent required by) the terms
of Section 2.05(c)(ii) or applied as provided in Section 2.05(c)(vi).

              "Permitted Holder" means, collectively, the Sponsor and/or any Controlled
Investment Affiliate thereof on the Effective Date.




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                  "Permitted Indebtedness" means:

               (a)   any Indebtedness owing to any Agent or any Lender under this Agreement
and the other Loan Documents;

              (b)    any other Indebtedness listed on Schedule 7.02(b), and any Permitted
Refinancing Indebtedness in respect of such Indebtedness;

               (c)    Permitted Purchase Money Indebtedness and any Permitted Refinancing
Indebtedness in respect of such Indebtedness;

                  (d)    Permitted Intercompany Investments;

                  (e)    Indebtedness constituting Permitted Investments;

              (f)     Indebtedness incurred in the ordinary course of business under
performance, surety, statutory, and appeal bonds and Contingent Obligations in respect thereof;

               (g)     Indebtedness owed to any Person providing property, casualty, liability, or
other insurance to the Loan Parties, so long as the amount of such Indebtedness is not in excess
of the amount of the unpaid cost of, and shall be incurred only to defer the cost of, such
insurance for the period in which such Indebtedness is incurred and such Indebtedness is
outstanding only during such period;

               (h)     the incurrence by any Loan Party of Indebtedness under Hedging
Agreements that are incurred for the bona fide purpose of hedging the interest rate, commodity,
or foreign currency risks associated with such Loan Party's operations;

                (i)     Indebtedness incurred in respect of credit cards, credit card processing
services, debit cards, stored value cards, purchase cards or other similar cash management
services, in each case, incurred in the ordinary course of business;

               (j)    contingent liabilities in respect of any indemnification obligation,
adjustment of purchase price, non-compete, earn-outs or similar obligation of any Loan Party
incurred in connection with the consummation of one or more Permitted Acquisitions;

                 (k)    Indebtedness of a Person whose assets or Equity Interests are acquired by
the Parent or any of its Subsidiaries in a Permitted Acquisition; provided that such Indebtedness
(i) is either Permitted Purchase Money Indebtedness or a Capitalized Lease with respect to fixed
assets, equipment or mortgage financing with respect to a Facility, (ii) was in existence prior to
the date of such Permitted Acquisition, and (iii) was not incurred in connection with, or in
contemplation of, such Permitted Acquisition;

               (l)     Contingent Obligations with respect to Indebtedness of the Parent and its
Subsidiaries to the extent that the Person incurring such Contingent Obligations was permitted to
incur such underlying Indebtedness under this Agreement and subordinated to the same extent as
the Indebtedness to which it relates is subordinated to the Obligations;


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               (m)      unsecured Indebtedness incurred by the Loan Parties in connection with
the consummation of one or more Permitted Acquisitions so long as (i) the aggregate outstanding
principal amount for all such Indebtedness shall not exceed the greater of $10,000,000 and 2.5%
of the Total Assets at the time of the incurrence of such Indebtedness as of the most recently
ended test period for which financial statements have been delivered pursuant to
Section 7.01(a)(ii) or (a)(iii), (ii) such Indebtedness is incurred prior to or within 90 days after
the consummation of such Permitted Acquisition, (iii) such Indebtedness is subordinated to the
Obligations on terms and conditions reasonably acceptable to the Collateral Agent and the
Required Lenders and (iv) such Indebtedness does not exceed the cost of the applicable
Permitted Acquisition;

                (n)     unsecured Subordinated Indebtedness incurred by the Loan Parties so long
as (i) before and after giving effect thereto, no Event of Default has occurred and is continuing or
would result therefrom, (ii) such unsecured Subordinated Indebtedness does not mature prior to
the date that is 12 months after the Final Maturity Date, (iii) such unsecured Subordinated
Indebtedness does not amortize until 12 months after the Final Maturity Date, (iv) such
unsecured Subordinated Indebtedness does not provide for the payment of interest thereon in
cash or Cash Equivalents prior to the date that is 12 months after the Final Maturity Date, and (v)
the Loan Parties shall be in compliance with the financial covenants set forth in Section 7.03
after giving pro forma effect to the incurrence of such Indebtedness;

                  (o)   [reserved];

              (p)    Indebtedness in respect of cash management obligations (including
ordinary course overdraft obligations) and netting services, automatic clearinghouse and similar
arrangements in connection with deposit accounts in the ordinary course of business;

                (q)     Indebtedness (i) arising from endorsements of checks, drafts or other items
of payment for collection or deposit in the ordinary course of business or (ii) constituting
guaranties, endorsement or other liabilities incurred in the course of business in respect of
obligations of (or to) suppliers, customers, lessors and licensees;

                  (r)   [reserved];

               (s)    Indebtedness consisting of obligations to reimburse the issuers of letters of
credit incurred in the ordinary course of business in an aggregate amount not to exceed
$5,000,000 at any time outstanding;

              (t)    accrual of interest, accretion or amortization of original issue discount, or
the payment of interest in kind, in each case, on Indebtedness that otherwise constitutes
Permitted Indebtedness;

              (u)     unsecured Indebtedness of the Parent owing to former employees, officers,
or directors (or any spouses, ex-spouses, or estates of any of the foregoing) incurred in
connection with the repurchase by the Parent of the Equity Interests of the Parent that has been
issued to such Persons, so long as (i) no Event of Default has occurred and is continuing or
would result from the incurrence of such Indebtedness, (ii) the aggregate amount of all such
Indebtedness outstanding at any one time does not exceed $5,000,000, and (iii) such
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Indebtedness is subordinated to the Obligations on terms and conditions reasonably acceptable to
the Administrative Agent;

                  (v)   [reserved]; and

               (w)     unsecured Indebtedness incurred by the Loan Parties not otherwise
permitted by any one or more of the foregoing clauses; provided that the aggregate principal
amount of all such Indebtedness does not exceed the greater of $10,000,000 and 2.5% of Total
Assets of Parent and its Subsidiaries, determined at the time of incurrence of such Indebtedness
as of the most recently ended test period for which financial statements have been delivered
pursuant to Section 7.01(a)(ii) or (a)(iii).

               "Permitted Intercompany Dispositions" means Dispositions of assets from (a)
Loan Parties to other Loan Parties; (b) Subsidiaries that are not Loan Parties to other Subsidiaries
that are not Loan Parties; and (c) Loan Parties to Subsidiaries that are not Loan Parties; provided
that the aggregate consideration paid for all such Dispositions in clause (c) shall not exceed the
greater of $8,000,000 and 2.00% of Total Assets of Parent and its Subsidiaries during any Fiscal
Year.

                "Permitted Intercompany Investments" means Investments made by (a) a Loan
Party to or in another Loan Party (other than the Parent), (b) a Subsidiary that is not a Loan Party
to or in another Subsidiary that is not a Loan Party, (c) a Subsidiary that is not a Loan Party to or
in a Loan Party, so long as, in the case of a loan or advance, the parties thereto are party to the
Intercompany Subordination Agreement, (d) Sizmek to Sizmek Israel pursuant to the Sizmek
Israel Notes, and (e) a Loan Party to or in a Subsidiary that is not a Loan Party so long as (i) the
aggregate amount of all such Investments made by the Loan Parties to or in Subsidiaries that are
not Loan Parties does not exceed the greater of $8,000,000 and 2.0% of Total Assets of the
Parent and its Subsidiaries (determined at the time of the making of such Investment) at any time
outstanding, (ii) no Default or Event of Default has occurred and is continuing either before or
after giving effect to such Investment, (iii) the Liquidity of the Loan Parties shall not be less than
$3,000,000 after giving effect to such Investment and (iv) to the extent such Investment is a loan,
an advance or other extension of credit, such loan, advance or other extension of credit shall be
evidenced by a promissory note that is pledged to the Collateral Agent for the benefit of the
Secured Parties to the extent required to be delivered under the applicable Security Document.

                  "Permitted Investments" means:

                  (a)   Investments in cash and Cash Equivalents;

                (b)    Investments in negotiable instruments deposited or to be deposited for
collection in the ordinary course of business;

               (c)     advances made in connection with purchases of goods or services in the
ordinary course of business (including, without limitation, transfer pricing charges among Parent
and its Subsidiaries incurred in the ordinary course of business);

               (d)     Investments received in settlement of amounts due to any Loan Party or
any of its Subsidiaries effected in the ordinary course of business or owing to any Loan Party or
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any of its Subsidiaries as a result of Insolvency Proceedings involving an Account Debtor or
upon the foreclosure or enforcement of any Lien in favor of a Loan Party or its Subsidiaries;

               (e)     Investments existing on the date hereof, as set forth on Schedule 7.02(e)
hereto, but not any increase in the amount thereof as set forth in such Schedule or any other
modification of the terms thereof;

               (f)    to the extent constituting Investments, deposit and securities accounts
maintained in the ordinary course of business and in compliance with the provisions of the Loan
Documents;

                  (g)   Permitted Intercompany Investments;

                  (h)   Permitted Acquisitions and earnest money deposits in connection
therewith;

                (i)    Equity Interests or other securities acquired in connection with the
satisfaction or enforcement of Indebtedness or claims due or owing to a Loan Party or any of its
Subsidiaries (in bankruptcy of customers or suppliers or otherwise) or as security for any such
Indebtedness or claims, in each case, in the ordinary course of business;

               (j)    deposits of cash made in the ordinary course of business to secure
performance of operating leases, so long as such underlying operating lease is not otherwise
prohibited hereunder;

               (k)      (i) non-cash loans and advances to employees, officers, and directors of
the Parent or any of its Subsidiaries for the purpose of purchasing Equity Interests in the Parent
so long as the proceeds of such loans or advances are used in their entirety to purchase such
Equity Interests in the Parent, and (ii) loans and advances to employees, officers, and directors of
the Parent or any of its Subsidiaries in the ordinary course of business for any business purpose
or (including for the payment of taxes relating to the purchase of Equity Interests directly from
the Parent);

              (l)     loans, advances, guarantees and Investments constituting Indebtedness
permitted by Section 7.02(b);

               (m)      to the extent constituting an Investment, Hedging Agreements permitted
by Section 7.02(b);

               (n)    so long as no Event of Default shall have occurred and be continuing or
would result therefrom, other Investments in an aggregate amount not to exceed the Available
Amount Basket then in effect at such time that is specifically committed and used to finance such
Investments, provided that no such Investments shall be made if the Loan Parties' Liquidity is
less than $2,000,000;

                  (o)   Contingent Obligations permitted under the definition of Permitted
Indebtedness;


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              (p)     Investments made solely with Qualified Equity Interests (so long as no
Change of Control results therefrom or, so long as Event of Default shall have occurred or be
continuing before and after giving effect thereto, Excluded Equity Proceeds (or both);

               (q)    equity Investments by any Loan Party in any Subsidiary of a Loan Party
which is required by law to maintain a minimum net capital requirement or as may be otherwise
required by applicable law;

               (r)    Investments held by a Person acquired in a Permitted Acquisition to the
extent such Investments were not made in contemplation of or in connection with such Permitted
Acquisition and were in existence on the date of such Permitted Acquisition;

               (s)    other Investments not listed above so long as the Leverage Ratio (after
giving pro forma effect to each such Investment is less than 2.00 to 1.00;

              (t)     other Investments not otherwise permitted by any one or more of the
foregoing clauses; provided that the aggregate amount of all such Investments does not exceed at
any time the greater of $10,000,000 and 2.5% of Total Assets of Parent and its Subsidiaries,
determined at the time of the making of such Investment as of the most recently ended test
period for which financial statements have been delivered pursuant to Section 7.01(a)(ii) or
(a)(iii);

                  (u)    the Pledged Intercompany Notes; and

               (v)     to the extent constituting Investments, advances in respect of transfer
pricing and cost-sharing arrangements that are in the ordinary course of business.

                  "Permitted Liens" means:

                  (a)    Liens securing the Obligations;

               (b)     Liens for Taxes, assessments and governmental charges the payment of
which is not required under Section 7.01(c)(ii);

                (c)     Liens imposed by law, such as carriers', warehousemen's, mechanics',
materialmen's, landlords' and other similar Liens arising in the ordinary course of business and
securing obligations (other than Indebtedness for borrowed money) that are not overdue by more
than 30 days or are being contested in good faith and by appropriate proceedings promptly
initiated and diligently conducted, and a reserve or other appropriate provision, if any, as shall be
required by GAAP shall have been made therefor;

               (d)    Liens described on Schedule 7.02(a), provided that any such Lien shall
only secure the Indebtedness that it secures on the Effective Date and any Permitted Refinancing
Indebtedness in respect thereof;

               (e)    purchase money Liens on equipment acquired or held by any Loan Party
or any of its Subsidiaries in the ordinary course of its business to secure Permitted Purchase
Money Indebtedness so long as such Lien only (i) attaches to such property and (ii) secures the

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Indebtedness that was incurred to acquire such property or any Permitted Refinancing
Indebtedness in respect thereof;

                 (f)    deposits and pledges of cash securing (i) obligations incurred in respect of
workers' compensation, unemployment insurance or other forms of governmental insurance or
benefits, (ii) the performance of bids, tenders, leases, contracts (other than for the payment of
money) and statutory obligations or (iii) obligations on surety or appeal bonds, but only to the
extent such deposits or pledges are made or otherwise arise in the ordinary course of business
and secure obligations not past due;

               (g)    with respect to any Facility, easements, zoning restrictions and similar
encumbrances on real property and minor irregularities in the title thereto that do not (i) secure
obligations for the payment of money or (ii) materially impair the value of such property or its
use by any Loan Party or any of its Subsidiaries in the normal conduct of such Person's business;

                (h)    Liens of landlords and mortgagees of landlords (i) arising by statute or
under any lease or related Contractual Obligation entered into in the ordinary course of business,
(ii) on fixtures and movable tangible property located on the real property leased or subleased
from such landlord, (iii) for amounts not yet due or that are being contested in good faith by
appropriate proceedings diligently conducted and (iv) for which adequate reserves or other
appropriate provisions are maintained on the books of such Person in accordance with GAAP;

               (i)     the title and interest of a lessor or sublessor in and to personal property
leased or subleased (other than through a Capitalized Lease), in each case extending only to such
personal property;

               (j)     non-exclusive licenses of Intellectual Property rights in the ordinary
course of business;

               (k)    Liens granted by a Subsidiary of the Parent that is not a Loan Party in
favor of any Loan Party;

              (l)     judgment liens (other than for the payment of taxes, assessments or other
governmental charges) securing judgments and other proceedings not constituting an Event of
Default under Section 9.01(j);

               (m)     rights of set-off or bankers' liens upon deposits of cash in favor of banks
or other depository institutions, solely to the extent incurred in connection with the maintenance
of such deposit accounts in the ordinary course of business;

               (n)     Liens granted in the ordinary course of business on the unearned portion
of insurance premiums securing the financing of insurance premiums to the extent the financing
is permitted under the definition of Permitted Indebtedness;

              (o)    Liens assumed by the Parent and its Subsidiaries in connection with a
Permitted Acquisition that secure Indebtedness permitted by clause (i) of the definition of
Permitted Indebtedness;


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                  (p)   precautionary financing statement filings in connection with operating
leases;

              (q)   Liens solely on any cash earnest money deposits made by any Loan Party
in connection with any letter of intent or purchase agreement with respect to a Permitted
Acquisition;

                (r)    Liens securing Indebtedness permitted under clauses (h), (r) and (s) of the
definition of Permitted Indebtedness, provided that, Indebtedness described in such clauses (h)
and (s), shall be secured solely by cash collateral posted by the applicable Loan Parties to secure
such Indebtedness; and

                 (s)     other Liens which do not secure Indebtedness for borrowed money or
letters of credit and as to which the aggregate amount of the obligations secured thereby does not
exceed $2,000,000.

               "Permitted Purchase Money Indebtedness" means, as of any date of
determination, Indebtedness (other than the Obligations, but including Capitalized Lease
Obligations) incurred to finance the acquisition of any fixed and/or capital assets secured by a
Lien permitted under clause (e) of the definition of "Permitted Liens"; provided that (a) such
Indebtedness is incurred within 60 days after such acquisition, (b) such Indebtedness when
incurred shall not exceed the purchase price of the asset financed and (c) the aggregate principal
amount of all such Indebtedness shall not exceed the greater of (i) $20,000,000 and (ii) 10% of
Total Assets of the Parent and its Subsidiaries, determined at the time of incurrence of such
Indebtedness as of the most recently ended test period for which financial statements have been
delivered pursuant to Section 7.01(a)(ii) or (a)(iii).

               "Permitted Refinancing Indebtedness" means the extension of maturity,
refinancing or modification of the terms of Indebtedness so long as:

              (a)     after giving effect to such extension, refinancing or modification, the
amount of such Indebtedness is not greater than the amount of Indebtedness outstanding
immediately prior to such extension, refinancing or modification (other than by the amount of
premiums paid thereon and the fees and expenses incurred in connection therewith and by the
amount of unfunded commitments with respect thereto);

               (b)    such extension, refinancing or modification does not result in a shortening
of the average weighted maturity (measured as of the extension, refinancing or modification) of
the Indebtedness so extended, refinanced or modified;

               (c)     such extension, refinancing or modification is pursuant to terms that are
not less favorable, taken as a whole, to the Loan Parties and the Lenders than the terms of the
Indebtedness (including, without limitation, terms relating to the collateral (if any) and
subordination (if any)) being extended, refinanced or modified, provided that the interest rate of
the Indebtedness being extended, refinanced or modified may be set at a market rate; and



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               (d)     the Indebtedness that is extended, refinanced or modified is not recourse to
any Person that is liable on account of the obligations other than those Persons which were
obligated with respect to the Indebtedness that was refinanced, renewed, or extended.

                  "Permitted Restricted Payments" means any of the following Restricted Payments
made by:

                (a)     any Loan Party to the Parent (or any direct or indirect parent thereof) to be
used for (i) customary director indemnification and expense reimbursement payments to the
directors of such Person, (ii) reasonable and customary fees to directors of the Parent (or any
direct or indirect parent thereof), (iii) fees and expenses relating to debt or equity offerings
(whether or not successful), (iv) operating expenses and corporate overhead expenses of the
Parent in the ordinary course and (v) tax (including (A) only consolidated tax liabilities of the
Parent (or any direct or indirect corporate parent thereof that is included in any consolidated,
combined, unitary or other group with Parent for tax purposes) to the extent attributable to the
income of the Loan Parties (determined in good faith) and (B) franchise taxes), financial and
other reporting and similar customary administrative costs and expenses of the Parent (or any
direct or indirect parent thereof);

                  (b)    [reserved];

                (c)    any Subsidiary of a Loan Party may pay dividends or make similar
distributions to a Loan Party (other than a Holdco);

                  (d)    [reserved];

               (e)    the Parent to pay dividends in the form of Qualified Equity Interests or,
with the proceeds of Excluded Equity Proceeds;

               (f)     Restricted Payments to repurchase, redeem or otherwise acquire or retire
for value any Equity Interests of Parent (or any parent company of Parent) held by future, current
or former directors, officers, employees, members of management and consultants of any Loan
Party and/or their respective estates, heirs, family members, spouses, domestic partners, former
spouses or domestic partners pursuant to any employee equity subscription agreement, stock
option agreement or stock ownership arrangement upon the death, disability, retirement or
termination of employment of any such director, officer, employee, member of management or
consultant to the extent (i) not exceeding during any Fiscal Year an aggregate amount equal to
$1,000,000 and (ii) both before and after giving effect to any such payment, no Event of Default
exists or would occur as a result thereof;

              (g)     Restricted Payments made in connection with the Rocket Fuel Acquisition
(including the payment of any working capital adjustments pursuant to the Acquisition
Agreement) and the payment of any purchase price adjustment made in connection with any
Permitted Acquisition or other Permitted Investment;

                (h)    (i) payment of management fees pursuant to the Management Agreement
to any of its shareholders or other equityholders or any Controlled Investment Affiliates thereof
in an aggregate amount not to exceed $2,000,000 in any Fiscal Year of the Parent, so long as
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(A) no Default or Event of Default shall have occurred and be continuing, or would result from
the making of such payment and (B) the Liquidity of the Loan Parties is not less than $2,000,000
both before and after giving effect to such payment and (ii) reimbursement of expenses to the
Sponsor not to exceed $2,000,000 during any 12-month period; provided, however, that any
payment not made during any Fiscal Year due to the foregoing restrictions may be deferred and
paid at such time as the conditions described in clauses (i) or (ii) above, as applicable, are
satisfied prior to the making of any such catch-up payment);

               (i)     the declaration and payment of dividends on Parent's common stock (or
the payment of Restricted Payments to any direct or indirect parent company of parent to fund a
payment of dividends on such Parent's common stock), following consummation of an Initial
Public Offering, of up to 6.0% of the Net Cash Proceeds of such Initial Public Offering received
by or contributed to the Borrower; provided that (i) no Default or Event of Default shall have
occurred and be continuing at the time of such declaration and (ii) in no event shall the Loan
Parties conduct any Initial Public Offering unless the proceeds received by the Loan Parties from
such Initial Public Offering are sufficient to pay all of the Obligations in full in cash;

                (j)    commencing after the completion of 8 full Fiscal Quarters following the
Effective Date and so long as no Event of Default shall have occurred and be continuing or
would result therefrom, Restricted Payments up to the then Available Amount Basket, provided
that no such Restricted Payments shall be made if (i) the Loan Parties' Liquidity is less than
$5,000,000 or (ii) after giving effect to such Restricted Payment, the Leverage Ratio of the
Parent and its Subsidiaries is equal to or greater than 2.00 to 1.00; and

                (k)     so long as no Event of Default shall have occurred and be continuing or
would result therefrom, other Restricted Payments not described above, provided that no such
Restricted Payments shall be made if (i) the Loan Parties' Liquidity is less than $25,000,000 or
(ii) after giving effect to such Restricted Payment, Leverage Ratio is equal to or greater than
1.50x less than the then-applicable Leverage Ratio set forth in Section 7.03.

               "Permitted Specified Liens" means Permitted Liens described in clauses (a), (b)
and (c) of the definition of Permitted Liens, and, solely in the case of Section 7.01(b)(i),
including clauses (g), (h) and (i) of the definition of Permitted Liens.

                "Person" means an individual, corporation, limited liability company, partnership,
association, joint-stock company, trust, unincorporated organization, joint venture or other
enterprise or entity or Governmental Authority.

              "Petty Cash Accounts" means Cash Management Accounts that do not contain
deposits at any time in an aggregate amount in excess of $100,000 for any one account and
$500,000 in the aggregate for all such accounts.

                  "Plan" means any Employee Plan or Multiemployer Plan.

               "Pledged Intercompany Notes" means all rights, titles, and interests of any Loan
Party in and to all promissory notes and other Instruments payable to such Loan Party, including
the Sizmek Israel Notes, all inter-company notes from the Subsidiaries or Affiliates of such Loan

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Party and those set forth on Schedule 6.01(dd), which notes will be pledged to the Collateral
Agent for the benefit of the Lenders pursuant to the Security Agreement.

                 "Post-Default Rate" means a rate of interest per annum equal to the rate of interest
otherwise in effect from time to time pursuant to the terms of this Agreement plus 2.00%, or, if a
rate of interest is not otherwise in effect, interest at the highest rate specified herein for any Loan
then outstanding prior to an Event of Default plus 2.00%.

                "pro forma" or "pro forma basis" or "pro forma effect" means, with respect to any
calculation of compliance with any financial covenant (including, without limitation, the
Leverage Ratio and Consolidated EBITDA and any component financial definitions thereof), (a)
the making of such calculation after giving effect on a pro forma basis to the consummation of
the applicable Subject Transaction as if such Subject Transaction had been consummated on the
first day of such calculation period; (b) if such Subject Transaction constitutes: (i) a Disposition,
any income statement items (whether positive or negative) attributable to the property or Person
subject to such Disposition shall be excluded and (ii) a Permitted Acquisition or an Investment,
any income statement items (whether positive or negative) attributable to the property or Person
subject to such Permitted Acquisition or Investment shall be included; and (c) with respect to any
Indebtedness described in clause (d) of the definition of Subject Transaction, (i) any retirement,
redemption or repayment thereof by the Parent or any of its Subsidiaries (including any Person
which becomes a Subsidiary pursuant to or in connection with such Subject Transaction) shall be
deemed to have occurred on the first day of such calculation period and (ii) any incurrence or
issuance (and the proceeds thereof applied) or assumption of such Indebtedness by the Parent or
any of its Subsidiaries (including any Person which becomes a Subsidiary pursuant to or in
connection with such Subject Transaction) shall be deemed to have occurred (and the proceeds
thereof applied) on the first day of such calculation period only to the extent that such
Indebtedness remains outstanding as of the last day of such test period; provided that, (A) if such
Indebtedness has a floating or formula rate, such Indebtedness shall have an implied rate of
interest for the applicable period for purposes of this definition determined by utilizing the rate
that is or would be in effect with respect to such Indebtedness at the relevant date of
determination (taking into account any interest hedging arrangements applicable to such
Indebtedness), (B) interest on any obligations with respect to Capital Leases shall be deemed to
accrue at an interest rate reasonably determined by an Authorized Officer of the Borrower to be
the rate of interest implicit in such obligation in accordance with GAAP and (C) interest on any
Indebtedness that may optionally be determined at an interest rate based upon a factor of a prime
or similar rate, a eurocurrency interbank offered rate or other rate shall be determined to have
been based upon the rate actually chosen, or if none, then based upon such optional rate chosen
as the Borrower or such Subsidiary may designate; provided further, that, the foregoing pro
forma adjustments described in clause (b) above may be applied to any such test or covenant
solely to the extent that such adjustments (w) are consistent with the definition of "Consolidated
EBITDA", (x) give effect to events (including operating expense reductions) that are (1) directly
attributable to such transaction, (2) expected to have a continuing impact on the Parent and its
Subsidiaries, (3) factually supportable, reasonably verifiable and made in good faith, and (4)
described in a reasonably detailed statement or schedule and certified by an Authorized Officer
of the Borrower.



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                  "Pro Rata Share" means, with respect to:

               (a)     a Lender's obligation to make Revolving Loans and the right to receive
payments of interest, fees, and principal with respect thereto, the percentage obtained by dividing
(i) such Lender's Revolving Credit Commitment, by (ii) the Total Revolving Credit
Commitment, provided that, if the Total Revolving Credit Commitment has been reduced to
zero, the numerator shall be the aggregate unpaid principal amount of such Lender's Revolving
Loans (including Agent Advances) and the denominator shall be the aggregate unpaid principal
amount of all Revolving Loans (including Agent Advances),

              (b)     with respect to a Lender's obligation to make the Term Loan and the right
to receive payments of interest, fees, and principal with respect thereto, the percentage obtained
by dividing (i) such Lender's Term Loan Commitment, by (ii) the Total Term Loan
Commitment, provided that, if the Total Term Loan Commitment has been reduced to zero, the
numerator shall be the aggregate unpaid principal amount of such Lender's portion of the Term
Loan and the denominator shall be the aggregate unpaid principal amount of the Term Loan, and

              (c)     with respect to all other matters (including, without limitation, the
indemnification obligations arising under Section 10.05) regarding a Lender, the percentage
obtained by dividing (i) the sum of such Lender's Revolving Credit Commitment and the unpaid
principal amount of such Lender's portion of the Term Loans and the Agent Advances, by (ii) the
sum of the Total Revolving Credit Commitment and the aggregate unpaid principal amount of
the Term Loans and Agent Advances, provided that, if such Lender's Revolving Credit
Commitment shall have been reduced to zero, such Lender's Revolving Credit Commitment shall
be deemed to be the aggregate unpaid principal amount of such Lender's Revolving Loans
(including Agent Advances) and if the Total Revolving Credit Commitment shall have been
reduced to zero, the Total Revolving Credit Commitment shall be deemed to be the aggregate
unpaid principal amount of all Revolving Loans (including Agent Advances).

               "Proceeds" means (a) all "proceeds" (as defined in Article 9 of the Uniform
Commercial Code) with respect to the Collateral and (b) whatever is recoverable or recovered
when any Collateral is sold, exchanged, collected, or disposed of, whether voluntarily or
involuntarily.

               "Projections" means financial projections of the Parent and its Subsidiaries
delivered pursuant to Section 6.01(g)(ii), as updated from time to time pursuant to
Section 7.01(a)(vi).

               "Published Rate" means the rate of interest published each Business Day in the
Wall Street Journal "Money Rates" listing under the caption "London Interbank Offered Rates"
for a one month period (or, if no such rate is published therein for any reason, then the Published
Rate shall be the LIBOR Rate for a one month period as published in another publication
selected by the Administrative Agent).

               "Purchase Price" means, with respect to any Acquisition, an amount equal to the
sum of (a) the aggregate consideration, whether cash, property or securities (including, without
limitation, the fair market value of any Equity Interests of any Loan Party or any of its

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Subsidiaries issued in connection with such Acquisition), paid or delivered by a Loan Party or
any of its Subsidiaries (whether as initial consideration or through the payment or disposition of
deferred consideration, including, without limitation, in the form of seller financing, royalty
payments (in excess of $500,000 in any Fiscal Year), payments allocated towards non-compete
covenants, payments to principals for consulting services or other similar payments) in
connection with such Acquisition, plus (b) the aggregate amount of liabilities of the acquired
business (net of current assets of the acquired business) that would be reflected on a balance
sheet (if such were to be prepared) of the Parent and its Subsidiaries after giving effect to such
Acquisition.

               "Qualified Cash" means, as of any date of determination, the aggregate amount of
unrestricted cash and Cash Equivalents of the Loan Parties maintained in deposit accounts in the
name of a Loan Party as of such date, which deposit accounts are subject to Control Agreements
(or equivalent account direction letters in respect of deposit accounts located outside the United
States) in form and substance reasonably satisfactory to the Collateral Agent; provided that cash
and Cash Equivalents in deposit or securities accounts that are not subject to a Control
Agreement shall nevertheless constitute “Qualified Cash” until such time as this Agreement
requires Control Agreements to be in place over such deposit or securities accounts.

                "Qualified ECP Loan Party" means each Guarantor that on the Eligibility Date is
(a) a corporation, partnership, proprietorship, organization, trust, or other entity other than a
"commodity pool" as defined in Section 1a(10) of the Commodities Exchange Act and CFTC
regulations thereunder that has total assets exceeding $10,000,000 or (b) an Eligible Contract
Participant that can cause another person to qualify as an Eligible Contract Participant on the
Eligibility Date under Section 1a(18)(A)(v)(II) of the Commodity Exchange Act by entering into
or otherwise providing a "letter of credit or keepwell, support, or other agreement" for purposes
of Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

                "Qualified Equity Interests" means, with respect to any Person, all Equity
Interests of such Person that are not Disqualified Equity Interests.

              "Real Property Deliverables" means each of the following agreements,
instruments and other documents (or, in the case of a Facility not located in the United States of
America, any equivalent instruments and other documents) in respect of each Facility owned by
any Loan Party:

                  (a)   a Mortgage duly executed by the applicable Loan Party,

               (b)    evidence of the recording of each Mortgage in such office or offices as
may be necessary or, in the opinion of the Collateral Agent, desirable to perfect the Lien
purported to be created thereby or to otherwise protect the rights of the Collateral Agent and the
Lenders thereunder;

               (c)     a Title Insurance Policy or bring-down of the existing Title Insurance
Policy with respect to each Mortgage;

              (d)     either (x) a current ALTA survey and a surveyor's certificate, in form and
substance reasonably satisfactory to the Collateral Agent, certified to the Collateral Agent and to
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the issuer of the Title Insurance Policy with respect thereto by a professional surveyor licensed in
the state in which such Facility is located and reasonably satisfactory to the Collateral Agent or
(y) a prior ALTA survey in form and substance reasonably satisfactory to the Collateral Agent,
together with an affidavit of the applicable Loan Party certifying that there has been no material
change to the Facility since the date of such ALTA Survey;

                (e)     either (x) a copy of each letter issued by the applicable Governmental
Authority, evidencing each Facility's compliance with all applicable building codes, fire codes,
other health and safety rules and regulations, parking, density and height requirements and other
building and zoning laws together with a copy of all certificates of occupancy issued with respect
to each Facility or (y) a zoning report reasonably acceptable to the Collateral Agent;

               (f)    an opinion of counsel, reasonably satisfactory to the Collateral Agent, in
the state where such Facility is located with respect to the enforceability of the Mortgage to be
recorded and such other matters as the Collateral Agent may reasonably request;

              (g)     a satisfactory ASTM 1527-00 Phase I Environmental Site Assessment
("Phase I ESA") (and, if requested by the Collateral Agent based upon the results of such Phase I
ESA, an ASTM 1527-00 Phase II Environmental Site Assessment) of each Facility, in form and
substance and by an independent firm satisfactory to the Collateral Agent;

               (h)     flood insurance for such Facility if all or a portion of such Facility is
located in an area designated by the Federal Emergency Management Agency as an area having
special flood hazards (including, without limitation, those areas designated as Zone A or
Zone V), and in which flood insurance has been made available under the U.S. National Flood
Insurance Program, in an amount equal to the full replacement cost of the buildings, fixtures and
personalty located on such real property or such other amount as may be agreed to by the
Collateral Agent in writing; and

              (i)    such other agreements, instruments and other documents (including
guarantees and opinions of counsel) as the Collateral Agent may reasonably require.

                "Reference Rate" means, for any day, a rate per annum equal to the highest of
(a) 4.00% per annum, (b) the sum of the Federal Funds Open Rate in effect on such day plus one
half of one percent (0.5%) per annum, (c) the sum of the Daily LIBOR Rate in effect on such day
plus one percent (1.0%) per annum, so long as a Daily LIBOR Rate is offered, ascertainable and
not unlawful and (d) the rate last quoted by JPMorgan Chase Bank in New York, New York as
its "reference rate", "base rate" or "prime rate", or if JPMorgan Chase Bank ceases to quote such
rate, the highest per annum interest rate published by the Federal Reserve Board in Federal
Reserve Statistical Release H.15 (519) (Selected Interest Rates) as the "bank prime loan" rate or,
if such rate is no longer quoted therein, any similar rate quoted therein (as determined by the
Administrative Agent) or any similar release by the Federal Reserve Board (as determined by the
Administrative Agent). Each change in the Reference Rate shall be effective from and including
the date such change is publicly announced as being effective.

              "Reference Rate Loan" means each portion of a Loan that bears interest at a rate
determined by reference to the Reference Rate.

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                  "Register" has the meaning specified therefor in Section 12.07(f).

              "Registered Intellectual Property" means Intellectual Property issued, registered,
renewed or the subject of a pending application.

                  "Registered Loans" has the meaning specified therefor in Section 12.07(f).

              "Regulation T", "Regulation U" and "Regulation X" mean, respectively,
Regulations T, U and X of the Board or any successor, as the same may be amended or
supplemented from time to time.

               "Related Fund" means, with respect to any Person, an Affiliate of such Person, or
a fund or account managed by such Person or an Affiliate of such Person.

                 "Release" means any spilling, leaking, pumping, pouring, emitting, emptying,
discharging, injecting, escaping, leaching, seeping, migrating, dumping or disposing of any
Hazardous Material (including the abandonment or discarding of barrels, containers and other
closed receptacles containing any Hazardous Material) into the indoor or outdoor environment,
including, without limitation, the movement of Hazardous Materials through or in the ambient
air, soil, surface or ground water, or property.

                "Remedial Action" means all actions taken to (a) clean up, remove, remediate,
contain, treat, monitor, assess, evaluate or in any other way address Hazardous Materials in the
indoor or outdoor environment; (b) prevent or minimize a Release or threatened Release of
Hazardous Materials so they do not migrate or endanger or threaten to endanger public health or
welfare or the indoor or outdoor environment; (c) perform pre-remedial studies and
investigations and post-remedial operation and maintenance activities; or (d) perform any other
actions authorized by 42 U.S.C. § 9601.

                  "Replacement Lender" has the meaning specified therefor in Section 12.02(b).

              "Reportable Event" means an event described in Section 4043 of ERISA (other
than an event not subject to the provision for 30-day notice to the PBGC under the regulations
promulgated under such Section).

             "Required Lenders" means Lenders whose Pro Rata Shares (calculated in
accordance with clause (c) of the definition thereof) aggregate at least 50.1%. The Pro Rata
Share of any Defaulting Lender shall be disregarded in determining Required Lenders at any
time.

                "Requirements of Law" means, with respect to any Person, collectively, the
common law and all federal, state, provincial, local, foreign, multinational or international laws,
statutes, codes, treaties, standards, rules and regulations, guidelines, ordinances, orders,
judgments, writs, injunctions, decrees (including administrative or judicial precedents or
authorities) and the interpretation or administration thereof by, and other determinations,
directives, requirements or requests of, any Governmental Authority, in each case that are
applicable to or binding upon such Person or any of its property or to which such Person or any
of its property is subject.
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               "Reserve Percentage" means, on any day, for any Lender, the maximum
percentage prescribed by the Board (or any successor Governmental Authority) for determining
the reserve requirements (including any basic, supplemental, marginal, or emergency reserves)
that are in effect on such date with respect to eurocurrency funding (currently referred to as
"eurocurrency liabilities") of that Lender, but so long as such Lender is not required or directed
under applicable regulations to maintain such reserves, the Reserve Percentage shall be zero.

               "Restricted Affiliated Lender" means any Affiliated Lender (excluding any
Affiliated Investment Fund and any natural person).

                "Restricted Payment" means (a) the declaration or payment of any dividend or
other distribution, direct or indirect, on account of any Equity Interests of any Loan Party or any
of its Subsidiaries, now or hereafter outstanding, (b) the making of any repurchase, redemption,
retirement, defeasance, sinking fund or similar payment, purchase or other acquisition for value,
direct or indirect, of any Equity Interests of any Loan Party or any direct or indirect parent of any
Loan Party, now or hereafter outstanding, (c) the making of any payment to retire, or to obtain
the surrender of, any outstanding warrants, options or other rights for the purchase or acquisition
of shares of any class of Equity Interests of any Loan Party, now or hereafter outstanding, (d) the
return of any Equity Interests to any shareholders or other equity holders of any Loan Party or
any of its Subsidiaries, or make any other distribution of property, assets, shares of Equity
Interests, warrants, rights, options, obligations or securities thereto as such or (e) the payment of
any management, consulting, monitoring or advisory fees or any other fees or expenses
(including the reimbursement thereof by any Loan Party or any of its Subsidiaries, but excluding
payment of customary indemnification obligations owing by any Loan Party or any of its
Subsidiaries) pursuant to any management, consulting, monitoring, advisory or other services
agreement to any of the shareholders or other equityholders of any Loan Party or any of its
Subsidiaries or other Affiliates, or to any other Subsidiaries or Affiliates of any Loan Party.

                "Retained Excess Cash Flow Amount" means, with respect to any Fiscal Year,
starting with Fiscal Year ending December 31, 2018, 50% of the Excess Cash Flow of the Parent
and its Subsidiaries for such Fiscal Year (and with respect to any prior Fiscal Year, zero);
provided that, Retained Excess Cash Flow Amount shall mean 75% of the Excess Cash Flow of
the Parent and its Subsidiaries for such Fiscal Year if Excess Cash Flow decreases to 25% of
Consolidated EBITDA for such Fiscal Year in accordance with Section 2.05(c)(i); provided,
further, that (a) until all Excess Cash Flow payments required to be made pursuant to Section
2.05(c)(i) are actually made with respect to such Fiscal Year, the Retained Excess Cash Flow
Amount with respect to such Fiscal Year shall be deemed to be zero and (b) the Retained Excess
Cash Flow Amount may not be less than zero.

               "Revolving Credit Commitment" means, with respect to each Lender, the
commitment of such Lender to make Revolving Loans to the Borrower in the amount set forth
opposite such Lender's name in Schedule 1.01(A) hereto or in the Assignment and Acceptance
pursuant to which such Lender became a Lender under this Agreement, as such amount may be
terminated or reduced from time to time in accordance with the terms of this Agreement.

               "Revolving Loan" means a loan made by a Lender to the Borrower pursuant to
Section 2.01(a)(i).

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              "Revolving Loan Lender" means a Lender with a Revolving Credit Commitment
or a Revolving Loan.

                  "Rocket Fuel Acquisition" has the meaning specified therefor in the Recitals.

              "Rocket Fuel Material Adverse Effect" has the meaning ascribed to "Material
Adverse Effect" in the Acquisition Agreement.

               "Sale and Leaseback Transaction" means, with respect to the Parent or any of its
Subsidiaries, any arrangement, directly or indirectly, with any Person whereby the Parent or any
of its Subsidiaries shall sell or transfer any property used or useful in its business, whether now
owned or hereafter acquired, and thereafter rent or lease such property or other property that it
intends to use for substantially the same purpose or purposes as the property being sold or
transferred.

              "SEC" means the Securities and Exchange Commission or any other similar or
successor agency of the Federal government administering the Securities Act.

                  "Secured Party" means any Agent and any Lender.

               "Securities Act" means the Securities Act of 1933, as amended, or any similar
Federal statute, and the rules and regulations of the SEC thereunder, all as the same shall be in
effect from time to time.

                  "Securitization" has the meaning specified therefor in Section 12.07(l).

              "Security Agreement" means a Pledge and Security Agreement, in form and
substance reasonably satisfactory to the Collateral Agent, made by a Loan Party in favor of the
Collateral Agent for the benefit of the Secured Parties securing the Obligations.

                "Security Documents" means, collectively, any Security Agreement, any IP
Security Agreement, any Mortgage, any Control Agreement, and any other agreement executed
and delivered by a Loan Party which purports to grant a Lien to any Collateral Agent for the
benefit of the Secured Parties, in each case, as amended, amended and restated, supplemented or
otherwise modified from time to time, securing all or any portion of the Obligations as set forth
therein.

              "Seller" means any Person that sells Equity Interests or other property or assets to
a Loan Party or a Subsidiary of a Loan Party in a Permitted Acquisition.

                  "Settlement Period" has the meaning specified therefor in Section 2.02(d)(i)
hereof.

                  "Sizmek" means Sizmek Technologies, Inc., a Delaware corporation.

                "Sizmek Israel" means Sizmek Technologies, Ltd., a company organized under
the laws of Israel.


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               "Sizmek Israel Notes" means, collectively, as the same may be amended, restated,
supplemented, increased, consolidated or otherwise modified from time to time, to the extent
permitted under this Agreement, (i) the Amended and Restated Sizmek Israel Note and (ii) the
Sizmek Israel Secured Note.

              "Sizmek Israel Secured Note" means that certain Promissory Note effective as of
January 1, 2016, by Sizmek Israel in favor of Sizmek in the original principal amount of
$15,000,000, which note is secured pursuant to that certain Security Agreement effective as of
January 1, 2016 between Sizmek Israel, as debtor, and Sizmek, as secured party.

              "Sizmek Representations" means the representations and warranties set forth on
Schedule 1.01(F).

                "Solvent" means, with respect to any Person on a particular date, that on such date
(a) the present fair value of the property of such Person and its subsidiaries on a consolidated
basis and measured on a going concern basis, is not less than the total liabilities of such Person
and its subsidiaries on a consolidated basis, (b) the present fair salable value of the property of
such Person and its subsidiaries on a consolidated basis and measured on a going concern basis,
will be greater than the amount that will be required to pay the probable liability of such Person
and its subsidiaries on a consolidated basis as they become absolute and matured in the ordinary
course of business, (c) such Person and its subsidiaries on a consolidated basis will be able to pay
their debts and liabilities, contingent obligations and other commitments as they mature in the
ordinary course of business, (d) such Person and its subsidiaries on a consolidated basis do not
intend to, and do not believe that they will, incur debts or liabilities beyond their ability to pay as
such debts and liabilities mature in the ordinary course of business, and (e) such Person and its
subsidiaries on a consolidated basis are not engaged in business or a transaction, and is not about
to engage in business or a transaction, for which such Person's and its subsidiaries’ property on a
consolidated basis would constitute unreasonably small capital.

               "Specified Acquisition Agreement Representations" means, with respect to the
Rocket Fuel Acquisition or any Permitted Acquisition, the representations and warranties set
forth in the definitive agreement therefor with respect to the applicable Acquisition Assets, but
solely to the extent that the Parent or any of its Subsidiaries has the right to terminate its
obligations under such agreement or decline to consummate the Permitted Acquisition as a result
of a breach of such representations and warranties without regard to the Parent's or such
Subsidiary's waiver of such representations and warranties.

               "Sponsor" means Vector Capital Management, LP and any of its Affiliates, and
funds or partnerships managed or advised by any of them or any of their respective Affiliates but
not including, however, any portfolio company of any of the foregoing.

              "Standard & Poor's" means S&P Global Ratings, a division of S&P Global Inc.
and any successor thereto.

               "Subject Transaction" means, with respect to any test period, (a) the Transactions,
(b) any Permitted Acquisition or other Investment permitted under this Agreement that results in
a Person becoming a Subsidiary (whether by acquiring all or substantially all of the assets or any

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business line, unit or division or any plant of such Person or by acquiring a majority of the
Equity Interests of such Person), (c) any Disposition of all or substantially all of the assets or
Equity Interests of any Loan Party (or any business unit, line of business or division of a Loam
Party or any of its Subsidiaries) that is expressly permitted by this Agreement, (d) to extent
expressly permitted by this Agreement, all Indebtedness (other than revolving Indebtedness,
except to the extent such revolving Indebtedness is incurred to refinance other outstanding
Indebtedness, to finance Permitted Acquisitions or other Investments or to finance a Restricted
Payment) incurred or issued after the first day of the relevant calculation period (whether
incurred to finance a Permitted Acquisition, to refinance Indebtedness or otherwise) that remains
outstanding as of the last day of such test period and/or (e) any other event that by the terms of
the Loan Documents requires "pro forma" compliance with a test or covenant hereunder or
requires such test or covenant to be calculated on a "pro forma basis".

              "Subordinated Indebtedness" means Indebtedness of any Loan Party the terms of
which (including, without limitation, payment terms, interest rates, covenants, remedies, defaults
and other material terms) are reasonably satisfactory to the Collateral Agent and the Required
Lenders and which has been expressly subordinated in right of payment to all Indebtedness of
such Loan Party under the Loan Documents (i) by the execution and delivery of a subordination
agreement, in form and substance reasonably satisfactory to the Collateral Agent and the
Required Lenders, or (ii) otherwise on terms and conditions satisfactory to the Collateral Agent
and the Required Lenders.

                 "Subsidiary" means, with respect to any Person at any date, any corporation,
limited or general partnership, limited liability company, trust, estate, association, joint venture
or other business entity (a) the accounts of which would be consolidated with those of such
Person in such Person's consolidated financial statements if such financial statements were
prepared in accordance with GAAP or (b) of which more than 50% of (i) the outstanding Equity
Interests having (in the absence of contingencies) ordinary voting power to elect a majority of
the Board of Directors of such Person, (ii) in the case of a partnership or limited liability
company, the interest in the capital or profits of such partnership or limited liability company or
(iii) in the case of a trust, estate, association, joint venture or other entity, the beneficial interest
in such trust, estate, association or other entity business is, at the time of determination, owned or
controlled directly or indirectly through one or more intermediaries, by such Person. References
to a Subsidiary shall mean a Subsidiary of the Parent unless the context expressly provides
otherwise.

               "Swap" means any "swap" as defined in Section 1a(47) of the Commodities
Exchange Act and regulations thereunder other than (a) a swap entered into on, or subject to the
rules of, a board of trade designated as a contract market under Section 5 of the Commodities
Exchange Act, or (b) a commodity opinion entered into pursuant to Commodity Futures Trading
Commission Regulation 32.3(a).

              "Swap Obligation" means, with respect to any Guarantor, any obligation to pay or
perform under any agreement, contract or transaction that constitutes a Swap.

                  "Taxes" has the meaning specified therefor in Section 2.09(a).


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                 "Termination Date" means the first date on which all of the Obligations are paid
in full in cash and the Commitments of the Lenders are terminated.

                 "Termination Event" means (a) a Reportable Event with respect to any Employee
Plan, (b) any event that causes any Loan Party to incur liability under Section 409, 502(i), 502(l),
515, 4062, 4063, 4064, 4069, 4201, 4204 or 4212 of ERISA or Section 4971 or 4975 of the
Internal Revenue Code, (c) the filing of a notice of intent to terminate an Employee Plan or the
treatment of an Employee Plan amendment as a termination under Section 4041 of ERISA,
(d) the institution of proceedings by the PBGC to terminate an Employee Plan, or (e) any other
event or condition that could reasonably be expected to constitute grounds under Section 4042 of
ERISA for the termination of, or the appointment of a trustee to administer, any Employee Plan.

              "Term Loan" and "Term Loans" means the loans made by the Term Loan Lenders
to the Borrower pursuant to Section 2.01(a)(ii).

               "Term Loan Commitment" means, with respect to each Lender, the commitment
of such Lender to make the Term Loan to the Borrower in the amount set forth in
Schedule 1.01(A) hereto or in the Assignment and Acceptance pursuant to which such Lender
became a Lender under this Agreement, as the same may be terminated or reduced from time to
time in accordance with the terms of this Agreement.

                  "Term Loan Lender" means a Lender with a Term Loan Commitment or a Term
Loan.

              "Term Loan Obligations" means any Obligations with respect to the Term Loan
(including, without limitation, the principal thereof, the interest thereon, and the fees and
expenses specifically related thereto).

               "Title Insurance Policy" means a mortgagee's loan policy, in form and substance
reasonably satisfactory to the Collateral Agent, together with all endorsements made from time
to time thereto, issued to the Collateral Agent by or on behalf of a title insurance company
selected by or otherwise reasonably satisfactory to the Collateral Agent, insuring the Lien created
by a Mortgage in an amount and on terms and with such endorsements reasonably satisfactory to
the Collateral Agent, delivered to the Collateral Agent.

              "Total Assets" means the total consolidated assets of the Parent and its
Subsidiaries (other than Excluded Subsidiaries), as shown on the most recent financial
statements of the Parent that the Agents has received in accordance with the terms of this
Agreement.

               "Total Commitment" means the sum of the Total Revolving Credit Commitment
and the Total Term Loan Commitment.

              "Total Revolving Credit Commitment" means the sum of the amounts of the
Lenders' Revolving Credit Commitments.

            "Total Term Loan Commitment" means the sum of the amounts of the Lenders'
Term Loan Commitments, which, as of the Effective Date, equals $135,000,000.
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               "Transactions" means, collectively, (a) the Closing Equity Investment, (b) the
consummation of the Rocket Fuel Acquisition and the other transactions contemplated by the
Acquisition Agreement, (c) the execution and delivery of the Loan Documents and the
incurrence of the Term Loans under this Agreement and (e) the payment of the fees, costs and
expenses related to the foregoing.

                  "Transferee" has the meaning specified therefor in Section 2.09(a).

                  "Uniform Commercial Code" or "UCC" has the meaning specified therefor in
Section 1.04.

                  "Unused Line Fee" has the meaning specified therefor in Section 2.06(b).

                "USA PATRIOT Act" means the Uniting and Strengthening America by
Providing Appropriate Tools Required to Intercept and Obstruct Terrorism (PATRIOT) Act of
2001 (Title III of Pub. L. 107-56, Oct. 26, 2001)) as amended by the USA Patriot Improvement
and Reauthorization Act of 2005 (Pub. L. 109-177, March 9, 2006).

                  "WARN" has the meaning specified therefor in Section 6.01(p).

              “Wells Fargo Credit Agreement” the Credit Agreement, dated as of September
27, 2016, by and among Sizmek, Parent, the lenders party thereto and Wells Fargo Bank,
National Association, as amended, restated, amended and restated, supplemented or otherwise
modified from time to time prior to the date hereof.

               "Weighted Average Life to Maturity" means, when applied to any Indebtedness at
any date, the number of years obtained by dividing: (i) the sum of the products obtained by
multiplying (a) the amount of each then remaining installment, sinking fund, serial maturity or
other required payments of principal, including payment at final maturity, in respect thereof, by
(b) the number of years (calculated to the nearest one-twelfth) that will elapse between such date
and the making of such payment; by (ii) the then outstanding principal amount of such
Indebtedness.

               "Working Capital" means, at any date of determination thereof, (a) the sum, for
any Person and its Subsidiaries, of (i) the unpaid face amount of all Account Receivables of such
Person and its Subsidiaries as at such date of determination, plus (ii) the aggregate amount of
prepaid expenses and other current assets of such Person and its Subsidiaries as at such date of
determination (other than cash, Cash Equivalents and any Indebtedness owing to such Person or
any of its Subsidiaries by Affiliates of such Person), minus (b) the sum, for such Person and its
Subsidiaries, of (i) the unpaid amount of all accounts payable of such Person and its Subsidiaries
as at such date of determination, plus (ii) the aggregate amount of all accrued expenses of such
Person and its Subsidiaries as at such date of determination (other than the current portion of
long-term debt and all accrued interest and taxes).

                Section 1.02 Terms Generally. The definitions of terms herein shall apply
equally to the singular and plural forms of the terms defined. Whenever the context may require,
any pronoun shall include the corresponding masculine, feminine and neuter forms. The words
"include", "includes" and "including" shall be deemed to be followed by the phrase "without
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limitation". The word "will" shall be construed to have the same meaning and effect as the word
"shall". Unless the context requires otherwise, (a) any definition of or reference to any
agreement, instrument or other document herein shall be construed as referring to such
agreement, instrument or other document as from time to time amended, supplemented or
otherwise modified (subject to any restrictions on such amendments, supplements or
modifications set forth herein), (b) any reference herein to any Person shall be construed to
include such Person's successors and assigns, (c) the words "herein", "hereof" and "hereunder",
and words of similar import, shall be construed to refer to this Agreement in its entirety and not
to any particular provision hereof, (d) all references herein to Articles, Sections, Exhibits and
Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to,
this Agreement and (e) the words "asset" and "property" shall be construed to have the same
meaning and effect and to refer to any right or interest in or to assets and properties of any kind
whatsoever, whether real, personal or mixed and whether tangible or intangible.

                 Section 1.03 Certain Matters of Construction. References in this Agreement to
"determination" by any Agent include good faith estimates by such Agent (in the case of
quantitative determinations) and good faith beliefs by such Agent (in the case of qualitative
determinations). A Default or Event of Default shall be deemed to exist at all times during the
period commencing on the date that such Default or Event of Default occurs to the date on which
such Default or Event of Default is waived in writing pursuant to this Agreement or is cured
within any period of cure expressly provided for in this Agreement. Any Lien referred to in this
Agreement or any other Loan Document as having been created in favor of any Agent (or any
subagent or designee or delegee of any Agent), any agreement entered into by any Agent (or any
subagent or designee or delegee of any Agent) pursuant to this Agreement or any other Loan
Document, any payment made by or to or funds received by any Agent (or any subagent or
designee or delegee of any Agent) pursuant to or as contemplated by this Agreement or any other
Loan Document, or any act taken or omitted to be taken by any Agent (or any subagent or
designee or delegee of any Agent), shall, unless otherwise expressly provided, be created,
entered into, made or received, or taken or omitted, for the benefit or account of the Agents and
the Lenders. Wherever the phrase "to the knowledge of any Loan Party" or words of similar
import relating to the knowledge or the awareness of any Loan Party are used in this Agreement
or any other Loan Document, such phrase shall mean and refer to (i) the actual knowledge of a
senior officer of any Loan Party or (ii) the knowledge that a senior officer would have obtained if
such officer had engaged in good faith and diligent performance of such officer's duties,
including the making of such reasonably specific inquiries as may be necessary of the employees
or agents of such Loan Party and a good faith attempt to ascertain the existence or accuracy of
the matter to which such phrase relates. All covenants hereunder shall be given independent
effect so that if a particular action or condition is not permitted by any of such covenants, the fact
that it would be permitted by an exception to, or otherwise within the limitations of, another
covenant shall not avoid the occurrence of a default if such action is taken or condition exists. In
addition, all representations and warranties hereunder shall be given independent effect so that if
a particular representation or warranty proves to be incorrect or is breached, the fact that another
representation or warranty concerning the same or similar subject matter is correct or is not
breached will not affect the incorrectness of a breach of a representation or warranty hereunder.




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                  Section 1.04   Accounting and Other Terms.

                (a)     Unless otherwise expressly provided herein, each accounting term used
herein shall have the meaning given it under GAAP. For purposes of determining compliance
with any incurrence or expenditure tests set forth in this Agreement, any amounts so incurred or
expended (to the extent incurred or expended in a currency other than Dollars) shall be converted
into Dollars on the basis of the exchange rates (as shown on the Bloomberg currency page for
such currency or, if the same does not provide such exchange rate, by reference to such other
publicly available service for displaying exchange rates as may be reasonably selected by the
Agents or, in the event no such service is selected, on such other basis as is reasonably
satisfactory to the Agents) as in effect on the date of such incurrence or expenditure under any
provision of any such Section that has an aggregate Dollar limitation provided for therein (and to
the extent the respective incurrence or expenditure test regulates the aggregate amount
outstanding at any time and it is expressed in terms of Dollars, all outstanding amounts originally
incurred or spent in currencies other than Dollars shall be converted into Dollars on the basis of
the exchange rates (as shown on the Bloomberg currency page for such currency or, if the same
does not provide such exchange rate, by reference to such other publicly available service for
displaying exchange rates as may be reasonably selected by the Agents or, in the event no such
service is selected, on such other basis as is reasonably satisfactory to the Agents) as in effect on
the date of any new incurrence or expenditures made under any provision of any such
Section that regulates the Dollar amount outstanding at any time). Notwithstanding the
foregoing, (i) with respect to the accounting for leases as either operating leases or capital leases
and the impact of such accounting in accordance with FASB ASC 840 on the definitions and
covenants herein, GAAP as in effect on the Effective Date shall be applied and (ii) for purposes
of determining compliance with any covenant (including the computation of any financial
covenant) contained herein, Indebtedness of the Parent and its Subsidiaries shall be deemed to be
carried at 100% of the outstanding principal amount thereof, and the effects of FASB ASC 825
and FASB ASC 470-20 on financial liabilities shall be disregarded.

                (b)    All terms used in this Agreement which are defined in Article 8 or Article
9 of the Uniform Commercial Code as in effect from time to time in the State of New York (the
"Uniform Commercial Code" or the "UCC") and which are not otherwise defined herein shall
have the same meanings herein as set forth therein, provided that terms used herein which are
defined in the Uniform Commercial Code as in effect in the State of New York on the date
hereof shall continue to have the same meaning notwithstanding any replacement or amendment
of such statute except as any Agent may otherwise determine.

                (c)     Notwithstanding anything to the contrary herein, financial ratios and tests
(including the Leverage Ratio and Consolidated EBITDA) contained in this Agreement that are
calculated with respect to any test period during which any Subject Transaction occurs shall be
calculated with respect to such test period and such Subject Transaction on a pro forma basis.
Further, if since the beginning of any such Test Period and on or prior to the date of any required
calculation of a financial ratio or test (x) a Subject Transaction shall have occurred or (y) any
Person that subsequently became a Subsidiary or was merged, amalgamated or consolidated with
or into the Borrower or any of its Subsidiaries since the beginning of such test period shall have
consummated any Subject Transaction, then, in each case, any such applicable financial ratio or


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test shall be calculated on a pro forma basis for such test period as if such Subject Transaction
had occurred at the beginning of the applicable test period.

                (d)    Notwithstanding anything to the contrary contained in paragraph (a) above
or the definition of "Capital Lease," in the event of an accounting change requiring all leases to
be capitalized, only those leases (assuming for purposes hereof that they were in existence on the
date hereof) that would constitute Capital Leases on the date hereof shall be considered Capital
Leases and all calculations and deliverables under this Agreement or any other Loan Document
shall be made or delivered, as applicable, in accordance therewith (provided that together with all
financial statements delivered to the Administrative Agent in accordance with the terms of this
Agreement after the date of such accounting change, the Borrower shall deliver a schedule
showing the adjustments necessary to reconcile such financial statements with GAAP as in effect
immediately prior to such accounting change).

                Section 1.05 Time References. Unless otherwise indicated herein, all references
to time of day refer to Eastern Standard Time or Eastern daylight saving time, as in effect in New
York City on such day. For purposes of the computation of a period of time from a specified
date to a later specified date, the word "from" means "from and including" and the words "to"
and "until" each means "to but excluding"; provided, however, that with respect to a computation
of fees or interest payable to any Secured Party, such period shall in any event consist of at least
one full day.

                                           ARTICLE II

                                           THE LOANS

                  Section 2.01   Commitments.

               (a)    Subject to the terms and conditions and relying upon the representations
and warranties herein set forth:

                     (i)    each Revolving Loan Lender severally agrees to make Revolving
Loans to the Borrower at any time and from time to time during the term of this Agreement, in
an aggregate principal amount of Revolving Loans at any time outstanding not to exceed the
amount of such Lender's Revolving Credit Commitment; provided that the aggregate principal
amount of Revolving Loans outstanding on the Effective Date shall not exceed $15,000,000; and

                     (ii)    each Term Loan Lender severally agrees to make the Term Loan to
the Borrower on the Effective Date, in an aggregate principal amount not to exceed the amount
of such Lender's Term Loan Commitment.

                  (b)    Notwithstanding the foregoing:

                      (i)     The aggregate principal amount of Revolving Loans outstanding at
any time to the Borrower shall not exceed the Total Revolving Credit Commitment. The
Revolving Credit Commitment of each Lender shall automatically and permanently be reduced
to zero on the Final Maturity Date. Within the foregoing limits, the Borrower may borrow, repay

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and reborrow, the Revolving Loans on or after the Effective Date and prior to the Final Maturity
Date, subject to the terms, provisions and limitations set forth herein.

                       (ii)   The aggregate principal amount of the Term Loan made on the
Effective Date shall not exceed the Total Term Loan Commitment. Any principal amount of the
Term Loan which is repaid or prepaid may not be reborrowed.

                  (c)    [Reserved].

                  Section 2.02   Making the Loans.

                (a)     The Borrower shall give the Administrative Agent prior telephonic notice
(immediately confirmed in writing, in substantially the form of Exhibit C hereto (a "Notice of
Borrowing")), not later than 12:00 noon (New York City time) on the date which is 3 Business
Days prior to the date of the proposed Loan (or such shorter period as the Administrative Agent
is willing to accommodate from time to time, but in no event later than 12:00 noon (New York
City time) on the borrowing date of the proposed Loan). Such Notice of Borrowing shall be
irrevocable and shall specify (i) the principal amount of the proposed Loan, (ii) in the case of
Loans requested on the Effective Date, whether such Loan is requested to be a Revolving Loan
or the Term Loan, (iii) whether the Loan is requested to be a Reference Rate Loan or a LIBOR
Rate Loan and, in the case of a LIBOR Rate Loan, the initial Interest Period with respect thereto,
(iv) the use of the proceeds of such proposed Loan, and (v) the proposed borrowing date, which
must be a Business Day, and, with respect to the Term Loan, must be the Effective Date. If no
Interest Period is specified with respect to any requested LIBOR Rate Loan, then the Borrower
shall be deemed to have selected an Interest Period of one month's duration. The Administrative
Agent and the Lenders may act without liability upon the basis of written, telecopied or
telephonic notice believed by the Administrative Agent in good faith to be from the Borrower (or
from any Authorized Officer thereof designated in writing purportedly from the Borrower to the
Administrative Agent). Each Borrower hereby waives the right to dispute the Administrative
Agent's record of the terms of any such telephonic Notice of Borrowing. The Administrative
Agent and each Lender shall be entitled to rely conclusively on any Authorized Officer's
authority to request a Loan on behalf of the Borrower until the Administrative Agent receives
written notice to the contrary. The Administrative Agent and the Lenders shall have no duty to
verify the authenticity of the signature appearing on any written Notice of Borrowing.

               (b)    Each Notice of Borrowing pursuant to this Section 2.02 shall be
irrevocable and the Borrower shall be bound to make a borrowing in accordance therewith. Each
Revolving Loan shall be made in a minimum amount of $500,000 and shall be in integral
multiples of $100,000.

               (c)     (i)    Except as otherwise provided in this Section 2.02(c), all Loans
under this Agreement shall be made by the Lenders simultaneously and proportionately to their
Pro Rata Shares of the Total Revolving Credit Commitment and the Term Loan Commitment it
being understood that no Lender shall be responsible for any default by any other Lender in that
other Lender's obligations to make a Loan requested hereunder, nor shall the Commitment of any
Lender be increased or decreased as a result of the default by any other Lender in that other
Lender's obligation to make a Loan requested hereunder, and each Lender shall be obligated to

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make the Loans required to be made by it by the terms of this Agreement regardless of the failure
by any other Lender.

                        (ii)   Notwithstanding any other provision of this Agreement, and in
order to reduce the number of fund transfers among the Borrower, the Agents and the Lenders,
the Borrower, the Agents and the Lenders agree that the Administrative Agent may (but shall not
be obligated to), and the Borrower and the Lenders hereby irrevocably authorize the
Administrative Agent to, fund, on behalf of the Revolving Loan Lenders, Revolving Loans
pursuant to Section 2.01, subject to the procedures for settlement set forth in Section 2.02(d);
provided, however, that (A) the Administrative Agent shall in no event fund any such Revolving
Loans if the Administrative Agent shall have received written notice from the Collateral Agent
or the Required Lenders on the Business Day prior to the date of the proposed Revolving Loan
that one or more of the conditions precedent contained in Section 5.02 will not be satisfied at the
time of the proposed Revolving Loan, and (B) the Administrative Agent shall not otherwise be
required to determine that, or take notice whether, the conditions precedent in Section 5.02 have
been satisfied. If the Borrower gives a Notice of Borrowing requesting a Revolving Loan and
the Administrative Agent elects not to fund such Revolving Loan on behalf of the Revolving
Loan Lenders, then promptly after receipt of the Notice of Borrowing requesting such Revolving
Loan, the Administrative Agent shall notify each Revolving Loan Lender of the specifics of the
requested Revolving Loan and that it will not fund the requested Revolving Loan on behalf of
the Revolving Loan Lenders. If the Administrative Agent notifies the Revolving Loan Lenders
that it will not fund a requested Revolving Loan on behalf of the Revolving Loan Lenders, each
Revolving Loan Lender shall make its Pro Rata Share of the Revolving Loan available to the
Administrative Agent, in immediately available funds, in the Administrative Agent's Account no
later than 3:00 p.m. (New York City time) (provided that the Administrative Agent requests
payment from such Revolving Loan Lender not later than 1:00 p.m. (New York City time)) on
the date of the proposed Revolving Loan. The Administrative Agent will make the proceeds of
such Revolving Loans available to the Borrower on the day of the proposed Revolving Loan by
causing an amount, in immediately available funds, equal to the proceeds of all such Revolving
Loans received by the Administrative Agent in the Administrative Agent's Account or the
amount funded by the Administrative Agent on behalf of the Revolving Loan Lenders to be
deposited in an account designated by the Borrower.

                       (iii)  If the Administrative Agent has notified the Revolving Loan
Lenders that the Administrative Agent, on behalf of the Revolving Loan Lenders, will not fund a
particular Revolving Loan pursuant to Section 2.02(c)(ii), the Administrative Agent may assume
that each such Revolving Loan Lender has made such amount available to the Administrative
Agent on such day and the Administrative Agent, in its sole discretion, may, but shall not be
obligated to, cause a corresponding amount to be made available to the Borrower on such day. If
the Administrative Agent makes such corresponding amount available to the Borrower and such
corresponding amount is not in fact made available to the Administrative Agent by any such
Revolving Loan Lender, the Administrative Agent shall be entitled to recover such
corresponding amount on demand from such Revolving Loan Lender, together with interest
thereon, for each day from the date such payment was due until the date such amount is paid to
the Administrative Agent, at the Federal Funds Rate for 3 Business Days and thereafter at the
Reference Rate. During the period in which such Revolving Loan Lender has not paid such
corresponding amount to the Administrative Agent, notwithstanding anything to the contrary
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contained in this Agreement or any other Loan Document, the amount so advanced by the
Administrative Agent to the Borrower shall, for all purposes hereof, be a Revolving Loan made
by the Administrative Agent for its own account. Upon any such failure by a Revolving Loan
Lender to pay the Administrative Agent, the Administrative Agent shall promptly thereafter
notify the Borrower of such failure and the Borrower shall immediately pay such corresponding
amount to the Administrative Agent for its own account.

                     (iv)   Nothing in this Section 2.02(c) shall be deemed to relieve any
Revolving Loan Lender from its obligations to fulfill its Revolving Credit Commitment
hereunder or to prejudice any rights that the Administrative Agent or the Borrower may have
against any Revolving Loan Lender as a result of any default by such Revolving Loan Lender
hereunder.

               (d)     (i)    With respect to all periods for which the Administrative Agent has
funded Revolving Loans pursuant to Section 2.02(c), on Friday of each week, or if the applicable
Friday is not a Business Day, then on the following Business Day, or such shorter period as the
Administrative Agent may from time to time select (any such week or shorter period being
herein called a "Settlement Period"), the Administrative Agent shall notify each Revolving Loan
Lender of the unpaid principal amount of the Revolving Loans outstanding as of the last day of
each such Settlement Period. In the event that such amount is greater than the unpaid principal
amount of the Revolving Loans outstanding on the last day of the Settlement Period immediately
preceding such Settlement Period (or, if there has been no preceding Settlement Period, the
amount of the Revolving Loans made on the date of such Revolving Loan Lender's initial
funding), each Revolving Loan Lender shall promptly (and in any event not later than 2:00 p.m.
(New York City time) if the Administrative Agent requests payment from such Lender not later
than 12:00 noon (New York City time) on such day) make available to the Administrative Agent
its Pro Rata Share of the difference in immediately available funds. In the event that such
amount is less than such unpaid principal amount, the Administrative Agent shall promptly pay
over to each Revolving Loan Lender its Pro Rata Share of the difference in immediately
available funds. In addition, if the Administrative Agent shall so request at any time when a
Default or an Event of Default shall have occurred and be continuing, or any other event shall
have occurred as a result of which the Administrative Agent shall determine that it is desirable to
present claims against the Borrower for repayment, each Revolving Loan Lender shall promptly
remit to the Administrative Agent or, as the case may be, the Administrative Agent shall
promptly remit to each Revolving Loan Lender, sufficient funds to adjust the interests of the
Revolving Loan Lenders in the then outstanding Revolving Loans to such an extent that, after
giving effect to such adjustment, each such Revolving Loan Lender's interest in the then
outstanding Revolving Loans will be equal to its Pro Rata Share thereof. The obligations of the
Administrative Agent and each Revolving Loan Lender under this Section 2.02(d) shall be
absolute and unconditional. Each Revolving Loan Lender shall only be entitled to receive
interest on its Pro Rata Share of the Revolving Loans which have been funded by such
Revolving Loan Lender.

                       (ii)   In the event that any Revolving Loan Lender fails to make any
payment required to be made by it pursuant to Section 2.02(d)(i), the Administrative Agent shall
be entitled to recover such corresponding amount on demand from such Revolving Loan Lender
together with interest thereon, for each day from the date such payment was due until the date
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such amount is paid to the Administrative Agent, at the Federal Funds Rate for 3 Business Days
and thereafter at the Reference Rate. During the period in which such Revolving Loan Lender
has not paid such corresponding amount to the Administrative Agent, notwithstanding anything
to the contrary contained in this Agreement or any other Loan Document, the amount so
advanced by the Administrative Agent to the Borrower shall, for all purposes hereof, be a
Revolving Loan made by the Administrative Agent for its own account. Upon any such failure
by a Revolving Loan Lender to pay the Administrative Agent, the Administrative Agent shall
promptly thereafter notify the Borrower of such failure and the Borrower shall immediately pay
such corresponding amount to the Administrative Agent for its own account. Nothing in this
Section 2.02(d)(ii) shall be deemed to relieve any Revolving Loan Lender from its obligation to
fulfill its Revolving Credit Commitment hereunder or to prejudice any rights that the
Administrative Agent or the Borrower may have against any Revolving Loan Lender as a result
of any default by such Revolving Loan Lender hereunder.

                  Section 2.03   Repayment of Loans; Evidence of Debt.

               (a)     The outstanding principal of all Revolving Loans, and all accrued and
unpaid interest thereon and all other Obligations relating thereto, shall be due and payable on the
Final Maturity Date or, if earlier, on the date on which they are declared due and payable
pursuant to the terms of this Agreement.

                (b)    The Term Loans shall be repayable in consecutive quarterly installments,
each of which shall be in an amount equal per quarter to $1,875,000 and each such installment to
be due and payable, in arrears, on the first day of each quarter commencing on January 1, 2018
and ending on the Final Maturity Date; provided, however, that the last such installment shall be
in the amount necessary to repay in full the unpaid principal amount of the Term Loans. The
outstanding unpaid principal amount of the Term Loans, and all accrued and unpaid interest
thereon, shall be due and payable on the earlier of (i) the Final Maturity Date and (ii) the date on
which any Term Loan is declared due and payable pursuant to the terms of this Agreement.

               (c)    Each Lender shall maintain in accordance with its usual practice an
account or accounts evidencing the Indebtedness of the Borrower to such Lender resulting from
each Loan made by such Lender, including the amounts of principal and interest payable and
paid to such Lender from time to time hereunder.

               (d)    The Administrative Agent shall maintain accounts in which it shall record
(i) the amount of each Loan made hereunder, (ii) the amount of any principal or interest due and
payable or to become due and payable from the Borrower to each Lender hereunder and (iii) the
amount of any sum received by the Administrative Agent hereunder for the account of the
Lenders and each Lender's share thereof.

               (e)    The entries made in the accounts maintained pursuant to Section 2.03(c) or
Section 2.03(d) shall be prima facie evidence of the existence and amounts of the obligations
recorded therein unless within 30 days after the Administrative Agent or the applicable Lender
makes such statement available to the Borrower, the Borrower shall deliver to the Administrative
Agent, and such Lender if applicable, written objection thereto describing the error or errors
contained in such statement; provided that (i) the failure of any Lender or the Administrative

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Agent to maintain such accounts or any error therein shall not in any manner affect the obligation
of the Borrower to repay the Loans in accordance with the terms of this Agreement and (ii) in the
event of any conflict between the entries made in the accounts maintained pursuant to
Section 2.03(c) and the accounts maintained pursuant to Section 2.03(d), the accounts
maintained pursuant to Section 2.03(d) shall govern and control.

                  Section 2.04   Interest.

                (a)     Revolving Loans. Subject to the terms of this Agreement, at the option of
the Borrower, each Revolving Loan shall be either a Reference Rate Loan or a LIBOR Rate
Loan. Each Revolving Loan that is a Reference Rate Loan shall bear interest on the principal
amount thereof from time to time outstanding, from the date of such Loan until repaid, at a rate
per annum equal to the Reference Rate plus the Applicable Margin. Each Revolving Loan that is
a LIBOR Rate Loan shall bear interest on the principal amount thereof from time to time
outstanding, from the date of such Loan until repaid, at a rate per annum equal to the LIBOR
Rate for the Interest Period in effect for such Loan plus the Applicable Margin.

                (b)     Term Loan. Subject to the terms of this Agreement, at the option of the
Borrower, the Term Loan or any portion thereof shall be either a Reference Rate Loan or a
LIBOR Rate Loan. Each portion of the Term Loan that is a Reference Rate Loan shall bear
interest on the principal amount thereof from time to time outstanding, from the date of the Term
Loan until repaid, at a rate per annum equal to the Reference Rate plus the Applicable Margin.
Each portion of the Term Loan that is a LIBOR Rate Loan shall bear interest on the principal
amount thereof from time to time outstanding, from the date of the Term Loan until repaid, at a
rate per annum equal to the LIBOR Rate for the Interest Period in effect for the Term Loan (or
such portion thereof) plus the Applicable Margin.

               (c)     Default Interest. To the extent permitted by law and notwithstanding
anything to the contrary in this Section, upon the occurrence and during the continuance of an
Event of Default, at the election of the Required Lenders, the principal of, and all accrued and
unpaid interest on, all Loans, fees, indemnities or any other Obligations (other than Obligations
which shall be governed by Section 2.06(e)) of the Loan Parties under this Agreement and the
other Loan Documents, shall bear interest, from the date of the occurrence such Event of Default
occurred until the date such Event of Default is cured or waived in writing in accordance
herewith, at a rate per annum equal at all times to the Post-Default Rate. Notwithstanding
anything to the contrary contained in this Section 2.04(c), the Loan Parties hereby acknowledge
and agree that no election or notice of the imposition of the Post-Default Rate shall be required
in the case of an Event of Default arising under Section 9.01(f) or Section 9.01(g) (it being
understood and agreed that such imposition shall occur automatically and without the need for
any action by any Person).

                (d)     Interest Payment. Interest on each Loan shall be payable monthly, in
arrears, on the first day of each month, commencing on the first day of the month following the
month in which such Loan is made and at maturity (whether upon demand, by acceleration or
otherwise). Interest at the Post-Default Rate shall be payable on demand. Each Borrower hereby
authorizes the Administrative Agent to, and the Administrative Agent may, from time to time,


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charge the Loan Account pursuant to Section 4.01 with the amount of any interest payment due
hereunder.

                (e)   General. All interest shall be computed on the basis of a year of 360 days
for the actual number of days, including the first day but excluding the last day, elapsed.

                  Section 2.05   Reduction of Commitment; Prepayment of Loans.

                  (a)    Reduction of Commitments.

                      (i)     Revolving Credit Commitments. The Total Revolving Credit
Commitment shall terminate on the Final Maturity Date. The Borrower may reduce the Total
Revolving Credit Commitment to an amount (which may be zero) not less than the sum of
(A) the aggregate unpaid principal amount of all Revolving Loans then outstanding and (B) the
aggregate principal amount of all Revolving Loans not yet made as to which a Notice of
Borrowing has been given by the Borrower under Section 2.02. In no event shall the Total
Revolving Credit Commitment be reduced to less than $5,000,000 (unless reduced to zero).
Each such reduction shall be (1) in an amount which is an integral multiple of $1,000,000 (or by
the full amount of the Total Revolving Credit Commitment in effect immediately prior to such
reduction if such amount at that time is less than $1,000,000), (2) made by providing not less
than 5 Business Days' prior written notice to the Administrative Agent, (3) irrevocable and
(4) accompanied by the payment of the Applicable Prepayment Premium, if any, payable in
connection with such reduction of the Total Revolving Credit Commitment. Once reduced, the
Total Revolving Credit Commitment may not be increased. Each such reduction of the Total
Revolving Credit Commitment shall reduce the Revolving Credit Commitment of each Lender
proportionately in accordance with its Pro Rata Share thereof.

                      (ii)   Term Loan. The Total Term Loan Commitment shall terminate
concurrently with the making of the Term Loans on the Effective Date.

                  (b)    Optional Prepayment.

                       (i)     Revolving Loans. The Borrower may, at any time and from time
to time, prepay the principal of any Revolving Loan, in whole or in part. Each prepayment made
pursuant to this clause (b)(i) in connection with a reduction of the Total Revolving Credit
Commitment pursuant to clause (a)(i) above shall be accompanied by the payment of the
Applicable Prepayment Premium, if any, payable in connection with such reduction of the Total
Revolving Credit Commitment.

                       (ii)    Term Loan. The Borrower may, at any time and from time to time,
upon at least 3 Business Days' prior written notice to the Administrative Agent, prepay the
principal of any Term Loan, in whole or in part. Each prepayment made pursuant to this
Section 2.05(b)(ii) shall be accompanied by the payment of (A) accrued interest to the date of
such payment on the amount prepaid and (B) the Applicable Prepayment Premium, if any,
payable in connection with such prepayment of the Term Loan. Each such prepayment shall be
applied ratably against the remaining installments of principal due on the Term Loan in the
inverse order of maturity.

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                        (iii)   Termination of Agreement. The Borrower may, upon at least
10 Business Days' prior written notice to the Agents (or such shorter period that may be agreed
to by the Agents), terminate this Agreement by paying to the Administrative Agent, in cash, the
Obligations, in full, plus the Applicable Prepayment Premium, if any, payable in connection with
such termination of this Agreement. If the Borrower has sent a notice of termination pursuant to
this Section 2.05(b)(iii), then the Lenders' obligations to extend credit hereunder shall terminate
and the Borrower shall be obligated to repay the Obligations, in full, plus the Applicable
Prepayment Premium, if any, payable in connection with such termination of this Agreement on
the date set forth as the date of termination of this Agreement in such notice; provided that, if
such notice states that it is conditioned upon the effectiveness of other credit facilities or the
receipt of the proceeds from the issuance of other Indebtedness or the consummation of an Initial
Public Offering or the occurrence of a Change of Control, such notice of prepayment may be
revoked by the Borrower if such condition is not satisfied.

                  (c)   Mandatory Prepayment.

                        (i)     Contemporaneously with the delivery to the Agents and the
Lenders of audited annual financial statements pursuant to Section 7.01(a)(iii), commencing with
the delivery to the Agents and the Lenders of the financial statements for the Fiscal Year ended
on December 31, 2018 or, if such financial statements are not delivered to the Agents and the
Lenders on the date such statements are required to be delivered pursuant to Section 7.01(a)(iii),
on the date such statements are required to be delivered to the Agents and the Lenders pursuant
to Section 7.01(a)(iii) (each such date, a "ECF Due Date"), the Borrower shall prepay the
outstanding principal amount of the Loans in accordance with Section 2.05(d) in an amount
equal to 50% (or, commencing with Fiscal Year ending December 31, 2020 and each Fiscal Year
thereafter, if the information set forth in the related Compliance Certificate demonstrates that the
Leverage Ratio of the Parent and its Subsidiaries as of the end of such Fiscal Year is equal to or
less than 2.00:1.00, 25%) of the Excess Cash Flow of the Parent and its Subsidiaries for such
Fiscal Year. Notwithstanding the foregoing, Excess Cash Flow shall exclude any amounts
attributable to periods prior to (x) the Effective Date and (y) in the case of any Person that
becomes a Subsidiary of the Parent after the Effective Date pursuant to a Permitted Acquisition,
the consummation date of such Permitted Acquisition.

                       (ii)    Subject to Section 2.05(c)(vi) below, within three (3) Business
Days of the receipt of any Net Cash Proceeds from any Disposition (excluding Dispositions
which qualify as Permitted Dispositions under clauses (a) through (l) and (o) of the definition
thereof)) by any Loan Party or its Subsidiaries, the Borrower shall prepay the outstanding
principal amount of the Loans in accordance with Section 2.05(d) in an amount equal to 100% of
the Net Cash Proceeds received by such Person in connection with such Disposition to the extent
that the aggregate amount of Net Cash Proceeds received by all Loan Parties and their
Subsidiaries (and not paid to the Administrative Agent as a prepayment of the Loans) shall
exceed for all such Dispositions $1,000,000 in any Fiscal Year. Nothing contained in this
Section 2.05(c)(ii) shall permit any Loan Party or any of its Subsidiaries to make a Disposition of
any property other than in accordance with Section 7.02(c)(ii).

                     (iii)  Within three (3) Business Days of the receipt of any Net Cash
Proceeds from the issuance or incurrence by any Loan Party or any of its Subsidiaries of any

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Indebtedness (other than Permitted Indebtedness), the Borrower shall prepay the outstanding
amount of the Loans in accordance with Section 2.05(d) in an amount equal to 100% of the Net
Cash Proceeds received by such Person in connection therewith. The provisions of this
Section 2.05(c)(iii) shall not be deemed to be implied consent to any such issuance, incurrence or
sale otherwise prohibited by the terms and conditions of this Agreement.

                      (iv)   Subject to Section 2.05(c)(vi) below, within three (3) Business
Days of the receipt by any Loan Party or any of its Subsidiaries of any proceeds from any
Casualty Events, the Borrower shall prepay the outstanding principal of the Loans in accordance
with Section 2.05(d) in an amount equal to 100% of the Net Cash Proceeds received by such
Person in connection therewith.

                      (v)    Immediately upon receipt by the Loan Parties of the Net Cash
Proceeds of any Permitted Cure Equity pursuant to Section 9.02, the Borrower shall prepay the
outstanding principal of the Loans in accordance with Section 2.05(d) in an amount equal to
100% of such proceeds.

                        (vi)    Notwithstanding the foregoing, with respect to Net Cash Proceeds
received by any Loan Party or any of its Subsidiaries in connection with Dispositions or Casualty
Events that are required to be used to prepay the Obligations pursuant to Section 2.05(c)(ii) or
Section 2.05(c)(iv), as the case may be, up to $3,000,000 in the aggregate in any calendar year of
the Net Cash Proceeds from all such Dispositions and such Casualty Events shall not be required
to be so used to prepay the Obligations to the extent that such Net Cash Proceeds are used to
replace, repair, restore, develop or otherwise purchase properties or assets (other than current
assets) used in such Person's business, provided that (A) no Default or Event of Default has
occurred and is continuing on the date such Person receives such Net Cash Proceeds, (B) the
Borrower delivers a certificate to the Administrative Agent within 5 Business Days after such
Disposition or such Casualty Event, as the case may be, stating that such Net Cash Proceeds shall
be contractually committed to be used to replace, repair, restore, develop or otherwise purchase
properties or assets used in such Person's business within a period specified in such certificate
not to exceed 270 days after the date of receipt of such Net Cash Proceeds and such Net Cash
Proceeds must actually be used to replace, repair, restore or develop properties or assets used in
such Person's business within a period not exceeding 450 days after the date of receipt of such
Net Cash Proceeds (which certificate shall set forth estimates of the Net Cash Proceeds to be so
expended), (C) such Net Cash Proceeds received by a Loan Party are deposited in an account
subject to a Control Agreement, and (D) upon the earlier of (1) the expiration of the period
specified in the relevant certificate furnished to the Administrative Agent pursuant to clause (B)
above or (2) the occurrence of a Default or an Event of Default, such Net Cash Proceeds, if not
theretofore so used, shall be used to prepay the Obligations in accordance with
Section 2.05(c)(ii) or Section 2.05(c)(iv) as applicable.

                        (vii) Without any reduction in the Total Revolving Credit Commitment,
the Borrower will immediately prepay the Revolving Loans at any time when the aggregate
principal amount of all Revolving Loans exceeds any of the limits set forth in Section 2.01(b)(i)
to the full extent of such excess.



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                        (viii) Notwithstanding any other provisions of Section 2.05(c), (A) to the
extent that any of or all the of the relevant Excess Cash Flow or Net Cash Proceeds described in
clauses (i) through (iv) are attributable to a Foreign Subsidiary that would otherwise give rise to
a prepayment obligation under any such clause or Excess Cash Flow attributable to a Foreign
Subsidiary that would otherwise give rise to a prepayment obligation under Section 2.05(c),
(x) are prohibited, restricted or delayed by applicable local law or restrictions (not effected in
anticipation or contemplation of such prepayment) or under such Foreign Subsidiary's Governing
Documents (including as a result of minority ownership) from being repatriated to the United
States or (y) the upstreaming or transfer as a distribution or dividend of which would, in the good
faith determination of the Borrower, cause any Loan Party or Subsidiary thereof to incur a
material adverse liability (including, without limitation, any withholding tax) or a material
adverse tax consequence (including, without limitation, a deemed dividend) and (B) to the extent
that any or all of the relevant Excess Cash Flow is generated by any joint venture or the relevant
Net Cash Proceeds described in clauses (ii) through (iv) above are received by any joint venture
for so long as the repatriation to the Borrower of such Excess Cash Flow or Net Cash Proceeds
would be prohibited under the Governing Documents governing such joint venture or the
existing documents governing the Indebtedness of such joint venture (such amount described in
the foregoing clause (A) or (B), as the case may be, a "Restricted Amount"), then the amount the
Borrower will be required to mandatorily prepay shall be reduced by the Restricted Amount and
such Restricted Amount may be retained by the applicable Subsidiary, and the failure to apply
any such Restricted Amounts toward any such mandatory prepayment shall not result in a
Default or Event of Default hereunder; provided, that the Borrowers hereby agree to cause the
applicable Subsidiary to promptly take all commercially reasonable actions required by the
applicable local law to permit such repatriation, or as the case may be, to eliminate such material
adverse tax liability or material adverse tax consequence, in each case, in its reasonable control
in order to make such prepayment (subject to the considerations above); provided, further, that if
and to the extent any such repatriation ceases to be prohibited or delayed by applicable local law
or such material adverse tax liability or material adverse tax consequence is eliminated, in each
case, any time during the one (1) year period immediately following the date on which the
applicable mandatory prepayment pursuant to this Section 2.05 was required to be made, the
Loan Parties shall reasonably promptly repatriate, or cause to be repatriated, an amount equal to
the applicable portion of such Restricted Amount, and the Loan Parties shall reasonably
promptly pay such portion of the Restricted Amount to the Lenders, which payment shall be
applied in accordance with Section 2.05(d).

                   (d)     Application of Payments. Each prepayment pursuant to subsections (c)(i),
(c)(ii), (c)(iii), (c)(iv) and (c)(v) above shall be applied, first, ratably to the Term Loans, until
paid in full, and, second, to the Revolving Loans (without a corresponding permanent reduction
in the Revolving Credit Commitments), until paid in full. Each prepayment of the Term Loans
shall be applied against the remaining installments of principal of the Term Loans in the inverse
order of maturity. Notwithstanding the foregoing, after the occurrence and during the
continuance of an Event of Default, if the Administrative Agent has elected, or has been directed
by the Collateral Agent or the Required Lenders, to apply payments and other proceeds of
Collateral in accordance with Section 4.03(b), prepayments required under Section 2.05(c) shall
be applied in the manner set forth in Section 4.03(b). Notwithstanding the foregoing, any Lender
may decline to accept any mandatory prepayment described above, in which case, the declined
amount of such prepayment shall be distributed, first, to the prepayment of the Term Loans held
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by the Lenders that have elected to accept such declined amount based on their respective Pro
Rata Shares, second, to the repayment of the Revolving Loans then outstanding (without a
corresponding permanent reduction of the Revolving Credit Commitment) and, third, any
remaining amount may be retained by the Borrower and such remaining amount may be set aside
by the Borrower to increase the Available Amount Basket as described in the definition thereof.

               (e)   Interest and Fees. Any prepayment made pursuant to this Section 2.05
shall be accompanied by (i) accrued interest on the principal amount being prepaid to the date of
prepayment, (ii) any Funding Losses payable pursuant to Section 2.08, (iii) the Applicable
Prepayment Premium, if any, payable in connection with such prepayment of the Loans and
(iv) if such prepayment would reduce the amount of the outstanding Loans to zero at a time
when the Total Revolving Credit Commitment has been terminated, such prepayment shall be
accompanied by the payment of all fees accrued to such date pursuant to Section 2.06.

               (f)   Cumulative Prepayments. Except as otherwise expressly provided in this
Section 2.05, payments with respect to any subsection of this Section 2.05 are in addition to
payments made or required to be made under any other subsection of this Section 2.05.

                  Section 2.06   Fees.

              (a)    Closing Fee. On or prior to the Effective Date, the Borrower shall pay to
the Administrative Agent for the account of the Lenders, in accordance with their Pro Rata
Shares, a non-refundable closing fee (the "Closing Fee") equal to $4,400,000, which shall be
deemed fully earned when paid.

               (b)   Unused Line Fee. From and after the Effective Date and until the
Termination Date, the Borrower shall pay to the Administrative Agent for the account of the
Revolving Loan Lenders, in accordance with their Pro Rata Shares, monthly in arrears on the
first day of each month commencing October 1, 2017, an unused line fee (the "Unused Line
Fee"), which shall accrue at the rate per annum of 0.75% on the excess, if any, of the Total
Revolving Credit Commitment over the sum of the average principal amount of all Revolving
Loans outstanding from time to time during the preceding month.

              (c)    Loan Servicing Fee. From and after the Effective Date and until the
Termination Date, the Borrower shall pay to the Administrative Agent for the account of the
Agents, a non-refundable loan servicing fee (the "Loan Servicing Fee") equal to $90,000 per
annum, which shall be deemed fully earned when paid and which shall be payable on the
Effective Date and on each anniversary of the Effective Date until the termination of this
Agreement and the payment in full of the Obligations.

                  (d)    Applicable Prepayment Premium.

                     (i)     Upon the occurrence of an Applicable Prepayment Premium
Trigger Event, the Borrower shall pay to the Administrative Agent, for the account of the
Lenders in accordance with their Pro Rata Shares, the Applicable Prepayment Premium.

                      (ii)    Any Applicable Prepayment Premium payable in accordance with
this Section 2.06(d) shall be presumed to be equal to the liquidated damages sustained by the
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Lenders as the result of the occurrence of the Applicable Premium Trigger Event and the Loan
Parties agree that it is reasonable under the circumstances currently existing. THE LOAN
PARTIES EXPRESSLY WAIVE THE PROVISIONS OF ANY PRESENT OR FUTURE
STATUTE OR LAW THAT PROHIBITS OR MAY PROHIBIT THE COLLECTION OF THE
FOREGOING APPLICABLE PREPAYMENT PREMIUM IN CONNECTION WITH ANY
ACCELERATION.

                       (iii)   The Loan Parties expressly agree that: (A) the Applicable
Prepayment Premium is reasonable and is the product of an arm's length transaction between
sophisticated business people, ably represented by counsel; (B) the Applicable Prepayment
Premium shall be payable notwithstanding the then prevailing market rates at the time payment
is made; (C) there has been a course of conduct between the Lender and the Loan Parties giving
specific consideration in this transaction for such agreement to pay the Applicable Prepayment
Premium; (D) the Loan Parties shall be estopped hereafter from claiming differently than as
agreed to in this paragraph; (E) their agreement to pay the Applicable Prepayment Premium is a
material inducement to Lenders to provide the Commitments and make the Loans, and (F) the
Applicable Prepayment Premium represents a good faith, reasonable estimate and calculation of
the lost profits or damages of the Agents and the Lenders and that it would be impractical and
extremely difficult to ascertain the actual amount of damages to the Agents and the Lenders or
profits lost by the Agents and the Lenders as a result of such Applicable Prepayment Premium
Trigger Event.

                      (iv)   Nothing contained in this Section 2.06(d) shall permit any
prepayment of the Loans or reduction of the Commitments not otherwise permitted by the terms
of this Agreement or any other Loan Document.

               (e)      Audit and Collateral Monitoring Fees. The Borrower acknowledges that
pursuant to Section 7.01(f), representatives of the Agents may visit any or all of the Loan Parties
and/or conduct certain inspections, audits, and/or examinations described therein, at the times
and upon advance notice described therein. The Borrower agrees to pay (i) $1,500 per day per
examiner plus the examiner's out-of-pocket costs and reasonable expenses incurred in connection
with all such visits, inspections and audits and (ii) the reasonable out-of-pocket cost of all visits,
inspections and audits conducted by a third party on behalf of the Agents; provided that, so long
as no Event of Default shall have occurred and be continuing, the Borrower shall not be
obligated to reimburse the Agents for more than one (1) audit or examination during any
calendar year.

                  Section 2.07   LIBOR Option.

               (a)    In lieu of having interest charged at the rate based upon the Reference
Rate, the Borrower shall have the option (the "LIBOR Option") to have interest on all or a
portion of the Loans be charged at a rate of interest based upon the LIBOR Rate. Each Interest
Period of a LIBOR Rate Loan made to the Borrower shall commence on the date such LIBOR
Rate Loan is made and shall end on such date as the Borrower may elect as set forth in
subsection 2.02(a) above; provided that no Interest Period shall end after the last day of the Final
Maturity Date.


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               (b)     The Borrower shall elect the initial Interest Period applicable to a LIBOR
Rate Loan made to the Borrower by its Notice of Borrowing given to the Administrative Agent
pursuant to Section 2.02(a) or by its notice of conversion given to the Administrative Agent
pursuant to Section 2.07(c), as the case may be. The Borrower shall elect the duration of each
succeeding Interest Period by giving irrevocable written notice to the Administrative Agent of
such duration not later than 11:00 a.m. (New York City time) on the day which is not less than
three (3) Business Days prior to the last day of the then current Interest Period applicable to such
LIBOR Rate Loan (or such shorter period of time as may be agreed to by the Administrative
Agent in its sole discretion). If the Administrative Agent does not receive timely notice of the
Interest Period elected by the Borrower, the Borrower shall be deemed to have elected to convert
such LIBOR Rate Loan to a Reference Rate Loan, subject to Section 2.07(c) herein below.

                (c)    The Borrower may, on the last Business Day of the then current Interest
Period applicable to any outstanding LIBOR Rate Loan made to the Borrower, or on any
Business Day with respect to Reference Rate Loans, convert any such loan into a loan of another
type (i.e., a Reference Rate Loan or a LIBOR Rate Loan) in the same aggregate principal
amount, provided that any conversion of a LIBOR Rate Loan made to the Borrower not made on
the last Business Day of the then current Interest Period applicable to such LIBOR Rate Loan
shall be subject to Section 2.07(e). If the Borrower desires to convert a Loan, the Borrower shall
give the Administrative Agent a Notice of Borrowing by no later than 11:00 a.m. (New York
City time) (i) on the day which is three (3) Business Days' (or such shorter period of time as may
be agreed to by the Administrative Agent in its sole discretion) prior to the date on which such
conversion is to occur with respect to a conversion from a Reference Rate Loan to a LIBOR Rate
Loan, or (ii) on the day which is one (1) Business Day (or such shorter period of time as may be
agreed to by the Administrative Agent in its sole discretion) prior to the date on which such
conversion is to occur with respect to a conversion from a LIBOR Rate Loan to a Reference Rate
Loan, specifying, in each case, the date of such conversion, the Loans to be converted and if the
conversion is from a Reference Rate Loan to a LIBOR Rate Loan, the duration of the first
Interest Period therefor.

               (d)     Subject to Section 2.05(b), the Borrower may prepay the LIBOR Rate
Loans in whole at any time or in part from time to time, together with accrued interest on the
principal being prepaid to the date of such repayment in the case of any LIBOR Rate Loan made
to the Borrower, and the Borrower shall specify the date of prepayment of Loans which are
LIBOR Rate Loans, the Loan to which such prepayment is to be applied and the amount of such
prepayment. In the event that any prepayment of a LIBOR Rate Loan is required or permitted on
a date other than the last Business Day of the then-current Interest Period with respect thereto,
the Borrower shall indemnify the Agents and Lenders therefor in accordance with
Section 2.07(e) hereof.

                (e)    In connection with each LIBOR Rate Loan, the Borrower shall indemnify,
defend, and hold the Agents and the Lenders harmless against any loss, cost, or expense incurred
by any Agent or any Lender as a result of (a) the payment of any principal of any LIBOR Rate
Loan other than on the last day of an Interest Period applicable thereto (including as a result of a
Default or an Event of Default or any mandatory prepayment required pursuant to Section
2.05(c)), (b) the conversion of any LIBOR Rate Loan other than on the last day of the Interest
Period applicable thereto (including as a result of a Default or an Event of Default), or (c) the
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failure to borrow, convert, continue or prepay any LIBOR Rate Loan on the date specified in any
Notice of Borrowing or LIBOR Notice delivered pursuant hereto (such losses, costs, and
expenses, collectively, "Funding Losses"). Funding Losses shall, with respect to any Agent or
any Lender, be deemed to equal the amount reasonably determined by such Agent or such
Lender to be the excess, if any, of (i) the amount of interest that would have accrued on the
principal amount of such LIBOR Rate Loan had such event not occurred, at the LIBOR Rate that
would have been applicable thereto, for the period from the date of such event to the last day of
the then current Interest Period therefor (or, in the case of a failure to borrow, convert or
continue, for the period that would have been the Interest Period therefor), minus (ii) the amount
of interest that would accrue on such principal amount for such period at the interest rate which
such Agent or such Lender would be offered were it to be offered, at the commencement of such
period, Dollar deposits of a comparable amount and period in the London interbank market. A
certificate as to any additional amounts payable pursuant to the foregoing sentence submitted by
any Agent or any Lender to the Borrower shall be conclusive absent manifest error.

               (f)     Notwithstanding any other provision hereof, if any Requirement of Law,
or any Change in Law, shall make it unlawful for any Lender (for purposes of this subsection (f),
the term "Lender" shall include any Lender and the office or branch where any Lender or any
corporation or bank controlling such Lender makes or maintains any LIBOR Rate Loans) to
make or maintain its LIBOR Rate Loans, Administrative Agent shall provide notice of same to
the Borrower and the obligation of Lenders to make LIBOR Rate Loans hereunder shall
forthwith be suspended until such notice is withdrawn by the Administrative Agent, and the
Borrower shall, if any affected LIBOR Rate Loans are then outstanding, promptly upon request
from the Administrative Agent, either pay all such affected LIBOR Rate Loans or convert such
affected LIBOR Rate Loans into loans of another type. If any such payment or conversion of
any LIBOR Rate Loan is made on a day that is not the last day of the Interest Period applicable
to such LIBOR Rate Loan, the Borrower shall pay the Administrative Agent, upon the
Administrative Agent's request, such amount or amounts as may be necessary to compensate
Lenders for any Funding Losses sustained or incurred by Lenders in respect of such LIBOR Rate
Loan as a result of such payment or conversion, including (but not limited to) any interest or
other amounts payable by Lenders to lenders of funds obtained by Lenders in order to make or
maintain such LIBOR Rate Loan. A certificate as to any additional amounts that describes in
reasonable detail the calculations thereof payable pursuant to the foregoing sentence submitted
by Lenders to the Borrower shall be conclusive absent manifest error.

                  (g)   In the event that any Agent or any Lender shall have determined that:

                       (i)    reasonable means do not exist for ascertaining the LIBOR Rate
applicable pursuant to Section 2.02(a) hereof for any Interest Period;

                       (ii)   dollar deposits in the relevant amount and for the relevant maturity
are not available in the London interbank LIBOR market, with respect to an outstanding LIBOR
Rate Loan, a proposed LIBOR Rate Loan, or a proposed conversion of a Reference Rate Loan
into a LIBOR Rate Loan;




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                        (iii) at any time that an Event of Default under Section 9.01(a), 9.01(c)
(solely as a result of the Loan Parties' failure to comply with Section 7.03), Section 9.01(f) or
Section 9.01 (g) has occurred and is continuing; or

                      (iv)   the LIBOR Rate will not adequately and fairly reflect the cost to
such Lender of the establishment or maintenance of any LIBOR Rate Loan,

then Administrative Agent shall give the Borrower prompt written, telephonic or facsimile notice
of such determination. If such notice is given, (i) any such requested LIBOR Rate Loan shall be
made as a Reference Rate Loan, unless the Borrower shall notify the Administrative Agent no
later than 1:00 p.m. (New York City time) two (2) Business Days prior to the date of such
proposed borrowing, that its request for such borrowing shall be cancelled or made as an
unaffected type of LIBOR Rate Loan, (ii) any Reference Rate Loan or LIBOR Rate Loan which
was to have been converted to an affected type of LIBOR Rate Loan shall be continued as or
converted into a Reference Rate Loan, or, if the Borrower shall notify the Administrative Agent,
no later than 11:00 a.m. (New York time) two (2) Business Days prior to the proposed
conversion, shall be maintained as an unaffected type of LIBOR Rate Loan, and (iii) any
outstanding affected LIBOR Rate Loans shall be converted into a Reference Rate Loan at the
end of the applicable Interest Period. Until such notice has been withdrawn, Lenders shall have
no obligation to make an affected type of LIBOR Rate Loan or maintain outstanding affected
LIBOR Rate Loans and the Borrower shall not have the right to convert a Reference Rate Loan
or an unaffected type of LIBOR Rate Loan into an affected type of LIBOR Rate Loan.

              (h)     Anything to the contrary contained herein notwithstanding, neither any
Agent nor any Lender, nor any of their participants, is required actually to acquire eurodollar
deposits to fund or otherwise match fund any Obligation as to which interest accrues at the
LIBOR Rate. The provisions of this Article II shall apply as if each Lender or its participants
had match funded any Obligation as to which interest is accruing at the LIBOR Rate by
acquiring eurodollar deposits for each Interest Period in the amount of the LIBOR Rate Loans.

               (i)    Notwithstanding anything to the contrary contained in this Agreement, the
Borrower (i) shall have not more than 5 separate Interest Periods for LIBOR Rate Loans in effect
at any given time, and (ii) only may exercise the LIBOR Option for LIBOR Rate Loans of at
least $500,000 and integral multiples of $100,000 in excess thereof.

                  Section 2.08   [Reserved].

                  Section 2.09   Taxes.

                (a)     Any and all payments by any Loan Party hereunder or under any other
Loan Document shall be made free and clear of and without deduction for any and all present or
future taxes, levies, imposts, deductions, charges or withholdings, and all interest, additions to
tax, penalties or other liabilities with respect thereto (collectively, "Taxes"), save as required by
law and excluding any of the following Taxes imposed on or with respect to a Secured Party;
Taxes imposed on or measured by the net income received or receivable (but not any sum
deemed to be received or receivable) by any Secured Party (or any transferee or assignee thereof,
including a participation holder (any such entity, a "Transferee")) (A) by the jurisdiction in

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which such Person is organized or has its principal lending office or (B) imposed as a result of a
present or former connection between a Secured Party and the jurisdiction imposing such Tax
(other than connections arising from such Secured Party having executed, delivered, become a
party to, performed its obligations under, received payments under, received or perfected a
security interest under, engaged in any other transaction pursuant to or enforced any Loan
Document or sold or assigned an interest in any Loan or Loan Document (all such Taxes
described in this clause (B), "Other Connection Taxes"), (all Taxes, other than those excluded
under this Section 2.09(a), collectively or individually, "Indemnified Taxes"). If any Loan Party
shall be required to deduct any Indemnified Taxes from or in respect of any sum payable
hereunder to any Secured Party (or any Transferee), (i) the sum payable shall be increased by the
amount (an "Additional Amount") necessary so that after making all required deductions
(including deductions applicable to additional sums payable under this Section 2.09(a)) such
Secured Party (or such Transferee) shall receive an amount equal to the sum it would have
received had no such deductions been made, (ii) such Loan Party shall make such deductions and
(iii) such Loan Party shall pay the full amount deducted to the relevant Governmental Authority
in accordance with applicable law.

                (b)     In addition, each Loan Party agrees to pay to the relevant Governmental
Authority in accordance with applicable law any present or future court, stamp, documentary,
intangible, recording or filing taxes or any other excise or property taxes, charges or similar
levies that arise from any payment made hereunder or from the execution, delivery or
registration of, or otherwise with respect to, this Agreement or any other Loan Document (except
any such Taxes that are Other Connection Taxes imposed with respect to an assignment (other
than an assignment made pursuant to Section 2.13, "Other Taxes"). Each Loan Party shall
deliver to each Secured Party the original or a certified copy of receipts in respect of any
Indemnified Taxes or Other Taxes payable hereunder promptly after payment of such
Indemnified Taxes or Other Taxes.

                (c)    The Loan Parties hereby jointly and severally indemnify and agree to hold
each Secured Party harmless from and against any loss, liability or cost which that Secured Party
suffers for or on account of Indemnified Taxes and Other Taxes (including, without limitation,
Indemnified Taxes and Other Taxes imposed on any amounts payable under this Section 2.09(c))
paid by such Person, whether or not such Indemnified Taxes or Other Taxes are correctly or
legally asserted save that such indemnity shall not apply if and to the extent that a loss, liability
or cost:

                      (i)     is compensated for by an increased payment pursuant to
Section 2.10 or an Additional Amount;

                       (ii)   would have been so compensated but was not so compensated
solely because any of the exclusions in Section 2.10(d) applied; or

                       (iii)   (for the avoidance of doubt) is compensated for by Clause 2.09(b);

Such indemnification shall be paid within 10 days from the date on which any such Person
makes written demand therefore specifying in reasonable detail the nature and amount of such
Indemnified Taxes or Other Taxes.

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                (d)      Each Lender (or Transferee) that is organized under the laws of a
jurisdiction outside the United States (a "Non-U.S. Secured Party") agrees that it shall, to the
extent it is legally entitled to do so, no later than the Effective Date (or, in the case of a Lender
which becomes a party hereto pursuant to Section 12.07 hereof after the Effective Date, promptly
after the date upon which such Lender becomes a party hereto) deliver to the Agents one
properly completed and duly executed copy of either U.S. Internal Revenue Service Form W-
8BEN, W-8BEN-E, W-8ECI or W-8IMY or any subsequent versions thereof or successors
thereto, in each case claiming complete exemption from, or reduced rate of, U.S. Federal
withholding tax and payments of interest hereunder. In addition, in the case of a Non-U.S.
Secured Party claiming exemption from U.S. Federal withholding tax under Section 871(h) or
881(c) of the Internal Revenue Code, such Non-U.S. Secured Party hereby represents to the
Agents and the Borrower that such Non-U.S. Secured Party is not a bank for purposes of Section
881(c) of the Internal Revenue Code, is not a 10-percent shareholder (within the meaning of
Section 871(h)(3)(B) of the Internal Revenue Code) of the Parent and is not a controlled foreign
corporation related to the Parent (within the meaning of Section 864(d)(4) of the Internal
Revenue Code), and such Non-U.S. Secured Party agrees that it shall promptly notify the Agents
in the event any such representation is no longer accurate. If a payment made to a Lender (or
Transferee) or any Agent under any Loan Document would be subject to U.S. Federal
withholding tax imposed by FATCA if such Lender (or Transferee) or Agent were to fail to
comply with the applicable reporting requirements of FATCA (including those contained in
Section 1471(b) or 1472(b) of the Internal Revenue Code, as applicable), such Lender (or
Transferee) or Agent shall deliver to the Borrower and the Agents at the time or times prescribed
by law and at such time or times reasonably requested by the Borrower or the Agents such
documentation prescribed by applicable law (including as prescribed by Section 1471(b)(3)(C)(i)
of the Internal Revenue Code) and such additional documentation reasonably requested by the
Borrower or the Agents as may be necessary for the Borrower and the Agents to comply with
their obligations under FATCA and to determine that such Lender (or Transferee) or Agent has
complied with its obligations under FATCA or to determine the amount to deduct and withhold
from such payment. Solely for purposes of this clause (d), "FATCA" shall include any
amendments made to FATCA after the date of this Agreement. Any forms, certifications or
other documentation under this clause (d) shall be delivered by each Lender (or Transferee) and
each Agent. Such forms shall be delivered by each Non-U.S. Secured Party on or before the date
it becomes a party to this Agreement (or, in the case of a Transferee that is a participation holder,
on or before the date such participation holder becomes a Transferee hereunder) and on or before
the date, if any, such Non-U.S. Secured Party changes its applicable lending office by
designating a different lending office (a "New Lending Office"). In addition, such Lender (or
Transferee) or Agent shall deliver such forms within 20 days after receipt of a written request
therefor from the Borrower or any Agent, the assigning Lender or the Lender granting a
participation, as applicable. Notwithstanding any other provision of this Section 2.09(d), a Non-
U.S. Secured Party shall not be required to deliver any form pursuant to this Section 2.09(d) that
such Non-U.S. Secured Party is not legally able to deliver. Any Secured Party that is not a Non-
U.S. Secured Party shall deliver to the Borrower and the Agents on or prior to the date on which
such Secured Party becomes a Secured Party under this Agreement (and from time to time
thereafter upon the reasonable request of the Borrower or the Agents), executed copies of
Internal Revenue Service Form W-9 certifying that such Secured Party is exempt from U.S.
federal backup withholding tax.

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               (e)      Notwithstanding anything to the contrary set forth in this Agreement
(including, but not limited to, any other provision of this Section 2.09), the Loan Parties shall not
be required to indemnify any Non-U.S. Secured Party, or pay any Additional Amounts to any
Non-U.S. Secured Party, in respect of United States Federal withholding tax pursuant to this
Section 2.09 to the extent that (i) the obligation to withhold amounts with respect to United
States Federal withholding tax existed on the date such Non-U.S. Secured Party became a party
to this Agreement (or, in the case of a Transferee that is a participation holder, on the date such
participation holder became a Transferee hereunder) or, with respect to payments to a New
Lending Office, the date such Non-U.S. Secured Party designated such New Lending Office with
respect to a Loan; provided, however, that this clause (i) shall not apply to the extent the
indemnity payment or Additional Amounts any Transferee, or Lender (or Transferee) through a
New Lending Office, would be entitled to receive (without regard to this clause (i)) do not
exceed the indemnity payment or Additional Amounts that the Person making the assignment,
participation or transfer to such Transferee, or Lender (or Transferee) making the designation of
such New Lending Office, would have been entitled to receive in the absence of such
assignment, participation, transfer or designation, (ii) the obligation to indemnify or pay such
Additional Amounts would not have arisen but for a failure by such Non-U.S. Secured Party to
comply with the provisions of clause (d) above, or (iii) such U.S. Federal withholding tax is
imposed under FATCA (or any amended or successor version of FATCA that is substantively
comparable and not materially more onerous to comply with).

               (f)     Any Secured Party (or Transferee) claiming any indemnity payment or
additional payment amounts payable pursuant to this Section 2.09(f) shall use reasonable efforts
(consistent with legal and regulatory restrictions) to file any certificate or document reasonably
requested in writing by the Borrower or to change the jurisdiction of its applicable lending office
if the making of such a filing or change would avoid the need for or reduce the amount of any
such indemnity payment or additional amount that may thereafter accrue, would not require such
Secured Party (or Transferee) to disclose any information such Secured Party (or Transferee)
deems confidential and would not, in the sole determination of such Secured Party (or
Transferee), be otherwise disadvantageous to such Secured Party (or Transferee).

               (g)    The obligations of the Loan Parties under this Section 2.09(h) shall
survive the termination of this Agreement and the payment of the Loans and all other amounts
payable hereunder.

                (h)    If any party determines, in its sole discretion exercised in good faith, that
it has received a refund of any Taxes as to which it has been indemnified pursuant to this Section
2.09 (including by the payment of additional amounts pursuant to this Section 2.09), it shall pay
to the indemnifying party an amount equal to such refund (but only to the extent of indemnity
payments made under this Section with respect to the Taxes giving rise to such refund), net of all
out of pocket expenses (including Taxes) of such indemnified party and without interest (other
than any interest paid by the relevant Governmental Authority with respect to such refund).
Such indemnifying party, upon the request of such indemnified party, shall repay to such
indemnified party the amount paid over pursuant to this paragraph (h) (plus any penalties,
interest or other charges imposed by the relevant Governmental Authority) in the vent that such
indemnified party is required to repay such refund to such Governmental Authority).
Notwithstanding anything to the contrary in this Agreement (including, but not limited to, this
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Section 2.09), in no event will the indemnified party be required to pay any amount to an
indemnifying party pursuant to this paragraph (h) the payment of which would place the
indemnified party in a less favorable net after-Tax position than the indemnified party would
have been in if the Tax subject to indemnification and giving rise to such refund had not been
deducted, withheld or otherwise imposed and the indemnification payments or additional
amounts with respect to such Tax had never been paid. This paragraph shall not be construed to
require any indemnified party to make available its Tax returns (or any other information relating
to its Taxes that it deems confidential) to the indemnifying party or any other Person.

                  Section 2.10   [Reserved].

                  Section 2.11   Increased Costs and Reduced Return.

                (a)     If any Secured Party shall have reasonably determined that any Change in
Law shall (i) subject such Secured Party, or any Person controlling such Secured Party to any
tax, duty or other charge with respect to this Agreement or any Loan made by such Agent or
such Lender, or change the basis of taxation of payments to such Secured Party or any Person
controlling such Secured Party of any amounts payable hereunder (except for Indemnified Taxes
or Taxes described in Section 2.09(e), in each case, of such Secured Party or any Person
controlling such Secured Party), (ii) impose, modify or deem applicable any reserve, special
deposit or similar requirement against any Loan or against assets of or held by, or deposits with
or for the account of, or credit extended by, such Secured Party or any Person controlling such
Secured Party or (iii) impose on such Secured Party or any Person controlling such Secured
Party any other condition regarding this Agreement or any Loan, and the result of any event
referred to in clauses (i), (ii) or (iii) above shall be to increase the cost to such Secured Party of
making any Loan or agreeing to make any Loan, or to reduce any amount received or receivable
by such Secured Party hereunder, then, upon demand by such Secured Party, the Borrower shall
pay to such Secured Party such additional amounts as will compensate such Secured Party for
such increased costs or reductions in amount.

                (b)     If any Secured Party shall have reasonably determined that any Change in
Law either (i) affects or would affect the amount of capital required or expected to be maintained
by such Secured Party or any Person controlling such Secured Party, and such Secured Party
determines that the amount of such capital is increased as a direct or indirect consequence of any
Loans made or maintained or any guaranty or participation with respect thereto, such Secured
Party's or such other controlling Person's other obligations hereunder, or (ii) has or would have
the effect of reducing the rate of return on such Secured Party's or such other controlling Person's
capital to a level below that which such Secured Party or such controlling Person could have
achieved but for such circumstances as a consequence of any Loans made or maintained or any
guaranty or participation with respect thereto, or any agreement to make Loans or such Secured
Party's or such other controlling Person's other obligations hereunder (in each case, taking into
consideration, such Secured Party's or such other controlling Person's policies with respect to
capital adequacy), then, upon demand by such Secured Party, the Borrower shall pay to such
Secured Party from time to time such additional amounts as will compensate such Secured Party
for such cost of maintaining such increased capital or such reduction in the rate of return on such
Secured Party's or such other controlling Person's capital.


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                (c)     Clauses (a) and (b) of this Section 2.11 do not apply to the extent any cost
or reduction is:

                      (i)    attributable to a withholding or deduction for or on account of Tax
required by law to be made from a payment by a Borrower or Guarantor;

                        (ii)   compensated for by Section 2.09(c) or would have been
compensated for under that Section 2.09(c) but was not so compensated solely because any of
the exclusions set out therein applied;

                         (iii)   compensated for by Section 2.09(b);

                         (iv)   attributable to the implementation or application of, or compliance
with, Basel III or any law or regulation that implements or applies Basel III (whether such
implementation, application or compliance is by a government, regulator, Secured Party or any
of its Affiliates), unless such cost or reduction was not, in the reasonable opinion of that Secured
Party, capable of being calculated by the relevant Secured Party with sufficient accuracy or in
reasonable detail on the date of this Agreement or, if later, as at the date on which the relevant
Secured Party became a Secured Party; or

               (d)    attributable to the implementation or application of or compliance with the
"International Convergence of Capital Measurement and Capital Standards, a Revised
Framework" published by the Basel Committee on Banking Supervision in June 2004 in the
form existing on the date of this Agreement (but excluding any amendment taking account of or
incorporating any measure from Basel III) ("Basel II") or any other law or regulation which
implements Basel II (whether such implementation, application or compliance is by a
government, regulator, Secured Party or any of its Affiliates.

                (e)    Failure or delay on the part of any Lender to demand compensation
pursuant to the foregoing provisions of this Section 2.11 shall not constitute a waiver of such
Lender's right to demand such compensation; provided that the Borrower shall not be required to
compensate a Lender pursuant to the foregoing provisions of this Section 2.11 for any increased
costs incurred or reductions suffered more than twelve months prior to the date that such Lender
notifies the Borrower of the Change in Law giving rise to such increased costs or reductions and
of such Lender's intention to claim compensation therefor (except that, if the Change in Law
giving rise to such increased costs or reductions is retroactive, then the nine-month period
referred to above shall be extended to include the period of retroactive effect thereof).

               (f)     The obligations of the Loan Parties under this Section 2.11 shall survive
the termination of this Agreement and the payment of the Loans and all other amounts payable
hereunder.

                  Section 2.12   Changes in Law; Impracticability or Illegality.

               (a)    The LIBOR Rate may be adjusted by the Administrative Agent with
respect to any Lender on a prospective basis to take into account any additional or increased
costs to such Lender of maintaining or obtaining any eurodollar deposits or increased costs due
to changes in applicable law occurring subsequent to the commencement of the then applicable
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Interest Period, including changes in tax laws (except changes of general applicability in
corporate income tax laws) and changes in the reserve requirements imposed by the Board of
Governors of the Federal Reserve System (or any successor), excluding the Reserve Percentage,
which additional or increased costs would increase the cost of funding loans bearing interest at
the LIBOR Rate. In any such event, the affected Lender shall give the Borrower and the
Administrative Agent notice of such a determination and adjustment and the Administrative
Agent promptly shall transmit the notice to each other Lender and, upon its receipt of the notice
from the affected Lender, the Borrower may, by notice to such affected Lender (i) require such
Lender to furnish to the Borrower a statement setting forth the basis for adjusting such LIBOR
Rate and the method for determining the amount of such adjustment, or (ii) repay the LIBOR
Rate Loans with respect to which such adjustment is made (together with any amounts due under
Section 2.09).

                (b)     In the event that any change in market conditions or any law, regulation,
treaty, or directive, or any change therein or in the interpretation of application thereof, shall at
any time after the date hereof, in the reasonable opinion of any Lender, make it unlawful or
impractical for such Lender to fund or maintain LIBOR Rate Loans or to continue such funding
or maintaining, or to determine or charge interest rates at the LIBOR Rate, such Lender shall
give notice of such changed circumstances to the Borrower and the Administrative Agent, and
the Administrative Agent promptly shall transmit the notice to each other Lender and (i) in the
case of any LIBOR Rate Loans of such Lender that are outstanding, the date specified in such
Lender's notice shall be deemed to be the last day of the Interest Period of such LIBOR Rate
Loans, and interest upon the LIBOR Rate Loans of such Lender thereafter shall accrue interest at
the rate then applicable to Reference Rate Loans of the same type hereunder, and (ii) the
Borrower shall not be entitled to elect the LIBOR Option (including in any borrowing,
conversion or continuation then being requested) until such Lender determines that it would no
longer be unlawful or impractical to do so.

               (c)     The obligations of the Loan Parties under this Section 2.12 shall survive
the termination of this Agreement and the payment of the Loans and all other amounts payable
hereunder.

                  Section 2.13   Mitigation Obligations; Replacement of Lenders.

               (a)     If any Lender requires the Borrower to pay any Additional Amounts under
Section 2.09 or requests compensation under Section 2.11, then such Lender shall (at the request
of the Borrower) use reasonable efforts to designate a different lending office for funding or
booking its Loans hereunder or to assign its rights and obligations hereunder to another of its
offices, branches or affiliates, if, in the reasonable judgment of such Lender, such designation or
assignment (i) would eliminate or reduce amounts payable pursuant to such Section in the future,
and (ii) would not subject such Lender to any unreimbursed cost or expense and would not
otherwise be disadvantageous to such Lender. The Borrower hereby agrees to pay all reasonable
costs and expenses incurred by any Lender in connection with any such designation or
assignment.

              (b)    If any Lender requires the Borrower to pay any Additional Amounts under
Section 2.09 or requests compensation under Section 2.11 and, in each case, such Lender has

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declined or is unable to designate a different lending office in accordance with clause (a) above,
or if any Lender is a Defaulting Lender, then the Borrower may, at its sole expense and effort,
upon notice to such Lender and the Administrative Agent, require such Lender to assign and
delegate, without recourse (in accordance with and subject to the restrictions contained in, and
consents required by, Section 12.07), all of its interests, rights and obligations under this
Agreement and the other Loan Documents to an assignee that shall assume such obligations
(which assignee may be another Lender, if a Lender accepts such assignment); provided that:

                      (i)     the Borrower shall have paid or cause to be paid to the Agents any
assignment fees specified in Section 12.07;

                      (ii)    such Lender shall have received payment of an amount equal to the
outstanding principal of its Loans, accrued interest thereon, accrued fees and all other amounts
payable to it hereunder and under the other Loan Documents (including any amounts under
Section 2.09) from the assignee (to the extent of such outstanding principal and accrued interest
and fees) or the Borrower (in the case of all other amounts);

                      (iii)   in the case of any such assignment resulting from payments
required to be made pursuant to Section 2.09 or a claim for compensation under Section 2.11,
such assignment will result in a reduction in such compensation or payments thereafter; and

                         (iv)    such assignment does not conflict with applicable law.

Prior to the effective date of such assignment, the assigning Lender shall execute and deliver an
Assignment and Acceptance, subject only to the conditions set forth above. If the assigning
Lender shall refuse or fail to execute and deliver any such Assignment and Acceptance prior to
the effective date of such assignment, the assigning Lender shall be deemed to have executed and
delivered such Assignment and Acceptance. Any such assignment shall be made in accordance
with the terms of Section 12.07.

A Lender shall not be required to make any such assignment or delegation if, prior thereto, as a
result of a waiver by such Lender or otherwise, the circumstances entitling the Borrower to
require such assignment and delegation cease to apply.

                                            ARTICLE III

                                           [RESERVED]

                                            ARTICLE IV

                  APPLICATION OF PAYMENTS; DEFAULTING LENDERS;
                    JOINT AND SEVERAL LIABILITY OF BORROWERS

                  Section 4.01   Payments; Computations and Statements.

              (a)    The Borrower will make each payment under this Agreement not later
than 12:00 noon (New York City time) on the day when due, in lawful money of the United
States of America and in immediately available funds, to the Administrative Agent's Account.
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All payments received by the Administrative Agent after 12:00 noon (New York City time) on
any Business Day will be credited to the Loan Account on the next succeeding Business Day.
All payments shall be made by the Borrower without set-off, counterclaim, recoupment,
deduction or other defense to the Agents and the Lenders. Except as provided in Section 2.02,
after receipt, the Administrative Agent will promptly thereafter cause to be distributed like funds
relating to the payment of principal ratably to the Lenders in accordance with their Pro Rata
Shares and like funds relating to the payment of any other amount payable to any Lender to such
Lender, in each case to be applied in accordance with the terms of this Agreement, provided that
the Administrative Agent will cause to be distributed all interest and fees received from or for the
account of the Borrower not less than once each month and in any event promptly after receipt
thereof. The Lenders and the Borrower hereby authorize the Administrative Agent to, and the
Administrative Agent may, from time to time, charge the Loan Account of the Borrower with
any amount due and payable by the Borrower under any Loan Document. Each of the Lenders
and the Borrower agrees that the Administrative Agent shall have the right to make such charges
whether or not any Default or Event of Default shall have occurred and be continuing or whether
any of the conditions precedent in Section 5.02 have been satisfied. Any amount charged to the
Loan Account of the Borrower shall be deemed a Revolving Loan hereunder made by the
Revolving Loan Lenders to the Borrower, funded by the Administrative Agent on behalf of the
Revolving Loan Lenders and subject to Section 2.02 of this Agreement. The Lenders and the
Borrower confirm that any charges which the Administrative Agent may so make to the Loan
Account of the Borrower as herein provided will be made as an accommodation to the Borrower
and solely at the Administrative Agent's discretion; provided that the Administrative Agent shall
from time to time upon the request of the Collateral Agent, charge the Loan Account of the
Borrower with any amount due and payable under any Loan Document. Whenever any payment
to be made under any such Loan Document shall be stated to be due on a day other than a
Business Day, such payment shall be made on the next succeeding Business Day and such
extension of time shall in such case be included in the computation of interest or fees, as the case
may be. All computations of fees shall be made by the Administrative Agent on the basis of a
year of 360 days for the actual number of days (including the first day, but excluding the last
day) occurring in the period for which such fees are payable. Each determination by the
Administrative Agent of an interest rate or fees hereunder shall be conclusive and binding for all
purposes in the absence of manifest error.

               (b)     The Administrative Agent shall provide the Borrower, promptly after the
end of each calendar month, a summary statement (in the form from time to time used by the
Administrative Agent) of the opening and closing daily balances in the Loan Account of the
Borrower during such month, the amounts and dates of all Loans made to the Borrower during
such month, the amounts and dates of all payments on account of the Loans to the Borrower
during such month, and the Loans to which such payments were applied, the amount of interest
accrued on the Loans to the Borrower during such month and the amount and nature of any
charges to the Loan Account made during such month on account of fees, commissions,
expenses and other Obligations. All entries on any such statement shall be presumed to be
correct and, 30 days after the same is sent, shall be final and conclusive absent manifest error.

               Section 4.02 Sharing of Payments. Except as provided in Section 2.02 hereof, if
any Lender shall obtain any payment (whether voluntary, involuntary, through the exercise of
any right of set-off, or otherwise) on account of any Obligation in excess of its ratable share of
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payments on account of similar obligations obtained by all the Lenders, such Lender shall
forthwith (a) turn the same over to Administrative Agent, in kind, and with such endorsements as
may be required to negotiate the same to Administrative Agent, or in immediately available
funds, as applicable, for the account of all of the Lenders and for application to the Obligations
in accordance with the applicable provisions of this Agreement, or (b) purchase from the other
Lenders such participations in such similar obligations held by them as shall be necessary to
cause such purchasing Lender to share the excess payment ratably with each of them in
accordance with the applicable provisions of this Agreement; provided, however, that (a) if all or
any portion of such excess payment is thereafter recovered from such purchasing Lender, such
purchase from each Lender shall be rescinded and each Lender shall repay to the purchasing
Lender the purchase price to the extent of such recovery together with an amount equal to such
Lender's ratable share (according to the proportion of (i) the amount of such Lender's required
repayment to (ii) the total amount so recovered from the purchasing Lender) of any interest or
other amount paid by the purchasing Lender in respect of the total amount so recovered and (b)
the provisions of this Section shall not be construed to apply to (i) any payment made by the
Borrower pursuant to and in accordance with the express terms of this Agreement (including the
application of funds arising from the existence of a Defaulting Lender), or (ii) any payment
obtained by a Lender as consideration for the assignment of or sale of a participation in any of its
Loans, other than to any Loan Party or any Subsidiary thereof (as to which the provisions of this
Section shall apply). The Borrower agrees that any Lender so purchasing a participation from
another Lender pursuant to this Section may, to the fullest extent permitted by law, exercise all
of its rights (including the Lender's right of set-off) with respect to such participation as fully as
if such Lender were the direct creditor of the Borrower in the amount of such participation.

               Section 4.03 Apportionment of Payments. Subject to Section 2.02 hereof and to
any written agreement among the Agents and/or the Lenders:

                (a)     All payments of principal and interest in respect of outstanding Loans, all
payments of fees (other than the fees set forth in Section 2.06 hereof to the extent set forth in any
written agreement among the Agents and the Lenders) and all other payments in respect of any
other Obligations, shall be allocated by the Administrative Agent among such of the Lenders as
are entitled thereto, in proportion to their respective Pro Rata Shares or otherwise as provided
herein or, in respect of payments not made on account of Loans, as designated by the Person
making payment when the payment is made.

                 (b)   After the occurrence and during the continuance of an Event of Default,
the Administrative Agent may, and upon the direction of the Collateral Agent or the Required
Lenders shall, apply all proceeds of the Collateral, subject to the provisions of this Agreement,
(i) first, ratably to pay the Obligations in respect of any fees, expense reimbursements,
indemnities and other amounts (other than interest or principal of the Loans) then due and
payable to the Agents until paid in full; (ii) second, ratably to pay the Obligations in respect of
any fees (excluding any Applicable Prepayment Premium), expense reimbursements and
indemnities then due and payable to the Lenders until paid in full; (iii) third, ratably to pay
interest then due and payable in respect of the Agent Advances until paid in full; (iv) fourth,
ratably to pay principal of the Agent Advances until paid in full; (v) fifth, ratably to pay interest
then due and payable in respect of the Loans until paid in full; (vi) sixth, ratably to pay principal
of the Loans until paid in full; (vii) seventh, ratably to pay the Obligations in respect of any
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Applicable Prepayment Premium then due and payable to the Lenders until paid in full;
(viii) eighth, to the ratable payment of all other Obligations then due and payable until paid in
full; and (ix) ninth, to the Borrower or such other Person entitled thereto under applicable
Requirement of Law.

                (c)     For purposes of Section 4.03(b) (other than clause (viii) thereof), "paid in
full" means payment in cash or Cash Collateralization (as applicable) of all amounts owing under
the Loan Documents according to the terms thereof, including loan fees, service fees,
professional fees, interest (and specifically including interest accrued after the commencement of
any Insolvency Proceeding), default interest, interest on interest, and expense reimbursements,
whether or not same would be or is allowed or disallowed in whole or in part in any Insolvency
Proceeding, except to the extent that default or overdue interest (but not any other interest) and
loan fees, each arising from or related to a default, are disallowed in any Insolvency Proceeding;
provided, however, that for the purposes of clause (viii), "paid in full" means payment in cash of
all amounts owing under the Loan Documents according to the terms thereof, including loan
fees, service fees, professional fees, interest (and specifically including interest accrued after the
commencement of any Insolvency Proceeding), default interest, interest on interest, and expense
reimbursements, whether or not the same would be or is allowed or disallowed in whole or in
part in any Insolvency Proceeding.

              (d)    In each instance, so long as no Event of Default has occurred and is
continuing and except as otherwise expressly provided herein, Section 4.03(b) shall not be
deemed to apply to any payment by the Borrower specified by the Borrower to the
Administrative Agent to be for the payment of Term Loan Obligations then due and payable
under any provision of this Agreement or the prepayment of all or part of the principal of the
Term Loans in accordance with the terms and conditions of Section 2.05.

                (e)     In the event of a direct conflict between the priority provisions of this
Section 4.03 and other provisions contained in any other Loan Document, it is the intention of
the parties hereto that both such priority provisions in such documents shall be read together and
construed, to the fullest extent possible, to be in concert with each other. In the event of any
actual, irreconcilable conflict that cannot be resolved as aforesaid, the terms and provisions of
this Section 4.03 shall control and govern.

               Section 4.04 Defaulting Lenders. Notwithstanding anything to the contrary
contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as
such Lender is no longer a Defaulting Lender, to the extent permitted by any Requirement of
Law:

              (a)    Such Defaulting Lender's right to approve or disapprove any amendment,
waiver or consent with respect to this Agreement shall be restricted as set forth in the definition
of Required Lenders.

              (b)    The Administrative Agent shall not be obligated to transfer to such
Defaulting Lender any payments made by the Borrower to the Administrative Agent for such
Defaulting Lender's benefit, and, in the absence of such transfer to such Defaulting Lender, the
Administrative Agent shall transfer any such payments to each other non-Defaulting Lender

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ratably in accordance with their Pro Rata Shares (without giving effect to the Pro Rata Shares of
such Defaulting Lender) (but only to the extent that such Defaulting Lender's Loans were funded
by the other Lenders) or, if so directed by the Borrower and if no Default or Event of Default has
occurred and is continuing (and to the extent such Defaulting Lender's Loans were not funded by
the other Lenders), retain the same to be re-advanced to the Borrower as if such Defaulting
Lender had made such Loans to the Borrower. Subject to the foregoing, the Administrative
Agent may hold and, in its discretion, re-lend to the Borrower for the account of such Defaulting
Lender the amount of all such payments received and retained by the Administrative Agent for
the account of such Defaulting Lender.

               (c)    Any such failure to fund by any Defaulting Lender shall constitute a
material breach by such Defaulting Lender of this Agreement and shall entitle the Borrower to
replace the Defaulting Lender in accordance with Section 2.13.

               (d)    The operation of this Section shall not be construed to increase or
otherwise affect the Commitments of any Lender, to relieve or excuse the performance by such
Defaulting Lender or any other Lender of its duties and obligations hereunder, or to relieve or
excuse the performance by the Borrower of its duties and obligations hereunder to the
Administrative Agent or to the Lenders other than such Defaulting Lender.

                (e)    This Section shall remain effective with respect to such Lender until either
(i) the Obligations under this Agreement shall have been declared or shall have become
immediately due and payable or (ii) the non-Defaulting Lenders, the Agents, and the Borrower
shall have waived such Defaulting Lender's default in writing, and the Defaulting Lender makes
its Pro Rata Share of the applicable defaulted Loans and pays to the Agents all amounts owing
by such Defaulting Lender in respect thereof; provided that no adjustments will be made
retroactively with respect to fees accrued or payments made by or on behalf of the Borrower
while such Lender was a Defaulting Lender; provided further that, except to the extent otherwise
expressly agreed by the affected parties, no change hereunder from Defaulting Lender to Lender
will constitute a waiver or release of any claim of any party hereunder arising from such Lender's
having been a Defaulting Lender.

                                           ARTICLE V

                                   CONDITIONS TO LOANS

               Section 5.01 Conditions Precedent to Effectiveness. This Agreement shall
become effective as of the Business Day (the "Effective Date") when each of the following
conditions precedent shall have been satisfied in a manner reasonably satisfactory to the Agents:

               (a)     Payment of Fees, Etc. The Borrower shall have paid on or before the
Effective Date all reasonable, documented and out-of-pocket fees, costs, expenses and Taxes
required to be paid pursuant to Section 2.06 and Section 12.04.

               (b)     Representations and Warranties; No Event of Default. The following
statements shall be true and correct in all material respects (except that such materiality qualifier
shall not be applicable to any representations or warranties that already are qualified or modified

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as to "materiality" or "Material Adverse Effect" in the text thereof, which representations and
warranties shall be true and correct in all respects subject to such qualification) on and as of the
Effective Date as though made on and as of such date, except to the extent that any such
representation or warranty expressly relates solely to an earlier date and not required to be
brought down to the Effective Date (in which case such representation or warranty shall be true
and correct in all material respects (except that such materiality qualifier shall not be applicable
to any representations or warranties that already are qualified or modified as to "materiality" or
"Material Adverse Effect" in the text thereof, which representations and warranties shall be true
and correct in all respects subject to such qualification) on and as of such earlier date): (i) the
representations and warranties of the Loan Parties contained in Sections 6.01(a)(i), (a)(ii), (b)(i),
(b)(ii)(A), and (b)(ii)(B), (c) (solely to the extent required under the Acquisition Agreement), (d),
(f)(ii), (k), (s), (t), (w), (x) (subject to the Certain Funds Provision), (z) and (aa) hereof are true
and correct; and (ii) the Specified Acquisition Agreement Representations made by (or on behalf
of) the Target in the Acquisition Agreement regarding the Acquisition Assets purchased
thereunder are true and correct (the "Rocket Fuel Acquisition Agreement Representations") and
(iii) the Sizmek Representations are true and correct.

                (c)    Legality. The making of the initial Loans shall not contravene any law,
rule or regulation applicable to any Secured Party.

               (d)    Delivery of Documents. The Collateral Agent shall have received on or
before the Effective Date the following, each in form and substance reasonably satisfactory to
the Collateral Agent and, unless indicated otherwise, dated the Effective Date and, if applicable,
duly executed by the Persons party thereto:

                       (i)     this Agreement, duly executed by each of the parties thereto;

                      (ii)    a Security Agreement, together with the original stock certificates
representing all of the Equity Interests and all promissory notes required to be pledged
thereunder, accompanied by undated stock powers executed in blank and other proper
instruments of transfer, as applicable, in each case, to the extent in the Loan Parties' control or
received by the Loan Parties prior to the Effective Date,;

                      (iii)    evidence reasonably satisfactory to the Agents and the Lenders of
the refinancing (substantially concurrently with the making of the Loans on the Effective Date)
of all Indebtedness owed by the Loan Parties under the Existing Credit Facilities, and of a
customary payoff letter evidencing the termination and release of all liens and security interests
granted thereunder, duly executed by (or on behalf of) the relevant Loan Parties and the relevant
Existing Lenders;

                       (iv)    evidence satisfactory to the Collateral Agent of the filing of
appropriate financing statements on Form UCC-1 in such office or offices as may be necessary
or, in the opinion of the Collateral Agent, desirable to perfect the security interests purported to
be created by each Security Agreement;




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                     (v)     the results of searches for any effective UCC financing statements,
tax Liens or judgment Liens filed against any Loan Party or its property, which results shall not
show any such Liens (other than Permitted Liens acceptable to the Collateral Agent);

                       (vi)     a Perfection Certificate;

                       (vii)    [reserved];

                       (viii)   the Acquisition Collateral Assignment;

                       (ix)     the Disbursement Letter;

                       (x)      the Intercompany Subordination Agreement;

                       (xi)    a certificate of an Authorized Officer of each Loan Party,
certifying (A) as to copies of the Governing Documents of such Loan Party, together with all
amendments thereto (including, without limitation, a true and complete copy of the charter,
certificate of formation or incorporation, certificate of limited partnership or other publicly filed
organizational document (as applicable) of each Loan Party certified as of a recent date not more
than 30 days prior to the Effective Date by an appropriate official of the jurisdiction of
incorporation or organization of such Loan Party which shall set forth the same complete name
of such Loan Party as is set forth herein and the organizational or company number (as
applicable) of such Loan Party, if an organizational or company number is issued in such
jurisdiction), (B) as to a copy of the resolutions or written consents of such Loan Party
authorizing (1) the borrowings hereunder and the transactions contemplated by the Loan
Documents to which such Loan Party is or will be a party, and (2) the execution, delivery and
performance by such Loan Party of each Loan Document to which such Loan Party is or will be
a party and the execution and delivery of the other documents to be delivered by such Person in
connection herewith and therewith, (C) the names and true signatures of the representatives of
such Loan Party authorized to sign each Loan Document (in the case of a Borrower, including,
without limitation, Notices of Borrowing and all other notices under this Agreement and the
other Loan Documents) to which such Loan Party is or will be a party and the other documents
to be executed and delivered by such Loan Party in connection herewith and therewith, together
with evidence of the incumbency of such Authorized Officers and (D) as to the matters set forth
in Section 5.01(b);

                       (xii) a certificate of a director of the Parent, certifying as to the solvency
of the Loan Parties on a consolidated basis (after giving effect to the Loans made on the
Effective Date), in the form attached hereto as Exhibit G;

                       (xiii) [reserved];

                       (xiv) a certificate of the appropriate official(s) of the jurisdiction of
incorporation or organization certifying as of a recent date not more than 30 days prior to the
Effective Date as to the subsistence in good standing (where such (or similar) concept has a legal
meaning in a particular jurisdiction) of such Loan Party in such jurisdiction;


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                        (xv) an opinion of Kirkland & Ellis LLP, as counsel to the Loan Parties,
as to such matters as the Collateral Agent may reasonably request;

                      (xvi) an opinion of Meitar Liquornik Geva Leshem Tal, as Israeli
counsel to the Loan Parties, as to such matters as the Collateral Agent may reasonably request;

                      (xvii) evidence of the insurance coverage for Parent and its Subsidiaries
as required by Section 7.01(h) and the terms of each Security Agreement; and

                        (xviii) the applicable forms for the registration of the pledges over the
Sizmek Israel Notes and the shares of Sizmek Israel at the Israeli Registrar of Pledges, in a form
appropriate for filing.

                (e)    Material Adverse Effect. No Rocket Fuel Material Adverse Effect shall
have occurred since the date of the Acquisition Agreement that is continuing as of the expiration
of the Offer (as defined in the Acquisition Agreement).

                (f)     Consummation of Rocket Fuel Acquisition. Concurrently with the making
of the initial Loans, the Rocket Fuel Acquisition shall be consummated in accordance with the
Acquisition Agreement (no provision of which altered, amended or otherwise modified, or any
provision thereof waived, in any manner that would be materially adverse to the Lenders without
the prior written consent of the Lenders (in each case, such consent not to be unreasonably
withheld or delayed); it being understood and agreed that (A) the following shall not be deemed
to be materially adverse to the Lenders: (1) any increase in the aggregate consideration funded
solely with common Equity Interests (or preferred Equity Interests having terms reasonably
acceptable to the Lenders) and (2) any decrease in the aggregate consideration of not more than
10% of the aggregate consideration to the extent reducing the Term Loan and the Closing Equity
Investment, which reduction shall be allocated, first, to reduce the Closing Equity Investment
(subject to the maintenance of the Minimum Equity Percentage as after giving effect to the
transactions contemplated hereunder and after giving effect to such reduction) and, second, to
reduce the dollar amount of the Closing Equity Investment and the Total Commitment on a pro
rata basis) and (B) the following shall be deemed to be materially adverse to the Lenders: (I) any
changes in the aggregate consideration, other than those described in the preceding
clauses (A)(1) and (A)(2) and (II) any change in the definition of Rocket Fuel Material Adverse
Effect.

                (g)     Approvals. All consents, authorizations and approvals of, and material
filings and registrations with, and all other actions in respect of, any Governmental Authority or
other Person required in connection with the making of the Loans, the Rocket Fuel Acquisition
or the conduct of the Loan Parties' business shall have been obtained and shall be in full force
and effect.

               (h)    Closing Equity Investment. The Parent shall have (i) received a cash
Investment in an aggregate amount not less than $78,000,000 (the “Closing Equity Investment”)
on the Effective Date, the terms of which shall be reasonably acceptable to the Lenders and (ii)
shall have further contributed such cash proceeds to the Borrower. The proceeds of the sale of


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such Equity Interests constituting the Closing Equity Investment shall be distributed pursuant to
the Disbursement Letter.

                (i)    Cash On Hand. The aggregate amount of unrestricted cash on hand of the
Loans Parties, when taken together with the cash collateral in favor of (x) Comerica Bank
described in item 2 on Schedule 7.02(a) and (y) Wells Fargo Bank, National Association
described in item 3 on Schedule 7.02(a) (the cash collateral set forth in clauses (x) and (y) above,
together, the “Specified Cash Collateral”), shall be no less than $21,842,214 (such amount, the
“Closing Date Cash On Hand”) after giving pro forma effect to the consummation of the Rocket
Fuel Acquisition and the making of the Loans on the Effective Date.

               (j)    KYC. The Agents and the Lenders shall have each received, at least
3 Business Days in advance of the Effective Date, all documentation and other information
required by regulatory authorities with respect to the Loan Parties under applicable "know your
customer" and anti-money laundering rules and regulations, including, without limitation, the
PATRIOT Act.

               (k)   Cash Flow Projections.        The Administrative Agent shall have
received pro forma cash flow projections of Parent and its Subsidiaries, after giving effect to the
consummation of the Rocket Fuel Acquisition, in form and substance reasonably satisfactory to
the Administrative Agent.

Notwithstanding anything to the contrary in this Agreement or in any other Loan Document, to
the extent a perfected security interest in any Collateral (the security interest in respect of which
cannot be perfected by means of the filing of a UCC financing statement, the making of a United
States Federal intellectual property filing or delivery of possession of Equity Interests in respect
of a certificated security) is not able to be provided on the Effective Date after the Borrower's use
of commercially reasonable efforts to do so, the perfection of such security interest in such
Collateral will not constitute a condition precedent to the availability of the Loans on the
Effective Date, but a security interest in such Collateral will be required to be perfected within
60 days (unless otherwise provided for in this Agreement or any other Loan Document) after the
Effective Date pursuant to arrangements to be mutually agreed between Borrower and the
Agents. For the avoidance of doubt, the foregoing provisions of this paragraph are referred to as
the "Certain Funds Provision".

                Section 5.02 Conditions Precedent to All Loans After the Effective Date. The
obligation of any Agent or any Lender to make any Loan after the Effective Date is subject to the
fulfillment of each of the following conditions precedent:

              (a)     Payment of Fees, Etc. The Borrower shall have paid all fees, costs,
expenses and taxes required to be paid by the Borrower pursuant to this Agreement and the other
Loan Documents, including, without limitation, Section 2.06 and Section 12.04 hereof.

               (b)     Representations and Warranties; No Event of Default. The following
statements shall be true and correct, and the submission by the Borrower to the Administrative
Agent of a Notice of Borrowing with respect to each such Loan, and the Borrower's acceptance
of the proceeds of such Loan, shall each be deemed to be a representation and warranty by each

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Loan Party on the date of such Loan that: (i) the representations and warranties contained in
Article VI and in each other Loan Document, certificate or other writing delivered to any
Secured Party pursuant hereto or thereto on or prior to the date of such Loan are true and correct
in all material respects (except that such materiality qualifier shall not be applicable to any
representations or warranties that already are qualified or modified as to materiality or "Material
Adverse Effect" in the text thereof, which representations and warranties shall be true and correct
in all respects subject to such qualification) on and as of such date as though made on and as of
such date, except to the extent that any such representation or warranty expressly relates solely to
an earlier date (in which case such representation or warranty shall be true and correct in all
material respects (except that such materiality qualifier shall not be applicable to any
representations or warranties that already are qualified or modified as to "materiality" or
"Material Adverse Effect" in the text thereof, which representations and warranties shall be true
and correct in all respects subject to such qualification) on and as of such earlier date), (ii) at the
time of and after giving effect to the making of such Loan and the application of the proceeds
thereof, no Default or Event of Default has occurred and is continuing or would result from the
making of the Loan to be made on such date and (iii) the conditions set forth in this Section 5.02
have been satisfied or waived in writing by the applicable Lenders as of the date of such credit
extension.

                  (c)   [Reserved].

             (d)     Notices. The Administrative Agent shall have received a Notice of
Borrowing pursuant to Section 2.02 hereof.

                  (e)   [Reserved].

                Section 5.03 Conditions Subsequent to Effectiveness. As an accommodation to
the Loan Parties, the Agents and the Lenders have agreed to execute this Agreement and to make
the Loans on the Effective Date notwithstanding the failure by the Loan Parties to satisfy the
conditions set forth below on or before the Effective Date. In consideration of such
accommodation, the Loan Parties agree that, in addition to all other terms, conditions and
provisions set forth in this Agreement and the other Loan Documents, including, without
limitation, those conditions set forth in Section 5.01, the Loan Parties shall satisfy each of the
conditions subsequent set forth below on or before the date applicable thereto (or such later date
as is hereafter agreed to in writing by the Collateral Agent in its reasonable discretion) (it being
understood that (i) the failure by the Loan Parties to perform or cause to be performed any such
condition subsequent on or before the date applicable thereto shall constitute an Event of Default
and (ii) to the extent that the existence of any such condition subsequent would otherwise cause
any representation, warranty or covenant in this Agreement or any other Loan Document to be
breached, the Required Lenders hereby waive such breach for the period from the Effective Date
until the date on which such condition subsequent is required to be fulfilled pursuant to this
Section 5.03):

                  (a)   [Reserved].




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               (b)    Within 60 days after the Effective Date (or such longer period as the
Collateral Agent may agree in its sole discretion), the Loan Parties shall deliver to the Collateral
Agent the insurance endorsements required to be delivered pursuant to Section 7.01(h).

                                          ARTICLE VI

                         REPRESENTATIONS AND WARRANTIES

                Section 6.01 Representations and Warranties.            Each Loan Party hereby
represents and warrants to the Secured Parties (x) on the Effective Date, that the Specified
Acquisition Agreement Representations are true and correct as required by the terms of the
definition thereof and the representations described in Section 5.01(b)(ii) are true and correct and
(y) on every date thereafter, to the extent required pursuant to Section 5.02, that:

                (a)    Organization, Good Standing, Etc. Each Loan Party (i) is a corporation,
limited company, limited liability company, exempted limited partnership or limited partnership
duly organized, validly existing and, where such (or similar) concept has a legal meaning in a
particular jurisdiction, in good standing under the laws of the state or jurisdiction of its
incorporation or organization, (ii) has all requisite power and authority to conduct its business as
now conducted and as presently contemplated and, in the case of the Borrower, to make the
borrowings hereunder, and to execute and deliver each Loan Document to which it is a party, and
to consummate the transactions contemplated thereby, and (iii) is duly qualified to do business
and, where such (or similar) concept has a legal meaning in a particular jurisdiction, is in good
standing in each jurisdiction in which the character of the properties owned or leased by it or in
which the transaction of its business makes such qualification necessary, except (solely for the
purposes of this subclause (iii)) where the failure to be so qualified and, where such (or similar)
concept has a legal meaning in a particular jurisdiction, in good standing could not reasonably be
expected to have a Material Adverse Effect.

                (b)     Authorization, Etc. The execution, delivery and performance by each
Loan Party of each Loan Document to which it is or will be a party, (i) have been duly
authorized by all necessary action, (ii) do not and will not contravene (A) any of its Governing
Documents, (B) any applicable material Requirement of Law or (C) any material Contractual
Obligation binding on or otherwise affecting it or any of its properties, (iii) do not and will not
result in or require the creation of any Lien (other than pursuant to any Loan Document) upon or
with respect to any of its properties, and (iv) do not and will not result in any default,
noncompliance, suspension, revocation, impairment, forfeiture or nonrenewal of any permit,
license, authorization or approval applicable to its operations or any of its properties, except, in
the case of clause (iv), to the extent where such contravention, default, noncompliance,
suspension, revocation, impairment, forfeiture or nonrenewal could not reasonably be expected
to have a Material Adverse Effect.

                 (c)     Governmental Approvals. No authorization or approval or other action
by, and no notice to or filing with, any Governmental Authority is required in connection with
the due execution, delivery and performance by any Loan Party of any Loan Document to which
it is or will be a party other than filings and recordings with respect to Collateral to be made, or


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otherwise delivered to the Collateral Agent for filing or recordation, on the Effective Date, or
that have been otherwise obtained.

                 (d)    Enforceability of Loan Documents. This Agreement is, and each other
Loan Document to which any Loan Party is or will be a party, when delivered hereunder, will be,
a legal, valid and binding obligation of such Person, enforceable against such Person in
accordance with its terms, except as enforceability may be limited by applicable bankruptcy,
insolvency, reorganization, moratorium or other similar laws affecting the enforcement of
creditors' rights generally and by general principles of equity.

               (e)      Capitalization. On the Effective Date, after giving effect to the
transactions contemplated hereby to occur on the Effective Date, the authorized Equity Interests
of the Parent and each of its Subsidiaries and the issued and outstanding Equity Interests of the
Parent and each of its Subsidiaries are as set forth on Schedule 6.01(e). All of the issued and
outstanding shares of Equity Interests of the Parent and each of its Subsidiaries have been validly
issued and are fully paid and nonassessable, and the holders thereof are not entitled to any
preemptive, first refusal or other similar rights. All Equity Interests of such Subsidiaries of the
Parent are owned by the Parent free and clear of all Liens (other than Permitted Specified Liens).
Except as described on Schedule 6.01(e), there are no outstanding debt or equity securities of the
Parent or any of its Subsidiaries and no outstanding obligations of the Parent or any of its
Subsidiaries convertible into or exchangeable for, or warrants, options or other rights for the
purchase or acquisition from the Parent or any of its Subsidiaries, or other obligations of the
Parent or any of its Subsidiaries to issue, directly or indirectly, any shares of Equity Interests of
the Parent or any of its Subsidiaries.

               (f)     Litigation. Except as set forth in Schedule 6.01(f), there is no pending or,
to the knowledge of any Loan Party, threatened action in writing, suit or proceeding (including,
without limitation, shareholder or derivative litigation) affecting any Loan Party or any of its
properties before any court or other Governmental Authority or any arbitrator that (i) if adversely
determined, could reasonably be expected to have a Material Adverse Effect or (ii) relates to this
Agreement or any other Loan Document, the Acquisition Documents or any transaction
contemplated hereby or thereby.

                  (g)   Financial Statements.

                       (i)     The Financial Statements, when delivered each Agent pursuant to
Section 7.01(a), fairly present the consolidated financial condition of the Parent and its
Subsidiaries as at the respective dates thereof and the consolidated results of operations of the
Parent and its Subsidiaries for the fiscal periods ended on such respective dates, all in accordance
with GAAP. All material indebtedness and other liabilities (including, without limitation,
Indebtedness, liabilities for Taxes, long-term leases and other unusual forward or long-term
commitments), direct or contingent, of the Parent and its Subsidiaries are set forth in the
Financial Statements. Since December 31, 2016, no event or development has occurred that has
had or could reasonably be expected to have a Material Adverse Effect.

                       (ii)   The Parent has heretofore furnished to each Agent and each Lender
projected quarterly balance sheets, income statements and statements of cash flows of the Parent

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and its Subsidiaries for the period from September 1, 2017, through December 2022, which
projected financial statements shall be updated from time to time pursuant to Section 7.01(a)(vi).

                (h)     Compliance with Law, Etc. No Loan Party or any of its Subsidiaries is in
violation of (i) any of its Governing Documents, (ii) any material Requirement of Law or
(iii) any term of any material Contractual Obligation (including, without limitation, any Material
Contract) binding on or otherwise affecting it or any of its properties, except, solely in the case
of this clause (iii), where the failure to so comply could not reasonably be expected to have a
Material Adverse Effect.

                (i)      ERISA. (i) Each Employee Plan is in substantial compliance with ERISA
and the Internal Revenue Code except to the extent noncompliance could not reasonably be
expected to have a Material Adverse Effect, (ii) no Termination Event has occurred nor is
reasonably expected to occur with respect to any Employee Plan, (iii) the most recent annual
report (Form 5500 Series) with respect to each Employee Plan, including any required
Schedule B (Actuarial Information) thereto, copies of which have been filed with the Internal
Revenue Service, is complete and correct and fairly presents the funding status of such
Employee Plan, and since the date of such report there has been no material adverse change in
such funding status, (iv) copies of each agreement entered into with the PBGC, the U.S.
Department of Labor or the Internal Revenue Service with respect to any Employee Plan have
been delivered to the Agents to the extent requested, (v) no Employee Plan had an accumulated
or waived funding deficiency or permitted decrease which would create a deficiency in its
funding standard account or has applied for an extension of any amortization period within the
meaning of Section 412 of the Internal Revenue Code at any time during the previous 60 months
and (vi) no Lien imposed under the Internal Revenue Code or ERISA exists on account of any
Employee Plan within the meaning of Section 412 of the Internal Revenue Code. Except as set
forth on Schedule 6.01(i), no Loan Party or any of its ERISA Affiliates has incurred any
withdrawal liability under ERISA with respect to any Multiemployer Plan, or is aware of any
facts indicating that it or any of its ERISA Affiliates may in the future incur any such withdrawal
liability. No Loan Party or any of its ERISA Affiliates nor any fiduciary of any Employee Plan
has (i) engaged in a nonexempt prohibited transaction described in Sections 406 of ERISA or
4975 of the Internal Revenue Code, (ii) failed to pay any required installment or other payment
required under Section 412 of the Internal Revenue Code on or before the due date for such
required installment or payment, (iii) engaged in a transaction within the meaning of Section
4069 of ERISA or (iv) incurred any liability to the PBGC which remains outstanding other than
the payment of premiums, and there are no premium payments which have become due which
are unpaid. There are no material pending or, to the knowledge of any Loan Party, threatened
claims in writing, actions, proceedings or lawsuits (other than claims for benefits in the normal
course) asserted or instituted against (i) any Employee Plan or its assets, (ii) any fiduciary with
respect to any Employee Plan, or (iii) any Loan Party or any of its ERISA Affiliates with respect
to any Employee Plan. Except as required by Section 4980B of the Internal Revenue Code, no
Loan Party or any of its ERISA Affiliates maintains an employee welfare benefit plan (as
defined in Section 3(1) of ERISA) which provides health or welfare benefits (through the
purchase of insurance or otherwise) for any retired or former employee of any Loan Party or any
of its ERISA Affiliates or coverage after a participant's termination of employment, except as
otherwise required by law.

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               (j)     Taxes, Etc. (i) All federal, and material foreign, state and local tax returns
and other reports required by applicable Requirements of Law to be filed by any Loan Party have
been filed, or extensions have been obtained, and (ii) all Taxes, assessments and other
governmental charges imposed upon any Loan Party or any property of any Loan Party in an
aggregate amount for all such Taxes, assessments and other governmental charges exceeding
$1,000,000 and which have become due and payable on or prior to the date hereof have been
paid, except to the extent contested in good faith by proper proceedings which stay the
imposition of any penalty, fine or Lien resulting from the non-payment thereof and with respect
to which adequate reserves have been set aside for the payment thereof on the Financial
Statements in accordance with GAAP.

               (k)    Regulations T, U and X. No Loan Party is or will be engaged in the
business of extending credit for the purpose of purchasing or carrying margin stock (within the
meaning of Regulation T, U or X), and no proceeds of any Loan will be used to purchase or
carry any margin stock or to extend credit to others for the purpose of purchasing or carrying any
margin stock or for any purpose that violates, or is inconsistent with, the provisions of
Regulation T, U and X.

                  (l)   Nature of Business.

                      (i)    No Loan Party is engaged in any business other than as set forth on
Schedule 6.01(l) and business activities reasonably related or ancillary thereto.

                         (ii)     Neither the Parent nor any other Holdco (A) has any material
liabilities (other than liabilities arising under the Loan Documents), (B) owns any material assets
(other than the Equity Interests of its Subsidiaries) or (C) engages in any operations or business
(other than the ownership of its Subsidiaries) and activities incidental thereto), in each case, other
than as not expressly prohibited by Section 7.02(d)(ii).

              (m)     Adverse Agreements, Etc. No Loan Party or any of its Subsidiaries is a
party to any Contractual Obligation or subject to any restriction or limitation in any Governing
Document or any judgment, order, regulation, ruling or other requirement of a court or other
Governmental Authority, which (either individually or in the aggregate) has, or in the future
could reasonably be expected (either individually or in the aggregate) to have, a Material
Adverse Effect.

                (n)     Permits, Etc. Each Loan Party has, and is in compliance with, all permits,
licenses, authorizations, approvals, entitlements and accreditations required for such Person
lawfully to own, lease, manage or operate, or to acquire, each business and Facility currently
owned, leased, managed or operated, or to be acquired, by such Person if the failure to have or be
in compliance therewith could reasonably be expected to have a Material Adverse Effect.
Except as could not reasonably be expected to have a Material Adverse Effect, no condition
exists or event has occurred which, in itself or with the giving of notice or lapse of time or both,
would result in the suspension, revocation, impairment, forfeiture or non-renewal of any such
permit, license, authorization, approval, entitlement or accreditation, and there is no claim that
any thereof is not in full force and effect.


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               (o)      Properties. Each Loan Party has good and marketable title to, valid
leasehold interests in, or valid licenses to use, all property and assets material to its business, free
and clear of all Liens, except Permitted Liens. All such properties and assets are in good
working order and condition, ordinary wear and tear excepted.

                (p)     Employee and Labor Matters. Except as could not reasonably be expected
to result in a Material Adverse Effect, there is (i) no unfair labor practice complaint pending or,
to the knowledge of any Loan Party, threatened in writing against any Loan Party before any
Governmental Authority and no grievance or arbitration proceeding pending or threatened in
writing against any Loan Party which arises out of or under any collective bargaining agreement,
(ii) no strike, labor dispute, slowdown, stoppage or similar action or grievance pending or
threatened in writing against any Loan Party or (iii) to the knowledge of each Loan Party, no
union representation question existing with respect to the employees of any Loan Party and no
union organizing activity taking place with respect to any of the employees of any Loan Party.
No Loan Party or any of its Subsidiaries has incurred any liability or obligation under the Worker
Adjustment and Retraining Notification Act ("WARN") or similar state law, which remains
unpaid or unsatisfied and that could reasonably be expected to have a Material Adverse Effect.
The hours worked and payments made to employees of any Loan Party have not been in material
violation of the Fair Labor Standards Act or any other applicable legal requirements, except to
the extent such violations could not, individually or in the aggregate, reasonably be expected to
result in a Material Adverse Effect. All payments due from any Loan Party on account of wages
and employee health and welfare insurance and other benefits have been paid or accrued as a
liability on the books of such Loan Party, except where the failure to do so could not,
individually or in the aggregate, reasonably be expected to have a Material Adverse Effect.

                 (q)    Environmental Matters. Except as set forth on Schedule 6.01(q), (i) the
operations of each Loan Party are in compliance with all Environmental Laws in all material
respects; (ii) there has been no Release at any of the properties owned or operated by any Loan
Party or a predecessor-in-interest, or at any disposal or treatment facility which received
Hazardous Materials generated by any Loan Party or any predecessor-in-interest which could
reasonably be expected to have a Material Adverse Effect; (iii) no Environmental Action has
been asserted against any Loan Party or any predecessor-in-interest nor does any Loan Party
have knowledge or notice of any threatened or pending Environmental Action against any Loan
Party or any predecessor in interest which could reasonably be expected to have a Material
Adverse Effect; (iv) no Environmental Actions have been asserted against any facilities that may
have received Hazardous Materials generated by any Loan Party or any predecessor-in-interest
which could reasonably be expected to have a Material Adverse Effect; (v) no property now or
formerly owned or operated by a Loan Party has been used as a treatment or disposal site for any
Hazardous Material, except to the extent that such use could not reasonably be expected to have
a Material Adverse Effect; (vi) no Loan Party has failed to report to the proper Governmental
Authority any Release which is required to be so reported by any Environmental Laws which
failure to report could reasonably be expected to have a Material Adverse Effect; (vii) each Loan
Party holds all licenses, permits and approvals required under any Environmental Laws in
connection with the operation of the business carried on by it, except for such licenses, permits
and approvals as to which a Loan Party's failure to maintain or comply with could not reasonably
be expected to have a Material Adverse Effect; and (viii) no Loan Party has received any
notification pursuant to any Environmental Laws that (A) any work, repairs, construction or
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Capital Expenditures are required to be made in respect as a condition of continued compliance
with any Environmental Laws, or any license, permit or approval issued pursuant thereto or (B)
any license, permit or approval referred to above is about to be reviewed, made subject to
limitations or conditions, revoked, withdrawn or terminated, in each case, except as could not
reasonably be expected to have a Material Adverse Effect.

                  (r)      Insurance. Each Loan Party maintains the insurance and required services
and financial assurance as required by law and as required by Section 7.01(h). Schedule 6.01(r)
sets forth a list of all insurance maintained by each Loan Party on the Effective Date.

               (s)     Use of Proceeds. The proceeds of the Term Loans shall be used (a) to pay
a portion of the Purchase Price payable pursuant to the Acquisition Documents, (b) to pay fees
and expenses in connection with the transactions contemplated hereby and under the Acquisition
Documents, (c) to repay certain existing indebtedness of Sizmek, the Target and their respective
subsidiaries and (d) for general working capital purposes of the Loan Parties and certain of their
subsidiaries. The proceeds of any Revolving Loans made after the Effective Date shall be used
for general working capital and other corporate purposes of the Loan Parties.

               (t)      Solvency. On the Effective Date, after giving effect to the transactions
contemplated by this Agreement (including the Transactions) and before and after giving effect
to each Loan, the Loan Parties and their Subsidiaries, on a consolidated basis, are Solvent. No
transfer of property is being made by any Loan Party and no obligation is being incurred by any
Loan Party in connection with the transactions contemplated by this Agreement or the other
Loan Documents with the intent to hinder, delay, or defraud either present or future creditors of
such Loan Party.

               (u)     Intellectual Property. Except as set forth on Schedule 6.01(u), each Loan
Party owns or licenses or otherwise has the right to use all Intellectual Property rights that are
necessary for the operation of its business, without infringement upon or conflict with the rights
of any other Person with respect thereto, except for such infringements and conflicts which,
individually or in the aggregate, could not reasonably be expected to have a Material Adverse
Effect. Set forth on Schedule 6.01(u) is a complete and accurate list as of the Effective Date
of each item of Registered Intellectual Property owned by each Loan Party. No trademark or
other advertising device, product, process, method, substance, part or other material now
employed, or now contemplated to be employed, by any Loan Party infringes upon or conflicts
with any rights owned by any other Person, and no claim or litigation regarding any of the
foregoing is pending or, to the knowledge of any Loan Party, threatened, except for such
infringements and conflicts which could not reasonably be expected to have individually or in
the aggregate, a Material Adverse Effect. To the knowledge of each Loan Party, no patent,
invention, device, application, principle or any applicable law pertaining to Intellectual Property
is pending or proposed, which, individually or in the aggregate, could reasonably be expected to
have a Material Adverse Effect.

                  (v)   [Reserved].

             (w)    Investment Company Act. None of the Loan Parties is (i) an "investment
company" or an "affiliated person" or "promoter" of, or "principal underwriter" of or for, an

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"investment company", as such terms are defined in the Investment Company Act of 1940, as
amended, or (ii) subject to regulation under any Requirement of Law that limits in any respect its
ability to incur Indebtedness or which may otherwise render all or a portion of the Obligations
unenforceable.

                (x)     Security Interests. Each Security Agreement creates or, when entered into,
will create, in favor of the Collateral Agent, for the benefit of the Secured Parties, a legal, valid
and enforceable security interest in the Collateral secured thereby. Upon the filing of the UCC-1
financing statements described in Section 5.01(d), the recording of the Mortgages, the delivery of
appropriate Cash Management Agreements, and the recording of each relevant Assignment for
Security referred to in each Security Agreement in the United States Patent and Trademark
Office and the United States Copyright Office, as applicable, such security interests in and Liens
on the Collateral granted thereby shall be perfected, to the extent perfection can be accomplished
through such filings, agreements or recordings, first priority security interests (subject to
Permitted Liens), and, except as contemplated by the Security Agreements or the Mortgages, no
further recordings or filings are or will be required in connection with the creation, perfection or
enforcement of such security interests and Liens, other than (A) the filing of continuation
statements in accordance with applicable law, (B) the recording of the relevant Assignment for
Security pursuant to each Security Agreement in the United States Patent and Trademark Office
and the United States Copyright Office, as applicable (the foregoing being the "IP Security
Agreements"), with respect to after-acquired U.S. patent and trademark applications and
registrations and U.S. copyrights, (C) the recordation of appropriate evidence of the security
interest in the appropriate foreign registry with respect to all foreign intellectual property that
constitutes Collateral and (D) other applicable local law recordations or registrations.

                (y)    Consummation of Acquisition. The Parent has delivered to the Agents
complete and correct copies of the material Acquisition Documents, including all schedules and
exhibits thereto. The Acquisition Documents set forth the entire agreement and understanding of
the parties thereto relating to the subject matter thereof, and there are no other agreements,
arrangements or understandings, written or oral, relating to the matters covered thereby. The
execution, delivery and performance of the Acquisition Documents has been duly authorized by
all necessary action (including, without limitation, the obtaining of any consent of stockholders
or other holders of Equity Interests required by law or by any applicable corporate or other
organizational documents) on the part of each such Person. No authorization or approval or
other action by, and no notice to filing with or license from, any Governmental Authority is
required for such sale other than such as have been obtained on or prior to the Effective Date.
Each Acquisition Document is the legal, valid and binding obligation of the parties thereto,
enforceable against such parties in accordance with its terms. All conditions precedent to the
Acquisition Agreement have been fulfilled or (with the prior written consent of the Agents)
waived, no Acquisition Document has been amended or otherwise modified, and there has been
no breach of any material term or condition of any Acquisition Document.

                  (z)   Anti-Terrorism Laws.

                     (i)    None of the Loan Parties nor any of their Subsidiaries nor, to the
knowledge of the Loan Parties, any Affiliates of any Loan Party (other than other portfolio
companies), has violated or is in violation of any Anti-Terrorism Laws or engages or has

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engaged in or conspired to engage in any transaction that evades or avoids, or has the purpose of
evading or avoiding, or attempts to violate, any of the Anti-Terrorism Laws.

                       (ii)    None of the Loan Parties or any of their Subsidiaries nor, to the
knowledge of the Loan Parties, any Affiliate of any Loan Party (other than other portfolio
companies), officer, director or principal shareholder or owner of any of the Loan Parties or such
Subsidiaries, is a Blocked Person.

                        (iii)  None of the Loan Parties, nor any of their Subsidiaries, (A)
conducts any business with or for the benefit of any Blocked Person or engages in making or
receiving any contribution of funds, goods or services to, from or for the benefit of any Blocked
Person, or (B) deals in, or otherwise engages in any transaction relating to, any property or
interests in property blocked or subject to blocking pursuant to any OFAC Sanctions Programs.

                  (aa)   Anti-Bribery and Anti-Corruption Laws.

                      (i)    The Loan Parties are in compliance in all material respects with the
U.S. Foreign Corrupt Practices Act of 1977, as amended (the "FCPA"), and the anti-bribery and
anti-corruption laws of those jurisdictions in which they do business (collectively, the "Anti-
Corruption Laws").

                         (ii)   None of the Loan Parties has at any time:

                                (A)     offered, promised, paid, given, or authorized the payment
or giving of any money, gift or other thing of value, directly or indirectly, to or for the benefit of
any employee, official, representative, or other person acting on behalf of any foreign (i.e., non-
U.S.) Governmental Authority thereof, or of any public international organization, or any foreign
political party or official thereof, or candidate for foreign political office (collectively, "Foreign
Official"), for the purpose of: (1) influencing any act or decision of such Foreign Official in his,
her, or its official capacity; or (2) inducing such Foreign Official to do, or omit to do, an act in
violation of the lawful duty of such Foreign Official, or (3) securing any improper advantage, in
order to obtain or retain business for, or with, or to direct business to, any Person; or

                              (B)     acted or attempted to act in any manner which would
subject any of the Loan Parties to liability under any Anti-Corruption Law that could reasonably
be expected to result in a Material Adverse Effect.

                       (iii)   There are, and have been, no allegations, investigations or inquiries
with regard to a potential violation of any Anti-Corruption Law by any of the Loan Parties, their
Subsidiaries or, to the knowledge of the Loan Parties, any of their respective current or former
directors, officers, employees, stockholders.

                     (iv)   The Loan Parties have adopted, implemented and maintain anti-
bribery and anti-corruption policies and procedures that are reasonably designed to ensure
compliance with the Anti-Corruption Laws.




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                  (bb)   Full Disclosure.

                         (i)     Each Loan Party has disclosed to the Agents all agreements,
instruments and corporate or other restrictions to which it is subject, and all other matters known
to it, that, individually or in the aggregate, could reasonably be expected to result in a Material
Adverse Effect. None of the reports, financial statements, certificates or other written
information furnished by or on behalf of any Loan Party to the Agents (other than forward-
looking information and projections and information of a general economic nature and general
information about Borrower's industry) in connection with the negotiation of this Agreement or
delivered hereunder (as modified or supplemented by other information so furnished), taken as a
whole, contains any material misstatement of fact or omits to state any material fact necessary to
make the statements therein, in the light of the circumstances under which it was made, not
materially misleading.

                        (ii)   Projections have been prepared on a reasonable basis and in good
faith based on assumptions, estimates, methods and tests that are believed by the Loan Parties to
be reasonable at the time such Projections were prepared and information believed by the Loan
Parties to have been accurate based upon the information available to the Loan Parties at the time
such Projections were furnished to the Lenders, and Parent is not be aware of any facts or
information that would lead it to believe that such Projections are incorrect or misleading in any
material respect; it being understood that (1) Projections are as to future events and are not to be
viewed as facts and are by their nature subject to significant uncertainties and contingencies,
many of which are beyond the Loan Parties' control, (2) actual results may differ materially from
the Projections and such variations may be material and no assurances can be given as to any
particular projections being realized, and (3) the Projections are not a guarantee of performance.

                (cc) No filing or stamp taxes. Under the law of its incorporation it is not
necessary that any Loan Document be filed, recorded or enrolled with any court or other
authority in that jurisdiction or that any stamp, registration or similar tax be paid on or in relation
to such Loan Document or any transaction contemplated by such Loan Document, except for any
filing, recording or enrolling which is referred to in any Legal Opinion and which will be made
within the period allowed by applicable law or the relevant Loan Document.

                  (dd)   Pledged Intercompany Notes.

                       (i)     Set forth on Schedule 6.01(dd) is a true and complete list of all
Pledged Intercompany Notes outstanding as of the Effective Date and such Schedule accurately
sets forth the aggregate principal amount of each Pledged Intercompany Note as of the Effective
Date.

                        (ii)   Each Pledged Intercompany Note is a binding and valid obligation
of the obligor thereunder, in full force and effect and enforceable in accordance with its terms,
subject in all cases to bankruptcy, insolvency, reorganization, moratorium and other principles of
equity affecting the rights of creditors generally, whether considered in the proceeding at law or
in equity.



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                       (iii)  Each Pledged Intercompany Note (A) is original and genuine, (B)
has been duly and properly executed, and (C) is the legal, valid and binding obligations of the
obligor thereunder enforceable in accordance with its terms (including, without limitation, any
provisions therein relating to prepayment premiums), subject in all cases to bankruptcy,
insolvency, reorganization, moratorium and other principles of equity affecting the rights of
creditors generally, whether considered in the proceeding at law or in equity.

                                          ARTICLE VII

                           COVENANTS OF THE LOAN PARTIES

              Section 7.01 Affirmative Covenants. So long as any principal of or interest on
any Loan or any other Obligation (whether or not due) shall remain unpaid (other than
Contingent Indemnity Obligations) or any Lender shall have any Commitment hereunder, each
Loan Party will, unless the Required Lenders shall otherwise consent in writing:

                  (a)   Reporting Requirements.       Furnish to each Agent (for itself and each
Lender):

                        (i)    (A) within (x) 45 days after the end of each of the first three fiscal
months ending after the Effective Date and (y) thereafter, 30 days after the end of each fiscal
month of the Parent and its Subsidiaries, commencing with the first full fiscal month following
the Effective Date, internally prepared consolidated statements of profits and losses as at the end
of such fiscal month (in the same form as utilized by management in operating the business of
the Parent and its Subsidiaries), and for the period commencing at the end of the immediately
preceding Fiscal Year and ending with the end of such fiscal month, setting forth in each case in
comparative form the figures for the corresponding date or period set forth in (x) the financial
statements for the immediately preceding Fiscal Year (to the extent available), and (y) the
Projections, all in reasonable detail and certified by an Authorized Officer of the Parent as fairly
presenting, in all material respects, the financial position of the Parent and its Subsidiaries as at
the end of such fiscal month and the results of profit and losses of the Parent and its Subsidiaries
for such fiscal month and for such year-to-date period, in accordance with GAAP applied in a
consistent manner or as otherwise acceptable to the Collateral Agent, subject to the absence of
footnotes and normal year-end adjustments and (B) within 30 days after the end of each fiscal
month of the Parent and its Subsidiaries, commencing with the first full fiscal month that is three
months after the Effective Date, internally prepared consolidated balance sheets (in the same
form as utilized by management in operating the business of the Parent and its Subsidiaries);

                      (ii)    (A) within 75 days following the end of the first five fiscal quarters
ending after the Effective Date, (B) within 60 days following the end of the sixth fiscal quarter
after the Effective Date and (C) thereafter, within 45 days following the end of each fiscal
quarter of the Parent and its Subsidiaries, commencing with the first full fiscal quarter of the
Parent and its Subsidiaries ending after the Effective Date, consolidated balance sheets,
consolidated statements of operations and retained earnings and consolidated statements of cash
flows of the Parent and its Subsidiaries as at the end of such quarter, and, commencing in Fiscal
Year 2018, in comparative form, the corresponding figures for the corresponding periods of the
previous Fiscal Year (to the extent available) and the corresponding figures from the Projections,

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all in reasonable detail and certified by an Authorized Officer of the Parent as fairly presenting,
in all material respects, the financial position of the Parent and its Subsidiaries as of the end of
such quarter and the results of operations and cash flows of the Parent and its Subsidiaries for
such quarter and for such year-to-date period, in accordance with GAAP applied in a consistent
manner or as otherwise acceptable to the Collateral Agent, subject to the absence of footnotes
and normal year-end adjustments;

                       (iii)    within (A) 150 days of the end of the Fiscal Year ended December
31, 2017 and (B) thereafter, 120 days after the end of each Fiscal Year of the Parent and its
Subsidiaries, consolidated balance sheets, consolidated statements of operations and retained
earnings and consolidated statements of cash flows of the Parent and its Subsidiaries as at the
end of such Fiscal Year, and commencing in Fiscal Year 2018, in comparative form, the
corresponding figures for the corresponding periods of the previous Fiscal Year (to the extent
available) and the corresponding figures from the Projections, all in reasonable detail and
prepared in accordance with GAAP, and accompanied by a report and an opinion, prepared in
accordance with generally accepted auditing standards, of independent certified public
accountants of recognized standing selected by the Parent and reasonably satisfactory to the
Agents (which opinion shall be without (x) a "going concern" or like qualification or exception
(except that it may contain a "going concern" or like qualification or exception as a result of an
anticipated breach of a financial covenant under Section 7.03 or the stated final maturity date of
the Loans within 12 months from the date of such opinion), (y) any qualification or exception as
to the scope of such audit, or (z) any qualification which relates to the treatment or classification
of any item and which, as a condition to the removal of such qualification, would require an
adjustment to such item, the effect of which would be to cause any noncompliance with the
provisions of Section 7.03);

                       (iv)    simultaneously with the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (ii) and (iii) of this Section 7.01(a), a certificate of
an Authorized Officer of the Parent (a "Compliance Certificate"):

                              (A)     stating that such Authorized Officer has reviewed the
provisions of this Agreement and the other Loan Documents and has made or caused to be made
under his or her supervision a review of the condition and operations of the Parent and its
Subsidiaries during the period covered by such financial statements with a view to determining
whether the Parent and its Subsidiaries were in compliance with all of the provisions of this
Agreement and such Loan Documents at the times such compliance is required hereby and
thereby, and that such review has not disclosed, and such Authorized Officer has no knowledge
of, the occurrence and continuance during such period of an Event of Default or Default or, if an
Event of Default or Default had occurred and continued or is continuing, describing the nature
and period of existence thereof and the action which the Parent and its Subsidiaries propose to
take or have taken with respect thereto,

                               (B)    in the case of the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (ii) and (iii) of this Section 7.01(a), (1) attaching a
schedule showing the calculation of the financial covenants specified in Section 7.03,
(2) attaching a schedule showing in reasonable detail the calculation of the aggregate amount of
Permitted Intercompany Investments (other than Investments made by Loan Parties to or in other

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Loan Parties that are organized under the laws of the same jurisdiction), and (3) beginning with
the Fiscal Year ending December 31, 2018, including a discussion and analysis of the financial
condition and results of operations of the Parent and its Subsidiaries for the portion of the Fiscal
Year then elapsed and discussing the reasons for any significant variations from the Projections
for such period and the figures for the corresponding period in the previous Fiscal Year, and

                               (C)    in the case of the delivery of the financial statements of the
Parent and its Subsidiaries required by clause (iii) of this Section 7.01(a), (1) attaching a
summary of all material insurance coverage maintained as of the date thereof by any Loan Party
and all material insurance coverage planned to be maintained by any Loan Party, together with
such other related documents and information as the Administrative Agent may reasonably
require, (2) including the calculation of the Excess Cash Flow in accordance with the terms of
Section 2.05(c)(i) and (3) including confirmation that there have been no changes to the
information contained in each of the Perfection Certificates delivered on the Effective Date or
the date of the most recently updated Perfection Certificate delivered pursuant to this clause (iv)
and/or attaching an updated Perfection Certificate identifying any such changes to the
information contained therein;

                       (v)     [reserved];

                       (vi)    not later than the date that is 45 (or, in the case of the first Fiscal
Year after the Effective Date, 60 days) after the end of each Fiscal Year, a certificate of an
Authorized Officer of the Parent attaching (A) Projections for the Parent and its Subsidiaries
(consisting of a balance sheet, income statement and statement of cash flow thereof), prepared on
a quarterly basis and otherwise in form and substance reasonably satisfactory to the Agents, for
the immediately succeeding Fiscal Year for the Parent and its Subsidiaries and (B) certifying that
the representations and warranties set forth in Section 6.01(bb)(ii) are true and correct with
respect to the Projections, in form previously delivered to the Agents or otherwise reasonably
satisfactory to the Agents;

                      (vii) promptly after submission to any Governmental Authority, all
documents and information furnished to such Governmental Authority in connection with any
investigation of any Loan Party other than routine inquiries by such Governmental Authority;

                      (viii) as soon as possible, and in any event within 3 Business Days after
the occurrence of an Event of Default or Default or the occurrence of any event or development
that could reasonably be expected to have a Material Adverse Effect, the written statement of an
Authorized Officer of the Borrower setting forth the details of such Event of Default or Default
or other event or development having a Material Adverse Effect and the action which the
affected Loan Party proposes to take with respect thereto;

                     (ix)    (A) within 10 days after any Loan Party knows or has reason to
know that (1) any Reportable Event with respect to any Employee Plan has occurred, (2) any
other Termination Event with respect to any Employee Plan has occurred, or (3) an accumulated
funding deficiency has been incurred or an application has been made to the Secretary of the
Treasury for a waiver or modification of the minimum funding standard (including installment
payments) or an extension of any amortization period under Section 412 of the Internal Revenue

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Code with respect to an Employee Plan, a statement of an Authorized Officer of the Borrower
setting forth the details of such occurrence and the action, if any, which such Loan Party or such
ERISA Affiliate proposes to take with respect thereto, (B) promptly and in any event within 10
days after receipt thereof by any Loan Party or any ERISA Affiliate thereof from the PBGC,
copies of each notice received by any Loan Party or any ERISA Affiliate thereof of the PBGC's
intention to terminate any Plan or to have a trustee appointed to administer any Plan,
(C) promptly and in any event within 10 days after the filing thereof with the Internal Revenue
Service if requested by any Agent, copies of each Schedule B (Actuarial Information) to the
annual report (Form 5500 Series) with respect to each Employee Plan, (D) promptly and in any
event within 10 days after any Loan Party thereof knows or has reason to know that a required
installment within the meaning of Section 412 of the Internal Revenue Code has not been made
when due with respect to an Employee Plan, (E) promptly and in any event within 10 days after
receipt thereof by any Loan Party or any Loan Party has knowledge of such receipt by any
ERISA Affiliate thereof from a sponsor of a Multiemployer Plan or from the PBGC, a copy of
each notice received by any Loan Party or any ERISA Affiliate thereof concerning the
imposition or amount of withdrawal liability under Section 4202 of ERISA, and (F) promptly
and in any event within 10 days after any Loan Party sends notice of a plant closing or mass
layoff (as defined in WARN) to employees, copies of each such notice sent by such Loan Party;

                      (x)    promptly after the commencement thereof but in any event not
later than 5 Business Days after service of process with respect thereto on, or the obtaining of
knowledge thereof by, any Loan Party, notice of each action, suit or proceeding before any court
or other Governmental Authority or other regulatory body or any arbitrator which could
reasonably be expected to have a Material Adverse Effect;

                       (xi)   within 5 Business Days after execution, receipt or delivery thereof,
copies of any notices that any Loan Party executes or receives in connection with terminations of
any Material Contract;

                       (xii) within 5 Business Days after execution, receipt or delivery thereof,
copies of any material notices that any Loan Party executes or receives in connection with the
sale or other Disposition of the Equity Interests of, or all or substantially all of the assets of, any
Loan Party;

                        (xiii) within 10 Business Days after the consummation of any
transaction using the Available Basket Amount, a certificate of an Authorized Officer of the
Borrower certifying as to the matters described in the definition of "Available Basket Amount"
and attaching reasonably detailed supporting calculations related thereto, in form reasonably
satisfactory to the Collateral Agent;

                        (xiv) promptly after (A) the sending or filing thereof, copies of all
material statements, reports and other material information any Loan Party sends to any holders
of its Indebtedness for borrowed money with a principal amount in excess of $5,000,000 or its
securities or files with the SEC or any national (domestic or foreign) securities exchange and (B)
the receipt thereof, a copy of any material notice received from any holder of its Indebtedness for
borrowed money with a principal amount in excess of $5,000,000;


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                      (xv) promptly upon receipt thereof, copies of all financial reports
(including, without limitation, management letters), if any, submitted to any Loan Party by its
auditors in connection with any annual or interim audit of the books thereof; and

                      (xvi) promptly upon request, such other information concerning the
condition or operations, financial or otherwise, of any Loan Party as any Agent from time to time
may reasonably request.

                  (b)   Additional Borrowers, Guarantors and Collateral Security. Cause:

                        (i)    each Subsidiary of any Loan Party (other than an Excluded
Subsidiary) created or acquired after the Effective Date, and each Subsidiary of any Loan Party
which is an Excluded Subsidiary on the Effective Date or upon formation or acquisition but later
ceases to be an Excluded Subsidiary, to execute and deliver to the Collateral Agent promptly and
in any event within 10 Business Days (or, in the case of matters specified in clause (C) below,
30 days (or such later date as agreed to in writing by the Collateral Agent in its sole discretion))
after the formation, acquisition or change in status thereof, (A) a Joinder Agreement, pursuant to
which such Subsidiary shall be made a party to this Agreement as a Borrower or a Guarantor,
(B) a supplement to the Security Agreement, together with (1) certificates (if any) evidencing all
of the Equity Interests of any Person owned by such Subsidiary required to be pledged under the
terms of the applicable Security Documents, (2) undated stock powers for such Equity Interests
executed in blank, and (3) such opinions of counsel as the Collateral Agent may reasonably
request, (C) to the extent required under the terms of this Agreement, one or more Mortgages
creating on the fee owned real property of such Subsidiary a perfected, first priority Lien (in
terms of priority, subject only to Permitted Specified Liens) on such real property and such other
Real Property Deliverables as may be required by the Collateral Agent with respect to each such
real property, and (D) such other agreements, instruments, approvals or other documents
reasonably requested by the Collateral Agent in order to create, perfect, establish the first priority
of or otherwise protect any Lien purported to be covered by the Security Documents (including,
any such Mortgage) or otherwise to effect the intent that such Subsidiary shall become bound by
all of the terms, covenants and agreements contained in the Loan Documents that are applicable
to the Guarantors and that all property and assets of such Subsidiary shall become Collateral for
the Obligations, other than exclusions expressly set forth in the Security Documents; and

                        (ii)    each owner of the Equity Interests of any such Subsidiary to
execute and deliver promptly and in any event within 10 Business Days after the formation or
acquisition of such Subsidiary (including any Excluded Subsidiary to the extent required under
Section 5.11(a)) a Pledge Amendment (as defined in the Security Agreement), together with
(A) certificates evidencing all of the Equity Interests of such Subsidiary to the extent required to be
pledged under the terms of the Security Agreement or any other applicable Security Document,
(B) undated stock powers or other appropriate instruments of assignment for such Equity Interests
executed in blank, (C) such opinions of counsel as the Collateral Agent may reasonably request
and (D) such other agreements, instruments, approvals or other documents reasonably requested
by the Collateral Agent; it being understood and agreed that there shall be no requirement to
obtain or deliver security documents governed by a Law other than the Law of the United States
or take perfection steps with respect to the Collateral in any jurisdiction other than the United
States.

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                  (c)   Compliance with Laws; Payment of Taxes.

                       (i)    Comply, and cause each of its Subsidiaries to comply, with all
Requirements of Law (including, without limitation, all Environmental Laws), judgments and
awards (including any settlement of any claim that, if breached, could give rise to any of the
foregoing); except to the extent that the failure to so comply could not reasonably be expected to
have a Material Adverse Effect.

                      (ii)    Pay, and cause each of its Subsidiaries to pay, in full before
delinquency or before the expiration of any extension period, all Taxes, assessments and other
governmental charges imposed upon any Loan Party or any of its Subsidiaries or any property of
any Loan Party or any of its Subsidiaries in an aggregate amount for all such Taxes, assessments
and other governmental charges exceeding $1,000,000, except to the extent contested in good
faith by proper proceedings which stay the imposition of any penalty, fine or Lien resulting from
the non-payment thereof and with respect to which adequate reserves have been set aside for the
payment thereof in accordance with GAAP.

                (d)     Preservation of Existence, Etc. Maintain and preserve, and cause each of
its Subsidiaries to maintain and preserve, its existence, rights and privileges, and become or
remain, and cause each of its Subsidiaries to become or remain, duly qualified and, where such
(or similar) concept has a legal meaning in a particular jurisdiction, in good standing in each
jurisdiction in which the character of the properties owned or leased by it or in which the
transaction of its business makes such qualification necessary, except to the extent that the
failure to be so qualified could not reasonably be expected to have a Material Adverse Effect.

               (e)    Keeping of Records and Books of Account. Keep, and cause each of its
Subsidiaries to keep, adequate records and books of account, with complete entries made to
permit the preparation of financial statements in accordance with GAAP.

               (f)     Inspection Rights. Permit, and cause each of its Subsidiaries to permit, the
agents and representatives of any Agent at any reasonable time and from time to time during
normal business hours and, in the absence of a continuing Event of Default, upon reasonable
advance notice to Borrower, at the reasonable expense of the Borrower (subject to the limitations
contained in Section 2.06(e)), to examine and make copies of and abstracts from its records and
books of account, to visit and inspect its properties, to verify materials, leases, notes, accounts
receivable, deposit accounts and its other assets, to conduct audits, physical counts, valuations or
examinations and to discuss its affairs, finances and accounts with any of its directors, officers,
managerial employees, independent accountants or any of its other representatives. In
furtherance of the foregoing, each Loan Party hereby authorizes its independent accountants, and
the independent accountants of each of its Subsidiaries, to discuss the affairs, finances and
accounts of such Person (independently or together with representatives of such Person) with the
agents and representatives of any Agent in accordance with this Section 7.01(f).

                (g)    Maintenance of Properties, Etc. Maintain and preserve, and cause each of
its Subsidiaries to maintain and preserve, all of its properties which are necessary or useful in the
proper conduct of its business in good working order and condition, ordinary wear and tear, and
casualty excepted, and comply, and cause each of its Subsidiaries to comply, at all times with the

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provisions of all leases to which it is a party as lessee or under which it occupies property, so as
to prevent any loss or forfeiture thereof or thereunder, except to the extent the failure to so
maintain and preserve or so comply could not reasonably be expected to have a Material Adverse
Effect.

                (h)     Maintenance of Insurance. Maintain, and cause each of its Subsidiaries to
maintain, insurance with responsible and reputable insurance companies or associations
(including, without limitation, comprehensive general liability, and worker's compensation) with
respect to its properties (including all real properties leased or owned by it) and business, in such
amounts and covering such risks as is required by any Governmental Authority having
jurisdiction with respect thereto or as is carried generally in accordance with sound business
practice by companies in similar businesses similarly situated. All policies covering the
Collateral are to be made payable to the Collateral Agent for the benefit of the Agents and the
Lenders, as its interests may appear, in case of loss, under a standard non-contributory "lender"
or "secured party" clause and are to contain such other provisions as the Collateral Agent may
reasonably require to fully protect the Lenders' interest in the Collateral and to any payments to
be made under such policies. Subject to Section 5.03(b), all certificates of insurance are to be
delivered to the Collateral Agent and the policies are to be premium prepaid, with the Lender’s
loss payable and/or additional insured, as applicable, endorsement in favor of the Collateral
Agent and such other Persons as the Collateral Agent may designate from time to time. All
certificates of insurance shall provide for not less than 30 days' (10 days' in the case of non-
payment) prior written notice to the Collateral Agent of the exercise of any right of cancellation.
If any Loan Party or any of its Subsidiaries fails to maintain such insurance, the Collateral Agent
may arrange for such insurance, but at the Borrower's expense and without any responsibility on
the Collateral Agent's part for obtaining the insurance, the solvency of the insurance companies,
the adequacy of the coverage, or the collection of claims; provided that, in the absence of an
Event of Default, the Collateral Agent shall provide the Borrower with reasonable prior written
notice before arranging for any such insurance. Upon the occurrence and during the continuance
of an Event of Default, the Collateral Agent shall have the sole right, in the name of the Lenders,
any Loan Party and its Subsidiaries, to file claims under any insurance policies, to receive,
receipt and give acquittance for any payments that may be payable thereunder, and to execute
any and all endorsements, receipts, releases, assignments, reassignments or other documents that
may be necessary to effect the collection, compromise or settlement of any claims under any
such insurance policies.

                (i)     Obtaining of Permits, Etc. Obtain, maintain and preserve, and cause each
of its Subsidiaries to obtain, maintain and preserve, and take all necessary action to timely renew,
all permits, licenses, authorizations, approvals, entitlements and accreditations which are
necessary or useful in the proper conduct of its business, in each case, except to the extent the
failure to obtain, maintain, preserve or take such action could not reasonably be expected to have
a Material Adverse Effect.

               (j)    Environmental. (i) Keep any property either owned or operated by it or
any of its Subsidiaries free of any Environmental Liens; (ii) comply, and cause each of its
Subsidiaries to comply, with all Environmental Laws, except to the extent the failure to so
comply could not reasonably be expected to have a Material Adverse Effect, and provide to the
Collateral Agent any documentation of such compliance which the Collateral Agent may
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reasonably request; (iii) provide the Agents written notice within 10 days of an Authorized
Officer gaining knowledge of any Release of a Hazardous Material in excess of any reportable
quantity from or onto property at any time owned or operated by it or any of its Subsidiaries and
take any Remedial Actions required to abate said Release, except for such Releases which could
not reasonably be expected to have a Material Adverse Effect; and (iv) provide the Agents with
written notice within 10 days of the receipt of any of the following: (A) notice that an
Environmental Lien has been filed against any property of any Loan Party or any of its
Subsidiaries; (B) commencement of any Environmental Action or notice that an Environmental
Action will be filed against any Loan Party or any of its Subsidiaries; and (C) notice of a
violation, citation or other administrative order from any Governmental Authority which could
reasonably be expected to have a Material Adverse Effect.

              (k)     Fiscal Year. Cause the Fiscal Year of the Parent and its Subsidiaries to
end on December 31st of each calendar year unless the Agents consent to a change in such Fiscal
Year (and appropriate related changes to this Agreement).

                  (l)    Additional Cash Equity Contribution and release of Cash Collateral.

                          (i)    Cause the Sponsor or its Affiliates or other co-investors to, within
                  five (5) Business Days after December 21, 2017, make an additional cash equity
                  contribution to the Parent in an amount equal to (if positive) $20,000,000 minus
                  the average daily amount of unrestricted cash on hand of the Loan Parties as of
                  the end of each day during the period from November 30, 2017 through
                  December 21, 2017 (the "Additional Contribution"); provided that in no event
                  shall the Additional Contribution amount exceed $20,000,000 less the Closing
                  Date Cash On Hand less $2,300,000 (the “Deferred Transaction Expense”). The
                  Additional Contribution shall be funded directly into a Cash Management
                  Account. The proceeds of the Additional Contribution shall be used for general
                  working capital purposes of the Loan Parties.

                  (ii)    Cause the Specified Cash Collateral to be released from the applicable
                  cash collateral account within 5 business days after the Closing Date (or such later
                  date as the Administrative Agent may agree).

               (m)     After Acquired Real Property. Upon the acquisition by it or any of its
Subsidiaries after the date hereof of any fee interest in any real property (wherever located and
including, for the avoidance of doubt, any freehold interest in any English real property) (each
such interest being a "New Facility") with a Current Value (as defined below) in excess of
$5,000,000 immediately so notify the Collateral Agent, setting forth with specificity a
description of the interest acquired, the location of the real property, any structures or
improvements thereon and either an appraisal or such Loan Party's good-faith estimate of the
current value of such real property (for purposes of this Section, the "Current Value"). The
Collateral Agent shall notify such Loan Party whether it intends to require a Mortgage (and any
other Real Property Deliverables) with respect to such New Facility. Upon receipt of such notice
requesting a Mortgage (and any other Real Property Deliverables), the Loan Party that has
acquired such New Facility shall furnish the same to the Collateral Agent within 30 Business
Days of such request (or such later date as agreed to in writing by the Collateral Agent in its sole

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discretion). The Borrower shall pay all fees and expenses, including, without limitation,
reasonable, documented attorneys' fees and expenses, and all title insurance charges and
premiums, in connection with each Loan Party's obligations under this Section 7.01(m).

               (n)    Lender Meetings. Upon the reasonable prior written request of any Agent
or the Required Lenders (which request, so long as no Event of Default shall have occurred and
be continuing, shall not be made more than once during each Fiscal Year), participate in a
meeting (which, at the option of the Borrower and reasonably acceptable to the Collateral Agent,
may be by conference call) with the Agents and the Lenders, at such time as may be agreed to by
the Borrower and such Agent or the Required Lenders; provided that, if such meeting is attended
in person, the Loan Parties shall not be required to reimburse the Agent or any Lender for its
costs and expenses incurred in connection therewith more than once in any 12 consecutive month
period.

                (o)     Further Assurances. Take such action and execute, acknowledge and
deliver, and cause each of its Subsidiaries to take such action and execute, acknowledge and
deliver, at its sole cost and expense, such agreements, instruments or other documents as any
Agent may require from time to time in order (i) to carry out more effectively the purposes of
this Agreement and the other Loan Documents, (ii) to subject to valid and perfected first priority
Liens any of the Collateral or any other property of any Loan Party and its Subsidiaries to the
extent required by the Loan Documents, (iii) to establish and maintain the validity and
effectiveness of any of the Loan Documents and the validity, perfection and priority of the Liens
intended to be created thereby (subject to Permitted Liens) (including making all filings and
registrations) and (iv) to better assure, convey, grant, assign, transfer and confirm unto each
Secured Party the rights now or hereafter intended to be granted to it under this Agreement or
any other Loan Document. In furtherance of the foregoing, to the maximum extent permitted by
applicable law, each Loan Party (i) authorizes each Agent to execute any such agreements,
instruments or other documents in such Loan Party's name and to file such agreements,
instruments or other documents in any appropriate filing office, (ii) authorizes each Agent to file
any financing statement required hereunder or under any other Loan Document, and any
continuation statement or amendment with respect thereto, in any appropriate filing office
without the signature of such Loan Party, and (iii) ratifies the filing of any financing statement,
and any continuation statement or amendment with respect thereto, filed without the signature of
such Loan Party prior to the date hereof.

                (p)    Israeli Filings. Within 10 Business Days after the Effective Date (or such
later date agreed to by the Collateral Agent), provide the Administrative Agent with evidence of
filing of the pledges over the Sizmek Israel Notes and the shares of Sizmek Israel at the Israeli
Registrar of Pledges in favor of the Collateral Agent.

               Section 7.02 Negative Covenants. So long as any principal of or interest on
any Loan or any other Obligation (whether or not due) shall remain unpaid (other than
Contingent Indemnity Obligations) or any Lender shall have any Commitment hereunder, each
Loan Party shall not, and shall not permit any of its Subsidiaries to, unless the Required Lenders
shall otherwise consent in writing:



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               (a)      Liens, Etc. Create, incur, assume or suffer to exist, or permit any of its
Subsidiaries to create, incur, assume or suffer to exist, any Lien upon or with respect to any of its
properties, whether now owned or hereafter acquired; file or suffer to exist under the Uniform
Commercial Code or any Requirement of Law of any jurisdiction, a financing statement (or the
equivalent thereof) that names it or any of its Subsidiaries as debtor; sign or suffer to exist any
security agreement authorizing any secured party thereunder to file such financing statement (or
the equivalent thereof) other than, as to all of the above, Permitted Liens.

               (b)    Indebtedness. Create, incur, assume, guarantee or suffer to exist, or
otherwise become or remain liable with respect to, or permit any of its Subsidiaries to create,
incur, assume, guarantee or suffer to exist or otherwise become or remain liable with respect to,
any Indebtedness other than Permitted Indebtedness.

                  (c)   Fundamental Changes; Dispositions.

                        (i)     Merge, consolidate or amalgamate with any Person, or permit any
of its Subsidiaries to do (or agree to do) any of the foregoing; provided, however, that any
wholly-owned Subsidiary of any Loan Party may be merged into such Loan Party or another
wholly-owned Subsidiary of such Loan Party, or may consolidate or amalgamate with another
wholly-owned Subsidiary of such Loan Party, so long as (A) no other provision of this
Agreement would be violated thereby, (B) such Loan Party gives the Agents at least 10 days'
prior written notice of such merger, consolidation or amalgamation accompanied by true, correct
and complete copies of all material agreements, documents and instruments relating to such
merger, consolidation or amalgamation, including, but not limited to, the certificate or
certificates of merger or amalgamation to be filed with each appropriate Secretary of State (with
a copy as filed promptly after such filing), (C) no Default or Event of Default shall have occurred
and be continuing either before or after giving effect to such transaction, (D) the Lenders' rights
in any Collateral, including, without limitation, the existence, perfection and priority of any Lien
thereon, are not adversely affected by such merger, consolidation or amalgamation and (E) in the
case of mergers, consolidations and amalgamations involving a Loan Party, the surviving
Subsidiary, if any, if not already a Loan Party, is joined as a Loan Party hereunder pursuant to a
Joinder Agreement and is a party to the applicable Security Documents and the Equity Interests
of such Subsidiary is the subject of the applicable Security Documents, in each case, which is in
full force and effect on the date of and immediately after giving effect to such merger or
consolidation; and (F) if a Borrower is a party to such merger, consolidation or amalgamation, a
Borrower shall be the surviving entity in such merger, consolidation or amalgamation;

                       (ii)   Wind-up, liquidate or permit any of its Subsidiaries to do any of
the foregoing; provided, however, any Subsidiary of a Loan Party (other than Parent or the
Borrower) may wind up, liquidate or dissolve if (A) the governing body of such Subsidiary shall
determine that the preservation thereof is no longer desirable in the conduct of the business of the
Parent and its Subsidiaries and (B) the assets of such Subsidiary are distributed to a Loan Party
or a wholly-owned Subsidiary of a Loan Party (provided that if the Subsidiary is a Loan Party
such Subsidiary's assets must be distributed to a Loan Party); and

                    (iii)   Other than Permitted Dispositions and Permitted Restricted
Payments, convey, sell, lease or sublease, transfer or otherwise dispose of, whether in one

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transaction or a series of related transactions, all or any part of its business, property or assets,
whether now owned or hereafter acquired (or agree to do any of the foregoing), or permit any of
its Subsidiaries to do any of the foregoing.

                  (d)   Change in Nature of Business.

                        (i)     Make, or permit any of its Subsidiaries to make, any change in the
nature of its business as described in Section 6.01(l); provided, that this Section 7.02(d) shall not
prohibit Parent or any of its Subsidiaries from engaging in any business activities reasonably
related, ancillary or incidental thereto.

                         (ii)   Permit the Parent or any other Holdco to have any material
liabilities (other than liabilities arising or permitted under the Loan Documents), own any
material assets (other than the Equity Interests of its Subsidiaries) or engage in any operations or
business (other than the ownership of its Subsidiaries), except that each of the Parent and such
Holdco may (A) incur liabilities under the Loan Documents or any documents evidencing
Permitted Indebtedness, (B) perform its obligations under the Loan Documents, the Acquisition
Documents and any other documents evidencing Permitted Indebtedness to which it is a party,
(C) make investments, Restricted Payments and other transactions not prohibited by this
Agreement or any of the other Loan Documents, (D) own the Equity Interests of its Subsidiaries
and activities incidental thereto, including payment of dividends and other amounts in respect of
its Equity Interests, in each case, solely as permitted pursuant to this Agreement, (E) maintain its
legal existence (including the ability to incur fees, costs and expenses relating to such
maintenance), (F) if applicable, participate in tax, accounting and other administrative matters as
a member of a consolidated group, (G) provide indemnification to officers and directors in the
ordinary course of business, (H) comply with Requirements of Law applicable to it, (I) obtain,
and the pay any fees and expenses for, management, consulting, investment banking and
advisory services to the extent otherwise permitted by this Agreement, and (J) any activities
incidental or reasonably related to the foregoing.

               (e)    Loans, Advances, Investments, Etc. Make or commit or agree to make, or
permit any of its Subsidiaries make or commit or agree to make, any Investment in any other
Person except for Permitted Investments.

               (f)      Sale and Leaseback Transactions. Enter into, or permit any of its
Subsidiaries to enter into, any Sale and Leaseback Transaction.

                  (g)   [Reserved].

              (h)    Restricted Payments. Make or permit any of its Subsidiaries to make any
Restricted Payment other than Permitted Restricted Payments.

              (i)     Federal Reserve Regulations. Permit any Loan or the proceeds of any
Loan under this Agreement to be used for any purpose that would cause such Loan to be a
margin loan under the provisions of Regulation T, U or X of the Board.

              (j)    Transactions with Affiliates. Enter into, renew, extend or be a party to, or
permit any of its Subsidiaries to enter into, renew, extend or be a party to, any transaction or
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series of related transactions (including, without limitation, the purchase, sale, lease, transfer or
exchange of property or assets of any kind or the rendering of services of any kind) with any
Affiliate, except (i) transactions consummated in the ordinary course of business in a manner and
to an extent consistent with past practice and necessary or desirable for the prudent operation of
its business, for fair consideration and on terms no less favorable to it or its Subsidiaries than
would be obtainable in a comparable arm's length transaction with a Person that is not an
Affiliate thereof, and that are consented to by the Collateral Agent prior to the consummation
thereof, if they involve one or more payments by the Parent or any of its Subsidiaries in excess
of $1,000,000 for any single transaction or series of related transactions, (ii) transactions among
Loan Parties and their Subsidiaries in the ordinary course of business to the extent not otherwise
prohibited by this Agreement, (iii) transactions permitted by Section 7.02(c), Section 7.02(e) and
Section 7.02(h), (iv) sales of Qualified Equity Interests of the Parent to Affiliates of the Parent
not otherwise prohibited by the Loan Documents and the granting of registration and other
customary rights in connection therewith, (v) performance of the obligations under the
Management Agreement, (vi) reasonable and customary director and officer compensation,
benefits and indemnification arrangements approved by the Board of Directors (or committee
thereof) of the Parent or the applicable Subsidiary and (vii) the Pledged Intercompany Notes.

               (k)     Limitations on Dividends and Other Payment Restrictions Affecting
Subsidiaries. Create or otherwise cause, incur, assume, suffer or permit to exist or become
effective any consensual encumbrance or restriction of any kind on the ability of any Subsidiary
of any Loan Party (i) to pay dividends or to make any other distribution on any Equity Interests
of such Subsidiary owned by any Loan Party or any of its Subsidiaries, (ii) to pay or prepay or to
subordinate any Indebtedness owed to any Loan Party or any of its Subsidiaries, (iii) to make
loans or advances to any Loan Party or any of its Subsidiaries or (iv) to transfer any of its
property or assets to any Loan Party or any of its Subsidiaries, or permit any of its Subsidiaries to
do any of the foregoing; provided, however, that nothing in any of clauses (i) through (iv) of this
Section 7.02(k) shall prohibit or restrict compliance with:

                             (A)     this Agreement and the other Loan Documents and, so long
as such documents are not more restrictive than this Agreement and the other Loan Documents,
any other document entered into in connection with Permitted Indebtedness;

                            (B)    any agreement in effect on the date of this Agreement and
described on Schedule 7.02(k), or any extension, replacement or continuation of any such
agreement; provided that any such encumbrance or restriction contained in such extended,
replaced or continued agreement is no less favorable to the Agents and the Lenders than the
encumbrance or restriction under or pursuant to the agreement so extended, replaced or
continued;

                              (C)     any applicable law, rule or regulation (including, without
limitation, applicable currency control laws and applicable state corporate statutes restricting the
payment of dividends in certain circumstances);

                              (D)     in the case of clause (iv), customary restrictions on the
subletting, assignment or transfer of any specified property or asset set forth in a lease, license,
asset sale agreement or similar contract for the conveyance of such property or asset;

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                              (E)     in the case of clause (iv), any agreement, instrument or
other document evidencing a Permitted Lien (or the Indebtedness secured thereby) from
restricting on customary terms the transfer of any property or assets subject thereto;

                               (F)   customary restrictions on dispositions of real property
interests found in reciprocal easement agreements;

                             (G)    customary restrictions in agreements for the sale of assets
on the transfer or encumbrance of such assets during an interim period prior to the closing of the
sale of such assets; or

                               (H)    customary restrictions in contracts that prohibit the
assignment of such contract.

                (l)     Limitations on Negative Pledges. Enter into, incur or permit to exist, or
permit any Subsidiary to enter into, incur or permit to exist, directly or indirectly, any agreement,
instrument, deed, lease or other arrangement that prohibits, restricts or imposes any condition
upon the ability of any Loan Party or any Subsidiary of any Loan Party to create, incur or permit
to exist any Lien upon any of its property or revenues, whether now owned or hereafter acquired,
or that requires the grant of any security for an obligation if security is granted for another
obligation, except the following: (i) this Agreement and the other Loan Documents and any
other document entered into in connection with any other Permitted Indebtedness, so long as the
prohibitions, restrictions and conditions that are set forth in such documents are not more
restrictive than this Agreement and the other Loan Documents, (ii) restrictions or conditions
imposed by any agreement relating to secured Indebtedness permitted by Section 7.02(b) of this
Agreement if such restrictions or conditions apply only to the property or assets securing such
Indebtedness, (iii) any customary restrictions and conditions contained in agreements relating to
the sale or other disposition of assets or of a Subsidiary pending such sale or other disposition;
provided that such restrictions and conditions apply only to the assets or Subsidiary to be sold or
disposed of and such sale or disposition is permitted hereunder, (iv) customary provisions in
leases restricting the assignment or sublet thereof and (v) provisions of any software and other
Intellectual Property licenses pursuant to which any Loan Party or any Subsidiary of any Loan
Party is the licensee or licensor of the relevant software or Intellectual Property, as the case may
be, provided that such provisions apply only to the assets subject to the applicable license.

             (m)     Modifications of Indebtedness, Organizational Documents and Certain
Other Agreements; Etc.

                      (i)     Amend, modify or otherwise change (or permit the amendment,
modification or other change in any manner of) any of the provisions of any of its or its
Subsidiaries' Subordinated Indebtedness or any other Indebtedness that is secured by a lien that
is subordinated to the liens securing the Obligations or of any instrument or agreement
(including, without limitation, any purchase agreement, indenture, loan agreement or security
agreement) relating to any such Indebtedness if (in the case of this clause (y) only) such
amendment, modification or change would shorten the final maturity or average life to maturity
of, or require any payment to be made earlier than the date originally scheduled on, such
Indebtedness, would increase the interest rate applicable to such Indebtedness, would add any

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covenant or event of default, would change the subordination provision, if any, of such
Indebtedness, or would otherwise be materially adverse to the Lenders or the issuer of such
Indebtedness in any respect unless such amendment, modification or change is permitted under
the applicable subordination or intercreditor agreement updated thereto;

                        (ii)    (A) make any payment, prepayment, redemption, defeasance,
sinking fund payment or repurchase of any Subordinated Indebtedness or any other Indebtedness
that is secured by a lien that is subordinated to the liens securing the Obligations in violation of
the subordination provisions thereof or any subordination agreement with respect thereto;
provided that, the Loan Parties may (1) make regularly scheduled interest payments and
payments of fees, expenses and indemnification obligations as and when due in respect of any
such Indebtedness (other than payments prohibited by the subordination provisions thereof or
any subordination or intercreditor agreement with respect thereto), (2) refinance or exchange
such Indebtedness with Permitted Refinancing Indebtedness, (3) payment with respect to
Permitted Intercompany Investments constituting Indebtedness made by a Subsidiary that is not
Loan Party to a Loan Party so long as not in violation of the subordination provisions applicable
thereto, (4) payment with respect to Permitted Intercompany Investments constituting
Indebtedness made by a Loan Party to a Loan Party or a Subsidiary that is not Loan Party, (5)
make such payment with, or convert such Indebtedness to, Equity Interests (other than
Disqualified Equity Interests) or otherwise set off obligations owing to a Loan Party or any
Subsidiary by the holder of such Subordinated Indebtedness against such Subordinated
Indebtedness, (6) make payments as part of an "AHYDO" catch-up payment, and (7) make other
payments not listed above, so long as the Leverage Ratio of the Parent and its Subsidiaries does
not exceed 2.50:1.00 after giving pro forma effect to such payment; provided that, in case of
clauses (4) through (7) above, immediately before and after giving effect to any such payment,
the Loan Parties' Liquidity is greater than $5,000,000 and no Default or Event of Default shall
have occurred or be continuing or would result therefrom;

                         (iii)  With respect to the Loan Parties and Sizmek Israel, amend, modify
or otherwise change any of its Governing Documents (including, without limitation, by the filing
or modification of any certificate of designation, or any agreement or arrangement entered into
by it) with respect to any of its Equity Interests (including any shareholders' agreement), or enter
into any new agreement with respect to any of its Equity Interests, except any such amendments,
modifications or changes or any such new agreements or arrangements pursuant to this
clause (iii) that (A) either individually or in the aggregate could not reasonably be expected to
have a Material Adverse Effect and (B) could not reasonably be expected to be materially
adverse to the Agents or the Lenders;

                    (iv)   amend, modify or otherwise change or waive any of its rights
under the Governing Documents of Sizmek Israel or any Acquisition Document if such
amendment, modification, change or waiver could reasonably be expected to have a Material
Adverse Effect; or

                      (v)     amend, modify or otherwise change its name, jurisdiction of
incorporation or organization, organizational identification number or FEIN, except that a Loan
Party may (A) change its name, jurisdiction of incorporation or organization, organizational
identification number or FEIN in connection with a transaction permitted by Section 7.02(c) and

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(B) change its name upon at least 10 days' prior written notice by the Borrower to the Collateral
Agent of such change and so long as, at the time of such written notification, such Person
provides any financing statements or fixture filings necessary to perfect and continue perfected
the Collateral Agent's Liens.

                (n)    Investment Company Act of 1940. Engage in any business, enter into any
transaction, use any securities or take any other action or permit any of its Subsidiaries to do any
of the foregoing, that would cause it or any of its Subsidiaries to become subject to the
registration requirements of the Investment Company Act of 1940, as amended, by virtue of
being an "investment company" or a company "controlled" by an "investment company" not
entitled to an exemption within the meaning of such Act.

               (o)     ERISA. Engage, or permit (to the extent within the control of any Loan
Party) any ERISA Affiliate to engage, in any transaction described in Section 4069 of ERISA;
(ii) engage in any prohibited transaction described in Section 406 of ERISA or 4975 of the
Internal Revenue Code for which a statutory or class exemption is not available or a private
exemption has not previously been obtained from the U.S. Department of Labor; (iii) adopt any
employee welfare benefit plan within the meaning of Section 3(1) of ERISA which provides
benefits to employees after termination of employment other than as required by Section 601 of
ERISA or applicable law; (iv) fail to make any contribution or payment to any Multiemployer
Plan which it or any ERISA Affiliate may be required to make under any agreement relating to
such Multiemployer Plan, or any law pertaining thereto; or (v) fail, or permit (to the extent
within the control of any Loan Party) any ERISA Affiliate to fail, to pay any required installment
or any other payment required under Section 412 of the Internal Revenue Code on or before the
due date for such installment or other payment, in each case, that could, individually or in the
aggregate, reasonably be expected to result in liability to the Loan Parties in excess of
$3,000,000.

               (p)     Environmental. Permit the use, handling, generation, storage, treatment,
Release or disposal of Hazardous Materials at any property owned or leased by it or any of its
Subsidiaries, except in compliance with Environmental Laws (other than any noncompliance that
could not reasonably be expected to have a Material Adverse Effect).

                  (q)   Anti-Terrorism Laws.

                      (i)     None of the Loan Parties, nor any of their Affiliates (other than
other portfolio companies), shall:

                              (A)     conduct any business or engage in any transaction or
dealing with or for the benefit of any Blocked Person, including the making or receiving of any
contribution of funds, goods or services to, from or for the benefit of any Blocked Person;

                             (B)    deal in, or otherwise engage in any transaction relating to,
any property or interests in property blocked or subject to blocking pursuant to the OFAC
Sanctions Programs;

                            (C)   use any of the proceeds of the transactions contemplated by
this Agreement to finance, promote or otherwise support in any manner any illegal activity,
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including, without limitation, any violation of the Anti-Terrorism Laws or any specified unlawful
activity as that term is defined in the Money Laundering Control Act of 1986, 18 U.S.C. §§ 1956
and 1957; or

                             (D)    violate, attempt to violate, or engage in or conspire to
engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, any
of the Anti-Terrorism Laws.

                        (ii)   None of the Loan Parties, nor, to the knowledge of any Loan Party,
any Affiliate (other than other portfolio companies) shall be or shall become a Blocked Person.

The Borrower shall deliver to the Lenders any certification or other evidence requested from
time to time by any Lender in its reasonable discretion, confirming the Borrower's compliance
with this Section 7.02(q).

                  (r)   Anti-Bribery and Anti-Corruption Laws. None of the Loan Parties shall:

                        (i)     offer, promise, pay, give, or authorize the payment or giving of any
money, gift or other thing of value, directly or indirectly, to or for the benefit of any Foreign
Official for the purpose of: (1) influencing any act or decision of such Foreign Official in his,
her, or its official capacity; or (2) inducing such Foreign Official to do, or omit to do, an act in
violation of the lawful duty of such Foreign Official, or (3) securing any improper advantage, in
order to obtain or retain business for, or with, or to direct business to, any Person;

                      (ii)   otherwise violate, attempt to violate or engage in or conspire to
engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, any
Anti-Corruption Law; or

                        (iii)  act or attempt to act in any manner which would subject any of the
Loan Parties to liability under any Anti-Corruption Law.

                Section 7.03 Financial Covenants. So long as any principal of or interest on any
Loan or any other Obligation (whether or not due) shall remain unpaid (other than Contingent
Indemnity Obligations) or any Lender shall have any Commitment hereunder, each Loan Party
shall not, unless the Required Lenders shall otherwise consent in writing:

               (a)     Leverage Ratio. Permit the Leverage Ratio of the Parent and its
Subsidiaries for any period of 4 consecutive fiscal quarters of the Parent and its Subsidiaries for
which the last fiscal quarter ends on a date set forth below to be greater than the ratio set forth
opposite such date:




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                           Date of Fiscal Quarter End                     Ratio
                                 December 31, 2017                     2.75 to 1.00
                                  March 31, 2018                       3.25 to 1.00
                                   June 30, 2018                       3.50 to 1.00
                                 September 30, 2018                    4.00 to 1.00
                    December 31, 2018 through and including
                                                                       4.50 to 1.00
                               September 30, 2019
                December 31, 2019 through and including June 30,
                                                                       4.25 to 1.00
                                      2020
                 September 30, 2020 through and including March
                                                                       4.00 to 1.00
                                    31, 2021
                June 30, 2021 through and including September 30,
                                                                       3.75 to 1.00
                                      2021
                 December 31, 2021 through and including March
                                                                       3.50 to 1.00
                                    31, 2022
                June 30, 2022 through and including September 30,
                                                                       3.25 to 1.00
                                      2022
                        December 31, 2022 and thereafter               3.00 to 1.00



                                          ARTICLE VIII

                           CASH MANAGEMENT ARRANGEMENTS
                            AND OTHER COLLATERAL MATTERS

                  Section 8.01   Cash Management Arrangements.

                (a)    The Loan Parties shall (i) establish and maintain cash management
services at one or more banks determined by them (each a "Cash Management Bank") and (ii)
except as otherwise provided under Section 8.01(b), deposit or cause to be deposited promptly,
and in any event no later than the next Business Day after the date of receipt thereof, all proceeds
(in the case of a Disposition or Casualty Event, Net Cash Proceeds) in respect of any Collateral,
all Collections (of a nature susceptible to a deposit in a bank account) and all other amounts (in
the case of a Disposition or Casualty Event, Net Cash Proceeds) received by any Loan Party
(including payments made by Account Debtors directly to any Loan Party) into a Cash
Management Account.

              (b)      Within 60 days after the Effective Date (or such later date agreed to by the
Collateral Agent), the Loan Parties shall, with respect to each Cash Management Account (other
than Excluded Accounts), deliver to the Collateral Agent a Control Agreement with respect to
such Cash Management Account. From and after the date that is 60 days following the Effective

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Date, the Loan Parties shall not maintain, and shall not permit any of their Subsidiaries to
maintain, cash, Cash Equivalents or other amounts in any deposit account or securities account,
unless the Collateral Agent shall have received a Control Agreement in respect of each such
Cash Management Account (other than Excluded Accounts); provided that with respect to any
deposit account or securities account (other than an Excluded Account) acquired by such Loan
Party pursuant to a Permitted Acquisition, the applicable Loan Party shall deliver to Collateral
Agent a Control Agreement with respect to such account within 60 days after such Permitted
Acquisition or such later date as the Administrative Agent may agree in its sole discretion.

                (c)     Upon the terms and subject to the conditions set forth in a Control
Agreement with respect to a Cash Management Account, all amounts received in such Cash
Management Account shall at the Administrative Agent's direction be wired each Business Day
into the Administrative Agent's Account, except that, so long as no Event of Default has
occurred and is continuing, the Administrative Agent will not direct the Cash Management Bank
to transfer funds in such Cash Management Account to the Administrative Agent's Account.

              (d)     So long as no Default or Event of Default has occurred and is continuing,
the Borrower may amend Schedule 8.01 to add or replace a Cash Management Bank or Cash
Management Account; provided, however, that within 60 days (or such later date as the
Administrative Agent may agree) of the opening of such Cash Management Account, each Loan
Party and such prospective Cash Management Bank shall have executed and delivered to the
Collateral Agent a Control Agreement.

                                          ARTICLE IX

                                    EVENTS OF DEFAULT

               Section 9.01 Events of Default. Each of the following events shall constitute an
event of default (each, an "Event of Default"):

               (a)     the Borrower shall fail to pay, when due (whether by scheduled maturity,
required prepayment, acceleration, demand or otherwise), (i) any interest on any Loan, any
Agent Advance, or any fee, indemnity or other amount payable under this Agreement (other than
any portion thereof constituting principal of the Loans) or any other Loan Document, and such
failure continues for a period of 3 Business Days or (ii) all or any portion of the principal of the
Loans;

               (b)      any representation or warranty made or deemed made by or on behalf of
any Loan Party or by any officer of the foregoing under or in connection with any Loan
Document or under or in connection with any certificate or other writing delivered to any
Secured Party pursuant to any Loan Document shall have been incorrect in any material respect
(or in any respect if such representation or warranty is qualified or modified as to materiality or
"Material Adverse Effect" in the text thereof) when made or deemed made;

              (c)     (i) any Loan Party shall fail to perform or comply with any covenant or
agreement contained Section 7.01(d), Section 7.01(f), Section 7.01(h), Section 7.01(k),
Section 7.01(m), Section 7.02 or Section 7.03, (ii) any Loan Party shall fail to perform or comply

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with in clauses (i) through (iv) of Section 7.01(a) and, solely in the case of this clause (ii), such
failure, if capable of being remedied, shall remain unremedied for 5 Business Days (or in the
case of failure to comply with the requirements set forth in clauses (i) through (iv) of
Section 7.01(a) for the first six fiscal quarters after the Effective Date, 10 days) after the earlier
of the date an Authorized Officer of any Loan Party has knowledge of such failure and the date
written notice of such default shall have been given by any Agent to such Loan Party, or (iii) any
Loan Party shall fail to perform or comply with Section 7.01(c) or 7.01(n) or any covenant or
agreement contained in any Security Document and, solely in the case of this clause (iii), such
failure, if capable of being remedied, shall remain unremedied for 10 days after the earlier of the
date an Authorized Officer of any Loan Party has knowledge of such failure and the date written
notice of such default shall have been given by any Agent to such Loan Party;

                (d)     any Loan Party shall fail to perform or comply with any other term,
covenant or agreement contained in any other Loan Document to be performed or observed by it
and, except as set forth in subsections (a), (b) and (c) of this Section 9.01, such failure, if capable
of being remedied, shall remain unremedied for 30 days after the earlier of the date a senior
officer of any Loan Party has knowledge of such failure and the date written notice of such
default shall have been given by any Agent to such Loan Party;

                 (e)     any Loan Party shall fail to pay when due (whether by scheduled maturity,
required prepayment, acceleration, demand or otherwise) any principal, interest or other amount
payable in respect of Indebtedness (excluding Indebtedness evidenced by this Agreement)
having an aggregate amount outstanding in excess of $2,500,000, and such failure shall continue
after the applicable grace period, if any, specified in the agreement or instrument relating to such
Indebtedness, or any other default under any agreement or instrument relating to any such
Indebtedness, or any other event, shall occur and shall continue after the applicable grace period,
if any, specified in such agreement or instrument, if the effect of such default or event is to
accelerate, or to permit the acceleration of, the maturity of such Indebtedness; or any such
Indebtedness shall be declared to be due and payable, or required to be prepaid (other than by a
regularly scheduled required prepayment), redeemed, purchased or defeased or an offer to
prepay, redeem, purchase or defease such Indebtedness shall be required to be made, in each
case, prior to the stated maturity thereof;

                 (f)     any Loan Party (i) shall institute any proceeding or voluntary case seeking
to adjudicate it a bankrupt or insolvent, or seeking dissolution, liquidation, winding up,
reorganization, arrangement, adjustment, protection, relief or composition of it or its debts under
any law relating to bankruptcy, insolvency, reorganization or relief of debtors, or seeking the
entry of an order for relief or the appointment of a receiver, trustee, custodian or other similar
official for any such Person or for any substantial part of its property, (ii) shall admit in writing
its inability to pay its debts generally, (iii) shall make a general assignment for the benefit of
creditors, or (iv) shall take any corporate action to authorize or effect any of the actions set forth
above in this subsection (f);

                (g)    any proceeding shall be instituted against any Loan Party seeking to
adjudicate it a bankrupt or insolvent, or seeking dissolution, liquidation, winding up,
reorganization, arrangement, adjustment, protection, relief of debtors, or seeking the entry of an
order for relief or the appointment of a receiver, trustee, custodian or other similar official for

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any such Person or for any substantial part of its property, and either such proceeding shall
remain undismissed or unstayed for a period of 60 days or any of the actions sought in such
proceeding (including, without limitation, the entry of an order for relief against any such Person
or the appointment of a receiver, trustee, custodian or other similar official for it or for any
substantial part of its property) shall occur;

                 (h)     any material provision of any Loan Document shall at any time for any
reason (other than pursuant to the express terms thereof) cease to be valid and binding on or
enforceable against any Loan Party intended to be a party thereto, or the validity or
enforceability thereof shall be contested by any Loan Party, or a proceeding shall be commenced
by any Loan Party or any Governmental Authority having jurisdiction over any of them, seeking
to establish the invalidity or unenforceability thereof, or any Loan Party shall deny in writing that
it has any liability or obligation purported to be created under any Loan Document;

               (i)      any Security Document, any Mortgage or any other security document,
after delivery thereof pursuant hereto, shall for any reason fail or cease to create a valid and
perfected and, except to the extent permitted by the terms hereof or thereof, first priority Lien in
favor of the Collateral Agent for the benefit of the Agents and the Lenders on any Collateral with
a fair market value of more than $2,500,000 in the aggregate purported to be covered thereby;

                 (j)    one or more judgments, orders or awards (or any settlement of any
litigation or other proceeding that, if breached, could result in a judgment, order or award) for the
payment of money exceeding $5,000,000 in the aggregate (except to the extent fully covered
(other than to the extent of customary deductibles) by insurance pursuant to which the insurer
has been notified and has not denied coverage) shall be rendered against any Loan Party and
remain unsatisfied and (i) enforcement proceedings shall have been commenced by any creditor
upon any such judgment, order, award or settlement or (ii) there shall be a period of 10
consecutive days after entry thereof during which (A) a stay of enforcement thereof is not be in
effect or (B) the same is not vacated, discharged, stayed or bonded pending appeal;

              (k)     any Loan Party is enjoined, restrained or in any way prevented by the
order of any court or any Governmental Authority from conducting, or otherwise ceases to
conduct for any reason whatsoever, all or any material part of the Loan Parties' business, taken as
a whole, for more than 15 consecutive days;

               (l)    any material damage to, or loss, theft or destruction of Collateral, taken as
a whole, whether or not insured, or any strike, lockout, labor dispute, embargo, condemnation,
act of God or public enemy, or other casualty which causes, for more than 15 consecutive
Business Days, the cessation or substantial curtailment of revenue producing activities at any
facility of any Loan Party, if any such event or circumstance could reasonably be expected to
have a Material Adverse Effect;

                  (m)   [reserved];

           (n)    the indictment of any Loan Party under any criminal statute, or
commencement of criminal or civil proceedings against any Loan Party, pursuant to which


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statute or proceedings the penalties or remedies sought or available include forfeiture to any
Governmental Authority of any material portion of the property of the Loan Parties;

               (o)    any Loan Party or any of its ERISA Affiliates shall have made a complete
or partial withdrawal from a Multiemployer Plan, and, as a result of such complete or partial
withdrawal, any Loan Party incurs a withdrawal liability in an annual amount exceeding
$3,000,000;

               (p)      any Termination Event with respect to any Employee Plan shall have
occurred, and, 30 days after notice thereof shall have been given to Borrower by any Agent,
(i) such Termination Event (if correctable) shall not have been corrected, and (ii) the occurrence
of such Termination Event has resulted or could reasonably be expected to result in the
incurrence of a liability (including a liability under Section 409, 502(i), 502(l), 515, 4062, 4063,
4064, 4069, 4201, 4204 or 4212 of ERISA or Section 4971 or 4975 of the Internal Revenue
Code) to a loan party in excess of $3,000,000;

                  (q)   a Change of Control shall have occurred; or

               (r)     there shall occur and be continuing any "Event of Default" (or any
comparable term) under, and as defined in the documents evidencing or governing any
Subordinated Indebtedness, (ii) any of the Obligations for any reason shall cease to be "Senior
Debt" or "Designated Senior Indebtedness" (or any comparable terms) under, and as defined in
the documents evidencing or governing any Subordinated Indebtedness, (iii) any Indebtedness
other than the Obligations shall constitute "Designated Senior Indebtedness" (or any comparable
term) under, and as defined in, the documents evidencing or governing any Subordinated
Indebtedness, (iv) any holder of Subordinated Indebtedness shall fail to perform or comply with
any of the subordination provisions of the documents evidencing or governing such Subordinated
Indebtedness, or (v) the subordination provisions of the documents evidencing or governing any
Subordinated Indebtedness shall, in whole or in part, terminate, cease to be effective or cease to
be legally valid, binding and enforceable against any holder of the applicable Subordinated
Indebtedness;

then, and in any such event, the Collateral Agent (and solely with respect to clause (i) below, the
Administrative Agent) may, and shall at the request of the Required Lenders, by notice to the
Borrower, (i) terminate or reduce all Commitments, whereupon all Commitments shall
immediately be so terminated or reduced, (ii) declare all or any portion of the Loans then
outstanding to be due and payable, whereupon all or such portion of the aggregate principal of all
Loans, all accrued and unpaid interest thereon, all fees and all other amounts payable under this
Agreement and the other Loan Documents shall become due and payable immediately, together
with the payment of the Applicable Prepayment Premium (if any) with respect to the
Commitments so terminated and the Loans so repaid, without presentment, demand, protest or
further notice of any kind, all of which are hereby expressly waived by each Loan Party and
(iii) exercise any and all of its other rights and remedies under applicable law, hereunder and
under the other Loan Documents; provided, however, that upon the occurrence of any Event of
Default described in subsection (f) or (g) of this Section 9.01 with respect to any Loan Party,
without any notice to any Loan Party or any other Person or any act by any Agent or any Lender,
all Commitments shall automatically terminate and all Loans then outstanding, together with all

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accrued and unpaid interest thereon, all fees and all other amounts due under this Agreement and
the other Loan Documents, including, without limitation, the Applicable Prepayment Premium
(if any), shall become due and payable automatically and immediately, without presentment,
demand, protest or notice of any kind, all of which are expressly waived by each Loan Party.

                Section 9.02 Cure Right. In the event that the Borrower shall fail to comply
with the requirements of any financial covenant set forth in Section 7.03, until the expiration of
the 10th Business Day after the date on which financial statements are required to be delivered
with respect to the applicable fiscal quarter (or fiscal year end, as applicable) hereunder, Parent
shall have the right to issue Permitted Cure Equity for cash or otherwise receive cash
contributions to the capital of the Parent, and, in each case, to contribute any such cash to the
capital of the Borrower, and apply the amount of the proceeds thereof to increase Consolidated
EBITDA (and Consolidated EBITDA shall be automatically deemed to be increased) for all
periods in which such fiscal quarter is included in the calculation of Consolidated EBITDA for
purposes of determining compliance with the covenant set forth in Section 7.03 (the "Cure
Right"); provided that (a) such proceeds are actually received by the Borrower no later than
10 Business Days after the date on which such financial statements are required to be delivered
with respect to such fiscal quarter hereunder (the "Cure Deadline"), (b) such proceeds do not
exceed the aggregate amount necessary to cure (by addition to Consolidated EBITDA) such
Event of Default under Section 7.03 for such period, (c) the Cure Right shall not be exercised
more than four (4) times during the term of this Agreement, (d) the Cure Right may not be
exercised in two (2) consecutive fiscal quarters, (e) solely to the extent the Loan Parties exercise
their second Equity Cure during any period of four fiscal quarters, the aggregate proceeds
received in connection with the first (previously exercised) Cure Right and the second Cure
Right during such four-fiscal quarter period shall not exceed 25% of Consolidated EBITDA of
the Parent and its Subsidiaries for the preceding twelve (12) month period and (f) such Cure
Right proceeds shall be applied to prepay the Loans in accordance with Section 2.05(c)(v). If,
after giving effect to the foregoing pro forma adjustment (but not, for the avoidance of doubt,
giving pro forma adjustment to any repayment of Indebtedness in connection therewith (either
through repayment or netting)), the Borrower is in compliance with the financial covenants set
forth in Section 7.03, the Borrower shall be deemed to have satisfied the requirements of such
Section as of the relevant date of determination with the same effect as though there had been no
failure to comply on such date, and the applicable breach or default of such Section 7.03 that had
occurred shall be deemed cured for purposes of this Agreement. The parties hereby acknowledge
that this Section may not be relied on for purposes of calculating any financial ratios (including,
without limitation, the applicable Excess Cash Flow percentage) or any baskets with respect to
the covenants contained in this Agreement or any other Loan Documents, other than as
applicable to Section 7.03 and shall not result in any adjustment to any amounts other than the
amount of the Consolidated EBITDA referred to in the immediately preceding sentence. The
prepayment of the Loans in connection with the Cure Right shall not be included in determining
the calculation of the Leverage Ratio for the fiscal quarter then most recently ended nor shall it
be included for the applicable subsequent fiscal quarters. If an Event of Default shall occur as a
result of the Loan Parties' failure to be in compliance with the financial covenants and the
Borrower has delivered written notice prior to the Cure Deadline to the Agents to exercise the
Cure Right in accordance with the provisions set forth in this Section 9.02, then upon receipt of
such notice until the expiration of the Cure Deadline, the Agents and the Lenders shall refrain
from exercising any rights and remedies with respect to such Event of Default that may be cured
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pursuant to this Section 9.02; provided, that, prior to the receipt by the Borrower of Cure Right
proceeds in an amount sufficient to cause the Borrower to be in compliance with the financial
covenants, the Agents and the Lenders shall have no obligation to make additional Loans or
otherwise extend additional credit. In the event the Borrower does not cure all financial covenant
violations as provided in this Section 9.02, the existing Event(s) of Default shall continue unless
waived in writing in accordance herewith.

                                          ARTICLE X

                                            AGENTS

                 Section 10.01 Appointment. Each Lender (and each subsequent maker of any
Loan by its making thereof) hereby irrevocably appoints, authorizes and empowers the
Administrative Agent and the Collateral Agent to perform the duties of each such Agent as set
forth in this Agreement and the other Loan Documents, together with such actions and powers as
are reasonably incidental thereto, including: (i) to receive on behalf of each Lender any payment
of principal of or interest on the Loans outstanding hereunder and all other amounts accrued
hereunder for the account of the Lenders and paid to such Agent, and, subject to Section 2.02 of
this Agreement, to distribute promptly to each Lender its Pro Rata Share of all payments so
received; (ii) to distribute to each Lender copies of all material notices and agreements received
by such Agent and not required to be delivered to each Lender pursuant to the terms of this
Agreement, provided that the Agents shall not have any liability to the Lenders for any Agent's
inadvertent failure to distribute any such notices or agreements to the Lenders; (iii) to maintain,
in accordance with its customary business practices, ledgers and records reflecting the status of
the Obligations, the Loans, and related matters and to maintain, in accordance with its customary
business practices, ledgers and records reflecting the status of the Collateral and related matters;
(iv) to execute or file any and all financing or similar statements or notices, amendments,
renewals, supplements, documents, instruments, proofs of claim, notices and other written
agreements with respect to this Agreement or any other Loan Document; (v) to make the Loans
and Agent Advances, for such Agent or on behalf of the applicable Lenders as provided in this
Agreement or any other Loan Document; (vi) to perform, exercise, and enforce any and all other
rights and remedies of the Lenders with respect to the Loan Parties, the Obligations, or otherwise
related to any of same to the extent reasonably incidental to the exercise by such Agent of the
rights and remedies specifically authorized to be exercised by such Agent by the terms of this
Agreement or any other Loan Document; (vii) to incur and pay such fees necessary or
appropriate for the performance and fulfillment of its functions and powers pursuant to this
Agreement or any other Loan Document; (viii) subject to Section 10.03, to take such action as
such Agent deems appropriate on its behalf to administer the Loans and the Loan Documents and
to exercise such other powers delegated to such Agent by the terms hereof or the other Loan
Documents (including, without limitation, the power to give or to refuse to give notices, waivers,
consents, approvals and instructions and the power to make or to refuse to make determinations
and calculations); and (ix) to act with respect to all Collateral under the Loan Documents,
including for purposes of acquiring, holding and enforcing any and all Liens on Collateral
granted by any of the Loan Parties to secure any of the Obligations. As to any matters not
expressly provided for by this Agreement and the other Loan Documents (including, without
limitation, enforcement or collection of the Loans), the Agents shall not be required to exercise
any discretion or take any action, but shall be required to act or to refrain from acting (and shall
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be fully protected in so acting or refraining from acting) upon the instructions of the Required
Lenders (or such other number or percentage of the Lenders as shall be expressly provided for
herein or in the other Loan Documents), and such instructions of the Required Lenders (or such
other number or percentage of the Lenders as shall be expressly provided for herein or in the
other Loan Documents) shall be binding upon all Lenders and all makers of Loans; provided,
however, that the Agents shall not be required to take any action which, in the reasonable
opinion of any Agent, exposes such Agent to liability or which is contrary to this Agreement or
any other Loan Document or applicable law.

                  Section 10.02 Nature of Duties; Delegation

                 (a)    The Agents shall have no duties or responsibilities except those expressly
set forth in this Agreement or in the other Loan Documents. The duties of the Agents shall be
mechanical and administrative in nature. The Agents shall not have by reason of this Agreement
or any other Loan Document a fiduciary relationship in respect of any Lender. Nothing in this
Agreement or any other Loan Document, express or implied, is intended to or shall be construed
to impose upon the Agents any obligations in respect of this Agreement or any other Loan
Document except as expressly set forth herein or therein. Each Lender shall make its own
independent investigation of the financial condition and affairs of the Loan Parties in connection
with the making and the continuance of the Loans hereunder and shall make its own appraisal of
the creditworthiness of the Loan Parties and the value of the Collateral, and the Agents shall
have no duty or responsibility, either initially or on a continuing basis, to provide any Lender
with any credit or other information with respect thereto, whether coming into their possession
before the initial Loan hereunder or at any time or times thereafter, provided that, upon the
reasonable request of a Lender, each Agent shall provide to such Lender any documents or
reports delivered to such Agent by the Loan Parties pursuant to the terms of this Agreement or
any other Loan Document. If any Agent seeks the consent or approval of the Required Lenders
(or such other number or percentage of the Lenders as shall be expressly provided for herein or
in the other Loan Documents) to the taking or refraining from taking any action hereunder, such
Agent shall send notice thereof to each Lender. Each Agent shall promptly notify each Lender
any time that the Required Lenders (or such other number or percentage of the Lenders as shall
be expressly provided for herein or in the other Loan Documents) have instructed such Agent to
act or refrain from acting pursuant hereto.

               (b)     Each Agent may, upon any term or condition it specifies, delegate or
exercise any of its rights, powers and remedies under, and delegate or perform any of its duties
or any other action with respect to, any Loan Document by or through any trustee, co-agent,
employee, attorney-in-fact and any other Person (including any Lender). Any such Person shall
benefit from this Article X to the extent provided by the applicable Agent.

               Section 10.03 Rights, Exculpation, Etc. The Agents and their directors, officers,
agents or employees shall not be liable for any action taken or omitted to be taken by them under
or in connection with this Agreement or the other Loan Documents, except for their own gross
negligence or willful misconduct as determined by a final non-appealable judgment of a court of
competent jurisdiction. Without limiting the generality of the foregoing, the Agents (i) may treat
the payee of any Loan as the owner thereof until the Agents receive written notice of the
assignment or transfer thereof, pursuant to Section 12.07 hereof, signed by such payee and in

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form reasonably satisfactory to the Collateral Agent (and, with respect to Revolving Loans
and/or Revolving Credit Commitments, the Administrative Agent); (ii) may consult with legal
counsel (including, without limitation, counsel to any Agent or counsel to the Loan Parties),
independent public accountants, and other experts selected by any of them and shall not be liable
for any action taken or omitted to be taken in good faith by any of them in accordance with the
advice of such counsel or experts; (iii) make no warranty or representation to any Lender and
shall not be responsible to any Lender for any statements, certificates, warranties or
representations made in or in connection with this Agreement or the other Loan Documents;
(iv) shall not have any duty to ascertain or to inquire as to the performance or observance of any
of the terms, covenants or conditions of this Agreement or the other Loan Documents on the part
of any Person, the existence or possible existence of any Default or Event of Default, or to
inspect the Collateral or other property (including, without limitation, the books and records) of
any Person; (v) shall not be responsible to any Lender for the due execution, legality, validity,
enforceability, genuineness, sufficiency or value of this Agreement or the other Loan Documents
or any other instrument or document furnished pursuant hereto or thereto; and (vi) shall not be
deemed to have made any representation or warranty regarding the existence, value or
collectibility of the Collateral, the existence, priority or perfection of the Collateral Agent's Lien
thereon, or any certificate prepared by any Loan Party in connection therewith, nor shall the
Agents be responsible or liable to the Lenders for any failure to monitor or maintain any portion
of the Collateral. The Agents shall not be liable for any apportionment or distribution of
payments made in good faith pursuant to Section 4.03, and if any such apportionment or
distribution is subsequently determined to have been made in error, and the sole recourse of any
Lender to whom payment was due but not made shall be to recover from other Lenders any
payment in excess of the amount which they are determined to be entitled. The Agents may at
any time request instructions from the Lenders with respect to any actions or approvals which by
the terms of this Agreement or of any of the other Loan Documents the Agents are permitted or
required to take or to grant, and if such instructions are promptly requested, the Agents shall be
absolutely entitled to refrain from taking any action or to withhold any approval under any of the
Loan Documents until they shall have received such instructions from the Required Lenders.
Without limiting the foregoing, no Lender shall have any right of action whatsoever against any
Agent as a result of such Agent acting or refraining from acting under this Agreement or any of
the other Loan Documents in accordance with the instructions of the Required Lenders (or such
other number or percentage of the Lenders as shall be expressly provided for herein or in the
other Loan Documents).

                Section 10.04 Reliance. Each Agent shall be entitled to rely upon any written
notices, statements, certificates, orders or other documents or any telephone message believed by
it in good faith to be genuine and correct and to have been signed, sent or made by the proper
Person, and with respect to all matters pertaining to this Agreement or any of the other Loan
Documents and its duties hereunder or thereunder, upon advice of counsel selected by it.

               Section 10.05 Indemnification. To the extent that any Agent is not reimbursed
and indemnified by any Loan Party, and whether or not such Agent has made demand on any
Loan Party for the same, the Lenders will, within five days of written demand by such Agent,
reimburse such Agent for and indemnify such Agent from and against any and all liabilities,
obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses (including,
without limitation, client charges and expenses of counsel or any other advisor to such Agent),
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advances or disbursements of any kind or nature whatsoever which may be imposed on, incurred
by, or asserted against such Agent in any way relating to or arising out of this Agreement or any
of the other Loan Documents or any action taken or omitted by such Agent under this Agreement
or any of the other Loan Documents, in proportion to each Lender's Pro Rata Share, including,
without limitation, advances and disbursements made pursuant to Section 10.08; provided,
however, that no Lender shall be liable for any portion of such liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses, advances or disbursements for
which there has been a final non-appealable judicial determination that such liability resulted
from such Agent's gross negligence or willful misconduct. The obligations of the Lenders under
this Section 10.05 shall survive the payment in full of the Loans and the termination of this
Agreement.

                Section 10.06 Agents Individually. With respect to its Pro Rata Share of the
Total Commitment hereunder and the Loans made by it, each Agent shall have and may exercise
the same rights and powers hereunder and is subject to the same obligations and liabilities as and
to the extent set forth herein for any other Lender or maker of a Loan. The terms "Lenders" or
"Required Lenders" or any similar terms shall, unless the context clearly otherwise indicates,
include each Agent in its individual capacity as a Lender or one of the Required Lenders. Each
Agent and its Affiliates may accept deposits from, lend money to, and generally engage in any
kind of banking, trust or other business with the Borrower as if it were not acting as an Agent
pursuant hereto without any duty to account to the other Lenders.

                  Section 10.07 Successor Agent.

                (a)   Any Agent may at any time give at least 30 days prior written notice of its
resignation to the Lenders and the Borrower. Upon receipt of any such notice of resignation, the
Required Lenders shall have the right, in consultation with the Borrower, to appoint a successor
Agent. If no such successor Agent shall have been so appointed by the Required Lenders and
shall have accepted such appointment within 30 days after the retiring Agent gives notice of its
resignation (or such earlier day as shall be agreed by the Required Lenders) (the "Resignation
Effective Date"), then the retiring Agent may (but shall not be obligated to), on behalf of the
Lenders, appoint a successor Agent. Whether or not a successor Agent has been appointed, such
resignation shall become effective in accordance with such notice on the Resignation Effective
Date.

                (b)    With effect from the Resignation Effective Date, (i) the retiring Agent
shall be discharged from its duties and obligations hereunder and under the other Loan
Documents (except that in the case of any Collateral held by such Agent on behalf of the Lenders
under any of the Loan Documents, the retiring Agent shall continue to hold such collateral
security until such time as a successor Agent is appointed) and (ii) all payments, communications
and determinations provided to be made by, to or through such retiring Agent shall instead be
made by or to each Lender directly, until such time, if any, as a successor Agent shall have been
appointed as provided for above. Upon the acceptance of a successor's Agent's appointment as
Agent hereunder, such successor shall succeed to and become vested with all of the rights,
powers, privileges and duties of the retiring Agent, and the retiring Agent shall be discharged
from all of its duties and obligations hereunder or under the other Loan Documents. After the
retiring Agent's resignation hereunder and under the other Loan Documents, the provisions of

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this Article, Section 12.04 and Section 12.15 shall continue in effect for the benefit of such
retiring Agent in respect of any actions taken or omitted to be taken by it while the retiring Agent
was acting as Agent.

                  Section 10.08 Collateral Matters.

                (a)    Each Agent may from time to time make such disbursements and
advances ("Agent Advances") which such Agent, in its sole discretion, deems necessary or
desirable to preserve, protect, prepare for sale or lease or dispose of the Collateral or any portion
thereof, to enhance the likelihood or maximize the amount of repayment by the Borrower of the
Loans and other Obligations or to pay any other amount chargeable to the Borrower pursuant to
the terms of this Agreement, including, without limitation, reasonable out-of-pocket documented
costs, fees and expenses as described in Section 12.04. The Agent Advances shall be repayable
on demand and be secured by the Collateral and shall bear interest at a rate per annum equal to
the rate then applicable to Revolving Loans that are Reference Rate Loans. The Agent Advances
shall constitute Obligations hereunder which may be charged to the Loan Account in accordance
with Section 4.01. The Agent making any Agent Advances shall notify the other Agent, each
Lender and the Borrower in writing of each such Agent Advance, which notice shall include a
description of the purpose of such Agent Advance. Without limitation to its obligations pursuant
to Section 10.05, each Lender agrees that it shall make available to the Agent making any Agent
Advances, upon such Agent's demand, in Dollars in immediately available funds, the amount
equal to such Lender's Pro Rata Share of each such Agent Advance. If such funds are not made
available to such Agent by such Lender, such Agent shall be entitled to recover such funds on
demand from such Lender, together with interest thereon for each day from the date such
payment was due until the date such amount is paid to such Agent, at the Federal Funds Effective
Rate for three Business Days and thereafter at the Reference Rate.

                (b)     The Lenders hereby irrevocably authorize the Collateral Agent, at its
option and in its discretion, to release any Lien granted to or held by the Collateral Agent upon
any Collateral upon termination of the Total Commitment and payment and satisfaction of all
Loans and all other Obligations (other than Contingent Indemnification Obligations) in
accordance with the terms hereof; or constituting property being sold or disposed of in the
ordinary course of any Loan Party's business or otherwise in compliance with the terms of this
Agreement and the other Loan Documents; or constituting property in which the Loan Parties
owned no interest at the time the Lien was granted or at any time thereafter; or if approved,
authorized or ratified in writing by the Lenders in accordance with Section 12.02. Upon request
by the Collateral Agent at any time, the Lenders will confirm in writing the Collateral Agent's
authority to release particular types or items of Collateral pursuant to this Section 10.08(b).

                (c)    Without in any manner limiting the Collateral Agent's authority to act
without any specific or further authorization or consent by the Lenders (as set forth in Section
10.08(b)), each Lender agrees to confirm in writing, upon request by the Collateral Agent, the
authority to release Collateral conferred upon the Collateral Agent under Section 10.08(b). Upon
receipt by the Collateral Agent of confirmation from the Lenders of its authority to release any
particular item or types of Collateral, and upon prior written request by any Loan Party, the
Collateral Agent shall (and is hereby irrevocably authorized by the Lenders to) execute such
documents as may be necessary to evidence the release of the Liens granted to the Collateral

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Agent for the benefit of the Agents and the Lenders upon such Collateral; provided, however,
that (i) the Collateral Agent shall not be required to execute any such document on terms which,
in the Collateral Agent's opinion, would expose the Collateral Agent to liability or create any
obligations or entail any consequence other than the release of such Liens without recourse or
warranty, and (ii) such release shall not in any manner discharge, affect or impair the Obligations
or any Lien upon (or obligations of any Loan Party in respect of) all interests in the Collateral
retained by any Loan Party.

                 (d)    Anything contained in any of the Loan Documents to the contrary
notwithstanding, the Loan Parties, each Agent and each Lender hereby agree that (i) no Lender
shall have any right individually to realize upon any of the Collateral under any Loan Document
or to enforce any Guaranty, it being understood and agreed that all powers, rights and remedies
under the Loan Documents may be exercised solely by the Collateral Agent for the benefit of the
Lenders in accordance with the terms thereof, (ii) in the event of a foreclosure by the Collateral
Agent on any of the Collateral pursuant to a public or private sale, the Administrative Agent, the
Collateral Agent or any Lender may be the purchaser of any or all of such Collateral at any such
sale and (iii) the Collateral Agent, as agent for and representative of the Agents and the Lenders
(but not any other Agent or any Lender or Lenders in its or their respective individual capacities
unless the Required Lenders shall otherwise agree in writing) shall be entitled (either directly or
through one or more acquisition vehicles) for the purpose of bidding and making settlement or
payment of the purchase price for all or any portion of the Collateral to be sold (A) at any public
or private sale, (B) at any sale conducted by the Collateral Agent under the provisions of the
Uniform Commercial Code (including pursuant to Sections 9-610 or 9-620 of the Uniform
Commercial Code), (C) at any sale or foreclosure conducted by the Collateral Agent (whether by
judicial action or otherwise) in accordance with applicable law or (D) any sale conducted
pursuant to the provisions of any Debtor Relief Law (including Section 363 of the Bankruptcy
Code), to use and apply all or any of the Obligations as a credit on account of the purchase price
for any Collateral payable by the Collateral Agent at such sale.

                (e)    The Collateral Agent shall have no obligation whatsoever to any Lender to
assure that the Collateral exists or is owned by the Loan Parties or is cared for, protected or
insured or has been encumbered or that the Lien granted to the Collateral Agent pursuant to this
Agreement or any other Loan Document has been properly or sufficiently or lawfully created,
perfected, protected or enforced or is entitled to any particular priority, or to exercise at all or in
any particular manner or under any duty of care, disclosure or fidelity, or to continue exercising,
any of the rights, authorities and powers granted or available to the Collateral Agent in this
Section 10.08 or in any other Loan Document, it being understood and agreed that in respect of
the Collateral, or any act, omission or event related thereto, the Collateral Agent may act in any
manner it may deem appropriate, in its sole discretion, given the Collateral Agent's own interest
in the Collateral as one of the Lenders and that the Collateral Agent shall have no duty or
liability whatsoever to any other Lender, except as otherwise provided herein or in the other
Loan Documents.

               Section 10.09 Agency for Perfection. Each Agent and each Lender hereby
appoints each other Agent and each other Lender as agent and bailee for the purpose of
perfecting the security interests in and liens upon the Collateral in assets which, in accordance
with Article 9 of the Uniform Commercial Code, can be perfected only by possession or control
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(or where the security interest of a secured party with possession or control has priority over the
security interest of another secured party) and each Agent and each Lender hereby acknowledges
that it holds possession of or otherwise controls any such Collateral for the benefit of the Agents
and the Lenders as secured party. Should the Administrative Agent or any Lender obtain
possession or control of any such Collateral, the Administrative Agent or such Lender shall
notify the Collateral Agent thereof, and, promptly upon the Collateral Agent's request therefor
shall deliver such Collateral to the Collateral Agent or in accordance with the Collateral Agent's
instructions. In addition, the Collateral Agent shall also have the power and authority hereunder
to appoint such other sub-agents as may be necessary or required under applicable state law or
otherwise to perform its duties and enforce its rights with respect to the Collateral and under the
Loan Documents. Each Loan Party by its execution and delivery of this Agreement hereby
consents to the foregoing.

                Section 10.10 No Reliance on any Agent's Customer Identification Program.
i) Each Lender acknowledges and agrees that neither such Lender, nor any of its Affiliates,
participants or assignees, may rely on any Agent to carry out such Lender's, Affiliate's,
participant's or assignee's customer identification program, or other requirements imposed by the
USA PATRIOT Act or the regulations issued thereunder, including the regulations set forth in
31 C.F.R. §§ 1010.100(yy), (iii), 1020.100, and 1020.220 (formerly 31 C.F.R. § 103.121), as
hereafter amended or replaced ("CIP Regulations"), or any other Anti-Terrorism Laws, including
any programs involving any of the following items relating to or in connection with any of the
Loan Parties, their Affiliates or their agents, the Loan Documents or the transactions hereunder
or contemplated hereby: (1) any identity verification procedures, (2) any recordkeeping,
(3) comparisons with government lists, (4) customer notices or (5) other procedures required
under the CIP Regulations or other regulations issued under the USA PATRIOT Act. Each
Lender, Affiliate, participant or assignee subject to Section 326 of the USA PATRIOT Act will
perform the measures necessary to satisfy its own responsibilities under the CIP Regulations.

                (a)     Each Lender or assignee or participant of a Lender that is not incorporated
under the laws of the United States of America or a state thereof (and is not excepted from the
certification requirement contained in Section 313 of the USA PATRIOT Act and the applicable
regulations because it is both (i) an affiliate of a depository institution or foreign bank that
maintains a physical presence in the United States or foreign country, and (ii) subject to
supervision by a banking authority regulating such affiliated depository institution or foreign
bank) shall deliver to each Agent the certification, or, if applicable, recertification, certifying that
such Lender is not a "shell" and certifying to other matters as required by Section 313 of the
USA PATRIOT Act and the applicable regulations: (A) within ten (10) days after the Effective
Date, and (B) as such other times as are required under the USA PATRIOT Act.

               (b)    The USA PATRIOT Act requires all financial institutions to obtain, verify
and record certain information that identifies individuals or business entities which open an
"account" with such financial institution. Consequently, any Agent or Lender may from time to
time request, and each Loan Party shall provide to such Agent or Lender, such Loan Party's
name, address, tax identification number and/or such other identifying information as shall be
necessary for such Agent or such Lender to comply with the USA PATRIOT Act and any other
Anti-Terrorism Law.


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                Section 10.11 No Third Party Beneficiaries. The provisions of this Article are
solely for the benefit of the Secured Parties, and no Loan Party shall have rights as a third-party
beneficiary of any of such provisions.

               Section 10.12 No Fiduciary Relationship. It is understood and agreed that the use
of the term "agent" herein or in any other Loan Document (or any other similar term) with
reference to any Agent is not intended to connote any fiduciary or other implied (or express)
obligations arising under agency doctrine of any applicable law. Instead such term is used as a
matter of market custom, and is intended to create or reflect only an administrative relationship
between contracting parties.

             Section 10.13 Reports; Confidentiality; Disclaimers. By becoming a party to this
Agreement, each Lender:

               (a)    is deemed to have requested that each Agent furnish such Lender,
promptly after it becomes available, a copy of each field audit or examination report with respect
to the Parent or any of its Subsidiaries (each, a "Report") prepared by or at the request of such
Agent, and each Agent shall so furnish each Lender with each such Report,

               (b)    expressly agrees and acknowledges that the Agents (i) do not make any
representation or warranty as to the accuracy of any Reports, and (ii) shall not be liable for any
information contained in any Reports,

                (c)    expressly agrees and acknowledges that the Reports are not
comprehensive audits or examinations, that any Agent or other party performing any audit or
examination will inspect only specific information regarding the Parent and its Subsidiaries and
will rely significantly upon the Parent's and its Subsidiaries' books and records, as well as on
representations of their personnel,

              (d)    agrees to keep all Reports and other material, non-public information
regarding the Parent and its Subsidiaries and their operations, assets, and existing and
contemplated business plans in a confidential manner in accordance with Section 12.19, and

                (e)     without limiting the generality of any other indemnification provision
contained in this Agreement, agrees: (i) to hold any Agent and any other Lender preparing a
Report harmless from any action the indemnifying Lender may take or fail to take or any
conclusion the indemnifying Lender may reach or draw from any Report in connection with any
loans or other credit accommodations that the indemnifying Lender has made or may make to the
Borrower, or the indemnifying Lender's participation in, or the indemnifying Lender's purchase
of, a loan or loans of the Borrower, and (ii) to pay and protect, and indemnify, defend and hold
any Agent and any other Lender preparing a Report harmless from and against, the claims,
actions, proceedings, damages, costs, expenses, and other amounts (including, attorneys' fees and
costs) incurred by any such Agent and any such other Lender preparing a Report as the direct or
indirect result of any third parties who might obtain all or part of any Report through the
indemnifying Lender.



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                  Section 10.14 Collateral Custodian.

                (a)    Upon the occurrence and during the continuance of any Event of Default,
the Collateral Agent or its designee may at any time and from time to time employ and maintain
on the premises of any Loan Party a custodian selected by the Collateral Agent or its designee
who shall have full authority to do all acts necessary to protect the Agents' and the Lenders'
interests. Each Loan Party hereby agrees to, and to cause its Subsidiaries to, cooperate with any
such custodian and to do whatever the Collateral Agent or its designee may reasonably request to
preserve the Collateral. All reasonable, documented out-of-pocket costs and expenses incurred
by the Collateral Agent or its designee by reason of the employment of the custodian shall be the
responsibility of the Borrower and charged to the Loan Account.

               Section 10.15 Cerberus as Sub-Agent. The Administrative Agent hereby
appoints Cerberus as sub-agent of the Administrative Agent to maintain a Register with respect
to the Term Loans as described in Section 12.07(f) and each Term Loan Lender hereby appoints
and designates Cerberus as such Term Loan Lender's agent for the purpose of receiving interest
payments with respect to such Term Loan Lender's portion of the Term Loans. Each Loan Party
by its execution and delivery of this Agreement hereby consents to the foregoing.

               Section 10.16 Collateral Agent May File Proofs of Claim. In case of the
pendency of any proceeding under any Debtor Relief Law or any other judicial proceeding
relative to any Loan Party, the Collateral Agent (irrespective of whether the principal of any
Loan shall then be due and payable as herein expressed or by declaration or otherwise and
irrespective of whether any Agent shall have made any demand on the Borrower) shall be
entitled and empowered (but not obligated) by intervention in such proceeding or otherwise:

                (a)    to file and prove a claim for the whole amount of the principal and interest
owing and unpaid in respect of the Loans and all other Obligations that are owing and unpaid
and to file such other documents as may be necessary or advisable in order to have the claims of
the Secured Parties (including any claim for the compensation, expenses, disbursements and
advances of the Secured Parties and their respective agents and counsel and all other amounts
due the Secured Parties hereunder and under the other Loan Documents) allowed in such judicial
proceeding; and

               (b)   to collect and receive any monies or other property payable or deliverable
on any such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Secured Party to make such payments
to the Collateral Agent and, in the event that the Collateral Agent shall consent to the making of
such payments directly to the Secured Parties, to pay to the Collateral Agent any amount due for
the reasonable compensation, expenses, disbursements and advances of the Collateral Agent and
its agents and counsel, and any other amounts due the Collateral Agent hereunder and under the
other Loan Documents.




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                                          ARTICLE XI

                                          GUARANTY

                 Section 11.01 Guaranty. Each Guarantor hereby jointly and severally and
unconditionally and irrevocably guarantees the punctual payment when due, whether at stated
maturity, by acceleration or otherwise, of all Obligations of the Borrower now or hereafter
existing under any Loan Document, whether for principal, interest (including, without limitation,
all interest that accrues after the commencement of any Insolvency Proceeding of the Borrower,
whether or not a claim for post-filing interest is allowed in such Insolvency Proceeding), fees,
commissions, expense reimbursements, indemnifications or otherwise (such obligations, to the
extent not paid by the Borrower, being the "Guaranteed Obligations"), and agrees to pay any and
all reasonable, documented out-of-pocket expenses (including reasonable counsel fees and
expenses) incurred by the Agents and the Lenders (or any of them) in enforcing any rights under
the guaranty set forth in this Article XI. Without limiting the generality of the foregoing, each
Guarantor's liability shall extend to all amounts that constitute part of the Guaranteed Obligations
and would be owed by the Borrower to the Agents and the Lenders under any Loan Document
but for the fact that they are unenforceable or not allowable due to the existence of an Insolvency
Proceeding involving the Borrower. Notwithstanding any of the foregoing, Guaranteed
Obligations shall not include any Excluded Hedge Liabilities. In no event shall the obligation of
any Guarantor hereunder exceed the maximum amount such Guarantor could guarantee under
any Debtor Relief Law.

                Section 11.02 Guaranty Absolute.          Each Guarantor jointly and severally
guarantees that the Guaranteed Obligations will be paid strictly in accordance with the terms of
the Loan Documents, regardless of any law, regulation or order now or hereafter in effect in any
jurisdiction affecting any of such terms or the rights of the Secured Parties with respect thereto.
Each Guarantor agrees that this Article XI constitutes a guaranty of payment when due and not
of collection and waives any right to require that any resort be made by any Agent or any Lender
to any Collateral. The obligations of each Guarantor under this Article XI are independent of the
Guaranteed Obligations, and a separate action or actions may be brought and prosecuted against
each Guarantor to enforce such obligations, irrespective of whether any action is brought against
any Loan Party or whether any Loan Party is joined in any such action or actions. The liability
of each Guarantor under this Article XI shall be irrevocable, absolute and unconditional
irrespective of, and each Guarantor hereby irrevocably waives any defenses it may now or
hereafter have in any way relating to, any or all of the following:

              (a)    any lack of validity or enforceability of any Loan Document or any
agreement or instrument relating thereto;

                (b)    any change in the time, manner or place of payment of, or in any other
term of, all or any of the Guaranteed Obligations, or any other amendment or waiver of or any
consent to departure from any Loan Document, including, without limitation, any increase in the
Guaranteed Obligations resulting from the extension of additional credit to any Loan Party or
otherwise;



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                (c)    any taking, exchange, release or non-perfection of any Collateral, or any
taking, release or amendment or waiver of or consent to departure from any other guaranty, for
all or any of the Guaranteed Obligations;

             (d)    the existence of any claim, set-off, defense or other right that any
Guarantor may have at any time against any Person, including, without limitation, any Secured
Party;

             (e)     any change, restructuring or termination of the corporate, limited liability
company or partnership structure or existence of any Loan Party; or

               (f)    any other circumstance (including, without limitation, any statute of
limitations) or any existence of or reliance on any representation by the Secured Parties that
might otherwise constitute a defense available to, or a discharge of, any Loan Party or any other
guarantor or surety.

This Article XI shall continue to be effective or be reinstated, as the case may be, if at any time
any payment of any of the Guaranteed Obligations is rescinded or must otherwise be returned by
Secured Parties or any other Person upon the insolvency, bankruptcy or reorganization of the
Borrower or otherwise, all as though such payment had not been made.

                 Section 11.03 Waiver. Each Guarantor hereby waives (i) promptness and
diligence, (ii) notice of acceptance and any other notice with respect to any of the Guaranteed
Obligations and this Article XI and any requirement that the Secured Parties exhaust any right or
take any action against any Loan Party or any other Person or any Collateral, (iii) any right to
compel or direct any Secured Party to seek payment or recovery of any amounts owed under this
Article XI from any one particular fund or source or to exhaust any right or take any action
against any other Loan Party, any other Person or any Collateral, (iv) any requirement that any
Secured Party protect, secure, perfect or insure any security interest or Lien on any property
subject thereto or exhaust any right to take any action against any Loan Party, any other Person
or any Collateral, and (v) any other defense available to any Guarantor. Each Guarantor agrees
that the Secured Parties shall have no obligation to marshal any assets in favor of any Guarantor
or against, or in payment of, any or all of the Obligations. Each Guarantor acknowledges that it
will receive direct and indirect benefits from the financing arrangements contemplated herein
and that the waiver set forth in this Section 11.03 is knowingly made in contemplation of such
benefits. Each Guarantor hereby waives any right to revoke this Article XI, and acknowledges
that this Article XI is continuing in nature and applies to all Guaranteed Obligations, whether
existing now or in the future.

               Section 11.04 Continuing Guaranty; Assignments.             This Article XI is a
continuing guaranty and shall (a) remain in full force and effect until the later of the cash
payment in full of the Guaranteed Obligations (other than indemnification obligations as to
which no claim has been made) and all other amounts payable under this Article XI and the Final
Maturity Date, (b) be binding upon each Guarantor, its successors and assigns and (c) inure to
the benefit of and be enforceable by the Secured Parties and their successors, pledgees,
transferees and assigns. Without limiting the generality of the foregoing clause (c), any Lender
may pledge, assign or otherwise transfer all or any portion of its rights and obligations under this

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Agreement (including, without limitation, all or any portion of its Commitments and its Loans
owing to it) to any other Person, and such other Person shall thereupon become vested with all
the benefits in respect thereof granted such Lender herein or otherwise, in each case as provided
in Section 12.07.

                Section 11.05 Subrogation. No Guarantor will exercise any rights that it may
now or hereafter acquire against any Loan Party or any other guarantor that arise from the
existence, payment, performance or enforcement of such Guarantor's obligations under this
Article XI, including, without limitation, any right of subrogation, reimbursement, exoneration,
contribution or indemnification and any right to participate in any claim or remedy of the
Secured Parties against any Loan Party or any other guarantor or any Collateral, whether or not
such claim, remedy or right arises in equity or under contract, statute or common law, including,
without limitation, the right to take or receive from any Loan Party or any other guarantor,
directly or indirectly, in cash or other property or by set-off or in any other manner, payment or
security solely on account of such claim, remedy or right, unless and until all of the Guaranteed
Obligations (other than Contingent Indemnity Obligations) and all other amounts payable under
this Article XI shall have been paid in full in cash and the Final Maturity Date shall have
occurred. If any amount shall be paid to any Guarantor in violation of the immediately
preceding sentence at any time prior to the later of the payment in full in cash of the Guaranteed
Obligations (other than Contingent Indemnity Obligations) and all other amounts payable under
this Article XI and the Final Maturity Date, such amount shall be held in trust for the benefit of
the Secured Parties and shall forthwith be paid to the Secured Parties to be credited and applied
to the Guaranteed Obligations and all other amounts payable under this Article XI, whether
matured or unmatured, in accordance with the terms of this Agreement, or to be held as
Collateral for any Guaranteed Obligations or other amounts payable under this Article XI
thereafter arising. If (i) any Guarantor shall make payment to the Secured Parties of all or any
part of the Guaranteed Obligations, (ii) all of the Guaranteed Obligations and all other amounts
payable under this Article XI shall be paid in full in cash and (iii) the Final Maturity Date shall
have occurred, the Secured Parties will, at such Guarantor's request and expense, execute and
deliver to such Guarantor appropriate documents, without recourse and without representation or
warranty, necessary to evidence the transfer by subrogation to such Guarantor of an interest in
the Guaranteed Obligations resulting from such payment by such Guarantor.

                Section 11.06 Contribution. All Guarantors desire to allocate among themselves,
in a fair and equitable manner, their obligations arising under this Guaranty. Accordingly, in the
event any payment or distribution is made on any date by a Guarantor under this Guaranty such
that its Aggregate Payments exceeds its Fair Share as of such date, such Guarantor shall be
entitled to a contribution from each of the other Guarantors in an amount sufficient to cause each
Guarantor's Aggregate Payments to equal its Fair Share as of such date. "Fair Share" means,
with respect to any Guarantor as of any date of determination, an amount equal to (a) the ratio of
(i) the Fair Share Contribution Amount with respect to such Guarantor, to (ii) the aggregate of
the Fair Share Contribution Amounts with respect to all Guarantors multiplied by, (b) the
aggregate amount paid or distributed on or before such date by all Guarantors under this
Guaranty in respect of the obligations Guaranteed. "Fair Share Contribution Amount" means,
with respect to any Guarantor as of any date of determination, the maximum aggregate amount
of the obligations of such Guarantor under this Guaranty that would not render its obligations
hereunder subject to avoidance as a fraudulent transfer or conveyance under Section 548 of Title
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11 of the United States Code or any comparable applicable provisions of state law; provided,
solely for purposes of calculating the "Fair Share Contribution Amount" with respect to any
Guarantor for purposes of this Section 11.06, any assets or liabilities of such Guarantor arising
by virtue of any rights to subrogation, reimbursement or indemnification or any rights to or
obligations of contribution hereunder shall not be considered as assets or liabilities of such
Guarantor. "Aggregate Payments" means, with respect to any Guarantor as of any date of
determination, an amount equal to (A) the aggregate amount of all payments and distributions
made on or before such date by such Guarantor in respect of this Guaranty (including, without
limitation, in respect of this Section 11.06), minus (B) the aggregate amount of all payments
received on or before such date by such Guarantor from the other Guarantors as contributions
under this Section 11.06. The amounts payable as contributions hereunder shall be determined
as of the date on which the related payment or distribution is made by the applicable
Guarantor. The allocation among Guarantors of their obligations as set forth in this Section
11.06 shall not be construed in any way to limit the liability of any Guarantor hereunder. Each
Guarantor is a third party beneficiary to the contribution agreement set forth in this Section
11.06.

                                           ARTICLE XII

                                        MISCELLANEOUS

                  Section 12.01 Notices, Etc.

                (a)   Notices Generally. All notices and other communications provided for
hereunder shall be in writing and shall be delivered by hand, sent by registered or certified mail
(postage prepaid, return receipt requested), overnight courier, or telecopier. In the case of
notices or other communications to any Loan Party, Administrative Agent or the Collateral
Agent, as the case may be, they shall be sent to the respective address set forth below (or, as to
each party, at such other address as shall be designated by such party in a written notice to the
other parties complying as to delivery with the terms of this Section 12.01):

                        if to any Loan Party:

                        c/o Vector Capital
                        1 Market Street, Steuart Tower
                        23rd Floor
                        San Francisco, California 94105
                        Attention: Alex Kleiner
                        Telephone: 415.293.5055
                        Telecopier: 415.293.5100
                        Email: akleiner@vectorcapital.com


                         with a copy to (which shall not constitute notice):

                         Kirkland & Ellis LLP
                         555 California Street
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                        San Francisco, California 94104
                        Attention: Jeffrey B. Golden, P.C.; Brian Ford
                        Telephone: 415.439.1431; 213.680.8186
                        Telecopier: 415.439.1331; 213.680.8500
                        Email: jeffrey.golden@kirkland.com;
                        brian.ford@kirkland.com

                        if to either Agent, to it at the following address:

                        CERBERUS BUSINESS FINANCE, LLC
                        875 Third Avenue
                        New York, NY 10022
                        Attention: Daniel Wolf
                        Telephone: 212.891.2121
                        Telecopier: 212.891.1541

                        in each case, with a copy to (which shall not constitute notice):

                        SCHULTE ROTH & ZABEL LLP
                        919 Third Avenue
                        New York, NY 10022
                        Attention: Eliot Relles
                        Telephone: 212.756.2000
                        Telecopier: 212.756.5955

All notices or other communications sent in accordance with this Section 12.01, shall be deemed
received on the earlier of the date of actual receipt or 3 Business Days after the deposit thereof in
the mail; provided that (i) notices sent by overnight courier service shall be deemed to have been
given when received and (ii) notices by facsimile shall be deemed to have been given when sent
(except that, if not given during normal business hours for the recipient, shall be deemed to have
been given at the opening of business on the next Business Day for the recipient), provided
further that notices to any Agent pursuant to Articles II and III shall not be effective until
received by such Agent, as the case may be.

                  (b)   Electronic Communications.

                       (i)     Each Agent and the Borrower may, in its discretion, agree to
accept notices and other communications to it hereunder by electronic communications pursuant
to procedures approved by it; provided that approval of such procedures may be limited to
particular notices or communications. Notices and other communications to the Lenders
hereunder may be delivered or furnished by electronic communication (including e-mail and
Internet or intranet websites) pursuant to procedures approved by the Agents.

                     (ii)  Unless the Administrative Agent otherwise prescribes, (A) notices
and other communications sent to an e-mail address shall be deemed received upon the sender's
receipt of an acknowledgement from the intended recipient (such as by the "return receipt
requested" function, as available, return e-mail or other written acknowledgement), and

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(B) notices or communications posted to an Internet or intranet website shall be deemed received
upon the deemed receipt by the intended recipient, at its e-mail address as described in the
foregoing clause (A), of notification that such notice or communication is available and
identifying the website address therefor; provided that, for both clauses (A) and (B) above, if
such notice, email or other communication is not sent during the normal business hours of the
recipient, such notice or communication shall be deemed to have been sent at the opening of
business on the next Business Day for the recipient.

                  Section 12.02 Amendments, Etc.

               (a)    No amendment or waiver of any provision of this Agreement or any other
Loan Document, and no consent to any departure by any Loan Party therefrom, shall in any
event be effective unless the same shall be in writing and signed (x) in the case of an
amendment, consent or waiver to cure any ambiguity, omission, defect or inconsistency or
granting a new Lien for the benefit of the Agents and the Lenders or extending an existing Lien
over additional property, by the Agents and the Borrower, (y) in the case of any other waiver or
consent, by the Required Lenders (or by the Collateral Agent with the consent of the Required
Lenders) and (z) in the case of any other amendment, by the Required Lenders (or by the
Collateral Agent with the consent of the Required Lenders) and the Borrower, and then such
waiver or consent shall be effective only in the specific instance and for the specific purpose for
which given; provided, however, that no amendment, waiver or consent shall:

                        (i)    increase the Commitment of any Lender, reduce the principal of, or
interest on, the Loans payable to any Lender (excluding mandatory prepayments and the waiver
of Post-Default Rate interest), reduce the amount of any fee payable for the account of any
Lender, or postpone or extend any scheduled date fixed for any payment of principal of, or
interest or fees on, the Loans payable to any Lender (excluding mandatory prepayments), in each
case, without the written consent of such Lender;

                      (ii)   change the percentage of the Commitments or of the aggregate
unpaid principal amount of the Loans that is required for the Lenders or any of them to take any
action hereunder without the written consent of each Lender;

                      (iii)   amend the definition of "Required Lenders" or "Pro Rata Share"
without the written consent of each Lender;

                       (iv)   release all or a substantial portion of the Collateral (except as
otherwise provided in this Agreement and the other Loan Documents), subordinate any Lien
granted in favor of the Collateral Agent for the benefit of the Agents and the Lenders, or release
the Borrower or any Guarantor (except in connection with a Disposition of the Equity Interests
thereof permitted by Section 7.02(c)(ii)), in each case, without the written consent of each
Lender;

                       (v)   amend, modify or waive Section 4.02, Section 4.03 or this
Section 12.02 of this Agreement without the written consent of each Lender;

                     (vi)   amend the definition of "Availability," "Excluded Hedge Liability"
(or any provision expressly relating to Excluded Hedge Liabilities, including Section 12.24),
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"Hedge Liabilities," "Maximum Revolving Loan Amount," or "Pro Rata Share" without the
written consent of each Agent and each Revolving Loan Lender; or

                      (vii) amend, modify or waive Section 2.01(b)(i), Section 2.05(c)(vii),
Section 5.02 (it being understood, however, that this clause (vii) shall not impact the
effectiveness of any waiver of a Default or Event of Default, including, but not limited to, for
purposes of Section 5.02), Section 10.08 or Section 12.07(b) (as it relates to the Revolving Loan
Lenders or Administrative Agent) without the consent of each Agent and the Revolving Loan
Lenders.

Notwithstanding the foregoing, (A) no amendment, waiver or consent shall, unless in writing and
signed by an Agent, affect the rights or duties of such Agent (but not in its capacity as a Lender)
under this Agreement or the other Loan Documents, (B) except as otherwise provided in Section
12.07, any amendment, waiver or consent to any provision of this Agreement (including Sections
4.01 and 4.02) that permits any Loan Party, any Permitted Holder or any of their respective
Affiliates to purchase Loans on a non-pro rata basis, become an eligible assignee pursuant to
Section 12.07 and/or make offers to make optional prepayments on a non-pro rata basis shall
require the prior written consent of the Required Lenders rather than the prior written consent of
each Lender directly affected thereby and (C) the consent of the Borrower shall not be required
to change any order of priority set forth in Section 4.03. Notwithstanding anything to the
contrary herein, except as otherwise provided in Section 12.07, no Defaulting Lender, Loan
Party, Permitted Holder (or other equity holder of the Parent) or any of their respective Affiliates
that is a Lender shall have any right to approve or disapprove any amendment, waiver or consent
under the Loan Documents and any Loans held by such Person for purposes hereof shall be
automatically deemed to be voted pro rata according to the Loans of all other Lenders in the
aggregate (other than such Defaulting Lender, Loan Party, Permitted Holder (or other equity
holder of the Parent) or Affiliate).

                 (b)    If any action to be taken by the Lenders hereunder requires the consent,
authorization, or agreement of all of the Lenders or any Lender affected thereby, and a Lender,
other than the Agents and their respective Affiliates and Related Funds (the "Holdout Lender")
fails to give its consent, authorization, or agreement, then the Collateral Agent, upon at least 5
Business Days prior irrevocable notice to the Holdout Lender, may permanently replace the
Holdout Lender with one or more substitute lenders (each, a "Replacement Lender"), and the
Holdout Lender shall have no right to refuse to be replaced hereunder. Such notice to replace the
Holdout Lender shall specify an effective date for such replacement, which date shall not be later
than 15 Business Days after the date such notice is given. Prior to the effective date of such
replacement, the Holdout Lender and each Replacement Lender shall execute and deliver an
Assignment and Acceptance, subject only to the Holdout Lender being repaid its share of the
outstanding Obligations without any premium or penalty of any kind whatsoever. If the Holdout
Lender shall refuse or fail to execute and deliver any such Assignment and Acceptance prior to
the effective date of such replacement, the Holdout Lender shall be deemed to have executed and
delivered such Assignment and Acceptance. The replacement of any Holdout Lender shall be
made in accordance with and subject to the terms of Section 12.07. Until such time as the
Replacement Lenders shall have acquired all of the Obligations, the Commitments, and the other
rights and obligations of the Holdout Lender hereunder and under the other Loan Documents, the
Holdout Lender shall remain obligated to make its Pro Rata Share of Loans.
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               Section 12.03 No Waiver; Remedies, Etc. No failure on the part of any Agent or
any Lender to exercise, and no delay in exercising, any right hereunder or under any other Loan
Document shall operate as a waiver thereof; nor shall any single or partial exercise of any right
under any Loan Document preclude any other or further exercise thereof or the exercise of any
other right. The rights and remedies of the Agents and the Lenders provided herein and in the
other Loan Documents are cumulative and are in addition to, and not exclusive of, any rights or
remedies provided by law. The rights of the Agents and the Lenders under any Loan Document
against any party thereto are not conditional or contingent on any attempt by the Agents and the
Lenders to exercise any of their rights under any other Loan Document against such party or
against any other Person.

                Section 12.04 Expenses; Attorneys' Fees. The Borrower will pay on demand all
reasonable and documented out-of-pocket costs and expenses incurred by or on behalf of each
Agent (and, in the case of clauses (b) through (n) below, the Lenders), regardless of whether the
transactions contemplated hereby are consummated, including, without limitation, reasonable,
documented, fees, costs, client charges and expenses of counsel for each Agent (and, in the case
of clauses (c) through (n) below, the Lenders), accounting, due diligence, periodic field audits,
physical counts, valuations, investigations, searches and filings, monitoring of assets, appraisals
of Collateral, the rating of the Loans, title searches and reviewing environmental assessments,
miscellaneous disbursements, examination, travel, lodging and meals, arising from or relating to:
(a) the negotiation, preparation, execution, delivery, performance and administration of this
Agreement and the other Loan Documents (including, without limitation, the preparation of any
additional Loan Documents pursuant to Section 7.01(b) or the review of any of the agreements,
instruments and documents referred to in Section 7.01(f)), (b) any requested amendments,
waivers or consents to this Agreement or the other Loan Documents whether or not such
documents become effective or are given, (c) the preservation and protection of the Agents' or
any of the Lenders' rights under this Agreement or the other Loan Documents, (d) the defense of
any claim or action asserted or brought against any Agent or any Lender by any Person that
arises from or relates to this Agreement, any other Loan Document, the Agents' or the Lenders'
claims against any Loan Party, or any and all matters in connection therewith, other than in
connection with claims or actions brought by any Lender or Agent against one another, (e) the
commencement or defense of, or intervention in, any court proceeding arising from or related to
this Agreement or any other Loan Document, other than in connection with claims or actions
brought by any Lender or Agent against one another, (f) the filing of any petition, complaint,
answer, motion or other pleading by any Agent or any Lender, or the taking of any action in
respect of the Collateral or other security, in connection with this Agreement or any other Loan
Document, (g) the protection, collection, lease, sale, taking possession of or liquidation of, any
Collateral or other security in connection with this Agreement or any other Loan Document, (h)
any attempt to enforce any Lien or security interest in any Collateral or other security in
connection with this Agreement or any other Loan Document, (i) any attempt to collect from any
Loan Party, (j) all liabilities and costs arising from or in connection with the past, present or
future operations of any Loan Party involving any damage to real or personal property or natural
resources or harm or injury alleged to have resulted from any Release of Hazardous Materials on,
upon or into such property, (k) any Environmental Liabilities and Costs incurred in connection
with the investigation, removal, cleanup and/or remediation of any Hazardous Materials present
or arising out of the operations of any facility of any Loan Party, (l) any Environmental
Liabilities and Costs incurred in connection with any Environmental Lien, (m) the rating of the
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Loans by one or more rating agencies in connection with any Lender's Securitization, or (n) the
receipt by any Agent or any Lender of any advice from professionals with respect to any of the
foregoing. Without limitation of the foregoing or any other provision of any Loan Document:
(x) [reserved], (y) the Borrower agrees to pay all broker fees that may become due in connection
with the transactions contemplated by this Agreement and the other Loan Documents, and (z) if
the Borrower fails to perform any covenant or agreement contained herein or in any other Loan
Document, any Agent may itself perform or cause performance of such covenant or agreement,
and the expenses of such Agent incurred in connection therewith shall be reimbursed on demand
by the Borrower. Notwithstanding the foregoing, any and all legal fees, costs and expenses
incurred pursuant to clauses (b) through (n) above shall be limited to (A) one outside counsel to
the Agents and the Lenders, (B) one local counsel in each relevant jurisdiction to the Agents and
the Lenders and one regulatory counsel in each relevant regulatory area to the Agents and the
Lenders and (C) solely in the case of a conflict of interest, one additional counsel in each
relevant jurisdiction to each group of affected Lenders similarly situated taken as a whole. The
obligations of the Borrower under this Section 12.04 shall survive the repayment of the
Obligations and discharge of any Liens granted under the Loan Documents.

                Section 12.05 Right of Set-off. Upon the occurrence and during the continuance
of any Event of Default, any Agent or any Lender may, and is hereby authorized to, at any time
and from time to time, without notice to any Loan Party (any such notice being expressly waived
by the Loan Parties) and to the fullest extent permitted by law, set off and apply any and all
deposits (general or special, time or demand, provisional or final) at any time held and other
Indebtedness at any time owing by such Agent or such Lender or any of their respective
Affiliates to or for the credit or the account of any Loan Party against any and all obligations of
the Loan Parties either now or hereafter existing under any Loan Document, irrespective of
whether or not such Agent or such Lender shall have made any demand hereunder or thereunder
and although such obligations may be contingent or unmatured; provided that in the event that
any Defaulting Lender shall exercise any such right of set-off, (a) all amounts so set off shall be
paid over immediately to the Administrative Agent for further application in accordance with the
provisions of Section 4.04 and, pending such payment, shall be segregated by such Defaulting
Lender from its other funds and deemed held in trust for the benefit of the Agents and the
Lenders, and (b) the Defaulting Lender shall provide promptly to the Administrative Agent a
statement describing in reasonable detail the Obligations owing to such Defaulting Lender as to
which it exercised such right of set-off. No Lender shall exercise any such right of set-off
without the prior consent of the Agents or the Required Lenders. Each Agent and each Lender
agrees to notify such Loan Party promptly after any such set-off and application made by such
Agent or such Lender or any of their respective Affiliates, provided that the failure to give such
notice shall not affect the validity of such set-off and application. The rights of the Agents and
the Lenders under this Section 12.05 are in addition to the other rights and remedies (including
other rights of set-off) which the Agents and the Lenders may have under this Agreement or any
other Loan Documents of law or otherwise.

                Section 12.06 Severability. Any provision of this Agreement which is prohibited
or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of
such prohibition or unenforceability without invalidating the remaining portions hereof or
affecting the validity or enforceability of such provision in any other jurisdiction.

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                  Section 12.07 Assignments and Participations.

                (a)    This Agreement and the other Loan Documents shall be binding upon and
inure to the benefit of each Loan Party and each Agent and each Lender and their respective
successors and assigns; provided, however, that none of the Loan Parties may assign or transfer
any of its rights hereunder or under the other Loan Documents without the prior written consent
of each Lender and any such assignment without the Lenders' prior written consent shall be null
and void.

                      (i)    Subject to the conditions set forth in clauses (a)(ii) and (a)(iv)
below, any Lender may assign to one or more Eligible Assignees (each, an "Assignee") all or a
portion of its Loans, in each case together with all related rights and obligations under this
Agreement with the prior written consent (such consent not to be unreasonably withheld or
delayed) of:

                                 (A)    the Borrower, provided that, except with respect to
                         consents regarding any Disqualified Lender, such consent shall be deemed
                         to have been given if the Borrower has not responded within ten Business
                         Days after written request by any Agent or the respective assigning
                         Lender, provided further that no consent of the Borrower shall be required
                         (x) in the case of any Lender, for an assignment of any Loan or any
                         Commitment to a Lender, an Affiliate of a Lender, or a Related Fund or
                         (y) if an Event of Default has occurred and is continuing, any other
                         Eligible Assignee; or

                                 (B)    the Collateral Agent, except for assignments of Loans (x) to
                         a Related Fund, another Lender or an Affiliate of a Lender and (y) to any
                         Affiliated Lender (including Affiliated Investment Funds);

                      (ii)    Assignment Conditions.        Assignments shall be subject to the
following additional conditions:

                               (C)     except in the case of an assignment to a Lender, an Affiliate
of a Lender or an Related Fund or an assignment of the entire remaining amount of the assigning
Lender's Commitments or Loans, the amount of the Commitments or Loans of the assigning
Lender subject to each such assignment (determined as of the date the Assignment and
Acceptance with respect to such assignment is delivered to the Collateral Agent) shall be at least
$5,000,000 or a multiple of $1,000,000 in excess thereof in the case of Term Loans or, in each
case, if less, all of such Lender's remaining Loans and Commitments of the applicable class and
shall be accompanied with a process and recordation fee of $3,500 payable to the Collateral
Agent (provided that such fee shall not apply in the case of assignments by a Lender to any of its
Affiliates or Related Funds) unless the Administrative Agent and the Borrower otherwise
consent;

                                (D)     the parties to each assignment shall execute and deliver to
                         the Collateral Agent (and the Administrative Agent, if applicable), for its


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                       acceptance, an Assignment and Acceptance together with any promissory
                       note subject to such assignment;

                               (E)    the Assignee, if it is not already a Lender hereunder, shall
                       deliver to the Agents and the Borrower an administrative questionnaire
                       and the Internal Revenue Service forms described in Section 2.09 (as
                       applicable) and shall comply with the requirements of Section 2.09 as if it
                       were a "Lender"; and

                              (F)    in the absence of a continuing Event of Default, no
                       assignment shall be made to a Disqualified Institution.

                       (iii)   [Reserved]

                       (iv)     Assignments to Affiliated Lenders. Any Lender may, at any time,
assign all or a portion of its rights and obligations with respect to Term Loans to an Affiliated
Lender (including Affiliated Investment Funds) on a non-pro rata basis through open market
purchases, in each case in accordance with the terms of this Agreement (including
Section 12.07), subject, to the extent applicable, to the restrictions set forth in the definitions of
"Eligible Assignee" and subject to the following further limitations:

                               (A)     [reserved];

                               (B)     for purposes of determining whether the Required Lenders
                       have (1) consented to any amendment, waiver or modification of any Loan
                       Document (including such modifications pursuant to Section 12.02), (2)
                       otherwise acted on any matter related to any Loan Document or
                       (3) directed or required the Administrative Agent, the Collateral Agent or
                       any Lender to undertake any action (or refrain from taking any action)
                       with respect to or under any Loan Document, except in the case of any
                       Affiliated Lender Amendment, the aggregate amount of Term Loans owed
                       to the Affiliated Lenders or Term Loan Commitments of the Affiliated
                       Lenders shall be disregarded (and treated for all purposes as if not
                       outstanding) for purposes of calculating Required Lenders; provided,
                       however, that if the Required Lenders (determined in accordance with the
                       preceding provisions of this clause (B)) shall have consented to such
                       amendment, waiver or modification or otherwise approved such action,
                       then the Term Loans owed to the Affiliated Lenders or Term Loan
                       Commitments of the Affiliated Lenders shall be deemed to have
                       affirmatively consented to such amendment, waiver, modification or other
                       action; provided further that any amendment, waiver or modification of
                       any Loan Document that (1) increases any commitment of such Affiliated
                       Lender, (2) extends the due date for any scheduled installment of principal
                       of any Loan held by such Affiliated Lender (including at maturity), (3)
                       extends the due date for interest under the Loan Documents owed to such
                       Affiliated Lender, (4) reduces any amount owing to such Affiliated Lender
                       under any Loan Document or (5) results in a disproportionate adverse

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                       effect to an Affiliated Lender as compared to other Lenders (the foregoing
                       being an "Affiliated Lender Amendment"), in each case, shall require the
                       affirmative consent of each such Affiliated Lender adversely affected
                       thereby;

                               (C)    Restricted Affiliated Lenders shall not be entitled to receive
                       (i) information provided solely to Lenders by the Agents or any Lender
                       and shall not be permitted to attend or participate in meetings attended
                       solely by Lenders and the Agents and their advisors, other than the right to
                       receive Notices of Borrowing, notices of prepayments and other
                       administrative notices in respect of its Term Loans or Term Loan
                       Commitments required to be delivered to Lenders pursuant to Article II
                       and financial statements delivered under Section 7.01 and (ii) advice of
                       counsel to the Lenders or the Agents or challenge the attorney-client
                       privilege afforded to such Persons; provided that Affiliated Investment
                       Funds shall not be subject to such limitation;

                               (D)    at the time any Affiliated Lender is making purchases of
                       Term Loans pursuant to an open market purchase it shall execute and
                       deliver an Assignment and Acceptance to the Agents;

                               (E)    at the time of such open market purchase by a Restricted
                       Affiliated Lender, no Default or Event of Default shall have occurred and
                       be continuing;

                               (F)     any Term Loans acquired by Sponsor or any Affiliated
                       Lender may, with the consent of the Borrower, be contributed to the
                       Parent (whether through any of its direct or indirect parent entities or
                       otherwise) and exchanged for Equity Interests (not Disqualified Equity
                       Interests) of the Parent, provided that any such Term Loans so contributed
                       shall be immediately cancelled, terminated and forgiven;

                               (G)    the aggregate principal amount of all Term Loans which
                       may be assigned through open market purchases shall not exceed (as
                       calculated at the time of the consummation of any aforementioned
                       assignments) in the case of Restricted Affiliated Lenders, 15% of the
                       aggregate principal amount of the Term Loans then outstanding;

                               (H)    Notwithstanding any other provision herein to the contrary,
                       in the event that a Loan Party is the subject of a proceeding of the type
                       described in Section 9.01(f) or 9.01(g) (such proceeding, a "Loan Party
                       Insolvency"), each Restricted Affiliated Lender shall grant to the
                       Collateral Agent a power of attorney, giving the Collateral Agent the right
                       to vote each Restricted Affiliated Lender's claims on all matters submitted
                       to the Lenders for consent in respect of such Loan Party Insolvency, and
                       the Collateral Agent shall vote such claims in the same proportion as the
                       majority (by holdings) of Lenders (other than Restricted Affiliated

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                        Lenders) that voted on each matter submitted to such Lenders for
                        approval; provided that (1) the foregoing shall not permit the Collateral
                        Agent to consent to, or refrain from, giving approval in respect of a plan of
                        reorganization pursuant to Title 11 of the Bankruptcy Code of the Loan
                        Party that is the subject of the Loan Party Insolvency (such plan of
                        reorganization being a "Loan Party Plan of Reorganization"), if any
                        Restricted Affiliated Lender would, as a consequence thereof, receive
                        treatment under such Loan Party Plan of Reorganization that, on a ratable
                        basis, would be inferior to that of the Lenders (other than such Restricted
                        Affiliated Lenders) holding the same tranche of Term Loans as the
                        affected Restricted Affiliated Lender (such Lenders being,
                        "Non-Restricted Persons") and any such Loan Party Plan of
                        Reorganization shall require the consent of such Restricted Affiliated
                        Lender and (2) to the extent any Non-Restricted Person would receive
                        superior treatment as part of any Loan Party Plan of Reorganization, as
                        compared to any Restricted Affiliated Lender, pursuant to any investment
                        made, or other action taken, by such Non-Restricted Person in accordance
                        with such Loan Party Plan of Reorganization (but excluding the Term
                        Loan), then such Restricted Affiliated Lender's consent shall not be
                        required, so long as such Restricted Affiliated Lender was afforded the
                        opportunity to ratably participate in such investment or to take such action
                        pursuant to the Loan Party Plan of Reorganization;

                               (I)    no assignment of Term Loans to an Affiliated Lender may
                        be purchased with the proceeds of any Revolving Loan;

                                (J)     none of the Borrower, the Parent, any Subsidiaries of the
                        Parent or any Affiliated Lender shall be required to make any
                        representation that it is not in possession of material non-public
                        information with respect to the Parent, Subsidiaries of the Parent or any of
                        their respective Affiliates.

Notwithstanding anything to the contrary herein, Section 12.07(a)(iv) shall supersede any
provisions in Section 4.03 to the contrary.

                  (b)   [Reserved]

                  (c)   [Reserved]

                (d)    Upon such execution, delivery and acceptance, from and after the effective
date specified in each Assignment and Acceptance and recordation on the Register, which
effective date shall be at least 3 Business Days after the delivery thereof to the Collateral Agent
(or such shorter period as shall be agreed to by the Collateral Agent and the parties to such
assignment), (A) the assignee thereunder shall become a "Lender" hereunder and, in addition to
the rights and obligations hereunder held by it immediately prior to such effective date, have the
rights and obligations hereunder that have been assigned to it pursuant to such Assignment and
Acceptance and (B) the assigning Lender thereunder shall, to the extent that rights and

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obligations hereunder have been assigned by it pursuant to such Assignment and Acceptance,
relinquish its rights and be released from its obligations under this Agreement (and, in the case of
an Assignment and Acceptance covering all or the remaining portion of an assigning Lender's
rights and obligations under this Agreement, such Lender shall cease to be a party hereto).

                (e)     By executing and delivering an Assignment and Acceptance, the assigning
Lender and the assignee thereunder confirm to and agree with each other and the other parties
hereto as follows: (i) other than as provided in such Assignment and Acceptance, the assigning
Lender makes no representation or warranty and assumes no responsibility with respect to any
statements, warranties or representations made in or in connection with this Agreement or any
other Loan Document or the execution, legality, validity, enforceability, genuineness, sufficiency
or value of this Agreement or any other Loan Document furnished pursuant hereto; (ii) the
assigning Lender makes no representation or warranty and assumes no responsibility with
respect to the financial condition of any Loan Party or any of its Subsidiaries or the performance
or observance by any Loan Party of any of its obligations under this Agreement or any other
Loan Document furnished pursuant hereto; (iii) such assignee confirms that it has received a
copy of this Agreement and the other Loan Documents, together with such other documents and
information it has deemed appropriate to make its own credit analysis and decision to enter into
such Assignment and Acceptance; (iv) such assignee will, independently and without reliance
upon the assigning Lender, any Agent or any Lender and based on such documents and
information as it shall deem appropriate at the time, continue to make its own credit decisions in
taking or not taking action under this Agreement and the other Loan Documents; (v) such
assignee appoints and authorizes the Agents to take such action as agents on its behalf and to
exercise such powers under this Agreement and the other Loan Documents as are delegated to
the Agents by the terms hereof and thereof, together with such powers as are reasonably
incidental hereto and thereto; and (vi) such assignee agrees that it will perform in accordance
with their terms all of the obligations which by the terms of this Agreement and the other Loan
Documents are required to be performed by it as a Lender.

               (f)     The Administrative Agent shall, acting solely for this purpose as a non-
fiduciary agent of the Borrower, maintain, or cause to be maintained at the Payment Office, a
copy of each Assignment and Acceptance delivered to and accepted by it and a register (the
"Register") for the recordation of the names and addresses of the Lenders and the Commitments
of, and the principal amount of the Loans (and stated interest thereon) (the "Registered Loans")
owing to each Lender from time to time. The entries in the Register shall be conclusive and
binding for all purposes, absent manifest error, and the Borrower, the Agents and the Lenders
shall treat each Person whose name is recorded in the Register as a Lender hereunder for all
purposes of this Agreement. The Register shall be available for inspection by the Borrower and
any Lender at any reasonable time and from time to time upon reasonable prior notice. This
Section 12.07(f) shall be construed so that all Loans are at all times maintained in "registered
form" within the meaning of Sections 163(f), 871(h)(2) and 881(c)(2) of the Internal Revenue
Code and any related Treasury Regulations (or any other relevant or successor provisions of the
Internal Revenue Code or of such Treasury Regulations).

              (g)     Upon receipt by the Administrative Agent of a completed Assignment and
Acceptance, and subject to any consent required from the Administrative Agent or the Collateral
Agent pursuant to Section 12.07(b) (which consent of the applicable Agent must be evidenced by
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such Agent's execution of an acceptance to such Assignment and Acceptance), the
Administrative Agent shall accept such assignment, record the information contained therein in
the Register (as adjusted to reflect any principal payments on or amounts capitalized and added
to the principal balance of the Loans and/or Commitment reductions made subsequent to the
effective date of the applicable assignment, as confirmed in writing by the corresponding
assignor and assignee in conjunction with delivery of the assignment to the Administrative
Agent) and provide to the Collateral Agent a copy of the fully executed Assignment and
Acceptance.

                (h)    A Registered Loan (and the registered note, if any, evidencing the same)
may be assigned or sold in whole or in part only by registration of such assignment or sale on the
Register (and each registered note shall expressly so provide). Any assignment or sale of all or
part of such Registered Loan (and the registered note, if any, evidencing the same) may be
effected only by registration of such assignment or sale on the Register, together with the
surrender of the registered note, if any, evidencing the same duly endorsed by (or accompanied
by a written instrument of assignment or sale duly executed by) the holder of such registered
note, whereupon, at the request of the designated assignee(s) or transferee(s), one or more new
registered notes in the same aggregate principal amount shall be issued to the designated
assignee(s) or transferee(s). Prior to the registration of assignment or sale of any Registered
Loan (and the registered note, if any, evidencing the same), the Agents shall treat the Person in
whose name such Registered Loan (and the registered note, if any, evidencing the same) is
registered on the Register as the owner thereof for the purpose of receiving all payments thereon,
notwithstanding notice to the contrary.

               (i)    In the event that any Lender sells participations in a Registered Loan, such
Lender shall, acting for this purpose as a non-fiduciary agent on behalf of the Borrower,
maintain, or cause to be maintained, a register, on which it enters the name of all participants in
the Registered Loans held by it and the principal amount (and stated interest thereon) of the
portion of the Registered Loan that is the subject of the participation, complying with the
requirements of Sections 163(f), 871(h) and 881(c)(2) of the Internal Revenue Code and the
Treasury Regulations (the "Participant Register"). A Registered Loan (and the registered note, if
any, evidencing the same) may be participated in whole or in part only by registration of such
participation on the Participant Register (and each registered note shall expressly so provide).
Any participation of such Registered Loan (and the registered note, if any, evidencing the same)
may be effected only by the registration of such participation on the Participant Register. The
Participant Register shall be available for inspection by the Borrower and any Lender at any
reasonable time and from time to time upon reasonable prior notice.

               (j)     Any Non-U.S. Secured Party who purchases or is assigned or participates
in any portion of such Registered Loan shall comply with Section 2.09(d).

                (k)    Each Lender may sell participations to one or more banks or other entities
(other than the Parent, Subsidiaries of the Parent, Affiliates of the Parent or a natural person) in
or to all or a portion of its rights and obligations under this Agreement and the other Loan
Documents (including, without limitation, all or a portion of its Commitments and the Loans
made by it); provided that (i) such Lender's obligations under this Agreement (including without
limitation, its Commitments hereunder) and the other Loan Documents shall remain unchanged;

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(ii) such Lender shall remain solely responsible to the other parties hereto for the performance of
such obligations, and the Borrower, the Agents and the other Lenders shall continue to deal
solely and directly with such Lender in connection with such Lender's rights and obligations
under this Agreement and the other Loan Documents; and (iii) a participant shall not be entitled
to require such Lender to take or omit to take any action hereunder, except (A) action directly
effecting an extension of the maturity dates or decrease in the principal amount of the Loans,
(B) action directly effecting an extension of the due dates or a decrease in the rate of interest
payable on the Loans or the fees payable under this Agreement, or (C) actions directly effecting
a release of all or a substantial portion of the Collateral or any Loan Party (except as set forth in
Section 10.08 of this Agreement or any other Loan Document). The Loan Parties agree that each
participant shall be entitled to the benefits of Section 2.09 and Section 2.11 of this Agreement
with respect to its participation in any portion of the Commitments and the Loans as if it was a
Lender; provided that such participant agrees to be subject to the provisions of Section 2.09 and
2.11 as if it were an assignee under Section 12.07. A participant shall not be entitled to receive
any greater payment under Section 2.09 or 2.11 than the applicable Lender would have been
entitled to receive with respect to the participation sold to such participant unless the sale of the
participation to such participant is made with the Loan Parties’ prior written consent.

                (l)    Any Lender may at any time pledge or assign a security interest in all or
any portion of its rights under this Agreement to secure obligations of such Lender, including
any pledge or assignment to secure obligations to a Federal Reserve Bank or loans made to such
Lender pursuant to securitization or similar credit facility (a "Securitization"); provided that no
such pledge or assignment shall release such Lender from any of its obligations hereunder or
substitute any such pledgee or assignee for such Lender as a party hereto. The Loan Parties shall
cooperate with such Lender and its Affiliates to effect the Securitization including, without
limitation, by providing such information as may be reasonably requested by such Lender in
connection with the rating of its Loans or the Securitization.

                Section 12.08 Counterparts. This Agreement may be executed in any number of
counterparts and by different parties hereto in separate counterparts, each of which shall be
deemed to be an original, but all of which taken together shall constitute one and the same
agreement. Delivery of an executed counterpart of this Agreement by telecopier or electronic
mail shall be equally as effective as delivery of an original executed counterpart of this
Agreement. Any party delivering an executed counterpart of this Agreement by telecopier or
electronic mail also shall deliver an original executed counterpart of this Agreement but the
failure to deliver an original executed counterpart shall not affect the validity, enforceability, and
binding effect of this Agreement. The foregoing shall apply to each other Loan Document
mutatis mutandis.

          Section 12.09 GOVERNING LAW. THIS AGREEMENT AND THE OTHER
LOAN DOCUMENTS (UNLESS EXPRESSLY PROVIDED TO THE CONTRARY IN
ANOTHER LOAN DOCUMENT IN RESPECT OF SUCH OTHER LOAN DOCUMENT)
SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAW OF
THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO BE
PERFORMED IN THE STATE OF NEW YORK.



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                  Section 12.10 CONSENT TO JURISDICTION; SERVICE OF PROCESS AND
VENUE.

           (a)  ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
AGREEMENT OR ANY OTHER LOAN DOCUMENT MAY BE BROUGHT IN THE
COURTS OF THE STATE OF NEW YORK IN THE COUNTY OF NEW YORK OR OF THE
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK,
AND, BY EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH PARTY
HERETO HEREBY IRREVOCABLY ACCEPTS IN RESPECT OF ITS PROPERTY,
GENERALLY AND UNCONDITIONALLY, THE JURISDICTION OF THE AFORESAID
COURTS. EACH PARTY HERETO HEREBY IRREVOCABLY CONSENTS TO THE
SERVICE OF PROCESS OUT OF ANY OF THE AFOREMENTIONED COURTS AND IN
ANY SUCH ACTION OR PROCEEDING BY ANY MEANS PERMITTED BY APPLICABLE
LAW, INCLUDING, WITHOUT LIMITATION, BY THE MAILING OF COPIES THEREOF
BY REGISTERED OR CERTIFIED MAIL, POSTAGE PREPAID, TO THE BORROWER AT
ITS ADDRESS FOR NOTICES AS SET FORTH IN SECTION 12.01, SUCH SERVICE TO
BECOME EFFECTIVE 10 DAYS AFTER SUCH MAILING. THE PARTIES HERETO
AGREE THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR PROCEEDING SHALL
BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON
THE JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING
HEREIN SHALL AFFECT THE RIGHT OF THE AGENTS AND THE LENDERS TO
SERVICE OF PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR TO
COMMENCE LEGAL PROCEEDINGS OR OTHERWISE PROCEED AGAINST ANY LOAN
PARTY IN ANY OTHER JURISDICTION. EACH PARTY HERETO HEREBY EXPRESSLY
AND IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW,
ANY OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE
JURISDICTION OR LAYING OF VENUE OF ANY SUCH LITIGATION BROUGHT IN
ANY SUCH COURT REFERRED TO ABOVE AND ANY CLAIM THAT ANY SUCH
LITIGATION HAS BEEN BROUGHT IN AN INCONVENIENT FORUM. TO THE EXTENT
THAT ANY PARTY HERETO HAS OR HEREAFTER MAY ACQUIRE ANY IMMUNITY
FROM JURISDICTION OF ANY COURT OR FROM ANY LEGAL PROCESS (WHETHER
THROUGH SERVICE OR NOTICE, ATTACHMENT PRIOR TO JUDGMENT,
ATTACHMENT IN AID OF EXECUTION OR OTHERWISE) WITH RESPECT TO ITSELF
OR ITS PROPERTY, EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES SUCH
IMMUNITY IN RESPECT OF ITS OBLIGATIONS UNDER THIS AGREEMENT AND THE
OTHER LOAN DOCUMENTS.

                  (b)   [Reserved].

           Section 12.11 WAIVER OF JURY TRIAL, ETC. EACH LOAN PARTY,
EACH AGENT AND EACH LENDER HEREBY WAIVES ANY RIGHT TO A TRIAL BY
JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM CONCERNING ANY
RIGHTS UNDER THIS AGREEMENT OR THE OTHER LOAN DOCUMENTS, OR UNDER
ANY AMENDMENT, WAIVER, CONSENT, INSTRUMENT, DOCUMENT OR OTHER
AGREEMENT DELIVERED OR WHICH IN THE FUTURE MAY BE DELIVERED IN
CONNECTION THEREWITH, OR ARISING FROM ANY FINANCING RELATIONSHIP
EXISTING IN CONNECTION WITH THIS AGREEMENT, AND AGREES THAT ANY
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SUCH ACTION, PROCEEDINGS OR COUNTERCLAIM SHALL BE TRIED BEFORE A
COURT AND NOT BEFORE A JURY. EACH PARTY HERETO CERTIFIES THAT NO
OFFICER, REPRESENTATIVE, AGENT OR ATTORNEY OF ANY AGENT OR ANY
LENDER HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT ANY AGENT OR
ANY LENDER WOULD NOT, IN THE EVENT OF ANY ACTION, PROCEEDING OR
COUNTERCLAIM, SEEK TO ENFORCE THE FOREGOING WAIVERS. EACH PARTY
HERETO HEREBY ACKNOWLEDGES THAT THIS PROVISION IS A MATERIAL
INDUCEMENT FOR THE OTHER PARTIES ENTERING INTO THIS AGREEMENT.

                Section 12.12 Consent by the Agents and Lenders. Except as otherwise
expressly set forth herein to the contrary or in any other Loan Document, if the consent,
approval, satisfaction, determination, judgment, acceptance or similar action (an "Action") of any
Agent or any Lender shall be permitted or required pursuant to any provision hereof or any
provision of any other agreement to which any Loan Party is a party and to which any Agent or
any Lender has succeeded thereto, such Action shall be required to be in writing and may be
withheld or denied by such Agent or such Lender, in its sole discretion, with or without any
reason, and without being subject to question or challenge on the grounds that such Action was
not taken in good faith.

               Section 12.13 No Party Deemed Drafter. Each of the parties hereto agrees that
no party hereto shall be deemed to be the drafter of this Agreement.

                Section 12.14 Reinstatement; Certain Payments. If any claim is ever made upon
any Secured Party for repayment or recovery of any amount or amounts received by such
Secured Party in payment or on account of any of the Obligations, such Secured Party shall give
prompt notice of such claim to each other Agent and Lender and the Borrower, and if such
Secured Party repays all or part of such amount by reason of (i) any judgment, decree or order of
any court or administrative body having jurisdiction over such Secured Party or any of its
property, or (ii) any good faith settlement or compromise of any such claim effected by such
Secured Party with any such claimant, then and in such event each Loan Party agrees that (A)
any such judgment, decree, order, settlement or compromise shall be binding upon it
notwithstanding the cancellation of any Indebtedness hereunder or under the other Loan
Documents or the termination of this Agreement or the other Loan Documents, and (B) it shall
be and remain liable to such Secured Party hereunder for the amount so repaid or recovered to
the same extent as if such amount had never originally been received by such Secured Party.

                  Section 12.15 Indemnification; Limitation of Liability for Certain Damages.

                 (a)    In addition to each Loan Party's other Obligations under this Agreement,
each Loan Party agrees to, jointly and severally, defend, protect, indemnify and hold harmless
each Secured Party and all of their respective Affiliates, officers, directors, employees, attorneys,
consultants and agents (collectively called the "Indemnitees") from and against any and all
losses, damages, liabilities, obligations, penalties, fees, reasonable, documented out-of-pocket
costs and expenses (including, without limitation, reasonable attorneys' fees, costs and expenses)
incurred by such Indemnitees, whether prior to or from and after the Effective Date, whether
direct, indirect or consequential, as a result of or arising from or relating to or in connection with
any of the following: (i) the negotiation, preparation, execution or performance or enforcement

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of this Agreement, any other Loan Document or of any other document executed in connection
with the transactions contemplated by this Agreement, (ii) any Agent's or any Lender's
furnishing of funds to the Borrower under this Agreement or the other Loan Documents,
including, without limitation, the management of any such Loans or the Borrower's use of the
proceeds thereof, (iii) the Agents and the Lenders relying on any instructions of the Borrower or
the handling of the Loan Account and Collateral of the Borrower as herein provided, (iv) any
matter relating to the financing transactions contemplated by this Agreement or the other Loan
Documents or by any document executed in connection with the transactions contemplated by
this Agreement or the other Loan Documents, or (v) any claim, litigation, investigation or
proceeding relating to any of the foregoing, whether or not any Indemnitee is a party thereto
(collectively, the "Indemnified Matters"); provided, however, that the Loan Parties shall not have
any obligation to any Indemnitee under this subsection (a) for any Indemnified Matter caused by
the gross negligence or willful misconduct of such Indemnitee, as determined by a final non-
appealable judgment of a court of competent jurisdiction or a dispute solely among the
Indemnitees.

               (b)     The indemnification for all of the foregoing losses, damages, fees, costs
and expenses of the Indemnitees set forth in this Section 12.15 are chargeable against the Loan
Account. To the extent that the undertaking to indemnify, pay and hold harmless set forth in this
Section 12.15 may be unenforceable because it is violative of any law or public policy, each
Loan Party shall, jointly and severally, contribute the maximum portion which it is permitted to
pay and satisfy under applicable law, to the payment and satisfaction of all Indemnified Matters
incurred by the Indemnitees.

                (c)      No Loan Party shall assert, and each Loan Party hereby waives, any claim
against the Indemnitees, on any theory of liability, for special, indirect, consequential or punitive
damages (as opposed to direct or actual damages) (whether or not the claim therefor is based on
contract, tort or duty imposed by any applicable legal requirement) arising out of, in connection
with, as a result of, or in any way related to, this Agreement or any other Loan Document or any
agreement or instrument contemplated hereby or thereby or referred to herein or therein, the
transactions contemplated hereby or thereby, any Loan or the use of the proceeds thereof or any
act or omission or event occurring in connection therewith, and each Loan Party hereby waives,
releases and agrees not to sue upon any such claim or seek any such damages, whether or not
accrued and whether or not known or suspected to exist in its favor.

                (d)     Notwithstanding anything to the contrary set forth in this Section 12.15,
indemnification for any legal fees, costs and expenses shall be limited to (A) one outside counsel
to the Agents and the Lenders, (B) one local counsel in each other relevant jurisdiction to the
Agents and the Lenders and one regulatory counsel in each relevant regulatory area to the Agents
and the Lenders and (C) solely in the case of a conflict of interest, one additional counsel in each
relevant jurisdiction to each group of affected Lenders similarly situated taken as a whole.

              (e)     The indemnities and waivers set forth in this Section 12.15 shall survive
the repayment of the Obligations and discharge of any Liens granted under the Loan Documents.

               Section 12.16 Records. The unpaid principal of and interest on the Loans, the
interest rate or rates applicable to such unpaid principal and interest, the duration of such

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applicability, the Commitments, and the accrued and unpaid fees payable pursuant to
Section 2.06 hereof, including, without limitation, the Closing Fee, the Loan Servicing Fee, the
Unused Line Fee and the Applicable Prepayment Premium, if any, shall at all times be
ascertained from the records of the Agents, which shall be conclusive and binding absent
manifest error.

               Section 12.17 Binding Effect. This Agreement shall become effective when it
shall have been executed by each Loan Party, each Agent and each Lender and when the
conditions precedent set forth in Section 5.01 hereof have been satisfied or waived in writing by
the Agents, and thereafter shall be binding upon and inure to the benefit of each Loan Party, each
Agent and each Lender, and their respective successors and assigns, except that the Loan Parties
shall not have the right to assign their rights hereunder or any interest herein without the prior
written consent of each Agent and each Lender, and any assignment by any Lender shall be
governed by Section 12.07 hereof.

                Section 12.18 Highest Lawful Rate. It is the intention of the parties hereto that
each Agent and each Lender shall conform strictly to usury laws applicable to it. Accordingly, if
the transactions contemplated hereby or by any other Loan Document would be usurious as to
any Agent or any Lender under laws applicable to it (including the laws of the United States of
America and the State of New York or any other jurisdiction whose laws may be mandatorily
applicable to such Agent or such Lender notwithstanding the other provisions of this
Agreement), then, in that event, notwithstanding anything to the contrary in this Agreement or
any other Loan Document or any agreement entered into in connection with or as security for the
Obligations, it is agreed as follows: (i) the aggregate of all consideration which constitutes
interest under law applicable to any Agent or any Lender that is contracted for, taken, reserved,
charged or received by such Agent or such Lender under this Agreement or any other Loan
Document or agreements or otherwise in connection with the Obligations shall under no
circumstances exceed the maximum amount allowed by such applicable law, any excess shall be
canceled automatically and if theretofore paid shall be credited by such Agent or such Lender on
the principal amount of the Obligations (or, to the extent that the principal amount of the
Obligations shall have been or would thereby be paid in full, refunded by such Agent or such
Lender, as applicable, to the Borrower); and (ii) in the event that the maturity of the Obligations
is accelerated by reason of any Event of Default under this Agreement or otherwise, or in the
event of any required or permitted prepayment, then such consideration that constitutes interest
under law applicable to any Agent or any Lender may never include more than the maximum
amount allowed by such applicable law, and excess interest, if any, provided for in this
Agreement or otherwise shall, subject to the last sentence of this Section 12.18, be canceled
automatically by such Agent or such Lender, as applicable, as of the date of such acceleration or
prepayment and, if theretofore paid, shall be credited by such Agent or such Lender, as
applicable, on the principal amount of the Obligations (or, to the extent that the principal amount
of the Obligations shall have been or would thereby be paid in full, refunded by such Agent or
such Lender to the Borrower). All sums paid or agreed to be paid to any Agent or any Lender
for the use, forbearance or detention of sums due hereunder shall, to the extent permitted by law
applicable to such Agent or such Lender, be amortized, prorated, allocated and spread throughout
the full term of the Loans until payment in full so that the rate or amount of interest on account
of any Loans hereunder does not exceed the maximum amount allowed by such applicable law.
If at any time and from time to time (x) the amount of interest payable to any Agent or any
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Lender on any date shall be computed at the Highest Lawful Rate applicable to such Agent or
such Lender pursuant to this Section 12.18 and (y) in respect of any subsequent interest
computation period the amount of interest otherwise payable to such Agent or such Lender
would be less than the amount of interest payable to such Agent or such Lender computed at the
Highest Lawful Rate applicable to such Agent or such Lender, then the amount of interest
payable to such Agent or such Lender in respect of such subsequent interest computation period
shall continue to be computed at the Highest Lawful Rate applicable to such Agent or such
Lender until the total amount of interest payable to such Agent or such Lender shall equal the
total amount of interest which would have been payable to such Agent or such Lender if the total
amount of interest had been computed without giving effect to this Section 12.18.

                For purposes of this Section 12.18, the term "applicable law" shall mean that law
in effect from time to time and applicable to the loan transaction between the Borrower, on the
one hand, and the Agents and the Lenders, on the other, that lawfully permits the charging and
collection of the highest permissible, lawful non-usurious rate of interest on such loan transaction
and this Agreement, including laws of the State of New York and, to the extent controlling, laws
of the United States of America.

               The right to accelerate the maturity of the Obligations does not include the right to
accelerate any interest that has not accrued as of the date of acceleration.

                 Section 12.19 Confidentiality. Each Agent and each Lender agrees (on behalf of
itself and each of its affiliates, directors, officers, employees and representatives) to use
reasonable precautions to keep confidential, in accordance with its customary procedures for
handling confidential information of this nature and in accordance with safe and sound practices
of comparable commercial finance companies, any non-public information supplied to it by the
Loan Parties pursuant to this Agreement or the other Loan Documents which is identified in
writing by the Loan Parties as being confidential at the time the same is delivered to such Person
(and which at the time is not, and does not thereafter become, publicly available or available to
such Person from another source not known to be subject to a confidentiality obligation to such
Person not to disclose such information), provided that nothing herein shall limit the disclosure
by any Agent or any Lender of any such information (i) to its Affiliates and to its and its
Affiliates' respective equityholders (including, without limitation, partners), directors, officers,
employees, agents, trustees, counsel, advisors and representatives (it being understood that the
Persons to whom such disclosure is made will be informed of the confidential nature of such
information and instructed to keep such information confidential in accordance with this Section
12.19); (ii) to any other party hereto; (iii) to any assignee or participant (or prospective assignee
or participant) or any party to a Securitization so long as such assignee or participant (or
prospective assignee or participant) or party to a Securitization first agrees, in writing, to be
bound by confidentiality provisions similar in substance to this Section 12.19; (iv) to the extent
required by any Requirement of Law or judicial process or as otherwise requested by any
Governmental Authority; (v) to the National Association of Insurance Commissioners or any
similar organization, any examiner, auditor or accountant or any nationally recognized rating
agency or otherwise to the extent consisting of general portfolio information that does not
identify Loan Parties; (vi) in connection with any litigation to which any Agent or any Lender is
a party; (vii) in connection with the exercise of any remedies hereunder or under any other Loan


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Document or any action or proceeding relating to this Agreement or any other Loan Document
or the enforcement of rights hereunder or thereunder; or (viii) with the consent of the Borrower.

                 Section 12.20 Public Disclosure. Each Loan Party agrees that neither it nor any
of its Affiliates will now or in the future issue any press release or other public disclosure using
the name of an Agent, any Lender or any of their respective Affiliates or referring to this
Agreement or any other Loan Document without the prior written consent of such Agent or such
Lender, except to the extent that such Loan Party or such Affiliate is required to do so under
applicable law (in which event, such Loan Party or such Affiliate will consult with such Agent or
such Lender before issuing such press release or other public disclosure). Each Loan Party
hereby authorizes each Agent and each Lender, after consultation with the Borrower before
issuing such press release or other public disclosure, to advertise the closing of the transactions
contemplated by this Agreement, and to make appropriate announcements of the financial
arrangements entered into among the parties hereto, as such Agent or such Lender shall deem
appropriate, including, without limitation, on a home page or similar place for dissemination of
information on the Internet or worldwide web, or in announcements commonly known as
tombstones, in such trade publications, business journals, newspapers of general circulation and
to such selected parties as such Agent or such Lender shall deem reasonably appropriate.

               Section 12.21 Integration. This Agreement, together with the other Loan
Documents, reflects the entire understanding of the parties with respect to the transactions
contemplated hereby and shall not be contradicted or qualified by any other agreement, oral or
written, before the date hereof.

                Section 12.22 USA PATRIOT Act. Each Lender that is subject to the
requirements of the USA PATRIOT Act hereby notifies the Borrower that pursuant to the
requirements of the USA PATRIOT Act, it is required to obtain, verify and record information
that identifies the entities composing the Borrower, which information includes the name and
address of each such entity and other information that will allow such Lender to identify the
entities composing the Borrower in accordance with the USA PATRIOT Act. Each Loan Party
agrees to take such action and execute, acknowledge and deliver at its sole cost and expense,
such instruments and documents as any Lender may reasonably require from time to time in
order to enable such Lender to comply with the USA PATRIOT Act.

                Section 12.23 Waiver of Immunity. To the extent that any Loan Party has or
hereafter may acquire (or may be attributed, whether or not claimed) any immunity (sovereign or
otherwise) from any legal action, suit or proceeding, from jurisdiction of any court or from set-
off or any legal process (whether service of process or notice, attachment prior to judgment,
attachment in aid of execution of judgment, execution of judgment or otherwise) with respect to
itself or any of its property, such Loan Party hereby irrevocably waives and agrees not to plead
or claim, to the fullest extent permitted by law, such immunity in respect of (a) its obligations
under the Loan Documents, (b) any legal proceedings to enforce such obligations and (c) any
legal proceedings to enforce any judgment rendered in any proceedings to enforce such
obligations. Each Loan Party hereby agrees that the waivers set forth in this Section 12.23 shall
be to the fullest extent permitted under the Foreign Sovereign Immunities Act and are intended
to be irrevocable for purposes of the Foreign Sovereign Immunities Act.


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                Section 12.24 Keepwell. Each Loan Party, if it is a Qualified ECP Loan Party,
then jointly and severally, together with each other Qualified ECP Loan Party, hereby absolutely
unconditionally and irrevocably (a) guarantees the prompt payment and performance of all Swap
Obligations owing by each Non-Qualifying Party (it being understood and agreed that this
guarantee is a guaranty of payment and not of collection), and (b) undertakes to provide such
funds or other support as may be needed from time to time by any Non-Qualifying Party to
honor all of such Non-Qualifying Party's obligations under this Agreement or any other Loan
Document in respect of Swap Obligations (provided, however, that each Qualified ECP Loan
Party shall only be liable under this Section 12.24 for the maximum amount of such liability that
can be hereby incurred without rendering its obligations under this Section 12.24, or otherwise
under this Agreement or any other Loan Document, voidable under applicable law, including
applicable law relating to fraudulent conveyance or fraudulent transfer, and not for any greater
amount). The obligations of each Qualified ECP Loan Party under this Section 12.24 shall
remain in full force and effect until payment in full of the Obligations and termination of this
Agreement and the other Loan Documents. Each Qualified ECP Loan Party intends that this
Section 12.24 constitute, and this Section 12.24 shall be deemed to constitute, a guarantee of the
obligations of, and a "keepwell, support, or other agreement" for the benefit of each other
Borrower and Guarantor for all purposes of Section 1(a)(18)(A)(v)(II) of the Commodity
Exchange Act. Notwithstanding any provision hereof or in any Loan Document to the contrary,
in the event that any Guarantor is not an "eligible contract participant" as such term is defined in
Section 1(a)(18) of the Commodity Exchange Act, at the time (i) any Swap Obligation is
undertaken or (ii) such Guarantor becomes a Guarantor, the Guaranteed Obligations of such
Guarantor shall not include (x) in the case of clause (i) above, such Swap Obligation and (y) in
the case of clause (ii) above, any transactions outstanding under any Swap Obligation as of such
date such Guarantor becomes a Guarantor hereunder.

               Section 12.25 English Language.       This Agreement and each other Loan
Document have been negotiated and executed in English. All certificates, reports, notices and
other documents and communications given or delivered by any party hereto pursuant to this
Agreement or any other Loan Document shall be in English or, if not in English, accompanied by
a certified English translation thereof. The English version of any such document shall control
the meaning of the matters set forth herein.

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                                 COLLATERAL AGENT AND
                                 ADMINISTRATIVE AGENT:

                                 CERBERUS BUSINESS FINANCE,LLC



                                 I~
                                 Name: '~QXI'1~,~ wpr~
                                 Title:
                                          Ohl~.~ -~~(ec c~fi~~ ~i~




                   [Signature Page to Financing Agreement]
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                                 LENDERS:

                                 CERBERUS LEVERED LOAN OPPORTUNITIES
                                 FiJND III, L.P.

                                 By: Cerberus~vered Opportunities III GP,LLC
                                 Its: General Pafti~l


                                 By:
                                 Name:~, 1~~ UJ ~'~-
                                  Title: ~~ ~~~~~~~~~

                                  CERBERUS NJ CREDIT OPPORTUNITIES
                                  FiJND, L.P.

                                  By: Cerberus NJ Credit Opportunities GP,LLC
                                  Its: General Partner        ,


                                  By:           /
                                  Name:'~,Yl~e1 ~\
                                  Title: ~~p(' ~~            r~~~~GR'Of'
                                  CERBERUS ASRS HOLDINGS


                                  By:
                                  Name:~~p~        p~~
                                  Title: ~~ ~ p~e~`~~

                                  CERBERUS KRS LEVERED LOAN ;
                                  OPPORTUNITIES FUND,L.P.
                                  By: Cerberus KRS Levered port ities GP,LLC
                                  Its: General Partner 1


                                  By:                  ~        /
                                  Name:bQYS~Q,~ ~\'~
                                  Title: ~, `ip~- ~G~~~~~
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                                  CERBERUSPSERSLEVERED
                                  LOAN OPPORTUNITIES FiJND, L.P.
                                  By: Cerberus PSERS LeveredQpportunities GP,
                                  LLC
                                  Its: General


                                  By:            v            ~
                                  Title: 52X11M'(V}(1110.S1Y\S,
                                                              c ~l. 1~(Q.C'~N
                                                              U
                                  CERBERUS FSBA              INGS LLC


                                  By:
                                  Name:             p~~
                                  Title: va Cl~.~(QS~t~~2~1~




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                                           Schedule 1.01(A)

                                  Lenders and Lenders’ Commitments

                 Lender              Term Loan       Revolving Credit   Total Commitment
                                    Commitment        Commitment

        Cerberus Levered Loan       $43,548,951.03    $8,064,620.42      $51,613,571.45.
        Opportunities Fund III,
                 L.P.

          Cerberus NJ Credit        $13,141,102.72    $2,433,537.50      $15,574,640.22
          Opportunities Fund,
                 L.P.

             Cerberus ASRS          $39,064,730.74    $7,234,209.26      $46,298,940.00
             Holdings LLC

        Cerberus KRS Levered        $3,948,881.36      $731,274.31        $4,680,155.67
         Loan Opportunities
             Fund, L.P.

           Cerberus PSERS           $13,592,869.44    $2,517,198.00      $16,110,067.44
            Levered Loan
          Opportunities Fund,
                 L.P.

             Cerberus FSBA          $7,703,464.71     $1,426,567.51       $9,130,032.22
             Holdings LLC

         PEPI CAPITAL, L.P.         $14,000,000.00    $2,592,593.00      $16,592,593.00

                TOTAL:             $135,000,000.00    $25,000,000.00     $160,000,000.00




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                                 Schedule 1.01(B)

                                    Facilities

None.




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                                        Schedule 1.01(D)

                      Expenses and Cost Savings, Operating Improvements and
                                Expense Reductions and Synergies

Without duplication of any other add-backs to Consolidated EBITDA (including, for the
avoidance of doubt, with respect to the total restructuring add-back listed below, any amounts
added back to Consolidated EBTIDA pursuant to clause (b)(viii) of the definition thereof), each
of the below:




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                                             Schedule 1.01(E)

                 Immaterial Subsidiaries and Certain Other Excluded Subsidiaries

Immaterial Subsidiaries:

                                     Assets               EBITDA           Revenues
                                     (in thousands)       (in thousands)   (in thousands)
        X Plus Two Solutions, LLC    $703                 $0               $0
        X Plus One Solutions Inc.    $0                   $0               $0
        Wireless Developer, Inc.     $0                   $0               $0
        Wireless Artist LLC          $0                   $0               $0
            A. Total for all         $703                 $0               $0
        Immaterial Subsidiaries
            B. Pro forma total for   $398,606,000         $99,900,000      $398,264,000
        all Subsidiaries of
        Holdings
            Percent of total (A/B)   0%                   0%               0%



Other Excluded Subsidiaries:
1. chors GmbH i.L. (Germany) (under liquidation)
2. View Point Japan K.K. (Japan) (dormant)
3. Peer39 (Israel) Ltd. (Israel) (to be liquidated)
4. EyeWonder Europe GmbH (Switzerland) (to be liquidated)
5. EyeWonder Benelux BV (Netherlands) (to be liquidated)
6. EyeWonder GmbH i.L. (Germany) (under liquidation)
7. Sizmek Technologies Mexico, SA DE CV (Mexico)
8. Sizmek Propaganda Digital do Brazil LTDA (Brazil)
9. Sizmek Technologies S.R.L. (Argentina)
10. MediaMind Technologies (Shanghai) Co., Ltd (China)
11. Sizmek Technologies K.K. (Japan)
12. Sizmek Technologies Phils. Inc. (Philippines)
13. Sizmek d.o.o. Beograd (Serbia)
14. StrikeAd Asia Pte. Ltd. (Singapore)
15. Zestraco Investments Limited (Cyprus) (under liquidation)
16. Sizmek Technologies Pty. Limited (Australia)
17. Sizmek SARL (France)
18. Sizmek Technologies GmbH (Germany)
19. Sizmek Spain, S.L. (Spain)
20. Sizmek Technologies Sweden AB (Sweden)

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21. Sizmek Technologies sp. z o.o. (Poland)
22. Adagoo Ltd. (Israel)
23. Rocket Fuel Ltd. (UK)
24. Rocket Fuel GmbH (Germany)
25. Rocket Fuel Publicidade Ltda (Brazil)
26. Rocket Fuel Czech Services s.r.o. (Czech Republic)
27. Rocket Science Media Inc. (Canada)




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                                           Schedule 1.01(F)

                                       Sizmek Representations

         1.       Sizmek and its Subsidiaries (prior to giving effect to the Rocket Fuel Acquisition)
                  have no outstanding indebtedness for borrowed money other than as permitted
                  under Section 6.1 of the Credit Agreement, dated as of September 27, 2016 (the
                  "Existing Credit Agreement"), among Parent, Sizmek, Sizmek Technologies Ltd.,
                  and Wells Fargo Bank, National Association, as administrative agent, as in effect
                  on the date hereof (without giving effect to any amendments thereto or waivers
                  thereof).

         2.       Sizmek and its Subsidiaries (prior to giving effect to the Rocket Fuel Acquisition)
                  do not have any Liens (as defined in the Existing Credit Agreement) currently
                  outstanding upon or with respect to any part of their property other than as
                  permitted under Section 6.2 of the Existing Credit Agreement as in effect on the
                  date hereof (without giving effect to any amendments thereto or waivers thereof).

         3.       To the knowledge of Sizmek, all federal and material state and local tax returns
                  (collectively, the "Tax Returns") required to be filed by any of Sizmek or its
                  Subsidiaries (prior to giving effect to the Rocket Fuel Acquisition) have been filed
                  with the appropriate governmental authorities in all jurisdictions in which such
                  Tax Returns are required to be filed, and all material taxes reflected therein or
                  otherwise due and payable have been paid as of the date hereof except for those
                  contested in good faith by appropriate proceedings diligently conducted and for
                  which adequate reserves are maintained on the books of Sizmek or such
                  subsidiary in accordance with GAAP.




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                                              Schedule 6.01(e)

                                         Capitalization; Subsidiaries

 Holder(s) of         Issuer of Shares        # of Authorized    Class of Shares   % of Outstanding
 Shares                                       Shares                               Shares Owned
                                                                                   Directly or
                                                                                   Indirectly by
                                                                                   Parent
 Solomon              Sizmek Inc.             1,000              Common Stock      1,000; 100%
 Acquisition Corp.

 Sizmek Inc.          Sizmek Technologies,    1                  Common Stock      1; 100%
                      Inc.

Sizmek Inc.           chors GmbH i.L.         2                  Nominal Capital   2; 100%
                      (under liquidation)

Sizmek Inc.           View Point Japan K.K. 200                  Ordinary Shares   200; 100%
                      (dormant)

Sizmek                Sizmek Israel           203,300            Ordinary Shares   203,300; 100%
Technologies, Inc.
Sizmek                Point Roll, Inc.        89.56              Common Stock      89.56; 100%
Technologies, Inc.
Sizmek                Peer39 (Israel) Ltd. (to 100               Ordinary Shares   100; 100%
Technologies, Inc.    be liquidated)

Sizmek                EyeWonder Europe        CHF                Share Capital     20.000; 100%
Technologies, Inc.    GmbH (Switzerland)      20.000
                      (to be liquidated)

Sizmek                EyeWonder Benelux       €18,000            Share Capital     €18,000; 100%
Technologies, Inc.    BV (Netherlands) (to
                      be liquidated)

Sizmek                EyeWonder GmbH i.L. €25,000                Share Capital     €25,000; 100%
Technologies, Inc.    (Germany) (under
                      liquidation)

Sizmek Israel         Sizmek UK               1                  Ordinary Shares   1; 100

 Sizmek Israel and    Sizmek Technologies     50,000             Shares            50,000; 100%
 Sizmek UK            Mexico, SA DE CV                                             (99.998% owned by
                                                                                   Sizmek Israel and
                                                                                   0.002% owned by
                                                                                   Sizmek UK)

 Sizmek Israel and Sizmek Propaganda          100,000            Quotas            100,000; 100%
 Sizmek            Digital do Brazil                                               (99.999% owned by
 Technologies      LTDA                                                            Sizmek Israel and
 Mexico, SA DE CV                                                                  0.001% owned by
                                                                                   Sizmek Technologies

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 Holder(s) of         Issuer of Shares       # of Authorized    Class of Shares      % of Outstanding
 Shares                                      Shares                                  Shares Owned
                                                                                     Directly or
                                                                                     Indirectly by
                                                                                     Parent
                                                                                     Mexico, SA DE CV)

 Sizmek Israel and    Sizmek Technologies    510,840            Quotas               510,840; 100%
 Sizmek UK            S.R.L. (Argentina)                                             (99.628 owned by
                                                                                     Sizmek Israel and
                                                                                     0.372% owned by
                                                                                     Sizmek UK)

Sizmek Israel         MediaMind              $1,110,000         Registered Capital   $1,110,000; 100%
                      Technologies
                      (Shanghai) Co., Ltd
                      (China)

Sizmek Israel         Sizmek Technologies    100                Ordinary Shares      100; 100%
                      K.K. (Japan)

Sizmek Israel         Sizmek Technologies 16,000                Common Shares        15,995; 99.97% (other
                      Phils. Inc. (Philippines)                                      0.3% owned by
                                                                                     directors, 1 share each,
                                                                                     as required by Phil.
                                                                                     law)

Sizmek Israel         Sizmek d.o.o. Beograd 330,000 RSD        Paid-Up Capital       330,000 RSD ; 100%
                      (Serbia)

Sizmek Israel         StrikeAd Asia Pte. Ltd. 50,000           Ordinary Shares       50,000; 100%

Sizmek Israel         Zestraco Investments   3,001             Ordinary Shares       3,001; 100%
                      Limited (Cyprus)
                      (under liquidation)

Sizmek UK             Sizmek Technologies    2                 Ordinary Shares       2; 100%
                      Pty. Limited
                      (Australia)

 Sizmek Israel and    Sizmek SARL (France) 8,000                Ordinary Shares      8,000; 100%
 Sizmek UK                                                                           (99.9875% owned by
                                                                                     Sizmek UK and
                                                                                     0.0125% owned by
                                                                                     Sizmek Israel)

Sizmek UK             Sizmek Technologies    €25,000            Share Capital        €25,000; 100%
                      GmbH (Germany)

Sizmek UK             Sizmek Spain, S.L.     3,300             Ordinary Shares       3,300; 100%

Sizmek UK             Sizmek Technologies    50,000            Ordinary Shares       50,000; 100%
                      Sweden AB


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    Holder(s) of         Issuer of Shares        # of Authorized        Class of Shares       % of Outstanding
    Shares                                       Shares                                       Shares Owned
                                                                                              Directly or
                                                                                              Indirectly by
                                                                                              Parent
Sizmek UK                Sizmek Technologies     100                   Ordinary Shares        100; 100%
                         sp. z o.o. (Poland)

Sizmek Israel            Adagoo Ltd. (Israel)    6,317                 Class A Preferred      6,317; ~15%1

    Sizmek               Rocket Fuel Inc.        1,000                  common stock          100%
    Technologies,
    Inc.

    Rocket Fuel Inc. Rocket Fuel Ltd             1                      ordinary share        100%

    Rocket Fuel Inc. Rocket Science              100                    common stock          100%
                     Media Inc.

    Rocket Fuel Inc. Rocket Fuel Czech N/A                              N/A                   100%
                     Services s.r.o.

    Rocket Fuel Inc. Rocket Fuel                 110,000                quotas                100%
                     Publicidade Ltda

    Rocket Fuel Ltd Rocket Fuel GmbH 1                                  share                100%

    Rocket Fuel Inc. X Plus Two                  1                      unit                 100%
                     Solutions, LLC

    X Plus Two           X Plus One              65,000,000             common stock          100%
    Solutions, LLC       Solutions, Inc.
                                                 40,000,000             preferred stock       100%

    X Plus One           Wireless                1,000                  common shares         100%
    Solutions, Inc.      Developer, Inc.



Note: “Wireless Artist LLC is owned by one of Wireless Developer, Inc., X Plus Two Solutions,
LLC, and X Plus One Solutions, Inc. Corporate records regarding capitalization of Wireless
Artist LLC are unavailable.




1
       Company is no longer in business, although the entity has not been liquidated. Investment has been written off
       for tax and accounting purposes.


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                                 Schedule 6.01(f)

                                    Litigation

None.




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                                 Schedule 6.01(i)
                                     ERISA
None.




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                                        Schedule 6.01(l)

                                      Nature of Business

       The Loan Parties are technology companies that operate a leading independent global
online platform for people-based creative optimization, data activation, ad campaign
management and distribution; helping advertisers, media agencies, creative agencies, publishers
and other entities to engage with consumers across multiple online media channels (including but
not limited to mobile, display, rich media, video and social) and to utilize data for analysis and
optimization.




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                                 Schedule 6.01(q)

                              Environmental Matters

None.




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                                 Schedule 6.01(r)

                                    Insurance

                                    [Attached.]




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                                                  Sizmek, Inc. Insurance Synopsis
                                                            2017 - 2018


                              AUTOMOBILE LIABILITY                                                                         PROPERTY LIABILITY
                                                                 **Part of Comm. Pkg                                                               **Part of Comm. Pkg
Policy Term: 06/01/2017 – 03/01/2018                       Policy#: TCP 7010771_10          Policy Term: 06/01/2017 – 03/01/2018                   Policy#: TCP 7010771_10
Carrier: Berkley Technology Underwriters                            Premium: $2,864         Carrier: Berkley Technology Underwriters                      Premium: $117,785
                                                                                                                                                              Terrorism: $324
Auto Symbols: (8,9) Hired & Non-Owned Autos Only
                                                                                Limit                                                                                   Limit
Auto Liability (8,9)                                                       $1,000,000       Business Personal Property                                            $24,539,478
Physical Damage (8)                                                 Actual Cash Value       Business Income & Extra Expense                                       $10,000,000
Auto Medical Payments                                                         $10,000       Basket (Blanket) Additional Protection
                                                                                            Property / BI & EE                                            $500,000 / $250,000
Deductible:                                                                                 Unscheduled Locations                                                    $300,000
Auto Liability                                                                        $0    Newly Acquired Buildings / Personal Property              $2,000,000 / $1,000,000
Physical Damage                                                                   $1,000    Newly Acquired Locations – Income Coverage                               $250,000
                                                                                            Dependent Locations – Income Coverage                                    $250,000
                                                                                            In Transit                                                               $150,000
                                                                                            Debris Removal                                           25% of loss plus $50,000
                                  GENERAL LIABILITY                                         Computer Virus & Hacking – Property / BI                        $50,000 / $75,000
                                                                 **Part of Comm. Pkg        Tenants & Neighbors Liability (International)                          $1,000,000
Policy Term: 06/01/2017 – 03/01/2018                       Policy#: TCP 7010771_10          Earth Movement Sprinkler Leakage (EQSL)                        Included / 72 hours
                                                                   Premium: $12,442         Equipment Breakdown                                                     Full Limits
Carrier: Berkley Technology Underwriters                             Terrorism: $25
                                                                                            Deductible:
                                                                                   Limit    Business Personal Property                                                $5,000
Each Occurrence                                                               $1,000,000    BI & Extra Expense                                                      24 hours
General Aggregate                                                             $3,000,000    EQSL                                                      $50k (CA) / $25k (AOL)
Products/Completed Operations Aggregate                                       $3,000,000
Damage to Premises Rented to You                                              $1,000,000
Personal and Advertising Injury                                               $1,000,000
Medical Expenses                                                                 $10,000                               WORKERS COMPENSATION

Employee Benefits Liability                                                                 Policy Term 06/01/2017 – 03/01/2018                    Policy#:TWC 7010772_10
Each Employee Limit                                                           $1,000,000    Carrier: Berkley National Insurance Company                   Premium: $35,061
General Aggregate Limit                                                       $3,000,000
                                                                                            States Covered: CA, GA, IL,MD, NC,NY, OR, PA, TX, CO, FL, MI, SC, VA
International Workers Compensation                                                 Limit
International Voluntary Workers                                                                                                                                         Limit
Compensation                                                                    Statutory   Workers Compensation                                                     Statutory
Bodily Injury Accident /Disease/Aggregate                                     $1,000,000
                                                                                            Employers Liability (Coverage B)
International Automobile Liability                                            $1,000,000    Bodily Injury by Accident – Each Accident                              $1,000,000
                                                                                            Bodily Injury by Disease – Each Employee                               $1,000,000
Deductible:                                                                                 Bodily Injury by Disease – Policy Limit                                $1,000,000
General Liability – Domestic & Foreign                                                $0
Employee Benefits Liability                                                       $1,000    Retention:                                                                       $0




                            UK EMPLOYERS’ LIABILITY                                                            ERRORS & OMISSIONS / TECHNOLOGY

Insured: Sizmek Technologies Ltd.       Policy Term: 06/01/2017 - 02/28/2018                Policy Term: 03/27/2017 – 03/01/2018            Policy#: EON G25611354 001
Carrier: Berkley Technology Underwriters                 Policy#: TLE 701852-10             Carrier: Illinois Union Insurance Company                  Premium: $82,053

                                                                                   Limit                                                    Limit: Aggregate / Each Claim
Aggregate                                                                     £5,000,000    Technology E&O                                       $10,000,000 / $10,000,000
                                                                                            Cyber Incident Response Team                         $10,000,000 / $10,000,000
                                                                                            Business Interruption & Extra Expense                $10,000,000 / $10,000,000
                                                                                            Digital Data Recovery                                $10,000,000 / $10,000,000
                                UMBRELLA LIABILITY                                          Network Extortion                                    $10,000,000 / $10,000,000
                                                                **Part of Comm. Pkg         Cyber, Privacy, & Network Security Liability         $10,000,000 / $10,000,000
Policy Term: 06/01/2017 – 03/01/2018                      Policy#: TCP 7010771_10           Payment Card Loss                                    $10,000,000 / $10,000,000
Carrier: Berkley Technology Underwriters                          Premium: $14,329          Regulatory Proceedings                               $10,000,000 / $10,000,000
                                                                   Terrorism: $281          Electronic, Social, & Printed Media                  $10,000,000 / $10,000,000
                                                                                            Deductible                                                            $100,000
                                                                                Limit       Retroactive Date:                                                   06/01/2001
Each Occurrence                                                           $20,000,000
Aggregate                                                                 $20,000,000       ERRORS & OMISSIONS / TECHNOLOGY—EXCESS (10x10M)
Personal and Advertising Injury                                           $20,000,000       Policy Term: 03/27/2017 – 03/01/2018      Policy#: MTE 9034839
                                                                                            Carrier: Greenwich Insurance Company          Premium: $60,370
Retention:
Each Claim                                                                            $0                                                                             Limit
                                                                                            Each Claim / Aggregate                                             $10,000,000
                                                                                            System Failure                                                     $10,000,000


***Locally admitted international policies are not included in this Summary
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                                                  Sizmek, Inc. Insurance Synopsis
                                                            2017 - 2018
                           DIRECTORS & OFFICERS

Policy Term: 09/27/2016 – 09/27/2017                        Policy#: 01-879-46-69
Carrier: National Union Fire Insurance
Company of Pittsburgh, Pa. (AIG)                                Premium: $40,072

                                                                             Limit
Aggregate                                                              $10,000,000
Crisis Management Fund                                                     $25,000
Cost of Investigation                                                     $250,000

Retention:                                                                    $50,000




                                      CRIME

Policy Term: 06/01/2016 – 09/27/2017                  Policy#: MCN794622012016
Carrier: AXIS Insurance Company
                                                                             Limit
Employee Theft                                                          $2,500,000
Computer Funds Transfer Fraud                                           $2,500,000
Inside the Premises                                                     $2,500,000
Outside the Premises                                                    $2,500,000
Depositors Forgery or Alteration                                          $500,000
Credit, Debit, or Charge Card Forgery                                   $2,500,000
Money Orders and Counterfeit Currency                                   $2,500,000
Social Engineering Fraud                                                  $250,000

Retention:
Per Occurrence                                                                $25,000
Money Order or Counterfeit Currency Fraud                                      $1,000
Credit, Debit or Charge Card Forgery                                           $1,000




                             FIDUCIARY LIABILITY

Policy Term: 06/01/2016 – 09/27/2017                            Policy#: 82476812
Carrier: Federal Insurance Co.

                                                                             Limit
Aggregate                                                               $5,000,000

Retention:
Insured Fiduciary                                                             $10,000
All Other Loss to Which a Retention Applies                                   $10,000




                     EMPLOYMENT PRACTICES LIABILITY

Policy Term: 06/01/2016 – 09/27/2017                            Policy#: 82399746
Carrier: Federal Insurance Co.

                                                                             Limit
Each Claim Limit                                                        $2,000,000
All Claims Each Policy Limit                                            $2,000,000
Third Party Liability Each Claim                                        $2,000,000

Retentions:
Per Claim                                                                     $75,000




                               KIDNAP & RANSOM

Policy Term: 06/01/2015 – 06/01/2018                           Policy#: 82409900
Carrier: Federal Insurance Co.                                  Premium: $12,490

                                                                             Limit
Special Coverage                                                        $5,000,000

Retentions:                                                                       $0

*
***Locally admitted international policies are not included in this Summary
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                                                                     Schedule 6.01(u)

                                                                  Intellectual Property



                                                           U.S. REGISTERED PATENTS

                                                                          SIZMEK

     Patent Number              Grant Date                             Patent Name                           Application Date        Current Owner of Record

       5,886,7022                    3/23/1999    System And Method For Computer Modeling Of 3D                     10/16/1996    Sizmek Technologies, Inc.
                                                  Objects Or Surfaces By Mesh Constructions Having
                                                  Optimal Quality Characteristics And Dynamic
                                                  Resolution Capabilities
       5,945,9963                    8/31/1999    System And Method For Rapidly Generating An                       10/16/1996    Sizmek Technologies, Inc.
                                                  Optimal Mesh Model Of A 3D Object or Surface
        5,995,650                   11/30/1999    System And Method For Rapid Shape Digitizing and                   7/21/1998    Sizmek Technologies, Inc.
                                                  Adaptive Mesh Generation
       6,029,1294                    2/22/2000    Quantizing Audio Data Using Amplitude Histogram                    5/22/1997    Sizmek Technologies, Inc.
       6,064,7715                    5/16/2000    System And Method for Asynchronous, Adaptive                       6/23/1997    Sizmek Technologies, Inc.
                                                  Moving Picture Compression, And Decompression
        6,205,243                    3/20/2001    System and Method For Rapid Shape Digitizing And                   1/28/2000    Sizmek Technologies, Inc.
                                                  Adaptive Mesh Generation




2
    This patent expired after term; on advice of counsel, Company will maintain as owned through first anniversary of expiration date.
3
    This patent expired after term; on advice of counsel, Company will maintain as owned through first anniversary of expiration date.
4
    This patent expired after term; on advice of counsel, Company will maintain as owned through first anniversary of expiration date.
5
    This patent expired after term; on advice of counsel, Company will maintain as owned through first anniversary of expiration date.


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     Patent Number              Grant Date                             Patent Name                           Application Date        Current Owner of Record

       6,208,3476                    3/27/2001    System And Method For Computer Modeling Of 3D                      6/23/1997    Sizmek Technologies, Inc.
                                                  Objects And 2D Images By Mesh Constructions That
                                                  Incorporate Non-Spatial Data Such As Color Or
                                                  Texture
        6,262,739                    7/17/2001    System And Method For Computer Modeling Of 3D                      3/22/1999    Sizmek Technologies, Inc.
                                                  Objects Or Surfaces By Mesh Constructions Having
                                                  Optimal Quality Characteristics And Dynamic
                                                  Resolution Capabilities
        6,314,451                    11/6/2001    An Ad Controller For Use In Implementing User-                     7/13/1999    Sizmek Technologies, Inc.
                                                  Transparent Network-Distributed Advertising And For
                                                  Interstitially Displaying An Advertisement So
                                                  Distributed
        6,317,761                   11/13/2001    Technique For Implementing Browser-Initiated User-                 7/13/1999    Sizmek Technologies, Inc.
                                                  Transparent Network-Distributed Advertising And For
                                                  Interstitially Displaying An Advertisement, So
                                                  Distributed, Through A Web Browser In Response To
                                                  A User Click-Stream
        6,356,263                    3/12/2002    Adaptive Subdivision of Mesh Models                                1/27/1999    Sizmek Technologies, Inc.
        6,393,407                    5/21/2002    Tracking User Micro-Interactions with Web Page                      9/2/1998    Sizmek Technologies, Inc.
                                                  Advertising
        6,466,967                   10/15/2002    Apparatus and Accompanying Methods for Network                     9/13/2001    Sizmek Technologies, Inc.
                                                  Distribution and Interstitial Rendering of Information
                                                  Objects to Client Computers
        6,516,338                     2/4/2003    Locally-Summoned Network-Distributed Confirmed                     7/13/1999    Sizmek Technologies, Inc.
                                                  Informational Presentations
        6,549,288                    4/15/2003    Structured-Light, Triangulation-Based Three-                       5/14/1999    Sizmek Technologies, Inc.
                                                  Dimensional Digitizer
        6,687,737                     2/3/2004    Apparatus and Accompanying Methods for Network                     9/13/2001    Sizmek Technologies, Inc.
                                                  Distribution and Interstitial Rendering of Information
                                                  Objects to Client Computers
        6,734,873                    5/11/2004    Method and System for Displaying a Composited                      7/21/2000    Sizmek Technologies, Inc.
                                                  Image



6
    This patent expired after term; on advice of counsel, Company will maintain as owned through first anniversary of expiration date.


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     Patent Number      Grant Date                           Patent Name                          Application Date      Current Owner of Record

        6,785,659           8/31/2004   Agent-Based Technique For Implementing Browser-                  7/13/1999    Sizmek Technologies, Inc.
                                        Initiated User-Transparent Interstitial Web Advertising
                                        In A Client Computer
        6,880,123           4/12/2005   Apparatus And Accompanying Methods For                           7/13/1999    Sizmek Technologies, Inc.
                                        Implementing A Network Distribution Server For Use
                                        In Providing Interstitial Web Advertisements To A
                                        Client Computer.
        6,959,424          10/25/2005   SYSTEM AND METHOD FOR DISPLAYING AN                                6/1/2001   Point Roll, Inc.
                                        ENABLED IMAGE ASSOCIATED WITH A
                                        PREDETERMINED IMAGE IN AN IFRAME OF A
                                        VISUAL DISPLAY
        6,981,224          12/27/2005   SYSTEM AND METHOD FOR CONDITIONALLY                                6/1/2001   Point Roll, Inc.
                                        ASSOCIATING A PLURALITY OF ENABLED
                                        IMAGES WITH A PREDETERMINED IMAGE
        6,990,630           1/24/2006   Technique For Implementing Browser-Initiated User-               5/31/2002    Sizmek Technologies, Inc.
                                        Transparent Network-Distributed Advertising And For
                                        Interstitially Displaying An Advertisement, So
                                        Distributed, Through A Web Browser In Response To
                                        A User Click-Stream
        7,003,734           2/21/2006   METHOD AND SYSTEM FOR CREATING AND                              11/28/2000    Point Roll, Inc.
                                        DISPLAYING IMAGES INCLUDING POP-UP
                                        IMAGES ON A VISUAL DISPLAY
        7,028,072           4/11/2006   Method and Apparatus for Dynamically Constructing                7/14/2000    Sizmek Technologies, Inc.
                                        Customized Advertisements
        7,143,337          11/28/2006   Apparatus And Accompanying Methods For Network                   9/13/2001    Sizmek Technologies, Inc.
                                        Distribution And Interstitial Rendering Of Information
                                        Objects To Client Computers
        7,149,958          12/12/2006   Technique For Implementing Browser-Initiated User-               5/31/2002    Sizmek Technologies, Inc.
                                        Transparent Network-Distributed Advertising And For
                                        Interstitially Displaying An Advertisement, So
                                        Distributed, Through A Web Browser In Response To
                                        A User Click-Stream
        7,155,663          12/26/2006   Technique For Implementing Browser-Initiated User-               5/31/2002    Sizmek Technologies, Inc.
                                        Transparent Network-Distributed Advertising And For
                                        Interstitially Displaying An Advertisement, So
                                        Distributed, Through A Web Browser In Response To
                                        A User Click-Stream

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     Patent Number      Grant Date                           Patent Name                         Application Date      Current Owner of Record

        7,167,921           1/23/2007   Full duplex re-transmitter                                      11/2/2000    Sizmek Technologies, Inc.
        7,302,404          11/27/2007   METHOD AND APPARATUS FOR A NETWORK                              2/12/2001    Sizmek Technologies, Inc.
                                        SYSTEM DESIGNED TO ACTIVELY MATCH
                                        BUYERS AND SELLERS IN A BUYER-DRIVEN
                                        ENVIRONMENT
        7,310,609          12/18/2007   Tracking User Micro-Interactions with Web Page                  3/14/2002    Sizmek Technologies, Inc.
                                        Advertising
        7,328,435            2/5/2008   Method for dynamically changing one Web page by                   4/4/2002   Sizmek Israel
                                        another web page
        7,453,456          11/18/2008   System and Method of Three Dimensional Image                    5/30/2006    Sizmek Technologies, Inc.
                                        Capture and Modeling
        7,474,803            1/6/2009   System and Method of Three Dimensional Image                    5/30/2006    Sizmek Technologies, Inc.
                                        Capture and Modeling
        7,559,034            7/7/2009   Method and System for Using a Hyperlink Banner, or             10/19/2000    Sizmek Technologies, Inc.
                                        Graphical Icon to Initiate the Overlaying of an Object
                                        on a Window
        7,565,322           7/21/2009   Systems and Methods For Serverless Software                     3/29/2000    Sizmek Technologies, Inc.
                                        Licensing
        8,041,701          10/18/2011   Enhanced Graphical Interfaces for Displaying Visual             1/10/2006    Sizmek Technologies, Inc.
                                        Data
        8,521,595           8/27/2013   Dynamic Interaction Mapping for Online Advertizing               5/5/2011    Sizmek Technologies, Inc.
        9,117,219           8/25/2015   METHOD AND A SYSTEM FOR SELECTING                              12/31/2008    Sizmek Technologies, Inc.
                                        ADVERTISING SPOTS
        9,716,908           7/25/2017   Distributing Media Content Via Media Channels                   11/5/2014    Sizmek Technologies, Inc.
                                        Based on Associated Content Being Provided Over
                                        Other Media Channels
        9,737,812           2/13/2007   Method of interacting with an interactive game                  8/22/2017    Sizmek Technologies LTD
                                        program




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                                                                       ROCKET FUEL

                                               FILING           PATENT             ISSUE                                                    UNRELEASED
TITLE              SERIAL #                    DATE             NUMBER             DATE             STATUS            OWNER                     LIENS
Method of Storing 13934180                     Jul 2, 2013      9641632             May 2,       Issued             ROCKET                  None.
a Web User ID in                                                                   2017                             FUEL INC.
First-Party
Cookies
First Party Cookie 14054644                    Oct 15,          9691080             June 27,     Issued             ROCKET                  None.
Attribution                                    2013                                2017                             FUEL INC.



                                                  INTERNATIONAL REGISTERED PATENTS

                                                                          SIZMEK


               Patent                                                                          Application
                           Grant Date                      Patent Name                                            Country        Owner of Record
              Number                                                                             Date
                 133,039      3/4/2008    Full duplex re-transmitter                            11/18/1999         Israel            Sizmek
                                                                                                                                 Technologies, Inc.
                08886937     6/16/2004    System And Method For Rapid Shape                       3/20/1997     European             Sizmek
                                          Digitizing and Adaptive Mesh Generation                              Patent Office     Technologies, Inc.
             01979839.6                   Method and System using a hyperlink, banner           10/15/2001      European             Sizmek
                                          or geographical icon to initiate the overlaying                      Patent Office     Technologies, Inc.
                                          of an object on a window
                 4064060     3/19/2008    A Technique For Implementing Browser-                   5/14/1999        Japan                 [_____]8
                                          Initiated Network-Distributed Advertising And
                                          For Interstitially Displaying An Advertisement


7
    This patent expired after term; on advice of counsel, Company will maintain as owned through first anniversary of expiration date.
8
    IP counsel has been engaged to research this patent.


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                                                                      ROCKET FUEL

                                                                          None.



                                                          U.S. REGISTERED TRADEMARKS

                                                                        SIZMEK

                             Mark                       Reg. Number     Reg. Date          Country              Owner of Record
              VIEWPOINT                                  2,143,808      3/17/1998    USA                 Sizmek Technologies, Inc.
              ENLIVEN                                    2,232,558      3/16/1999    USA                 Sizmek Technologies, Inc.
              SUPERSTITIAL                               2,357,310      6/13/2000    USA                 Sizmek Technologies, Inc.
              UNICAST                                    2,371,539      7/25/2000    USA                 Sizmek Technologies, Inc.
              VIDEOSTITIAL                               3,010,428      11/1/2005    USA                 Sizmek Technologies, Inc.
              PEER39                                     4,082,612      1/10/2012    USA                 Sizmek Technologies, Inc.
              EYEBLASTER                                 4,295,840      2/13/2013    USA                                                  9
                                                                                                         Mediamind Technologies Ltd
              PAGE LEVEL INTELLIGENCE                    4,402,365      9/17/2013    USA                 Sizmek Technologies, Inc.
              Sizmek                                     4,778,053      7/21/2015    USA                 Sizmek Technologies, Inc.
              MDX                                        4,787,181       8/4/2015    USA                 Sizmek Technologies, Inc.
              MDX                                        2,771,446      11/25/2015   Argentina           Sizmek Technologies, Inc.
              PAGE LEVEL INTELLIGENCE                    1,497,104        1/9/2013   Australia           Sizmek Technologies, Inc.
              MDX                                        1,692,147       8/21/2015   Australia           Sizmek Technologies, Inc.
              SIZMEK                                     1,626,823       6/5/2014    Australia           Sizmek Technologies, Inc.
              VIEWPOINT VISUALIZATION                   TMA 681,473      2/12/2007   Canada              Sizmek Technologies, Inc.
              VIEWPOINT                                 TMA 704,176       1/8/2008   Canada              Sizmek Technologies, Inc.
              MDX                                       TMA 944,240      7/26/2016   Canada              Sizmek Technologies, Inc.
              ENLIVEN                                     652,842        1/13/1999   European Union                                  10
                                                                                                         Sizmek Technologies, Inc.

9
     This mark has not been in use for some time and will not be renewed, so no filing was made with USPTO to record name change to Sizmek Technologies
     Ltd.
10
     No longer in use, will allow to expire 10/1/2017


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                          Mark                           Reg. Number       Reg. Date        Country             Owner of Record
               SUPERSTITIAL                                1,707,322       9/24/2001   European Union    Sizmek Technologies, Inc.
               UNICAST                                     1,707,389      12/16/2003   European Union                                11
                                                                                                         Sizmek Technologies, Inc.
               STRIKEAD                                   10,015,931       2/11/2011   European Union    Sizmek Technologies, Inc.
               STRIKEAD (logo)                            10,016,038       2/11/2011   European Union    Sizmek Technologies, Inc.



               PAGE LEVEL INTELLIGENCE                     10,977,536     10/23/2014   European Union    Sizmek Technologies, Inc.
               SIZMEK                                      12,920,799     10/21/2014   European Union    Sizmek Technologies, Inc.
               MDX                                        IR 1245707        3/9/2016   European Union    Sizmek Technologies, Inc.
               MDX                                       40201507819X      1/14/2016   Singapore         Sizmek Technologies, Inc.
               EYE (logo)                                   2,266,557     12/12/2003   UK                Sizmek Technologies, Inc.




               MDX                                         1,245,707      12/12/2014   WIPO              Sizmek Technologies, Inc.

                                                                        ROCKET FUEL

              Trademark                 Database         Application     Application   Registration     Registration       Status         Owner
                                                         Date            Number        Date              Number
     MARKETING THAT                     U.S.             2/11/2015       86530963      11/1/2016        5073983          Registered ROCKET
     LEARNS                             Federal                                                                                     FUEL INC.
     ROCKET FUEL                        U.S.             4/4/2014        86242797      12/27/2016       5110180          Registered ROCKET
                                        Federal                                                                                     FUEL INC.
     MOMENTS OF                         U.S.             9/20/2012       85734371      5/14/2013        4334659          Registered ROCKET
     INFLUENCE                          Federal                                                                                     FUEL INC.
     ADVERTISING THAT                   U.S.             6/8/2012        85647407      5/28/2013        4344067          Registered ROCKET

11
      No longer in use, will allow to expire 5/30/2020


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             Trademark         Database   Application   Application   Registration   Registration    Status      Owner
                                          Date          Number        Date            Number
  LEARNS                       Federal                                                                        FUEL INC.


  AUDIENCE                     U.S.       8/26/2011     85408801      11/6/2012      4236217        Registered ROCKET
  ACCELERATOR                  Federal                                                                         FUEL INC.
  ROCKET FUEL                  U.S.       4/8/2011      85290791      10/18/2011     4042162        Registered ROCKET
  CONNECT                      Federal                                                                         FUEL INC.
  CAMPAIGNS RUN                U.S.       3/3/2011      85257034      10/4/2011      4034976        Registered ROCKET
  BETTER ON ROCKET             Federal                                                                         FUEL INC.
  FUEL.
  WE'RE BRINGING       U.S.               12/17/2010    85201137      7/19/2011      3997440        Registered ROCKET
  ROCKET SCIENCE TO    Federal                                                                                 FUEL INC.
  DIGITAL ADVERTISING.
  ROCKETFUEL                   U.S.       12/17/2010    85201128      7/12/2011      3993878        Registered ROCKET
                               Federal                                                                         FUEL INC.
  TRUELIFT                     U.S.       12/2/2010     85189762      7/26/2011      4001908        Registered ROCKET
                               Federal                                                                         FUEL INC.
  SOCIAL BOOSTER               U.S.       11/16/2010    85177767      7/12/2011      3993064        Registered ROCKET
                               Federal                                                                         FUEL INC.
  AUDIENCE BOOSTER             U.S.       11/16/2010    85177820      7/12/2011      3993067        Registered ROCKET
                               Federal                                                                         FUEL INC.
  RETARGETING                  U.S.       11/16/2010    85177832      7/12/2011      3993069        Registered ROCKET
  BOOSTER                      Federal                                                                         FUEL INC.
  SEARCH BOOSTER               U.S.       11/16/2010    85177837      7/12/2011      3993070        Registered ROCKET
                               Federal                                                                         FUEL INC.



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             Trademark         Database   Application   Application   Registration   Registration    Status      Owner
                                          Date          Number        Date            Number
  INSIGHTS BOOSTER             U.S.       11/16/2010    85177849      6/28/2011      3985363        Registered ROCKET
                               Federal                                                                         FUEL INC.
  VIDEO BOOSTER                U.S.       11/16/2010    85177868      7/12/2011      3993071        Registered ROCKET
                               Federal                                                                         FUEL INC.
  MOBILE BOOSTER               U.S.       11/16/2010    85177909      7/12/2011      3993073        Registered ROCKET
                               Federal                                                                         FUEL INC.
  HOLIDAY SHOPPING             U.S.       11/16/2010    85177915      7/12/2011      3993075        Registered ROCKET
  BOOSTER                      Federal                                                                         FUEL INC.
  AUTO BOOSTER                 U.S.       11/16/2010    85177928      7/12/2011      3993076        Registered ROCKET
                               Federal                                                                         FUEL INC.
  FASHION BOOSTER              U.S.       11/16/2010    85178325      7/12/2011      3993088        Registered ROCKET
                               Federal                                                                         FUEL INC.
  HOTEL CASINO                 U.S.       11/16/2010    85178336      7/12/2011      3993090        Registered ROCKET
  BOOSTER                      Federal                                                                         FUEL INC.
  DIRECT RESPONSE              U.S.       7/1/2010      85075586      4/26/2011      3952676        Registered ROCKET
  BOOSTER                      Federal                                                                         FUEL INC.
  DR BOOSTER                   U.S.       7/1/2010      85075703      4/26/2011      3952678        Registered ROCKET
                               Federal                                                                         FUEL INC.
  ROCKET FUEL                  U.S.       5/7/2008      77467789      6/30/2009      3648573        Registered ROCKET
                               Federal                                                                         FUEL, INC.


                                     INTERNATIONAL REGISTERED TRADEMARKS

                                                          SIZMEK

                                                            None.

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                                                        ROCKET FUEL

 Trademark                     Database   Application   Application   Registration   Registration   Status   Owner
                                          Date          Number        Date           Number
 MARKETING THAT                EU trade   7/21/2015     14394696      11/19/2015     14394696       Registered ROCKET FUEL
 LEARNS                        marks                                                                           INC.
 MISSION CONTROL               EU trade   1/12/2015     13633698      4/28/2015      13633698       Registered ROCKET FUEL
                               marks                                                                           INC.
 rocketfuel Artificial         EU trade   10/15/2014    13363841      2/16/2015      13363841       Registered ROCKET FUEL
 intelligence. Real results.   marks                                                                           INC.
 ROCKET FUEL                   EU trade   5/7/2014      12853396      9/26/2014      12853396       Registered ROCKET FUEL
                               marks                                                                           INC.
 SAFE PIXEL                    EU trade   9/26/2013     12174249      2/3/2014       12174249       Registered ROCKET FUEL
                               marks                                                                           INC.
 Moments of Influence          EU trade   1/22/2013     11507712      6/4/2013       11507712       Registered ROCKET FUEL
                               marks                                                                           INC.
 ADVERTISING THAT              EU trade   12/7/2012     11406221      4/22/2013      11406221       Registered ROCKET FUEL
 LEARNS                        marks                                                                           INC.
 DR Booster                    EU trade   12/22/2010    9620105       5/3/2011       9620105        Registered ROCKET FUEL
                               marks                                                                           INC.
 Direct Response Booster       EU trade   12/22/2010    9620279       5/3/2011       9620279        Registered ROCKET FUEL
                               marks                                                                           INC.
 Real-Time Brand               EU trade   12/22/2010    9620394       5/3/2011       9620394        Registered ROCKET FUEL
 Optimization                  marks                                                                           INC.
 ROCKET FUEL                   EU trade   12/3/2010     9573924       5/13/2011      9573924        Registered ROCKET FUEL
                               marks                                                                           INC.

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 Trademark                     Database   Application   Application   Registration   Registration   Status   Owner
                                          Date          Number        Date           Number
 ROCKET FUEL                   China      9/18/2012     11507049      5/7/2015       11507049       Registered ROCKET FUEL
                                                                                                               INC.
 huo jian dong li              China      9/18/2012     11507046      2/21/2014      11507046       Registered ROCKET FUEL
                                                                                                               INC.
 ROCKET FUEL                   China      9/18/2012     11507048      2/21/2014      11507048       Registered ROCKET FUEL
                                                                                                               INC.
 huo jian dong li              China      9/18/2012     11507047      12/14/2016     11507047       Registered ROCKET FUEL
                                                                                                               INC.
 rocketfuel Artificial         Hong Kong 10/17/2014     303168522     10/17/2014     303168522      Registered ROCKET FUEL
 intelligence. Real results.                                                                                   INC.
 huo jian dong li huo jian     Hong Kong 9/19/2012      302383074     9/19/2012      302383074      Registered ROCKET FUEL
 dong li                                                                                                       INC.
 ROCKET FUEL                   Hong Kong 9/19/2012      302383065     9/19/2012      302383065      Registered ROCKET FUEL
                                                                                                               INC.
 MARKETING THAT                Japan      7/23/2015     2015-070556   10/23/2015     5801902        Registered ROCKET FUEL
 LEARNS                                                                                                        INC.
 ROCKETFUEL         Japan                 10/16/2014    2014-086966   8/21/2015      5787429        Registered ROCKET FUEL
 ARTIFICIAL                                                                                                    INC.
 INTELLIGENCE. REAL
 RESULTS.
 ADVERTISING THAT              Japan      12/10/2012    2012-099780   10/4/2013      5619951        Registered ROCKET FUEL
 LEARNS                                                                                                        INC.
 ROCKET FUEL                   Japan      9/10/2012     2012-072977   9/27/2013      5618585        Registered ROCKET FUEL
                                                                                                               INC.



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 Trademark                      Database    Application   Application   Registration   Registration   Status    Owner
                                            Date          Number        Date           Number
 rocket fuel                    Singapore   9/6/2012      T1213161D                                   Registered ROCKET FUEL
                                                                                                                 INC.
 ROCKET FUEL                    Australia   9/11/2014     1646500       9/11/2014      1646500        Registered ROCKET FUEL
                                                                                                                 INC.
 rocketfuel Artificial          India       10/16/2014    2828044                                     Registered ROCKET
 intelligence. Real results.                                                                                     FUEL, INC
 ROCKET FUEL                    India       4/21/2014     2721703                                     Registered ROCKET
                                                                                                                 FUEL, INC
 rocket fuel artificial         Singapore   10/15/2014    T1416491I                                   Registered ROCKET
 intelligence real results                                                                                       FUEL, INC
 MARKETING THAT                 Australia   7/21/2015     1708633       7/21/2015      1708633        Registered ROCKET
 LEARNS                                                                                                          FUEL, INC
 ROCKET FUEL                    Australia   9/4/2014      1645151       9/4/2014       1645151        Registered ROCKET
                                                                                                                 FUEL, INC
 ROCKET FUEL                    Brazil      4/17/2014     907590772     11/16/2016     907590772      Registered ROCKET
                                                                                                                 FUEL, INC.
 MARKETING THAT                 Hong Kong 7/23/2015       303482262     7/23/2015      303482262      Registered ROCKET
 LEARNS                                                                                                          FUEL, INC.
 MISSION CONTROL                China       1/15/2015     16160220      3/21/2016      16160220       Registered ROCKET
                                                                                                                 FUELINC.
 ROCKETFUEL                     China       10/17/2014    15529427      12/7/2015      15529427       Registered ROCKET
 ARTIFICIAL                                                                                                      FUELINC.
 INTELLIGENCE REAL
 RESULTS.



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 Trademark                     Database     Application   Application   Registration   Registration   Status    Owner
                                            Date          Number        Date           Number
 ROCKETFUEL                    China        10/17/2014    15529428      12/7/2015      15529428       Registered ROCKET
 ARTIFICIAL                                                                                                      FUELINC.
 INTELLIGENCE REAL
 RESULTS.
 rocketfuel Artificial         Russian      4/17/2014     2014735024    10/18/2016     591353         Registered ROCKETFUEL
 intelligence. Real results.   Federation                                                                        INC
 ROCKET FUEL                   Russia       7/22/2015     2015722684    11/7/2016      593702         Registered ROCKET FUEL




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                                        Schedule 6.01(dd)

                                  Pledged Intercompany Notes

                                                Principal Amount of
                                                Instrument as of
Issuer of Instrument     Holder of Instrument   Closing Date          Maturity Date
                         Sizmek Technologies,   $61,397,996
Sizmek Israel                                                         3/27/2023
                         Inc.

                         Sizmek Technologies,   $15,000,000
Sizmek Israel                                                         06/30/2018
                         Inc.

                         Sizmek Technologies,   $ 5,959,023
Sizmek UK                                                             12/31/2018
                         Inc.

                         Sizmek Technologies,   $ 777,769
Sizmek SARL (France)                                                  12/31/2018
                         Inc.

                         Sizmek Technologies,   $ 296,032
Sizmek Spain, S.L.                                                    12/31/2018
                         Inc.

Sizmek Technologies      Sizmek Technologies,   $ 387,378
                                                                      12/31/2018
GmbH (Germany)           Inc.

Sizmek Technologies                             €275,000
                         Sizmek Inc.                                  10/27/2017
GmbH (Germany)




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                                                             Schedule 7.02(a)

                                                              Existing Liens

               1. Capital Leases

                                                                                                              Through
Debtors                   Secured Party          File Type   File Number    File Date    Jurisdiction                     Collateral
                                                                                                              Date
Point Roll, Inc.          Cisco System Capital   Original    2011 4134394   10/26/2011   DE, Department       7/21/2017   Specific Equipment
                          Corporation                                                    of State: Division
                                                                                         Of Corporations



ROCKET FUEL               RAY MORGAN             Original    147438821705   12/03/2014   CA, Secretary of     7/5/2017    Equipment stated in
1900 SEAPORT BLVD         COMPANY                                                        State                            the collateral
REDWOOD CITY CA           3131 ESPLANADE
94063                     CHICO CA 95973


ROCKET FUEL INC           RAY MORGAN             Original    157451995177   02/25/2015   CA, Secretary of     7/5/2017    Model Serial
1900 SEAPORT BLVD         COMPANY                                                        State                            IRC Adv 5035
REDWOOD CITY CA           3131 ESPLANADE                                                                                  GNW59150
94063                     CHICO CA 95973


ROCKET FUEL INC           RAY MORGAN             Original    157467742891   06/03/2015   CA, Secretary of     7/5/2017    Model Serial
1900 SEAPORT BLVD         COMPANY                                                        State                            IRC 5035 MFD
REDWOOD CITY CA           3131 ESPLANADE                                                                                  GNW60203
94063                     CHICO CA 95973


Rocket Fuel Inc.          WINMARK CAPITAL        Original    20134396405    11/07/2013   DE, Secretary of     6/26/2017   This transaction is a
1900 Seaport Blvd         CORPORATION                                                    State                            true lease and is not
Redwood City, CA          605 Highway 169 N.                                                                              intended by the parties
94063                     Suite 400                                                                                       as a secured
                          Minneapolis, MN                                                                                 transaction. Filing is
                          55441                                                                                           only intended to make
                                                                                                                          the true lease a matter
                                                                                                                          of public record.
Rocket Fuel Inc.          WINMARK CAPITAL        Original    20142288009    06/12/2014   DE, Secretary of     6/26/2017   Equipment set forth in
1900 Seaport Blvd         CORPORATION                                                    State                            Schedule A thereto
Redwood City, CA          605 Highway 169 N.
94063                     Suite 400
                          Minneapolis, MN
                          55441
Rocket Fuel Inc.          DELL FINANCIAL         Original    20144665451    11/19/2014   DE, Secretary of     6/26/2017   All computer
1900 Seaport Blvd         SERVICES L.L.C.                                                State                            equipment,
Redwood City, CA          Mail Stop-PS2DF-23                                                                              peripherals, and other
94063                     One Dell Way                                                                                    equipment wherever
                          Round Rock, TX                                                                                  located, financed
                          78682                                                                                           under and described in
                                                                                                                          the Master Lease
                                                                                                                          Agreement
Rocket Fuel Inc.          WINMARK CAPITAL        Original    20144761375    11/25/2014   DE, Secretary of     6/26/2017   Equipment set forth in
1900 Seaport Blvd         CORPORATION                                                    State                            Schedule A thereto
Redwood City, CA          605 Highway 169 N.
94063                     Suite 400
                          Minneapolis, MN
                          55441
Rocket Fuel Inc.          DATA SALES CO. ,       Original    20152783149    06/29/2015   DE, Secretary of     6/26/2017   Equipment pursuant to
1900 Seaport Blvd         INC.                                                           State                            Lease 54-10434,
Redwood City, CA          3450 W. Burnsville                                                                              Schedule 1 and 2.
94063                     Pkwy.
                          Bornsville, MN 55337




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                                                                                                          Through
Debtors                  Secured Party          File Type   File Number   File Date    Jurisdiction                   Collateral
                                                                                                          Date
Rocket Fuel Inc.         DATA SALES CO. ,       Original    20153713046   08/25/2015   DE, Secretary of   6/26/2017   Equipment pursuant to
1900 Seaport Blvd        INC.                                                          State                          Lease 54-10434,
Redwood City, CA         3450 W. Burnsville                                                                           Schedule 3 and 4.
94063                    Pkwy.
                         Bornsville, MN 55337



Rocket Fuel Inc.         DATA SALES CO. ,       Original    20154208186   09/21/2015   DE, Secretary of   6/26/2017   Equipment pursuant to
1900 Seaport Blvd        INC.                                                          State                          Lease 54-10434,
Redwood City, CA         3450 W. Burnsville                                                                           Schedule 5, 6 and 7.
94063                    Pkwy.
                         Bornsville, MN 55337

Rocket Fuel Inc.         DATA SALES CO. ,       Original    20154746037   10/16/2015   DE, Secretary of   6/26/2017   Equipment pursuant to
1900 Seaport Blvd        INC.                                                          State                          Lease 54-10434,
Redwood City, CA         3450 W. Burnsville                                                                           Schedule 8
94063                    Pkwy.
                         Bornsville, MN 55337

Rocket Fuel Inc.         DATA SALES CO. ,       Original    20154918982   10/26/2015   DE, Secretary of   6/26/2017   Equipment pursuant to
1900 Seaport Blvd        INC.                                                          State                          Lease 54-10434,
Redwood City, CA         3450 W. Burnsville                                                                           Schedule 9
94063                    Pkwy.
                         Bornsville, MN 55337

Rocket Fuel Inc.1900     DATA SALES CO. ,       Original    20155614739   11/25/2015   DE, Secretary of   6/26/2017   Equipment pursuant to
Seaport BlvdRedwood      INC.3450 W.                                                   State                          Lease 54-10434,
City, CA 94063           Burnsville                                                                                   Schedule 10
                         Pkwy.Bornsville, MN
                         55337
Rocket Fuel Inc.         DATA SALES CO. ,       Original    20164830806   08/10/2016   DE, Secretary of   6/26/2017   Equipment pursuant to
1900 Seaport Blvd        INC.                                                          State                          Lease 54-10434,
Redwood City, CA         3450 W. Burnsville                                                                           Schedule 11
94063                    Pkwy.
                         Bornsville, MN 55337

Rocket Fuel Inc.         NFS LEASING, INC.      Original    20170785367   02/03/2017   DE, Secretary of   6/26/2017   Rocket Fuel Inc.
1900 Seaport Blvd        900 Cummings Center,                                          State                          Master Lease 2016-
Redwood City, CA         Suite 226-0                                                                                  460 Lease Schedule
94063                    Beverly, MA 01915                                                                            #1. All equipment and
                                                                                                                      peripherals wherever
                         Additional Secured                                                                           located, financed
                         Party:                                                                                       under and described in
                         People's United Bank                                                                         the Master Lease
                         One Post Office                                                                              Agreement including
                         Square, 32nd Floor                                                                           any Schedule thereto
                         Boston, MA 02109

Rocket Fuel Inc.         NFS LEASING, INC.      Original    20172425236   04/13/2017   DE, Secretary of   6/26/2017   Rocket Fuel Inc.
1900 Seaport Blvd        900 Cummings Center,                                          State                          Master Lease 2016-
Redwood City, CA         Suite 226-0                                                                                  460 Lease Schedule
94063                    Beverly, MA 01915                                                                            #2. All equipment and
                                                                                                                      peripherals wherever
                         Additional Secured                                                                           located, financed
                         Party:                                                                                       under and described in
                         People's United Bank                                                                         the Master Lease
                         One Poast Office                                                                             Agreement including
                         Square, 32nd Floor                                                                           any Schedule thereto
                         Boston, MA 02109



            2. Lien on cash collateral in favor of Comerica Bank, securing the letter of credit obligations set
            forth on Schedule 7.02(b), item 2, in an amount equal to $4,075,066.10.


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3. Lien on cash collateral in favor of Wells Fargo Bank, National Association, securing the letter
of credit obligations set forth on Schedule 7.02(b), item 3, in an amount equal to $[684,958.75]12,
4. Lien on cash collateral in favor of Wells Fargo Bank, National Association, securing the bank
product services set forth on Schedule 7.02(b), item 4, in an amount equal to $[25,000.00]13,.




12
     NTD: Amount to be confirmed upon receipt of the final Payoff Letter from Wells Fargo.
13
     NTD: Amount to be confirmed upon receipt of the final Payoff Letter from Wells Fargo.


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                                       Schedule 7.02(b)

                                    Existing Indebtedness

1. The following capital lease obligations are held by Rocket Fuel Inc.:




Note: All leases except for the one with Ray Morgan Company (which is a lease for office
printers), are for hardware and software in our data centers. These could be servers, networking
gears, equipment racks, and related software to operate the hardware.

2. The following letters of credit issued by Comerica Bank on behalf of Rocket Fuel Inc.:

        Letter of Credit Number     Expiry Date       Outstanding
                                                      Amount
        14676000000OSB11060C        4/30/2018         $662,430.00
        146760000000OSB1409C        9/30/2017         $650,270.83
        146760000000OSB1754C        12/10/2017        $278,890.29
        46760000000OSB8559C         1/15/2018         $2,309,010.00
        146760000000OSB8803C        7/31/2018         $174,464.98
                                                      $4,075,066.10


3. A letter of credit issued by Wells Fargo Bank, National Association on behalf of Sizmek
Technologies, Inc. to 401 Park Avenue South Associates LLC, in an amount equal to
$652,341.67.
4. Bank product services with Wells Fargo Bank, National Association, including a purchasing
card program, certain credit cards, ACH services in the UK and Canadian Daylight Overdraft
protection services.




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                                       Schedule 7.02(e)

                                    Existing Investments

1. Schedule 6.01(e) is hereby incorporated by reference, mutatis mutandis.




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                                         Schedule 7.02(k)

                      Limitations on Dividends and Other Payment Restrictions

None.




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                                            Schedule 8.01

                      Cash Management Banks and Cash Management Accounts

                                                       Account         Name of Cash
Loan Party                   Type of Account
                                                       Number          Management Bank

Sizmek Technologies,                                   736457698 -
                             ZBA                                              Chase
Inc.                                                   expenses
Sizmek Technologies,                                   810451955 -
                             Operating                                        Chase
Inc.                                                   collection
Sizmek Technologies,                                   883137911 -
                             Operating                                        Chase
Inc.                                                   Peer39
Sizmek Technologies,
                             Operating                 927639088              Chase
Inc.
Sizmek Technologies,
                             Deposit Short Term        100077401242           Chase
Inc.
Sizmek Technologies,
                             Operating                 4683000146           JPMorgan
Inc.
Sizmek Technologies,
                             Operating                 86-1491-8496            PNC
Inc.
Sizmek Technologies,                                   480-2119792 -
                             ZBA                                           Wells Fargo
Inc.                                                   Collection
Sizmek Technologies,                                   480-2119800 -
                             Operating                                     Wells Fargo
Inc.                                                   Disbursement
Sizmek Technologies,
                             Operating                 7775041911          Wells Fargo
Inc.
Rocket Fuel Inc.             Business Money Market     450211664        City National Bank

Rocket Fuel Inc.             Checking                  1894346012         Comerica Bank

Rocket Fuel Inc.             Money Market              1894346020         Comerica Bank

Rocket Fuel Inc.             Checking                  1894884418         Comerica Bank

Rocket Fuel Inc.             Checking                  1894934643         Comerica Bank

Rocket Fuel Inc.             Checking                  1894937745         Comerica Bank

Rocket Fuel Inc.             Money Market              BG5038024         Comerica Bank -
                                                                           Securities

Rocket Fuel Inc.             Analyzed Checking         267100884         HSBC Bank USA

Rocket Fuel Inc.             Demand Deposit            3300609596       Silicon Valley Bank


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Rocket Fuel Inc.       Foreign Currency         400515-       HSBC Bank plc
                       Account (FCA)            74061932

Rocket Fuel Inc.       Business Currency        400106-       HSBC Bank plc
                       Account (BCA)            92617617

Rocket Fuel Inc.       Business Money           400106-       HSBC Bank plc
                       Manager (BMM)            92617625

Rocket Fuel Inc.       Foreign Currency         400515-       HSBC Bank plc
                       Account (FCA)            74061315




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                                           EXHIBIT A

                              FORM OF JOINDER AGREEMENT

               THIS JOINDER AGREEMENT, dated as of ____________ (this "Agreement"),
to the Financing Agreement referred to below is entered into by and among Solomon Acquisition
Corp., a Delaware corporation (the "Parent"), Sizmek Technologies, Inc., a Delaware corporation
(the "Borrower"), each subsidiary of the Parent listed as a "Guarantor" on the signature pages
thereto (together with the Parent and each other Person that executes a joinder agreement and
becomes a "Guarantor" thereunder or otherwise guaranties all or any part of the Obligations (as
defined therein), each a "Guarantor" and collectively, the "Guarantors"), [NAME OF
ADDITIONAL BORROWER OR GUARANTOR], a _________________ ______________ (the
"Additional [Borrower][Guarantor]"), the lenders from time to time party thereto (each a
"Lender" and, collectively, the "Lenders"), Cerberus Business Finance, LLC ("Cerberus"), a
Delaware limited liability company, as collateral agent for the Lenders (in such capacity,
together with its successors and assigns in such capacity, the "Collateral Agent"), and Cerberus,
as administrative agent for the Lenders (in such capacity, together with its successors and assigns
in such capacity, the "Administrative Agent" and together with the Collateral Agent, each an
"Agent" and collectively, the "Agents").

                WHEREAS, the Parent, the Borrower [(other than the Additional Borrower)], the
Guarantors [(other than the Additional Guarantor)], the Lenders and the Agents have entered into
that certain Financing Agreement, dated as of September 6, 2017 (such agreement, together with
all exhibits and schedules thereto, as amended, restated, supplemented or otherwise modified
from time to time, including any replacement agreement therefor, the "Financing Agreement"),
pursuant to which the Lenders have agreed to make certain term loans and revolving loans (each
a "Loan" and collectively the "Loans"), to the Borrower;

               WHEREAS, the Borrower's obligation to repay the Loans and all other
Obligations are guaranteed, jointly and severally, by the Guarantors;

                WHEREAS, pursuant to Section 7.01(b) of the Financing Agreement, the
Additional [Borrower][Guarantor] is required to become a [Borrower][Guarantor] by, among
other things, executing and delivering this Agreement to the Collateral Agent; and

               WHEREAS, the Additional [Borrower][Guarantor] has determined that the
execution, delivery and performance of this Agreement directly benefit, and are within the
corporate purposes and in the best interests of, the Additional [Borrower][Guarantor].

               NOW THEREFORE, in consideration of the premises and other good and
valuable consideration, the receipt of which is hereby acknowledged, the parties hereto hereby
agree as follows:

              SECTION 1. Definitions.        Reference is hereby made to the Financing
Agreement for a statement of the terms thereof. All terms used in this Agreement which are not
otherwise defined herein shall have the same meanings herein as set forth in the Financing
Agreement.


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                  SECTION 2. Joinder of Additional [Borrower][Guarantor].

                (a)     Pursuant to Section 7.01(b) of the Financing Agreement, by its execution
of this Agreement, the Additional [Borrower][Guarantor] hereby (i) confirms that, as to the
Additional [Borrower][Guarantor], the representations and warranties contained in Article VI of
the Financing Agreement are true and correct in all material respects as of the effective date of
this Agreement (except that such materiality qualifier shall not be applicable to any
representations or warranties that already are qualified or modified as to "materiality" or
"Material Adverse Effect" in the text thereof, which representations and warranties shall be true
and correct in all respects subject to such qualification) on and as of such date as though made on
and as of such date, except to the extent that any such representation or warranty expressly
relates solely to an earlier date (in which case such representation or warranty shall be true and
correct in all material respects (except that such materiality qualifier shall not be applicable to
any representations or warranties that already are qualified or modified as to "materiality" or
"Material Adverse Effect" in the text thereof, which representations and warranties shall be true
and correct in all respects subject to such qualification) on and as of such earlier date), and (ii)
agrees that, from and after the effective date of this Agreement, the Additional
[Borrower][Guarantor] shall be a party to the Financing Agreement and shall be bound, as a
[Borrower][Guarantor], by all the provisions thereof and shall comply with and be subject to all
of the terms, conditions, covenants, agreements and obligations set forth therein and applicable
to the [Borrowers][Guarantors], [including, without limitation, the guaranty of the Obligations
made by the Guarantors, jointly and severally with the other Loan Parties, in favor of the Agents
and the Lenders pursuant to Article XI of the Financing Agreement]. The Additional
[Borrower][Guarantor] hereby agrees that from and after the effective date of this Agreement,
each reference to a ["Borrower"]["Guarantor"] or a "Loan Party" and each reference to the
["Borrowers"]["Guarantors"] or the "Loan Parties" in the Financing Agreement shall include the
Additional [Borrower][Guarantor]. The Additional [Borrower][Guarantor] acknowledges that it
has received a copy of the Financing Agreement and each other Loan Document and that it has
read and understands the terms thereof.

              (b)     Attached hereto are supplements to each Schedule to the Financing
Agreement revised to include all information required to be provided therein with respect to, and
only with respect to, the Additional [Borrower][Guarantor]. The Schedules to the Financing
Agreement shall, without further action, be amended to include the information contained in
each such supplement.

               SECTION 3. Effectiveness. This Agreement shall become effective upon its
execution by the Additional [Borrower][Guarantor], the Borrower, each Guarantor and each
Agent and receipt or waiver by the Agents of the following, in each case in form and substance
reasonably satisfactory to the Agents:

              (a)      original counterparts to this Agreement, duly executed by the Borrower,
each Guarantor, the Additional [Borrower][Guarantor] and the Agents, together with the
Schedules referred to in Section 2(b) hereof;

               (b)    a Supplement to the Security Agreement, substantially in the form of
Exhibit C to the Security Agreement (the "Security Agreement Supplement"), duly executed by


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the Additional [Borrower][Guarantor], and any instruments of assignment or other documents
reasonably required to be delivered to the Agents pursuant to the terms thereof;

              (c)    a Pledge Amendment to the Security Agreement to which the parent
company of the Additional [Borrower][Guarantor] is a party, in substantially the form of Exhibit
A thereto, duly executed by such parent company and providing for all Equity Interest of the
Additional [Borrower][Guarantor] to be pledged to the Collateral Agent pursuant to the terms
thereof;

               (d)     (i) certificates, if any, representing all of the issued and outstanding Equity
Interests of the Additional [Borrower][Guarantor] and each of its Subsidiaries, evidencing
Pledged Stock (as defined in the Security Agreement), accompanied by instruments of
assignment and transfer and (ii) all original promissory notes of such Additional
[Borrower][Guarantor] evidencing Pledged Debt (as defined in the Security Agreement),, if any,
accompanied by instruments of assignment and transfer; in each case of clause (i) and clause (ii),
to the extent required to be pledged pursuant to, and subject to the limitations set forth in, the
Security Agreement and the other Loan Documents;

              (e)     if requested by the Collateral Agent in accordance with Section 7.01(m) of
the Financing Agreement, a Mortgage (the "Additional Mortgage"), duly executed by the
Additional [Borrower][Guarantor], with respect to any New Facility with a Current Value in
excess of $5,000,000, by the Additional [Borrower][Guarantor], together with all other
applicable Real Property Deliverables as the Collateral Agent may reasonably require1;

                 (f)   (i) appropriate financing statements on Form UCC-1 duly filed in such
office or offices as may be necessary or, in the reasonable opinion of the Collateral Agent,
desirable to perfect the security interests purported to be created by the Security Agreement
Supplement and any Mortgage and (ii) evidence reasonably satisfactory to the Collateral Agent
of the filing of such UCC-1 financing statements;

             (g)    a written opinion of counsel to the Loan Parties as to such matters as the
Agents may reasonably request; and

               (h)    such other agreements, instruments or other documents reasonably
requested by the Collateral Agent in order to create, perfect, establish the first priority (subject to
Permitted Liens) of or otherwise protect any Lien purported to be covered by the Security
Agreement Supplement or any Additional Mortgage or otherwise to effect the intent that the
Additional [Borrower][Guarantor] shall become bound by all of the terms, covenants and
agreements applicable to [Borrower][Guarantors] contained in the Loan Documents and that all
property and assets (other than Excluded Property (as defined in the Security Agreement)) of
such Subsidiary shall become Collateral for the Obligations free and clear of all Liens other than
Permitted Liens.



1
         Additional [Borrower][Guarantor] has 30 days after request by the Collateral Agent to obtain a Mortgage
with respect to any New Facility with a Current Value in excess of $5,000,000, in accordance with Section 7.01(m).


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                 SECTION 4. Notices, Etc. All notices and other communications provided for
hereunder shall be in writing and shall be mailed (by certified mail, postage prepaid and return
receipt requested), telecopied or delivered by hand, Federal Express or other reputable overnight
courier, if to the Additional [Borrower][Guarantor], to it at its address set forth below its
signature to this Agreement, and if to the Borrower, any Guarantor, any Lender or any Agent, to
it at its address specified in the Financing Agreement or Joinder Agreement (as applicable); or as
to any such Person at such other address as shall be designated by such Person in a written notice
to such other Person, complying as to delivery with the terms of this Section 4. All such notices
and other communications shall be effective in accordance with Section 12.01 of the Financing
Agreement.

                  SECTION 5. General Provisions.

               (a)      The Borrower and each Guarantor hereby confirms that each
representation and warranty made by it under the Loan Documents (after giving effect to any
updated schedules to the Loan Documents delivered hereunder or any supplement to any of the
Loan Documents delivered in connection herewith) is true and correct in all material respects on
and as of such date as though made on and as of such date, except to the extent that any such
representation or warranty expressly relates solely to an earlier date (in which case such
representation or warranty shall be true and correct in all material respects (except that such
materiality qualifier shall not be applicable to any representations or warranties that already are
qualified or modified as to "materiality" or "Material Adverse Effect" in the text thereof, which
representations and warranties shall be true and correct in all respects subject to such
qualification) on and as of such earlier date), and that no Default or Event of Default has
occurred or is continuing under the Financing Agreement. The Borrower and each Guarantor
hereby represents and warrants that as of the date hereof there are no claims or offsets against or
defenses or counterclaims to their respective obligations under the Financing Agreement or any
other Loan Document.

               (b)     Except as supplemented hereby, the Financing Agreement and each other
Loan Document shall continue to be, and shall remain, in full force and effect. This Agreement
shall not be deemed (i) to be a waiver of, or consent to, or a modification or amendment of, any
other term or condition of the Financing Agreement or any other Loan Document or (ii) to
prejudice any right or rights which the Agents or the Lenders may now have or may have in the
future under or in connection with the Financing Agreement or the other Loan Documents or any
of the instruments or agreements referred to therein, as the same may be amended, restated,
supplemented or otherwise modified from time to time, including any replacement instrument or
agreement therefor.

               (c)     The Additional [Borrower][Guarantor] hereby expressly (i) authorizes the
Collateral Agent to file appropriate financing statements or continuation statements, and
amendments thereto, (including without limitation, any such financing statements that indicate
the Collateral as "all assets" or words of similar import) in such office or offices as may be
necessary or, in the opinion of the Collateral Agent, desirable to perfect the Liens to be created
by the Security Agreement Supplement and each of the other Loan Documents and (ii) ratifies
such authorization to the extent that the Collateral Agent has filed any such financing or
continuation statements or amendments thereto prior to the date hereof. A photocopy or other


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reproduction of the Security Agreement Supplement or any financing statement covering the
Collateral or any part thereof shall be sufficient as a financing statement where permitted by law.

               (d)    The Borrower agrees to pay on demand all reasonable, documented, out-
of-pocket costs and expenses incurred by or on behalf of each Agent in connection with the
negotiation, preparation, execution, delivery and performance of this Agreement, including,
without limitation, the reasonable, documented, out-of-pocket fees, costs, client charges and
expenses of counsel for each Agent to the extent set forth in Section 12.04 of the Financing
Agreement.

             (e)     Section headings in this Agreement are included herein for the
convenience of reference only and shall not constitute a part of this Agreement for any other
purpose.

              (f)      In addition to and without limitation of any of the foregoing, this
Agreement shall be deemed to be a Loan Document and Sections 12.08 (Counterparts), 12.09
(Governing Law), 12.10 (Consent to Jurisdiction; Service of Process and Venue) and 12.11
(Waiver of Jury Trial, Etc.) of the Financing Agreement are hereby incorporated by reference,
mutatis mutandis.

              (g)     This Agreement, together with the Financing Agreement and the other
Loan Documents, reflects the entire understanding of the parties with respect to the transactions
contemplated hereby and thereby and shall not be contradicted or qualified by any other
agreement, oral or written, before the date hereof.

                          [Remainder of Page Intentionally Left Blank]




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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed by their respective officers thereunto duly authorized, as of the date first above written.

                                              BORROWER:

                                              SIZMEK TECHNOLOGIES, INC.

                                              By:        _________________________________
                                              Name:
                                              Title:



                                              GUARANTORS:

                                              SOLOMON ACQUISITION CORP.

                                              By:        _________________________________
                                              Name:
                                              Title:

                                              SIZMEK INC.



                                              By:        _________________________________
                                              Name:
                                              Title:

                                              POINT ROLL, INC.



                                              By:        _________________________________
                                              Name:
                                              Title:



                                              ROCKET FUEL INC.



                                              By:        _________________________________
                                              Name:
                                              Title:




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                                 COLLATERAL AGENT:

                                 CERBERUS BUSINESS FINANCE, LLC


                                 By: ___________________________
                                     Name: _____________________
                                     Title: ______________________




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                                 ADDITIONAL [BORROWER][GUARANTOR]:

                                 [_________________________]



                                 By:
                                       Name:
                                       Title:

                                 Address:




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                                             EXHIBIT B

                       FORM OF ASSIGNMENT AND ACCEPTANCE AGREEMENT


This ASSIGNMENT AND ACCEPTANCE AGREEMENT ("Assignment Agreement") is
entered into as of _____ __, 20__ between ___________ ("Assignor") and ______________
("Assignee"). Reference is made to the agreement described in Item 2 of Annex I annexed
hereto (together with all exhibits and schedules thereto, as amended, restated, modified or
otherwise supplemented from time to time, the "Financing Agreement"). Capitalized terms
used herein and not otherwise defined shall have the meanings ascribed to them in the
Financing Agreement.

               1.      In accordance with the terms and conditions of Section 12.07 of the
Financing Agreement, the Assignor hereby irrevocably sells, transfers, conveys and assigns without
recourse, representation or warranty (except as expressly set forth herein) to the Assignee, and the
Assignee hereby irrevocably purchases and assumes from the Assignor, that interest in and to the
Assignor's rights and obligations under the Loan Documents with respect to the Obligations owing
to the Assignor, and the Assignor's portion of the Commitments and the Loans as specified on
Annex I.

               2.      The Assignor (a) represents and warrants that (i) it is the legal and beneficial
owner of the interest being assigned by it hereunder and that such interest is free and clear of any
adverse claim, and (ii) it has full power and authority, and has taken all action necessary, to execute
and deliver this Assignment Agreement and to consummate the transactions contemplated hereby;
(b) makes no representation or warranty and assumes no responsibility with respect to any
statements, warranties or representations made in or in connection with the Loan Documents or the
execution, legality, validity, enforceability, genuineness, sufficiency or value of the Loan
Documents or any other instrument or document furnished pursuant thereto; and (c) makes no
representation or warranty and assumes no responsibility with respect to the financial condition of
any Loan Party or the performance or observance by any Loan Party of any of its obligations under
the Loan Documents or any other instrument or document furnished pursuant thereto.

               3.       The Assignee (a) confirms that it has received copies of the Financing
Agreement and the other Loan Documents, together with copies of the financial statements referred
to therein and such other documents and information as it has deemed appropriate to make its own
credit analysis and decision to enter into this Assignment Agreement; (b) agrees that it will,
independently and without reliance upon the Administrative Agent, the Collateral Agent, the
Assignor, or any other Lender, based on such documents and information as it shall deem
appropriate at the time, continue to make its own credit decisions in taking or not taking action
under the Loan Documents; (c) confirms that it is eligible as an assignee under the terms of the
Financing Agreement; (d) appoints and authorizes each of the Administrative Agent and the
Collateral Agent to take such action as the Administrative Agent or the Collateral Agent (as the case
may be) on its behalf and to exercise such powers under the Loan Documents as are delegated to the
Administrative Agent or the Collateral Agent (as the case may be) by the terms thereof, together
with such powers as are reasonably incidental thereto; (e) agrees that it will perform in accordance
with their terms all of the obligations which by the terms of the Loan Documents are required to be
performed by it as a Lender; and (f) attaches the forms prescribed by the Internal Revenue Service
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of the United States certifying as to the Assignee's status for purposes of determining exemption
from United States withholding taxes with respect to all payments to be made to the Assignee under
the Financing Agreement or such other documents as are necessary to indicate that all such
payments are subject to such rates at a rate reduced by an applicable tax treaty.

               4.      [The Assignee confirms that the aggregate principal amount of all Term
Loans assigned to it hereunder (together with all other Term Loans currently held by all of the
Restricted Affiliated Lenders) does not exceed (calculated as of the date hereof after giving effect to
all such assignments) 15% of the aggregate principal amount of the Term Loans outstanding as of
the date hereof.]2

                5.      Following the execution of this Assignment Agreement by the Assignor and
the Assignee, it will be delivered by the Assignor to the Agents for recording by the Administrative
Agent. The effective date of this Assignment Agreement (the "Settlement Date") shall be the latest
of (a) the date of the execution hereof by the Assignor and the Assignee, (b) the date this
Assignment Agreement has been accepted by the Collateral Agent (and the Administrative Agent if
required by the Financing Agreement) and recorded in the Register by the Administrative Agent, (c)
the date of receipt by the Collateral Agent of a processing and recordation fee in the amount of
$3,500, 3 (d) the settlement date specified on Annex I, and (e) the receipt by Assignor of the
Purchase Price specified in Annex I.

                6.     As of the Settlement Date (a) the Assignee shall be a party to the Financing
Agreement and, to the extent of the interest assigned pursuant to this Assignment Agreement, have
the rights and obligations of a Lender thereunder and under the other Loan Documents, and (b) the
Assignor shall, to the extent of the interest assigned pursuant to this Assignment Agreement,
relinquish its rights and be released from its obligations under the Financing Agreement and the
other Loan Documents.

               7.    Upon recording by the Administrative Agent, from and after the Settlement
Date, the Administrative Agent shall make all payments under the Financing Agreement and the
other Loan Documents in respect of the interest assigned hereby (including, without limitation, all
payments of principal, interest and commitment fees (if applicable) with respect thereto) to the
Assignee. The Assignor and the Assignee shall make all appropriate adjustments in payments under
the Financing Agreement and the other Loan Documents for periods prior to the Settlement Date
directly between themselves on the Settlement Date.

          8.  THIS ASSIGNMENT AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF
NEW YORK.

          9.    EACH PARTY HERETO HEREBY WAIVES ANY RIGHT TO A TRIAL
BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM BASED UPON OR
ARISING OUT OF THIS ASSIGNMENT AGREEMENT OR ANY OF THE TRANSACTIONS
RELATED HERETO, AND AGREES THAT ANY SUCH ACTION, PROCEEDING OR
COUNTERCLAIM SHALL BE TRIED BEFORE A COURT AND NOT BEFORE A JURY.
2
    Delete if Assignee is not a Restricted Affiliated Lender.
3
 The payment of such fee shall not be required in connection with an assignment by a Lender to a Lender, an Affiliate
of such Lender or a Related Fund of such Lender.
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                        [Remainder of page left intentionally blank.]




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IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed and
delivered by their respective officers thereunto duly authorized, as of the date first above written.


                                             [ASSIGNOR]

                                             By:




                                                   Name:
                                                   Title:
                                                   Date:

                                             [ASSIGNEE]

                                             By:




                                                   Name:
                                                   Title:
                                                   Date:




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ACCEPTED AND CONSENTED TO this ___ day
of ________, 20__


CERBERUS BUSINESS FINANCE, LLC,
as Collateral Agent and Administrative Agent




By:
      Name:
      Title:



[________________________________],4
as Borrower




By:
      Name:
      Title:




4
  Any Lender may assign to one or more Eligible Assignees all or a portion of its Loans with the prior written consent of
the Borrower, provided that, except with respect to consents regarding any Disqualified Lender, such consent shall be
deemed to have been given if the Borrower has not responded within ten Business Days after written request by any
Agent or the respective assigning Lender.
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                             ANNEX FOR ASSIGNMENT AND ACCEPTANCE

                                                    ANNEX I

1.         Borrower: Sizmek Technologies, Inc.

2.         Name and Date of Financing Agreement:

                   Financing Agreement, dated as of September 6, 2017 (together with
                   all exhibits and schedules thereto, as the same may be amended,
                   restated, supplemented or otherwise modified from time to time,
                   including any replacement agreement therefor, the "Financing
                   Agreement"), by and among Solomon Acquisition Corp., a Delaware
                   corporation (the "Parent"), Sizmek Technologies, Inc., a Delaware
                   corporation (the "Borrower"), each subsidiary of the Parent listed as a
                   "Guarantor" on the signature pages thereto (together with the Parent
                   and each other Person that executes a joinder agreement and becomes
                   a "Guarantor" thereunder or otherwise guaranties all or any part of the
                   Obligations (as thereinafter defined), each a "Guarantor" and
                   collectively, the "Guarantors"), the lenders from time to time party
                   thereto (each a "Lender" and collectively, the "Lenders"), Cerberus
                   Business Finance LLC, a Delaware limited liability company
                   ("Cerberus"), as collateral agent for the Lenders (in such capacity,
                   together with its successors and assigns in such capacity,
                   the "Collateral Agent"), and Cerberus, as administrative agent for the
                   Lenders (in such capacity, together with its successors and assigns in
                   such capacity, the "Administrative Agent" and together with the
                   Collateral Agent, each an "Agent" and collectively, the "Agents").



3.         Date of Assignment Agreement:                                               _________

4.         [Amount of Revolving Credit Commitment Assigned:                           $_________

5.         Amount of Term Loan Commitment Assigned:                                   $_________

6.         Amount of Term Loan Assigned:                                              $ _________

7.         Amount of Revolving Loan Assigned:]5                                       $_________

8.         Purchase Price:                                                            $_________

9.         Settlement Date:                                                            _________

10.        Notice and Payment Instructions, etc.
    Assignee:                                             Assignor:
5
    Conform to type of Loan[s] made under the Financing Agreement [Revolving Loan][Term Loan] etc.
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 Attn:                                   Attn:
 Fax No.:                                Fax No.:


 Bank Name:                              Bank Name:
 ABA Number:                             ABA Number:
 Account Name:                           Account Name:
 Account Number:                         Account Number:
 Sub-Account Name:                       Sub-Account Name:
 Sub-Account Number:                     Sub-Account Number:
 Reference:                              Reference:
 Attn:                                   Attn:




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                                           EXHIBIT C

                              FORM OF NOTICE OF BORROWING

                             [LETTERHEAD OF THE BORROWER]




                                                            ___________ __, 201_


Cerberus Business Finance, LLC
as Administrative Agent for the Lenders
party to the Financing Agreement referred to below
875 Third Avenue
New York, New York 10022
Attention: Seth Fink

Ladies and Gentlemen:

        The undersigned, Sizmek Technologies, Inc., a Delaware corporation (the "Borrower"), (i)
refers to the Financing Agreement, dated as of September 6, 2017 (together with all exhibits and
schedules thereto, as the same may be amended, restated, supplemented or otherwise modified
from time to time, including any replacement agreement therefor, the "Financing Agreement"),
by and among Solomon Acquisition Corp., a Delaware corporation (the "Parent"), the Borrower,
the lenders from time to time party thereto (collectively, the "Lenders"), Cerberus Business
Finance, LLC, as collateral agent for the Lenders (in such capacity, together with its successors
and assigns, the "Collateral Agent"), and Cerberus Business Finance, LLC as administrative
agent for the Lenders (in such capacity, together with its successors and assigns,
the "Administrative Agent" and together with the Collateral Agent, each an "Agent" and,
collectively, the "Agents") and (ii) hereby gives you notice pursuant to Section 2.02 of the
Financing Agreement that the undersigned hereby requests a Loan under the Financing
Agreement (the "Proposed Loan"), and in connection therewith sets forth below the information
relating to such Proposed Loan as required by Section 2.02 of the Financing Agreement. All
capitalized terms used but not defined herein have the same meanings herein as set forth in the
Financing Agreement.
         a.    The borrowing date of the Proposed Loan is _________.

         b.    The Proposed Loan is a [Term Loan] [Revolving Loan].

         c.    The aggregate principal amount of the Proposed Loan is $_________.

         d.    The Proposed Loan shall be a [Reference Rate Loan][LIBOR Rate Loan with an
               Interest Period of [1][2][3] month(s)].


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         e.    The proceeds of the Proposed Loan are to be disbursed pursuant to the instructions
               set forth on Exhibit A attached hereto.

The undersigned certifies as of the date of the Proposed Loan is made that (i) the representations
and warranties contained in Article VI of the Financing Agreement and in each other Loan
Document, certificate or other writing delivered to any Secured Party on or prior to the date of
such Loan are true and correct in all material respects(except that such materiality qualifier shall
not be applicable to any representations or warranties that already are qualified or modified as to
materiality or "Material Adverse Effect" in the text thereof, which representations and warranties
shall be true and correct in all respects subject to such qualification) on and as of such date as
though made on and as of such date, except to the extent that any such representation or warranty
expressly relates solely to an earlier date (in which case such representation or warranty shall be
true and correct in all material respects (except that such materiality qualifier shall not be
applicable to any representations or warranties that already are qualified or modified as to
"materiality" or "Material Adverse Effect" in the text thereof, which representations and
warranties shall be true and correct in all respects subject to such qualification) on and as of such
earlier date), (ii) at the time of and after giving effect to the making of such Proposed Loan and
the application of the proceeds thereof, no Default or Event of Default has occurred and is
continuing or would result from the making of the Proposed Loan to be made on such date and
(iii) all applicable conditions set forth in Section 5.02 of the Financing Agreement shall have
been satisfied or waived in writing by the applicable Lenders as of the date of the Proposed
Loan.



                                 [SIGNATURE PAGES FOLLOW]




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                                                     Very truly yours,
                                                     SIZMEK TECHNOLOGIES, INC.


                                                     __________________________,
                                                     as Borrower


                                                     By: ____________________________
                                                     Name:
                                                     Title:]




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                                       EXHIBIT A

                                 WIRING INSTRUCTIONS



                             Payee               Wiring Instructions
                      __________________   Bank:
                                           [City/State]
                                           ABA #
                                           Account #
                                           Ref:




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                                           EXHIBIT D

                                  FORM OF LIBOR NOTICE

                              [LETTERHEAD OF BORROWER]


Cerberus Business Finance, LLC
as Administrative Agent for the Lenders
party to the Financing Agreement referred to below
875 Third Avenue
New York, New York 10022
Attention: Seth Fink

Ladies and Gentlemen:

                Reference is made to the Financing Agreement, dated as of September 6, 2017
(together with all exhibits and schedules thereto, as the same may be amended, restated,
supplemented or otherwise modified from time to time, including any replacement agreement
therefor, the "Financing Agreement"), by and among Solomon Acquisition Corp., a Delaware
corporation (the "Parent"), Sizmek Technologies, Inc., a Delaware corporation (the "Borrower"),
each subsidiary of the Parent listed as a "Guarantor" on the signature pages thereto (together with
the Parent and each other Person that executes a joinder agreement and becomes a "Guarantor"
thereunder or otherwise guaranties all or any part of the Obligations (as defined therein), each a
"Guarantor" and, collectively, the "Guarantors"), the lenders from time to time party thereto
(each a "Lender" and, collectively, the "Lenders"), Cerberus Business Finance, LLC, as collateral
agent for the Lenders (in such capacity, together with its successors and assigns in such capacity,
the "Collateral Agent"), and Cerberus Business Finance, LLC, as administrative agent for the
Lenders (in such capacity, together with its successors and assigns in such capacity,
the "Administrative Agent" and together with the Collateral Agent, each an "Agent" and,
collectively, the "Agents"). Capitalized terms used herein and not otherwise defined herein shall
have the meanings ascribed to them in the Financing Agreement.

              This LIBOR Notice represents the Borrower's request to [convert into] [continue
as] [LIBOR Rate Loans] [Reference Rate Loans] $[________] of the outstanding principal
amount of the [Term Loan] [Revolving Loans] (the "Requested LIBOR Rate Loan"), and is a
written confirmation of the telephonic notice of such election previously given to the
Administrative Agent.

             [Such Requested LIBOR Rate Loan will have an Interest Period of [1] [2] [3]
month(s), commencing on ____________.]

              [This LIBOR Notice further confirms the Borrower's acceptance, for purposes of
determining the rate of interest based on the LIBOR Rate under the Financing Agreement, of the
LIBOR Rate as determined pursuant to the Financing Agreement.]



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              The undersigned certifies that no Default or Event of Default has occurred and is
continuing or would result from the [conversion] [continuation] of the Requested LIBOR Rate
Loan.



Dated:




                                           SIZMEK TECHNOLOGIES, INC.




                                           By:
                                                 Name:
                                                 Title:




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                                            EXHIBIT E

                                 FORM OF TERM LOAN NOTE


$[_______]                                                            [________], 2017




                FOR VALUE RECEIVED, Sizmek Technologies, Inc., a Delaware corporation
(the "Borrower"), hereby unconditionally promises to pay to [___________________] (the
"Lender") the principal amount of [__________] ($[______]) or, if less, the aggregate unpaid
principal amount of the Term Loans made by the Lender to the Borrower under the Financing
Agreement, dated as of September 6, 2017 (including all annexes, exhibits and schedules thereto,
as amended, restated, supplemented or otherwise modified from time to time, including any
replacement agreement therefor, being hereinafter referred to as the "Financing Agreement"), by
and among Solomon Acquisition Corp., a Delaware corporation (the "Parent"), the Borrower,
each subsidiary of the Parent listed as a "Guarantor" on the signature pages thereto (together with
the Parent and each other Person that executes a joinder agreement and becomes a "Guarantor"
thereunder or otherwise guaranties all or any part of the Obligations (as defined therein), each a
"Guarantor" and, collectively, the "Guarantors"), the lenders from time to time party thereto
(each a "Lender" and, collectively, the "Lenders"), Cerberus Business Finance, LLC, a Delaware
limited liability company ("Cerberus"), as collateral agent for the Lenders (in such capacity,
together with its successors and assigns in such capacity, the "Collateral Agent"), and Cerberus,
as administrative agent for the Lenders (in such capacity, together with its successors and assigns
in such capacity, the "Administrative Agent" and together with the Collateral Agent, each an
"Agent" and collectively, the "Agents"). This Note is one of the promissory notes referred to in
the Financing Agreement. Any capitalized term used herein and not defined herein shall have
the meaning assigned to it in the Financing Agreement.

               Until maturity (whether by acceleration or otherwise), interest shall accrue and be
payable on the outstanding principal balance hereof at the per annum rates of interest set forth in
the Financing Agreement. In accordance with the provisions of the Financing Agreement, upon
the occurrence and during the continuance of an Event of Default, interest shall, at the election of
the Required Lenders, accrue at a rate per annum equal at all times to the Post-Default Rate. All
amounts payable by the Borrower hereunder shall be paid in accordance with the terms and
conditions of the Financing Agreement in immediately available funds.

               The Borrower hereby waives the requirements of demand, presentment, protest,
notice of protest and dishonor, notice of intent to accelerate, notice of acceleration, and all other
demands or notices of any kind in connection with the delivery, acceptance, performance,
default, dishonor or enforcement of this Note. No failure on the part of the Lender to exercise,
and no delay in exercising, any right, power or privilege hereunder shall operate as a waiver
thereof or a consent thereto; nor shall a single or partial exercise of any such right, power or
privilege preclude any other or further exercise thereof or the exercise of any other right, power
or privilege.

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               This Note and all provisions hereof shall be binding upon the Borrower and all
persons claiming under or through the Borrower, and shall inure to the benefit of the Lender,
together with its successors and assigns, including each owner and holder from time to time of
this Note.

               The Borrower promises and agrees to pay, in addition to the principal, interest and
other sums due and payable hereon, all costs of collecting or attempting to collect this Note,
including all reasonable and documented out-of-pocket attorneys' fees and disbursements, as
described in the Financing Agreement.

              To the extent of any inconsistency between any of the terms and conditions of this
Note and the terms and conditions of the Financing Agreement, the terms and conditions of the
Financing Agreement shall control.

               This Note is secured by the Collateral described in the Financing Agreement and
the other Loan Documents, to which reference is hereby made for a more complete statement of
the terms and conditions under which the Term Loan evidenced hereby is made and is to be
prepaid or accelerated, and is hereby entitled to all the benefits and rights of the Financing
Agreement and such other Loan Documents (including, without limitation, any guarantees
delivered in connection therewith).

               Sections 12.08 (Counterparts), 12.09 (Governing Law), 12.10 (Consent to
Jurisdiction; Service of Process and Venue) and 12.11 (Waiver of Jury Trial, Etc.) of the
Financing Agreement are hereby incorporated by reference, mutatis mutandis.




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                IN WITNESS WHEREOF, and intending to be legally bound hereby, each
Borrower has caused this Note to be executed by its duly authorized officer as of the day and
year first above written.



                                          SIZMEK TECHNOLOGIES, INC.


                                          By:
                                          Name:
                                          Title:




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                                            EXHIBIT F

                             FORM OF REVOLVING LOAN NOTE


$[_______]                                                            [__], 2017




               FOR VALUE RECEIVED, SIZMEK TECHNOLOGIES, INC., a Delaware
corporation (the "Borrower"), hereby unconditionally promises to pay to Cerberus Business
Finance, LLC (the "Lender") the principal amount of [_______] ($[______]) or, if less, the
aggregate unpaid principal amount of the Revolving Loans made by the Lender to the Borrower
under the Financing Agreement, dated as of September 6, 2017 (including all annexes, exhibits
and schedules thereto, as amended, restated, supplemented or otherwise modified from time to
time, including any replacement agreement therefor, being hereinafter referred to as the
"Financing Agreement"), by and among Solomon Acquisition Corp., a Delaware corporation (the
"Parent"), each subsidiary of the Parent listed as a "Guarantor" on the signature pages thereto
(together with the Parent and each other Person that executes a joinder agreement and becomes a
"Guarantor" thereunder or otherwise guaranties all or any part of the Obligations (as defined
therein), each a "Guarantor" and, collectively, the "Guarantors"), the lenders from time to time
party thereto (each a "Lender" and, collectively, the "Lenders"), Cerberus Business Finance,
LLC, a Delaware limited liability company ("Cerberus"), as collateral agent for the Lenders (in
such capacity, together with its successors and assigns in such capacity, the "Collateral Agent"),
and Cerberus, as administrative agent for the Lenders (in such capacity, together with its
successors and assigns in such capacity, the "Administrative Agent" and together with the
Collateral Agent, each an "Agent" and, collectively, the "Agents"). This Note is one of the
promissory notes referred to in the Financing Agreement. Any capitalized term used herein and
not defined herein shall have the meaning assigned to it in the Financing Agreement.

               Until maturity (whether by acceleration or otherwise), interest shall accrue and be
payable on the outstanding principal balance hereof at the per annum rates of interest set forth in
the Financing Agreement. In accordance with the provisions of the Financing Agreement, upon
the occurrence and during the continuance of an Event of Default, interest shall, at the election of
the Required Lenders, accrue at a rate per annum equal at all times to the Post-Default Rate. All
amounts payable by the Borrower hereunder shall be paid in accordance with the terms and
conditions of the Financing Agreement in immediately available funds.

               The Borrower hereby waives the requirements of demand, presentment, protest,
notice of protest and dishonor, notice of intent to accelerate, notice of acceleration, and all other
demands or notices of any kind in connection with the delivery, acceptance, performance,
default, dishonor or enforcement of this Note. No failure on the part of the Lender to exercise,
and no delay in exercising, any right, power or privilege hereunder shall operate as a waiver
thereof or a consent thereto; nor shall a single or partial exercise of any such right, power or
privilege preclude any other or further exercise thereof or the exercise of any other right, power
or privilege.

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               This Note and all provisions hereof shall be binding upon the Borrower and all
persons claiming under or through the Borrower, and shall inure to the benefit of the Lender,
together with its successors and assigns, including each owner and holder from time to time of
this Note.

               The Borrower promises and agrees to pay, in addition to the principal, interest and
other sums due and payable hereon, all costs of collecting or attempting to collect this Note,
including all reasonable and documented out-of-pocket attorneys' fees and disbursements, as
described in the Financing Agreement.

              To the extent of any inconsistency between any of the terms and conditions of this
Note and the terms and conditions of the Financing Agreement, the terms and conditions of the
Financing Agreement shall control.

               This Note is secured by the Collateral described in the Financing Agreement and
the other Loan Documents, to which reference is hereby made for a more complete statement of
the terms and conditions under which the Revolving Loans evidenced hereby are made and are to
be prepaid or accelerated, and is hereby entitled to all the benefits and rights of the Financing
Agreement and such other Loan Documents (including, without limitation, any guarantees
delivered in connection therewith).

               Sections 12.08 (Counterparts), 12.09 (Governing Law), 12.10 (Consent to
Jurisdiction; Service of Process and Venue) and 12.11 (Waiver of Jury Trial, Etc.) of the
Financing Agreement are hereby incorporated by reference, mutatis mutandis.




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                IN WITNESS WHEREOF, and intending to be legally bound hereby, the
Borrower has caused this Note to be executed by its duly authorized officer as of the day and
year first above written.



                                          SIZMEK TECHNOLOGIES, INC.


                                          By:
                                          Name:
                                          Title:




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                                             EXHIBIT G

                                         FORM OF
                                   SOLVENCY CERTIFICATE

                                                  [   ], 2017

        This Solvency Certificate is delivered pursuant to Section 5.01(d)(xii) of the Financing
Agreement, dated as of the date hereof (together with all exhibits and schedules thereto, as
amended, restated, supplemented or otherwise modified from time to time, including any
replacement agreement therefor, the "Financing Agreement"), by and among Solomon
Acquisition Corp., a Delaware corporation (the "Parent"), Sizmek Technologies, Inc., a Delaware
corporation (the "Borrower"), each subsidiary of the Parent listed as a "Guarantor" on the
signature pages hereto (together with the Parent and each other Person that executes a joinder
agreement and becomes a "Guarantor" hereunder or otherwise guaranties all or any part of the
Obligations (as hereinafter defined), each a "Guarantor" and, collectively, the "Guarantors"), the
lenders from time to time party hereto (each a "Lender" and, collectively, the "Lenders"),
Cerberus Business Finance, LLC, a Delaware limited liability company ("Cerberus"), as
collateral agent for the Lenders (in such capacity, together with its successors and assigns in such
capacity, the "Collateral Agent"), and Cerberus, as administrative agent for the Lenders (in such
capacity, together with its successors and assigns in such capacity, the "Administrative Agent"
and together with the Collateral Agent, each an "Agent" and, collectively, the "Agents").
Capitalized terms used herein and not otherwise defined herein shall have the meanings assigned
to such terms in the Financing Agreement.

        The undersigned hereby certifies as of the date hereof, solely in his capacity as an officer
of the Parent and not in his individual capacity, as follows:

                 1. I am the [Chief Financial Officer] of the Parent as of the date hereof. I am
         familiar with the Acquisition and the other transactions contemplated by the Financing
         Agreement (collectively, the "Transactions") and have reviewed (or caused to be
         reviewed) the Financing Agreement, financial statements referred to in Section 6.01(g) of
         the Financing Agreement and such documents and made (or caused to be made) such
         investigation as I deemed relevant for the purposes of this Solvency Certificate.

                 2. As of the date hereof, after giving effect to the consummation of the
         Transactions (including the Acquisition contemplated by the Acquisition Agreement and
         the incurrence of indebtedness under the Financing Agreement), (i) the present fair value
         of the assets of the Parent and its subsidiaries on a consolidated basis and measured on a
         going concern basis, is not less than the total liabilities of the Parent and its subsidiaries
         on a consolidated basis; (ii) the present fair saleable value of the property of the Parent
         and its subsidiaries on a consolidated basis and measured on a going concern basis, will
         be greater than the amount that will be required to pay the probable liability of the Parent
         and its subsidiaries on a consolidated basis as they become absolute and matured in the
         ordinary course of business; (iii) the Parent and its subsidiaries on a consolidated basis
         will be able to pay their debts and liabilities, contingent obligations and other
         commitments as they mature in the ordinary course of business; (iv) the Parent and its

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         subsidiaries on a consolidated basis do not intend to, and do not believe that they will,
         incur debts or liabilities beyond their ability to pay as such debts and liabilities mature in
         the ordinary course of business and (v) the Parent and its subsidiaries on a consolidated
         basis are not engaged in business or a transaction, and are not about to engage in business
         or a transaction, for which the Parent and its subsidiaries' property on a consolidated basis
         would constitute unreasonably small capital.

                For purposes of this Solvency Certificate, the amount of any contingent obligation
         at any time shall be computed as the amount that would reasonably be expected to
         become an actual and matured liability.

       This Solvency Certificate is being delivered by the undersigned officer only in his
capacity as [Chief Financial Officer] of the Parent and not individually and the undersigned shall
have no personal liability to the Agent or the Lenders with respect thereto.




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        IN WITNESS WHEREOF, the undersigned has executed this Solvency Certificate on the
date first written above.

                                                      SOLOMON ACQUISITION
                                                      CORP.

                                                      By:
                                                      ____________________________
                                                      Name:
                                                      Title:




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